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 11
 12 Counsel for Bradley D. Sharp,
    Permanent Receiver
 13
                          UNITED STATES DISTRICT COURT
 14
                        CENTRAL DISTRICT OF CALIFORNIA
 15
                        WESTERN DIVISION – LOS ANGELES
 16
    SECURITIES AND EXCHANGE              Case No. 2:19−cv−02188−DSF−MRW
 17
    COMMISSION,                          Hon. Dale S. Fischer
 18
                    Plaintiff,           DECLARATION OF BRADLEY D.
 19                                      SHARP IN SUPPORT OF MOTION
 20                 v.                   OF RECEIVER FOR APPROVAL OF:
 21                                           (1) DISTRIBUTION PLAN;
    DIRECT LENDING INVESTMENTS
 22 LLC,                                      (2) RISING TIDE DISTRIBUTION
                                                  METHODOLOGY WITH
 23                                               RESPECT TO DLIF INVESTOR
                  Defendant.
 24                                               CLAIMS;
                                              (3) PROPOSED INTERIM
 25                                               DISTRIBUTION; AND
 26                                           (4) NOTICE OF DISTRIBUTION
                                                  PLAN
 27
                                       1
 28         DECL. OF BRADLEY D. SHARP ISO MOTION OF RECEIVER FOR APPROVAL OF
       DISTRIBUTION PLAN; RISING TIDE DISTRIBUTION METHODOLOGY WITH RESPECT
        TO DLIF INVESTOR CLAIMS; PROPOSED INTERIM DISTRIBUTION; AND NOTICE OF
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  1                                               Date: December 21, 2020
  2                                               Time: 1:30 PM
                                                  Place: Courtroom 7D
  3                                                      United States District Court
  4                                                      Western Division
                                                         350 West 1st Street,
  5                                                      Los Angeles, CA 90012
  6
  7
  8         I, Bradley D. Sharp, declare and state:
  9         1.     I was appointed Receiver by this Court for defendant Direct Lending
 10 Investments LLC (“DLI”), and Direct Lending Income Fund, L.P., Direct Lending
 11 Income Feeder Fund, Ltd. (“DLIFF”), DLI Capital, Inc. (“DLI Capital”), DLI
 12 Lending Agent, LLC (“DLIA”), and DLI Assets Bravo, LLC (“DLIAB”) and their
 13 successors, subsidiaries and affiliated entities (the “Receivership Entities”) by order
 14 entered on April 1, 2019 (the “Receiver Order”).
 15         2.     I submit this Declaration in support of the concurrently filed Motion
 16 for Approval of: (1) Distribution Plan; (2) Rising Tide Distribution Methodology
 17 with Respect to DLIF Investor Claims; (3) Proposed Interim Distribution; and (4)
 18 Notice of Distribution Plan (the “Motion”).
 19         3.     I have personal knowledge of the facts set forth in this Declaration,
 20 and, if called to testify, could testify competently thereto.
 21         4.     I have been granted full powers of an equity receiver over all funds,
 22 property and assets belonging to, being managed by, or in the possession of or
 23 control of, the Receivership Entities. I have also been granted specific powers to
 24 make payments and disbursements from the funds and assets taken into my custody
 25 and control.
 26         5.     The Receiver Order requires me to make an accounting of the assets
 27
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 28         DECL. OF BRADLEY D. SHARP ISO MOTION OF RECEIVER FOR APPROVAL OF
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  1 and financial condition of the Receivership Entities and to file the same with the
  2 Court. With the assistance of professionals at Development Specialists, Inc. and the
  3 professional firms employed in this proceeding, I have conducted a thorough
  4 evaluation of the pre-Receivership activities in this case and the sources and uses of
  5 cash paid into the Receivership Entities. The results of my investigation are
  6 contained in the detailed Report Regarding the Investigation of the Receivership
  7 Entities’ Business Conduct and Recommendations Regarding Distributions dated
  8 November 13, 2020, attached hereto as Exhibit “1” (“Report”).
  9         6.    The Report focuses on the conduct of (i) DLI, which acted as the
 10 investment manager and is the defendant in this civil action; (ii) DLI Capital, which
 11 received capital from the Feeder Funds; with its subsidiaries DLIA and DLIAB,
 12 both of which made loans and investments to borrowers (collectively the “Master
 13 Fund”); and (iii) DLIF, which solicited investment from U.S. based investors.
 14 Investment was also sought from non-U.S. investors DLIFF, a Cayman Islands
 15 exempted company.         While DLIFF is one of the Receivership Entities, the
 16 liquidation and distribution of its assets is subject to a separate Cayman Islands
 17 liquidation proceeding, which proceeding is governed by Cayman Islands law and
 18 is subject to the supervision of the Grand Court of the Cayman Islands.
 19         7.    The Report not only provides the Court and interested parties with the
 20 results of my investigation of the facts that led to substantial losses of investor
 21 funds, but also assists the Court in evaluating proposed distributions.
 22         8.    Because of the vast discrepancy between the stated value of the assets
 23 at the start of the Receivership and their true value, claimants cannot be made
 24 whole from the available assets. With the assistance of my professionals, I have
 25 undertaken a review of the claims submitted and the impact of different distribution
 26 models on the creditor body to assist me in fashioning a distribution plan that is
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 28         DECL. OF BRADLEY D. SHARP ISO MOTION OF RECEIVER FOR APPROVAL OF
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  1 equitable under the circumstances.
  2         9.    The following classes of Claimants have asserted claims against the
  3 Receivership Estate: Administrative Claims 1; Priority Claims; DLIFF through its
  4 joint liquidators in the pending Cayman liquidation proceeding; DLIF
  5 Administrative Claims; DLIF Investors; General Unsecured Creditor Claims;
  6 Indemnity Claims; and Counter-Party Claims.
  7         10.   My proposed Distribution Plan is attached hereto as Exhibit “2.”
  8         11.   The Plan recommends a priority of distributions of funds to the
  9 following classes of claimants: Administrative Claims (Class 1); Priority Claims
 10 (Class 2); DLIFF through its joint liquidators in the pending Cayman liquidation
 11 proceeding (Class 3) to be shared on a pro rata basis with claims of DLIF
 12 Administrative Claimants and DLIF Investors (Classes 4A and 4B);               General
 13 Unsecured Creditor Claims (Class 5); Indemnity Claims (Class 6); and Counter-
 14 Party Claims (Class 7).
 15         12.   The Qualified Settlement Fund (“QSF”) contains all assets of the
 16 Receivership Entities, including any litigation proceeds that may be paid to the
 17 Receiver on account of any Cause of Action, Third Party Claim, and any proceeds
 18 of litigation brought on behalf of the Master Fund or any other Receivership Entity
 19 other than DLIFF or DLIF. Proceeds of DLIF Avoidance Actions are property of
 20 the QSF but shall be allocated exclusively to Class 4 as set forth in this Distribution
 21 Plan.     Proceeds of Feeder Fund Litigation Assets are not allocated in this
 22 Distribution Plan and the allocation of any such assets shall be subject to a separate
 23 agreement or other resolution between myself and the Cayman JOL.
 24         13.   Assets of the Receivership Entities other than the Feeder Fund
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    1
      Capitalized terms not defined in this Declaration, shall have the respective
 26 meanings assigned to them in the proposed Distribution Plan attached hereto as
    Exhibit “2.”
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 28         DECL. OF BRADLEY D. SHARP ISO MOTION OF RECEIVER FOR APPROVAL OF
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  1 Litigation Assets and the DLIF Avoidance Actions will be pooled and will be used
  2 to make distributions on Allowed Claims pursuant to the terms of the Distribution
  3 Plan. Allowed claims to be paid pursuant to the Distribution Plan will be paid from
  4 the assets in the QSF . All of the assets for the Receivership Entities are now in the
  5 QSF, as will be any litigation proceeds received from the results of any litigation
  6 claims filed by me, other than as set forth in the Distribution Plan.
  7         14.   I believe that pooling of assets of the Receivership Entities is proper,
  8 and other than as set forth in the Distribution Plan, I am not aware of any basis, in
  9 equity or otherwise, to separate any particular assets for any particular claimant. No
 10 particular funds or assets were segregated for a single-purpose entity or for a
 11 particular claimant. The pooled assets shall be distributed on the priority basis and
 12 pursuant to the distribution methodology set forth in the Distribution Plan.
 13         15.   DLIFF, Cayman Islands Exempted Company formed in 2016, is the
 14 offshore investment entity that obtained overseas investor funds. Prior to a
 15 restructuring of the fund structure managed by DLI in October 2016, all domestic
 16 and foreign investors invested through DLIF, which then invested its funds first in
 17 two holding companies, DLIAB and DLI Assets. In October 2016, DLI moved to a
 18 two-feeder fund structure with the formation of DLIFF, the offshore limited
 19 partnership in the Cayman Islands, along with DLIF serving as the onshore fund.
 20 DLI Capital served as a Master Fund through which investor funds obtained from
 21 DLIF and DLIFF were contributed and deployed. DLI formed DLIFF to solicit
 22 investments from non-United States investors. The funds from the Feeder Funds
 23 were used as loans initially to DLI Capital and its wholly owned subsidiary DLI
 24 Assets, and later to DLIAB, another subsidiary. The funds were ultimately loaned,
 25 or provided as investment funds, to third party borrowers. The third party borrowers
 26 in turn were generally lenders which made loans or extensions of credit to others
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 28         DECL. OF BRADLEY D. SHARP ISO MOTION OF RECEIVER FOR APPROVAL OF
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  1 (the “subsequent loans”).
  2         16.   The new structure was formalized in two Loan and Security
  3 Agreements each dated as of October 1, 2016 (“LSA”), one with DLIF as lender
  4 and one with DLIFF as lender, and with Millennium Trust Company, LLC as the
  5 custodian for the benefit of each of the lenders. Under each of the LSAs, the Feeder
  6 Funds agreed to lend money to DLI Capital as a borrower under a revolving loan
  7 facility. DLI Capital in turn would use the invested funds to make equity
  8 investments in two subsidiaries DLIA and DLIAB, and those entities typically
  9 made loans to third party borrowers (the “subsequent loans” referred to above)
 10 generally on a secured basis. The LSAs by their terms granted DLIF and DLIFF
 11 security interests in the loans and equity investments made by DLI Capital. The
 12 collateral for the loans under the LSAs is described as all the “Collateral Assets” of
 13 DLI Capital, including all the loans made and collateral received by DLI Capital,
 14 along with DLI Capital’s ownership interests in any subsidiaries, funds in a control
 15 deposit account for the deposit of the underlying loan payments received by DLI
 16 Capital, and all other assets of DLI Capital.
 17         17.   DLIF and DLIFF also entered into an Intercreditor Agreement dated as
 18 of September 30, 2016, which provided for the lenders DLIF and DLIFF to have
 19 pari passu rights in the loans made to DLI Capital. The pari passu rights were
 20 stated to extend to the notes in favor of DLIF and DLIFF by DLI Capital, the
 21 collateral for the notes, and all payments and collections or proceeds of
 22 enforcement of the loans received by either DLIF or DLIFF.
 23         18.   In its order entered May 14, 2019 (Doc. No. 43), this Court authorized
 24 me and Christopher D. Johnson to accept appointment as joint voluntary liquidators
 25 of DLIFF and/or joint official liquidators of DLIFF under the supervision of the
 26 Grand Cayman Court. With control of DLIFF’s controlling shareholder, DLI, in
 27
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 28         DECL. OF BRADLEY D. SHARP ISO MOTION OF RECEIVER FOR APPROVAL OF
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  1 my capacity as receiver, I exercised the rights of DLI to place DLIFF into voluntary
  2 liquidation by passing a unanimous special resolution. Christopher D. Johnson and I
  3 were appointed as joint voluntary liquidators. As joint voluntary liquidators, on
  4 June 18, 2019, Mr. Johnson and I filed a petition to place DLIFF’s liquidation under
  5 the supervision of the Cayman Court.
  6        19.    On July 25, 2019, the Cayman Court ordered that DLIFF’s liquidation
  7 continue under the supervision of the Cayman Court and that Mr. Johnson and I be
  8 appointed as Joint official Liquidators (“JOLs”) of DLIFF.
  9        20.    On August 22, 2019, the JOLs sent a notice to the creditors and
 10 shareholders of DLIFF of a meeting of creditors and contributories. Creditors were
 11 asked to submit a proof of debt form to the JOLs in advance of the meeting. All
 12 claims against and interests in DLIFF are to be pursued directly in the Cayman
 13 Islands liquidation proceedings, in accordance with the laws of the Cayman Islands
 14        21.    I, in my capacity as U.S. Joint Official Liquidator in the Cayman
 15 Proceeding, and Mr. Johnson as the Cayman JOL, agreed to a conflict resolution
 16 protocol (the “Protocol”) that was submitted to the Cayman Court and was
 17 approved by that court on July 16, 2020. This Court subsequently also approved
 18 the Protocol. (Doc No. 293). The Protocol addressed potential conflicts that might
 19 arise between the two proceedings, including allocation of the claim amounts as
 20 between DLIFF and DLIF.
 21        22.    Utilizing the conflict Protocol, I and the Cayman JOL negotiated a
 22 stipulation regarding the claim of DLIFF in the Receivership case and its respective
 23 allocation of funds relative to DLIF in connection with the Distribution Plan (the
 24 “DLIFF Claims Stipulation”), copy of which is attached hereto as Exhibit “3.”
 25 Concurrent with the Motion, I have filed a motion seeking Court approval of the
 26 DLIFF Claims Stipulation. The DLIFF Claims Stipulation provides resolution and
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 28         DECL. OF BRADLEY D. SHARP ISO MOTION OF RECEIVER FOR APPROVAL OF
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  1 certainty as to the allocation of funds between DLIF and DLIFF. Class 3 consists
  2 only of the DLIFF claim as set forth in the DLIFF Claims Stipulation, which shall
  3 share pro rata with Class 4 claims pursuant to the terms of the Claims Stipulation.
  4 The funds paid to DLIFF pursuant to the Distribution Plan shall be paid to the
  5 Cayman JOLs and shall be distributed in the Cayman proceeding pursuant to
  6 Cayman law.
  7        23. The Distribution Plan proposes a distribution methodology to Class 4B
  8 DLIF Investors that is based upon an equitable pro rata methodology called Rising
  9 Tide. The DLIF Investors with Allowed Claims will be treated as a single class
 10 because they are similarly situated in that the funds of the DLIF Investors were
 11 commingled in various transactions and entities. To assist the Court and interested
 12 parties in evaluating the Distribution Plan, I with the assistance of my retained
 13 professionals, have analyzed the Class 4B claims and run models of what
 14 distribution would look like under three methodologies - Rising Tide, Net
 15 Investment, and Last Statements - based on an assumed total distribution of $150
 16 million held in the QSF and other terms of the proposed Distribution Plan. We have
 17 carefully weighed all alternatives and have analyzed how different investors will be
 18 impacted differently depending on which model is used. We have also looked at the
 19 total number of investors to be benefited by each method. From the $150 million
 20 interim distribution, Class 4 will receive approximately $104.2 million. Attached as
 21 Exhibit “4” hereto is a summary of our analysis. The numbers are subject to change
 22 and the model does not yet take into account the TIN consolidation or noncash
 23 redemption transactions, for which I will adjust after the Distribution Plan is
 24 approved. The particular claim amounts are subject to change upon approval of the
 25 Distribution Plan and will be updated to make certain claim adjustments, including
 26 but not limited to (a) reported profits included in non‐cash transfers to investor
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 28         DECL. OF BRADLEY D. SHARP ISO MOTION OF RECEIVER FOR APPROVAL OF
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  1 accounts that were funded from redemptions transferred from other investor
  2 accounts (no such adjustments have been made in this analysis); and (b)
  3 aggregation of DLIF Investors' claims with the same TIN that might be
  4 subsequently identified outside of this analysis.
  5        24.   The modeling reflects that the following number of investor accounts
  6 will receive the greatest distribution under each of the models:
  7        Rising Tide:        592
  8        Net Investment:     94
  9        Last Statement:     228
 10        25.    I have looked at the total number of investors to be benefited by each
 11 method and have concluded that Rising Tide is the most equitable distribution
 12 model. The results of our analysis show that 64.8% of the DLIF Investors will
 13 benefit from the Rising Tide method of distribution, as opposed to 10.3% for Net
 14 Investment and 24.9% for Last Statement.
 15        26.    I must look at the overall equity in the case and cannot allow for an
 16 individual’s or small group of individuals’ interests to drive the analysis. I do not
 17 believe that it is appropriate to permit a few investors to trace their funds in an
 18 attempt to receive payment in full ahead of other defrauded investors. I also have
 19 concluded that equity and collective interests of DLIF Investors are best served by
 20 precluding “benefit of the bargain” recoveries because the use of net asset values as
 21 a benchmark for valuing claims is unreliable and unjust. I also believe that tracing
 22 should not be permitted for any particular investor as I am unaware of any basis to
 23 differentiate one investor from another for purposes of equitably distributing
 24 available funds because any difference in terms of the manner in which they were
 25 defrauded are not material for these purposes.
 26        27.    I believe it is most equitable for all investors to ultimately receive a
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 28         DECL. OF BRADLEY D. SHARP ISO MOTION OF RECEIVER FOR APPROVAL OF
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  1 distribution equal to the same percentage of their cumulative investment,
  2 irrespective of whether the distribution was made directly from the investment
  3 scheme or by a receiver from the assets remaining in the receivership estate.
  4        28.    As modeled in Exhibit “4,” the Rising Tide distributions (including
  5 Pre-Receivership Returns and distributions that would be made under the
  6 Distribution Plan) reach approximately at least 30.53% for all DLIF Investors
  7 assuming a $150 million distribution. That is, DLIF Investors who received Pre-
  8 Receivership Returns from the Receivership Entities of less than 30.53% of their
  9 Total Investment would receive distributions from the Receivership such that their
 10 cumulative distributions would equal approximately 30.53% of their Total
 11 Investment.
 12        29.    My staff has been unable to make contact with just two potential DLIF
 13 Investors who may submit Late Filed Claims in the future.
 14        30.    The Distribution Plan combines multiple accounts held by a single
 15 taxpayer identification number. I believe that such treatment will prevent disparate
 16 outcomes between a DLIF Investor with a single account and similarly situated
 17 DLIF Investors who may hold multiple accounts, each with different pre-
 18 Receivership recovery rates. Consolidating multiple “accounts” associated with the
 19 same person is equitable under the facts of this case. A DLIF Investor in this
 20 scheme is not injured more or less simply by virtue of investing money in multiple
 21 accounts or accounts differently titled. And other DLIF Investors should not suffer
 22 or benefit on account of another DLIF Investor’s method of holding title to multiple
 23 accounts.
 24        31.    I believe that payment in full to DLIF Investors is appropriate prior to
 25 any payment being made to Class 5 (Unsecured Creditors), Class 6 6 (unliquidated
 26 Indemnity Claims) and Class 7 (Counter-Party Claims) of the Distribution Plan as
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 28         DECL. OF BRADLEY D. SHARP ISO MOTION OF RECEIVER FOR APPROVAL OF
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  1 courts commonly prioritize claims of innocent investors in a fraudulent scheme
  2 over other non-secured creditors. Additionally, I anticipate filing objections to the
  3 claims filed by the claimants comprising Class 6 and Class 7 (Counter-Party
  4 Claims).
  5        32.   Class 6 is composed of the unliquidated Indemnity Claims of former
  6 employees, officers, or directors of the Receivership Entities in connection with an
  7 employment contract entered into prior to April 1, 2019. I expect to dispute the
  8 Claims filed by each claimant in this Class and anticipate filing objections if I am
  9 unable to reach a compromise resolution with the Claimants, which could include a
 10 broader settlement of potential claims. The former employees, officers or directors
 11 that have filed Indemnity Claims include the Chief Investment Officer, the Chief
 12 Financial Officer, General Counsel, EVP, Research, and EVP Sales. With one
 13 limited exception, 2 I believe that the sole reason that these individuals may have
 14 Indemnity Claims is if in the future they suffer losses not covered by insurance,
 15 which is only a possibility if they are found liable for damages in excess of the
 16 available insurance coverage remaining from $35 million in Directors & Officers
 17 insurance. They then could theoretically assert that they are entitled to indemnity
 18 from the Receivership Entities based on pre-receivership employment contracts or
 19 certain entities’ organizational documents. Second, not only do I believe these will
 20 all remain unliquidated claims for the foreseeable future, but even if any of the
 21 Class 6 Claimants suffered a loss in a sum in excess of insurance coverage, I
 22 believe the loss almost certainty would be based on a judgment of wrongdoing,
 23
    2
      I understand that one former officer of DLI has incurred legal expenses that he
 24 attributes to a need to protect against future claims that theoretically could arise
    against him, from responding to future requests for interviews by governmental
 25 authorities, and for monitoring these proceedings. I am informed that he has been
    denied coverage by the insurers because they have determined that no claim has been
 26 made against him and no request for an interview has been made by a governmental
    authority that the insurers view as triggering coverage.
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 28         DECL. OF BRADLEY D. SHARP ISO MOTION OF RECEIVER FOR APPROVAL OF
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  1 which would result in the claims being disallowed because such wrongdoing was
  2 against the Receivership Entities and the claimants should be barred from pursuing
  3 indemnity claims as a result. Thus, I believe such claims would then be disallowed
  4 on that basis in any event.
  5         33. There are three Counter-Party Claims which claims include those filed
  6 by QuarterSpot, Talking Capital, and Three Line Capital, LLC (FKA Indigo Capital
  7 Markets, LLC). I dispute each of these claims and anticipate filing an objection to
  8 each filed Claim. These claims arise from or relate to the failure to lend money
  9 post-Receivership in connection with contracts entered into prior to April 1, 2019.
 10 More specifically, as to the claim of Counter-Party Talking Capital, I believe that this
 11 Counter-Party engaged in wrongful conduct with respect to DLI. Talking Capital was
 12 a predecessor to VoIP Guardian, and this claim should be disallowed. Similarly, the
 13 evidence shows that Counter-Party QuarterSpot worked with Ross to misreport
 14 borrower payments. I believe this claim should also be disallowed. I do not believe
 15 the claim of Three Line Capital is a valid claim and will object if necessary, but also
 16 am in negotiation with this Counter-Party about potential resolution and liquidation of
 17 DLI’s position in Three Line Capital, which would also resolve its claim. The claim
 18 of Investment L will be withdrawn under the terms of a confidential settlement that
 19 was approved on November 12, 2020 (Doc. No. 311).
 20         34.   I believe that an interim distribution of $150 million is appropriate and
 21 reasonable. I will continue to hold approximately $50 million of undistributed cash on
 22 hand, and I anticipate collecting an additional $85 million in connection with the loan
 23 portfolios. I am at the beginning stages of pursuing litigation claims and believe that
 24 additional recoveries may result from litigation efforts.
 25   ///

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 28          DECL. OF BRADLEY D. SHARP ISO MOTION OF RECEIVER FOR APPROVAL OF
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  1     35.   There are approximately 975 investors in the Receivership Entity both in
  2 the United States and overseas. I have a website for investors to obtain information
  3 regarding the receivership (https://case.stretto.com/dli). Additionally, I have
  4 directed my Court-approved claims agent Stretto to send by email the notice of
  5 hearing on this Motion to all investors.
  6        I declare under penalty of perjury under the laws of the United States of
  7 America that the foregoing is true and correct.
  8                             20 2020, at San Juan Capistrano, California.
           Executed on November __,
  9
 10
                                               Bradley D. Sharp
 11                                            Permanent Receiver
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 28         DECL. OF BRADLEY D. SHARP ISO MOTION OF RECEIVER FOR APPROVAL OF
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        TO DLIF INVESTOR CLAIMS; PROPOSED INTERIM DISTRIBUTION; AND NOTICE OF
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              Exhibit 1
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                            BRADLEY D. SHARP
                COURT-APPOINTED PERMANENT RECEIVER FOR
   DIRECT LENDING INVESTMENTS LLC, DIRECT LENDING INCOME FUND, L.P.,
       DIRECT LENDING INCOME FEEDER FUND, LTD., DLI CAPITAL, INC.,
          DLI LENDING AGENT, LLC, AND DLI ASSETS BRAVO, LLC AND
         THEIR SUCCESSORS, SUBSIDIARIES AND AFFILIATED ENTITIES




                     SECURITIES AND EXCHANGE COMMISSION,

                                           Plaintiff,

                                               v.

                         DIRECT LENDING INVESTMENTS LLC,

                                          Defendant.



                             Case No. 2:19−cv−02188−DSF−MRW

                                 United States District Court
                                 Central District of California
                                Western Division – Los Angeles



      Report Regarding the Investigation of the Receivership Entities’ Business Conduct and
                           Recommendations Regarding Distributions

                                               by

                             Bradley D. Sharp, Permanent Receiver

                                      November 13, 2020




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  I. Summary of Purpose and Conclusions of Report

  This Report Regarding the Investigation of the Receivership Entities’ Business Conduct and
  Recommendations Regarding Distributions (the “Report”) has been prepared by Bradley D. Sharp
  (the “Receiver”), with the assistance of other professionals at Development Specialists, Inc.
  (“DSI”) and the professional firms employed in this proceeding (together, the “Professionals”), for
  the purpose of providing the Court and interested parties with the results of his investigation of the
  facts that led to the substantial losses of investor funds and in assisting the Court in evaluating the
  Receiver’s proposed distribution plan in the Receivership case.

  The findings and conclusions in this Report are focused on the conduct of (i) Direct Lending
  Investments, LLC, which acted as the investment manager and is the defendant in this civil action
  (“DLI”); (ii) DLI Capital, Inc. (“DLI Capital”), which received capital from certain Feeder Funds
  (defined and described further below); with its subsidiaries DLI Assets, LLC and DLI Assets
  Bravo, LLC, both of which made loans and investments to borrowers, as further described below
  (collectively the “Master Fund”); and (iii) Direct Lending Income Fund, L.P. (“DLIF” or the
  “Onshore Fund”), which solicited investment from U.S. based investors. Investment was also
  sought from non-U.S. investors through Direct Lending Income Feeder Fund, Ltd., a Cayman
  Islands exempted company (“DLIFF” or the “Offshore Fund,” and together with the Onshore
  Fund, the “Feeder Funds”). While DLIFF is one of the Receivership Entities,1 the liquidation and
  distribution of its assets is subject to a separate Cayman Islands liquidation proceeding, which
  proceeding is governed by Cayman Islands law and is subject to the supervision of the Grand Court
  of the Cayman Islands.

  While the conduct described in this Report may, in certain instances, be applicable to DLIFF and
  its investors, the rights and potential claims of those investors against DLIFF are a matter of
  Cayman Islands law. The distribution to those investors is being undertaken as part of the
  liquidation of DLIFF in accordance with the laws of the Cayman Islands. Accordingly, unless
  otherwise expressly specified to the contrary, any conclusions in this Report in relation to the rights
  of investors shall mean the rights of the investors of DLIF, and such conclusions are not to be
  applied to the rights of the DLIFF investors. Furthermore, this Report distinguishes between the
  Receivership Entities and those entities excluding DLIFF (the “U.S. Receivership Entities”).
  Factual statements contained herein which are applicable to the U.S. Receivership Entities are not
  necessarily applicable to DLIFF.

  The Securities and Exchange Commission (the “SEC”) filed a complaint against Defendant Direct
  Lending Investments, LLC (“DLI”) on March 22, 2019, alleging fraud by DLI in violation of
  various federal securities law, including Sections 206(1) and 206(s) of the Advisors Act, Section
  10(b) of the Exchange Act and Rule 10(b)(6), and Section 17(a) of the Securities Act, and



  1
   Pursuant to April 1, 2019 (the “Receivership Date”), the Court entered the Preliminary Injunction Order and Order
  Appointing Permanent Receiver (“Receiver Order”), Doc. No. 10, the Receiver was appointed as the permanent
  Receiver over Direct Lending Investments LLC, DLIF, DLIFF, DLI Capital, Inc., DLI Lending Agent, LLC, and DLI
  Assets Bravo, LLC, and their successors, subsidiaries and affiliated entities (the “Receivership Entities”).



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  Section 207 of the Advisers Act (the “Complaint”).2 The SEC alleges in the Complaint that “this
  matter concerns a multi-year fraud perpetrated by DLI, a registered investment adviser, through
  its then-principal, Brendan Ross (“Ross”), which resulted in approximately $11 million in over-
  charges of management and performance fees to fund investors, and the inflation of DLI’s private
  funds’ returns.”

  On August 11, 2020, Ross, the former chief executive officer of DLI, was arrested by special
  agents of the FBI following a grand jury indictment on ten counts of wire fraud filed July 30, 2020.
  The indictment charges that “[b]eginning no later than in or about December 2013, and continuing
  to in or about March 2019 . . . defendant Ross, and others known and unknown to the Grand Jury,
  knowingly with the intent to defraud, devised, participated in, and executed a scheme to defraud
  the [f]unds, their investors, and Purchaser 1 as to material matters, and to obtain money and
  property from the victims by means of material, false and fraudulent pretenses, representations and
  promises, and the concealment of material facts.”3 Further, “between April 2014 and January
  2018, as a result of false and fraudulent monthly reports that Ross caused Company 1 to prepare,
  Ross caused the Fund’s monthly asset values to be cumulatively inflated by over $300 million.”4

  In conjunction with the indictment in the criminal case, the SEC filed a civil complaint in the
  United States District Court for the Central District of California alleging Ross defrauded investors
  of DLI, and seeking disgorgement of all funds received from his illegal conduct and civil penalties.
  The SEC alleges Ross engaged in fraud as an investment adviser; committed fraud in connection
  with the purchase and sale of securities; and filed false registration forms with the SEC. The civil
  enforcement action alleges that Ross orchestrated an intricate, multi-year fraud by inflating the
  value and returns for an investment position held by the investment funds, starting in or around
  early 2014 through March 2019.5

  Although the Complaint did not specifically allege that the Receivership Entities were operated as
  a Ponzi scheme, the Receiver’s investigation has uncovered a pervasive fraud that morphed into a
  Ponzi scheme as the fraud and commingling of funds grew. That fraud, including the fraudulent
  misrepresentations commencing in 2012 set forth in Exhibit 1, is described in this Report. There
  are multiple factors revealing that the fraud turned into a Ponzi scheme, including but not limited
  to the fact that substantial redemptions and distributions were financed by fundraising efforts and
  paid from the commingled funds of similarly situated defrauded victims, and by early-2016 at the
  latest DLIF was insolvent.6 Those Ponzi scheme factors are addressed in this Report for purposes
  of providing the full picture of the nature and extent of the fraud. The Receiver is not seeking a


  2
     Securities and Exchange Commission, Plaintiff, vs. Direct Lending Investments LLC, Defendant, Case No.
  2:19−cv−02188−DSF−MRW; United States District Court, Central District of California, Western Division – Los
  Angeles District. An organizational chart of relevant entities is included on page 14.
  3
    United States of America v. Brendan Ross, aka “Brandon Rosen,” Case No. 2:20-cr-00327-CSF, United States
  District Court, Central District of California, Indictment, at ¶19.
  4
    Id. at ¶ 20(d)(iii).
  5
    See Securities and Exchange Commission v. Brendan Matthew Ross, Case No. 2:20-cv-07202, United States District
  Court, Central District of California, Dkt. No 1, at ¶¶ 4, 6, 8-10.
  6
    As discussed further below, the Receiver concludes that DLIF was insolvent as of early 2016 based upon the
  restitution rights of DLIF’s investors against it. This conclusion is based upon U.S. law applicable to DLIF. The
  Receiver reaches no conclusion as to the solvency or insolvency of DLIFF in this Report.


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  judicial determination of a Ponzi scheme at this time, but reserves the right to do so if and when
  such a finding becomes necessary.

  Aside from the question of when the conduct described in this Report morphed into a Ponzi
  scheme, there is substantial evidence of actual fraud and badges of fraud from the inception of
  DLI’s operations, including instances of self-dealing and misstatement of financial performance
  and activities intended to perpetuate an investor fraud. Based on the findings of the investigation,
  the Receiver describes in this Report the pervasive fraud that was a substantial factor leading to
  significant losses that in turn impacted investors. The pervasive fraud described in the Report
  forms a basis for his proposed distribution plan for investors of DLIF to treat similarly situated
  investors7 holding interests in the same assets on an equitable basis.

  The Receiver has concluded that the actions of Ross were fraudulent and led to substantial
  misrepresentations made to the investors. Ross and DLI then invested the funds in risky
  investments8 that led to losses. Those losses in turn, impacted investors who will suffer cash losses
  totaling $250.7 million9 as of March 31, 2019 based on the shortfall between the amount of net
  invested capital and the estimated future distributions to investors (“Aggregate Investor Cash
  Losses”).

  The Receiver also has concluded that there are third parties whose negligent or improper conduct
  were additional substantial contributing factors leading to the losses described in this Report. The
  Receiver expects to file lawsuits or try to resolve potential claims with a number of third parties
  pre-litigation and has filed one lawsuit already, as referenced below. The outcomes of such
  litigation and pre-suit settlement efforts are uncertain. The Receiver also continues to investigate
  who in addition to Ross may have engaged in intentional or other misconduct relative to the
  operations of DLI, its solicitations of investors, and its entering into and managing various
  portfolio positions. While this investigation is currently ongoing and confidential, further
  information regarding the results of this investigation will be forthcoming in future reports or in
  litigation that has been, or may be, filed by the Receiver.

  This Report focuses on the fraudulent misconduct of Ross and the consequences of his ability to
  control the Receivership Entities, which is of central importance to evaluating the best approach
  for an equitable claims distribution methodology for the U.S. Receivership Entities. The Receiver
  believes that Ross’ misconduct would have been prevented from continuing had certain third party
  professionals, and/or others, alerted individuals to the true condition of the investment funds and

  7
    Certain investors may have been aware of the fraudulent scheme or were aware of sufficient red flags that the U.S.
  Receivership Entities were operating as a Ponzi scheme, which may be addressed through litigation outside of the
  scope of the distribution plan if necessary.
  8
    The terms invested, invest and investment are used interchangeably throughout the Report to mean money loaned as
  debt or investment in equity vehicles.
  9
    Aggregate Investor Cash Losses of $250.7 million is based on the March 31, 2019 estimated investor net recovery
  (using information available as of July 31, 2020) of $287.8 million and investors’ net invested cash of $538.5 million.
  The estimated net recovery is based on future portfolio recoveries plus cash minus estimated future operating and
  professional fees minus estimated payments for administrative and priority claims. The ultimate recovery will be
  subject to the Distribution Plan including competing non-investor claims, increased by any proceeds from litigation
  that has been and will be filed by the Receiver, and reduced by any unforeseen operating costs, professional fees and
  expenses or other disbursements.


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  the fraud and misconduct outlined in this report prior to the discoveries in early 2019. These
  conclusions and allegations will be presented in connection with further litigation that may be filed
  by the Receiver.

          A. Summary of Critical Factual Findings

  Some of the more critical factual findings set forth in this Report are as follows:

       1. Pervasive fraud and misrepresentations to investors existed in the operations of the U.S.
          Receivership Entities since inception.

       2. Both earlier investors who received a return of some or most of their principal investment
          and more recent investors who did not receive any cash back were similarly situated as
          they shared in the same investment assets that were part of the same investment scheme
          in which their funds were commingled with each other and with proceeds from the loan
          portfolios.

       3. Records of the Receivership Entities show 952 investor accounts with a total investor
          NAV of $757.5 million across the two Feeder Funds as of November 30, 2018, the last
          period for which the books were closed.

       4. Excluding DLI’s investment account and one of Ross’s trust’s investment accounts, the
          total net invested capital was $538.5 million as of March 31, 2019.

       5. While some of the counterparty loans made by the Receivership Entities were profitable
          (though several of those loans generally did not generate returns close to what was
          represented), the Receiver estimates that there was an aggregate underreported allowance
          for doubtful accounts and bad debt expense of $501.4 million relative to the obligations
          of loan counterparties as of March 31, 201910 (“Net Loan Losses”) on account of the
          overstated nature of the loan portfolio and the generally high risk investments, many of
          which varied from the type and nature of investments promised to investors. See page 18
          for a discussion of DLI’s change in investment focus. In total, Aggregate Investor Cash
          Losses are estimated at $250.7 million as of March 31, 2019.

       6. Of the $1.7 billion in funding for loans to counterparties, only $465.2 million has been
          repaid in full, with interest, as of July 31, 2020. The $72.9 million return on these fully
          liquidated loans is insufficient to offset the realized and expected shortfall totaling
          $305.6 million on funding of $1.3 billion for unrecovered loans. As of July 31, 2020, a

  10
     The last period for which the books were closed was November 30, 2018. Outstanding loan balances that are
  presented or used for amounts after this date were prepared in a manner consistent with methodologies used to
  determine previously reported balances. Estimated amount of $501.4 million is based on the $788.0 million carrying
  value of the loan portfolio as of March 31, 2019 (using the manner described) less $286.6 million in total actual and
  estimated future loan recoveries on loan balances as of March 31, 2019, using information available as of the date of
  this Report. The Net Loan Losses estimated here reflect a conservative estimate and do not include expenses
  necessarily incurred by the Receivership Entities to recover additional amounts, among other things. Further expert
  development and analysis of the portfolios on a more fact-specific basis may lead to the conclusion that the actual
  overvaluations were larger. See Page 59 for a schedule of estimated loan performance by counterparty.


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           total of $232.6 million in principal funding remains unrecovered when including the
           $72.9 million return on fully liquidated loans. The Receiver estimates that only
           $123.5 million of that amount will be recovered. There are also significant expenses that
           have been incurred in order to allow for the estimated future recoveries.

       7. Other than with respect to the division of interests in the Master Fund assets between the
          two Feeder Funds, no investor held a direct or secured interest in any particular assets of
          the Receivership Entities.

       8. The funds used for payments to any given investor were commingled with other investor
          funds and, at times, commingled with borrower payments received in connection with the
          various counterparty loans that were made. Given the commingling of funds and the
          fungibility of money, it would be a burdensome and costly task to make a specific
          determination as to whether the source of any given payment made to a particular investor
          was attributable to funds from later investors or to a payment from a loan portfolio. See
          page 34 for a discussion of commingled funds.

       9. The accounting records, and the account statements delivered to investors, do not reflect
          appropriate reserves for uncollectable assets and include inflated “mark-ups” relative to
          appropriate asset valuations, both of which result in a misrepresentation of income, value
          of assets and net worth as well as overstated net asset values (“NAV”).11

       10. 80% of the payments made to investors since inception, either as redemptions or
           distributions, were derived from funds from later or existing investors (including
           participation funds from DL Global, Ltd.) rather than from legitimate and profitable
           returns from the loans to counterparties.12

       11. DLI made net payments and allocations of $31.4 million directly or indirectly to or for the
           benefit of Ross.13

       12. A total of $647 million was loaned to counterparties in which Ross had or may have had
           a financial interest. For the purposes of this Report, the Receiver estimates an
           underreported allowance for doubtful accounts and bad debt expense of $343.7 million
           relative to the obligations of these loan counterparties as of March 31, 2019.14 Ross
           continued to direct new loans to counterparties even when the losses or poor financial
           condition of the loan portfolio was evident.

  11
     The net asset value of the Master Fund is calculated by adding the fair value of its investments, cash, and other
  assets and subtracting its liabilities in accordance with GAAP. See page 60 for a discussion of findings relative to
  overstated asset valuations.
  12
     Based on the methodology discussed on page 46.
  13
     See page 51 for a discussion of payments and allocations made directly or indirectly to or for the benefit of Ross.
  14
     The last period for which the books were closed was November 30, 2018. Outstanding loan balances that are
  presented or used for amounts after this date were prepared in a manner consistent with methodologies used to
  determine previously reported balances. The $343.7 million estimate is calculated by taking the March 31, 2019
  principal balance of $398.5 million (using the manner described above) and comparing it to the estimated recoverable
  balance of $54.8 million (using information available as of July 31, 2020). See page 55 for a discussion of loans to
  counterparties in which Ross had or may have had an economic interest.


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       13. 853 DLIF investors received $89.3 million in cash in excess of their investment.15

       14. Since at least April 30, 2016 forward, DLIF was insolvent16 when limiting the liability to
           its investors to the amount of their net invested capital. The fraud and increasingly poor
           counterparty loans resulted in a financial situation where DLIF was unable to return all
           invested capital to its investors, let alone generate real profits sufficient enough to keep up
           with the returns paid and/or reported to investors.

       15. Investors were subject to the inflated valuations reported by DLI, the misrepresentations
           made to investors regarding the nature of the investments made with their funds, and the
           commingling of their funds with other investor funds and loan portfolio proceeds. They
           were also all subject to the misappropriation of funds and other misconduct by Ross which
           was a significant cause of the substantial unrecognized losses.

           B. Summary of Conclusions

  Based on these findings, as set forth in more detail in this Report, the Receiver has concluded that
  there was a fraud from the inception perpetrated by Ross. That fraud has caused similar harm to
  each of DLIF and DLIFF, which harm will be borne by the investors in each. As noted above,
  while similar (or possibly materially identical) factual circumstances may apply to the investors of
  DLIFF, their rights and potential claims as against DLIFF are a matter of Cayman Islands law and
  conclusions stated herein regarding rights of investors are not references to the rights of DLIFF
  investors, unless specifically and expressly confirmed as such. The Receiver has also concluded
  the following:

       1. Under U.S. law, each investor in DLIF (each a “DLIF Investor”) is similarly situated and
          holds the same type of claim for restitution on account of that fraud. The fraud was a
          substantial factor causing the losses of DLIF Investors.17

       2. Irrespective of whether a Ponzi scheme exists, the Distribution Plan should be based on
          the principal that, for DLIF Investors subject to U.S. rules, similarly situated investors
          must be treated alike to preserve equity and fairness and that all fraud victims should be
          treated alike, as is required by applicable U.S. law. The pervasiveness of the fraud and
          the commingling of assets are sufficient to warrant the pooling of the assets and liabilities
          for purposes of distributions to be made under any Distribution Plan.

       3. It is unlikely that investors will be repaid in full. It would be inequitable as a matter of
          U.S. law to distribute assets based on an assumption that an investor should recover both

  15
     See page 49 for a discussion of net winners.
  16
     As used further in this Report, the term “insolvent” refers to an inability of an obligor to satisfy the valid restitution
  claims of investors and to the operation of a company with unreasonably small capital. See page 39 for a discussion
  of insolvency and page 68 for a discussion of solvency over time.
  17
     The Receiver has run a claim process and has determined which of the DLIF Investors continue to hold claims as
  of the Receivership Date. Distribution on account of the allowed claims will be made pursuant to a distribution plan
  that the Receiver will propose and that will be subject to Court approval (the “Distribution Plan”).


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            fictitious profits and principal based on a benefit of bargain basis since (a) reports of
            returns were made to all investors based on misrepresented NAV figures; and (b) earlier
            investors were repaid at the expense, and to the detriment, of the similarly situated later
            investors.

       4. The best way to put the DLIF Investors on equal footing is to treat the prior payments
          made to these investors, whether as distributions or redemptions, as a return of principal,
          so that the DLIF Investors who receive a distribution through the Distribution Plan may
          share on a pro rata and equitable basis.

       5. The assets and liabilities of the Receivership Entities must be pooled together in order to
          equitably and sensibly account for all of the assets of the Receivership Entities and to
          fairly make distributions to DLIF Investors and other creditors of the Receivership Entities
          who will receive a distribution pursuant to the Distribution Plan.18

       6. Because investors have received differing levels of returns, a distribution method that
          seeks to equalize returns to the DLIF Investors would be most equitable.


  II. The Engagement

           A. Background

  On April 1, 2019 (the “Receivership Date”), the Court entered the Preliminary Injunction Order
  and Order Appointing Permanent Receiver (“Receiver Order”), Doc. No. 10, appointing Bradley
  D. Sharp as permanent receiver over the Receivership Entities

  The Receiver has been granted the full powers of an equity receiver over all funds, property and
  assets belonging to, being managed by or in the possession of or control of, the Receivership
  Entities. (Receiver Order, Section VI). In addition, among other things, the Receiver Order
  provides that the Receiver has been granted specific powers to make such payments and
  disbursements from the funds and assets taken into custody, control, and possession or thereafter
  received by him, and to incur, or authorize the making of, such agreements as may be necessary
  and advisable in discharging his duties as permanent receiver. (Receiver Order Section VI.F).

  Some of the entities comprising the Receivership Entities were operating businesses. Their assets
  consist of portfolios of loans and investments made by certain Receivership Entities to third
  parties, with loans and investments ranging in size from $1 to $2 million to approximately
  $200 million. DLI obtained investors for its loan portfolios through two “feeder” funds, one
  Delaware limited partnership soliciting investment from United States investors (DLIF) and one
  Cayman Islands-exempted company soliciting funds from outside the United States (DLIFF).

  Based on the information provided in the Complaint filed by the SEC on March 22, 2019 and the
  books and records of the Receivership Entities, the Receiver determined November 1, 2012

  18
     The only exception that arises is with respect to the assets and liabilities of DLIFF, which are subject to a separate
  liquidation proceeding in the Cayman Islands.


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  through March 31, 2019 to be the most relevant time period (the “Relevant Time Period”) for his
  Investigation. This Report covers the transactional history of the Receivership Entities for the
  Relevant Time Period and summarizes the Receiver’s findings based on the accounting work
  performed to date. The Receivership Entities and bank accounts covered by this Report are listed
  on Exhibit 2. In furtherance of his responsibilities in the investigation, the Receiver has prepared
  this Report to assist the Court and the interested parties in evaluating the facts of this case and
  focusing on the appropriateness of the Distribution Plan proposed by the Receiver.

         B. Scope

  The Receiver Order directs the Receiver “to make an accounting, as soon as practicable, to this
  Court and the SEC of the assets and financial condition of the Receivership Entity, and to file the
  accounting with the Court and deliver copies thereof to all parties.” As discussed below, the
  Receiver has (a) reviewed and analyzed the Receivership Entities' bank records and books and
  records of the various Receivership Entities, (b) evaluated the Receivership Entities' sources of
  funds, and (c) evaluated the Receivership Entities' use of funds.

  The primary objectives of the Report are to: (1) identify the sources and uses of investor funds;
  (2) reach a conclusion with respect to whether fraud was a cause of the losses; (3) establish the
  factual basis on which to structure the most equitable distribution plan in this case; and
  (4) determine the amount received for the personal benefit of Ross.

  The Receiver believes the present accounting is complete and further analysis will not appreciably
  change the findings herein, which are geared to the purposes of the Report.

  Informal and formal fact discovery in this case has been substantial and the Receiver believes that
  the information discovered to date forms a sufficient basis for the conclusions in this Report. The
  Receiver notes, however, that fact discovery has not concluded as of the filing of this Report, so
  this Report is based upon the information presently available and reviewed to date. The Receiver
  reserves the right to supplement or amend this Report in the event additional material information
  becomes available for review or if it is determined that any part of this Report is materially
  inaccurate. In addition, in the context of filed litigation pursued by the Receiver, it is expected
  that additional analysis will supplement many of the conclusions in this Report and the losses to
  the Receivership Entities, which in turn impacted the investors.

         C. Limitations of Report

  The information contained herein has been prepared based upon financial and other data obtained
  from the Receivership Entities’ books and records and provided to the Receiver, DSI, Diamond
  McCarthy LLP (“Counsel”), from the staff employed by the Receivership Entities, third parties,
  or from public sources.

  The Receiver has not subjected the information contained herein to an audit in accordance with
  generally accepted auditing or attestation standards or the Statement on Standards for Prospective
  Financial Information issued by the American Institute of Certified Public Accountants
  (“AICPA”). It does not constitute an audit of financial condition and is intended only to provide


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  information for use by the Court in aiding in evaluation of a distribution plan and in litigation
  related to this case. Further, the work involved so far did not include a detailed review of all
  transactions, and cannot be expected to identify all errors, irregularities or illegal acts, including
  fraud or defalcations that may exist. Accordingly, the Receiver cannot express an opinion or any
  other form of assurance on, and assumes no responsibility for, the accuracy or correctness of the
  historical information or the completeness and achievability of the projected financial data and
  valuations upon which the following Report is rendered.

           D. Forensic Investigation

  A forensic investigation requires professional judgment regarding, among other matters, the
  nature, timing and extent of procedures to be performed; the weight, quality and reliability of
  evidential matter; and the cost versus benefit of acquiring and testing evidence.

  The information supporting the Receiver’s analysis was obtained from company records and
  through discussions with investors, management, employees and other parties. Unless otherwise
  noted herein, the Receiver has not necessarily corroborated the completeness or accuracy of the
  information or the explanations provided to him.

  The forensic investigation of the Receivership Entities conducted by the Receiver and his staff has
  involved extensive review of the individual portfolio positions, and the flow of money through the
  investor accounts. The Receiver’s initial focus was on assessing the status of the various portfolio
  positions in an effort to maximize the value and monetize, to the extent possible, the existing
  positions for the benefit of the Receivership Entities. Through this process, the Receiver has
  succeeded in recovering a net amount of $177.4 million19 from the loan portfolio through July 31,
  2020.

  In addition to the detailed analysis of the portfolio positions that was instrumental to the
  optimization of recovery for the estate, the Receiver has conducted extensive analysis of the books
  and records of the Receivership Entities for the purpose of evaluating the reasons for the
  deterioration of the financial position of the Master Fund20 (and the weaknesses in the Master Fund
  that were hidden from the start), which conditions were in place before the Receivership.

  Furthermore, the Receiver also performed an analysis of DLIF investors’ positions (including
  insiders and potential insiders) who received payment in excess of their respective investments.
  This “net winner” analysis was necessary to provide data regarding the existence and extent of net
  winners. This data and the product of other analyses conducted will be utilized in fashioning the
  Distribution Plan to be proposed to this Court.

  The Master Fund’s investments encompassed various loans, loan portfolios, and other complex
  credit facilities. As set forth below, the Receiver and his Professionals have conducted extensive
  analysis of all 29 investments. The records were often spotty and incomplete, difficult to locate,
  and in some instances inaccurate. The existence of underlying fraudulent acts and the type and

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   Net of additional loan fundings and participation collections on behalf of third parties.
  20
   In this reference and in certain other references to the Master Fund, the Receiver’s intent is to also include DLIF,
  which was the investing fund prior to the October 2016 restructuring which created the Master Fund.


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  nature of the transfers involved within each position was not discoverable until the Receiver and
  his Professionals reviewed and analyzed the voluminous accounting records and files, which is
  part of an ongoing investigation even as of the date of this Report.

  The most significant hurdle that the Receiver faced in conducting the forensic accounting analysis
  was the fragmented and incomplete state of the accounting records. Upon investigation, the
  Receiver learned that the accounting records were not maintained in a traditional way on a
  centralized accounting software system. Instead, the accounting records used to track the financial
  activity existed across numerous Excel documents with a significant amount of accounting entries
  having not been completed (e.g., recording the breakdown between interest and principal
  components from payments received from counterparties), all of which resulted in significant time
  and effort to reconstruct a more accurate record of the cash activity across all entities and bank
  accounts. Once the accounting records were reconstructed, the Receiver was ultimately able to
  more readily discover the nature of the underlying acts, transfers and other activity of the
  Receivership Entities.

  III. Pre-Receivership

             A. Company Overview

  DLI was founded in 2012 “during a post-financial-crisis surge of interest in what was then called
  peer-to-peer (P2P) Lending.”21 As an SEC-registered investment adviser with its principal place
  of business in Glendale, California, DLI was the general partner and investment manager of two
  investment “feeder” funds through which funds from investors were obtained. The Feeder Funds
  consist of DLIF, which is the entity that came to obtain investments from persons domiciled in the
  United States, while the offshore investment entity, DLIFF, a Cayman Islands Exempted Company
  formed in 2016, obtained overseas investor funds.

  Subsequent to the October 2016 restructuring, DLIF and DLIFF used these investor funds to make
  debt and equity investments into DLI Capital, which contributed capital to DLI Assets, LLC and
  DLI Assets Bravo, LLC, among others, which made loans to third parties. In some cases, the
  Master Fund entered into a co-lending relationship with another lender to make the loan to the
  third party. The borrowers, or counterparties, were lending companies, some of which made loans
  to small businesses or consumers, with those loans becoming the collateral for the Master Fund’s
  loans. Below is an organizational chart prepared by DLI’s management showing the Feeder Funds
  and other related entities under its control as of January 2019.


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       As discussed in the December 2017 investor letter.


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                                Direct Lending Investments Organizational Chart




         Source: Image extracted from DLI’s records.



  Ross is the sole member of and was, until March 18, 2019, the chief executive officer of DLI.

  The organizational chart prepared by DLI’s management shows the Feeder Funds and the Master
  Fund (together, the “Funds”), which DLI advised, and the other entities under DLI’s control. The
  following is a summary of those entities, including those not pictured, and their role in the business
  enterprise or relationship to DLI.

     1. Direct Lending Investments, LLC: Direct Lending Investments, LLC (f/k/a Direct Lending
        Income Fund Advisors, LLC) is a California limited liability company and is an SEC
        registered investment advisor that advises a private investment fund structure which invests
        in various companies, instruments and counterparty lending platforms. DLI provides
        investment advisory services to a private investment fund structure, comprised of the
        Feeder Funds and the Master Fund. DLI is the investment manager of DLI Capital, the
        general partner and investment manager of DLIF and the investment manager of DLIFF.
        DLI has no clients other than the Master Fund and the Feeder Funds and does not offer any
        investment management services to any other person or entity.

          DLI was formed by a merger on April 27, 2016 between Direct Lending Income Fund
          Advisors, LLC and a previously existing Direct Lending Investments, LLC entity. The


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          previously existing Direct Lending Investments, LLC entity shut down in connection with
          the merger as Direct Lending Income Fund Advisors, LLC was the surviving entity that
          was renamed Direct Lending Investments, LLC. DLI’s only assets as of the date of the
          Receivership included cash, its investment account with DLIF,22 ownership of DLI
          Lending Agent, LLC, office equipment and furniture, wall art and office leasehold
          improvements.

       2. Direct Lending Income Fund, L.P.: Direct Lending Income Fund, L.P., a Delaware limited
          partnership, was the original entity that obtained investments from all investors, with DLI
          as its general partner. Subsequent to the restructuring in October 2016, discussed below,
          DLIF became the Feeder Fund that obtained investments from only those persons
          domiciled in the United States.

       3. Direct Lending Income Feeder Fund, Ltd.: Direct Lending Income Feeder Fund, Ltd.,
          Cayman Islands Exempted Company formed in 2016, is the offshore investment entity that
          obtained overseas investor funds. DLIFF is presently in an official liquidation proceeding
          in the Cayman Islands. On May 14, 2019, following an order from the District Court dated
          the same day, the Receiver, on behalf of DLI, passed a unanimous written resolution to
          place DLIFF in voluntary liquidation. The voluntary liquidators (Mr. Sharp and Mr.
          Christopher D. Johnson) subsequently filed an application by way of petition in the Grand
          Court of the Cayman Islands (the "Cayman Court") under Cause No. FSD 108 of 2019
          (NSJ) for the liquidation to continue under the supervision of the Cayman Court. Pursuant
          to the Official Liquidation Order, liquidation of DLIFF ("Cayman Liquidation") is to be
          continued under the supervision of the Cayman Court, and Mr. Johnson and Mr. Sharp
          were appointed as the Joint Official Liquidators of DLIFF (the “Joint Official Liquidators”
          or “JOLs”). Accordingly, all assets and liabilities of DLIFF will be administered in the
          Cayman proceeding.

       4. DLI Lending Agent, LLC: DLI Lending Agent, LLC (“DLILA”), a Delaware limited
          liability company previously known as Blackbird Financial Group, LLC (“Blackbird”), is
          owned 100% by DLI and holds a lending license. Prior to DLI’s ownership, Blackbird was
          owned by Dealstruck Holdings, Inc., which is the parent of Dealstruck, Inc. and
          MyBusinessLoan, LLC. Blackbird held a California lending license issued September 18,
          2014. As part of the strict foreclosure of the Dealstruck investment in December 2016,
          Dealstruck Holdings, Inc. transferred ownership of its assets, including Blackbird, to
          Dealstruck Holdco (ABC), LLC (“Dealstruck ABC”) as assignee for the benefit of its
          creditors. DLI purchased Blackbird from Dealstruck ABC via an asset purchase agreement
          dated as of March 21, 2017 for a price of $150,000, and shortly thereafter changed its name
          to “DLI Lending Agent, LLC.” On May 10, 2017, the California Department of Business
          Oversight issued an amendment to Blackbird’s lending license changing the licensee name
          to DLI Lending Agent, LLC, and changing its address to DLI’s business address. DLILA
          was generally used as the agent for loans made to counterparties. DLILA does not own any
          assets other than the lending license.


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    DLI’s investment account with DLIF, described more fully on page 50, is not expected to result in an allowed claim.
  Intercompany claims will be adjudicated as part of the yet-to-be-determined Distribution Plan.


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     5. DLI Capital, Inc.: DLI Capital, Inc. is a Nevada corporation. DLI Capital is wholly owned
        by DLIF and DLIFF through its Class D and Class O share classes, respectively. It is the
        Master Fund, capitalized by the two Feeder Funds through a mix of equity and debt, with
        DLI Capital in turn investing through its equity in DLI Assets Bravo, LLC and DLI Assets,
        LLC.

     6. DLI Capital Partner, Inc.: DLI Capital Partner, Inc., a Nevada corporation, commenced
        operations on October 1, 2016 and was owned 100% by DLI Capital and once owned a
        0.01% interest in each of DLIAB and DLI Assets, until being dissolved on December 31,
        2018.

     7. DLI Assets Bravo, LLC: DLI Assets Bravo LLC (“DLIAB”), a Nevada limited liability
        company, is wholly owned by DLI Capital. The capital investments made by DLI Capital
        in DLIAB were used by DLIAB to make investments. Those investments by DLIAB often
        generated funds from principal and interest payments that flowed back to the Master Fund.
        Such funds were commingled with investor funds from the Feeder Funds and became
        available for payments to investors in DLIF and DLIFF.

     8. DLI Assets, LLC: DLI Assets, LLC (“DLI Assets”), a Nevada limited liability company,
        is also wholly owned by DLI Capital. DLI Assets holds a portfolio of whole loans
        originated by a former DLI investment counterparty (Dealstruck), and which loans DLI
        subsequently acquired in a foreclosure following that counterparty’s default. The funds
        from principal and interest payments from the whole loans acquired by DLI Assets were
        an additional source of funds that flowed back to the Master Fund. Such funds were
        commingled with investor funds from the Feeder Funds and became available for payments
        to investors in DLIF and DLIFF. During the Receivership, the Dealstruck portfolio was
        sold to a third party, leaving DLI Assets with no activity or assets.

     9. DLI TC, LLC: DLI TC, LLC is wholly owned by DLIF and is an affiliated entity of the
        named Receivership Entities. This entity was established in connection with the realized
        Talking Capital Partners I, LLC (“Talking Capital”) investment which predates the master-
        feeder restructure and is the subject of pending litigation. The Talking Capital litigation is
        currently stayed as to the Receivership Entities. This entity is currently dormant aside from
        being a defendant in the litigation. See Exhibit 6 for further discussion of Talking Capital.

     10. DLI SPV I, LLC: DLI SPV I, LLC (“DLI SPVI”), a Delaware limited liability company,
         is owned by DLIAB as its sole member and is managed by DLI. DLI SPVI was formed as
         part of a strategy to obtain debt financing from a division of Pacific Western Bank called
         CapitalSource (referred to internally at DLI as “CapSource”) in late 2018. Assets that
         would have been included in the contemplated facility’s borrowing base would have been
         transferred to this entity. This entity has no activity.

     11. DL Capital, Inc.: DL Capital, Inc., a Nevada company, was intended to be the sole limited
         partner in DLIF. This entity was dissolved on January 10, 2018.




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     12. Direct Lending Capital Partners, Ltd.: Direct Lending Capital Partners, Ltd., a British
         Virgin Islands company, was formed for the purpose of raising institutional capital to
         become the sole limited partner and acquire all the assets of DLIF. At the time of
         formation, the group was structured as DLIF managed by DLI and Ross was exploring new
         fund structures, possibly to accommodate foreign and/or institutional investors. Direct
         Lending Capital Partners, Ltd. and Direct Lending Income Fund (DE Statutory Trust) were
         apparently contemplated to be foreign and domestic feeder funds, respectively, managed
         by Direct Lending Services, Inc. as the general partner. It appears these entities were never
         used. The entity was dissolved on November 1, 2018.

     13. Direct Lending Income Fund (DE Statutory Trust). See notes directly above regarding this
         entity which was dissolved on August 14, 2017.

     14. Direct Lending Services, Inc.: Direct Lending Services, Inc., a California corporation, was
         intended to be the general partner and manager of DLIF before being dissolved on July 31,
         2017.


         B. October 2016 Restructuring

  Prior to a restructuring of the fund structure in October 2016, all domestic and foreign investors
  invested through DLIF which then invested its funds in DLIAB and DLI Assets. In October 2016,
  DLI moved to a two-feeder fund structure with the formation of DLIFF, the offshore exempted
  company in the Cayman Islands, along with DLIF serving as the Onshore Fund. DLI Capital
  served as the Master Fund through which investor funds obtained from DLIF and DLIFF were
  contributed and deployed. DLI formed DLIFF to solicit investments from non-United States
  investors. The funds from the Feeder Funds were used as loans initially by DLI Capital to its
  wholly owned subsidiary DLI Assets, and later to DLIAB, another subsidiary. The funds were
  ultimately loaned to third party borrowers, and the third party borrowers in turn were generally
  lenders which made loans or extensions of credit to others (the “subsequent loans”).

  The new structure was formalized in two Loan and Security Agreements each dated as of
  October 1, 2016 (“LSA”), one with DLIF as lender and one with DLIFF as lender, and with
  Millennium Trust Company, LLC as the custodian for the benefit of each of the lenders. Under
  each of the LSAs, the Feeder Funds agreed to lend money to DLI Capital as borrower under a
  revolving loan facility. In fact, the two Feeder Funds typically sent investment capital to the
  Master Fund in the following manner: up to 80% of the capital is in the form of debt and 20% or
  more of the capital in the form of equity. DLI Capital in turn would use the invested funds to make
  equity investments in two subsidiaries DLI Assets and DLIAB, and those entities typically made
  loans to third party borrowers (the “subsequent loans” referred to above) generally on a secured
  basis. The LSAs by their terms granted DLIF and DLIFF security interests in the loans and equity
  investments made by DLI Capital. The collateral for the loans under the LSAs is described as all
  the “Collateral Assets” of DLI Capital, including all the loans made and collateral received by DLI
  Capital, along with DLI Capital’s ownership interests in any subsidiaries, funds in a control deposit
  account for the deposit of the underlying loan payments received by DLI Capital, and all other
  assets of DLI Capital.



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  DLIF and DLIFF also entered into an Intercreditor Agreement dated as of September 30, 2016,
  which provided for the lenders DLIF and DLIFF to have pari passu rights in the loans made to
  DLI Capital. The pari passu rights were stated to extend to the notes in favor of DLIF and DLIFF
  by DLI Capital, the collateral for the notes, and all payments and collections or proceeds of
  enforcement of the loans received by either DLIF or DLIFF.

  DLI served as the investment manager for both DLIF and DLIFF. DLI represented that the
  loan/investment portfolios in turn would generate an income and payment stream for DLIF and
  DLIFF, and DLI and Ross charged substantial management and administrative fees for their
  services in operating the investment structure. The movement of funds back and forth between
  DLI, Ross and the Master Fund under the guise of management fees and investments is described
  more fully on page 51.

  The restructuring of DLI’s investment vehicles also purported to accomplish certain tax objectives
  as explained in the October 2016 investor letter, an excerpt of which is included in Exhibit 3.

           C. Change in Investment Focus

  The Master Fund invested in loans, receivables and other debt obligations purchased from various
  loan originators. It also originated loan facilities to special purpose vehicles collateralized by loans,
  receivables and other debt obligations. In addition, it provided limited financing in 2015 to non-
  bank lenders by investing in equity interests of special purpose vehicles, the purpose of which was
  to acquire and hold loans to small- and medium-sized businesses or consumers.

  DLI’s investment strategy initially focused on the purchase of small business whole loans to
  generate current income for investors. DLI communicated its strategy and made representations
  to investors through investor letters sent periodically to investors, which are addressed in more
  detail on page 69 of this Report. In 2013 and 2014, DLI’s investor letters described the investment
  strategy as utilizing a fixed income approach with ownership of loans with consistent payment and
  default characteristics. These descriptions by themselves were often misleading and omitted
  material facts. Ross did not disclose his QuarterSpot, Inc. (“QuarterSpot”) reporting fraud, which
  began by no later than late 2013, misrepresented the true investment returns, and falsely claimed
  that DLI did not invest in “start-up companies,” among other falsehoods. By 2015, the investment
  strategy itself had begun to shift fundamentally to setting up financing structures with lenders that
  purportedly paid a fixed return on the investment, and for which the lender’s individual loans
  served as collateral assets. Not until the July 2016 investor letter, however, did DLI disclose to
  investors that it was now financing loans by funding facilities where the underlying lenders were
  in a “first loss position.”23

  The shift in investments was material and resulted in increased risk exposure to investors which,
  if known, could have resulted in a significant exodus of investors and invested capital. DLI moved
  away from purchasing whole loans that supposedly paid on a consistent, monthly basis to making
  loans that by their terms did not require the borrowers to make regular monthly payments. For
  example, in 2015, DLI began lending large sums of money to Investment T pursuant to a credit

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    The first loss position is an investment that will suffer the first economic loss if the underlying asset loses value.
  The first loss position generally carries a higher risk and a higher yield.


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  facility (the “Investment T Facility”). The loans to the Investment T Facility were for the purchase
  and rehabilitation of residential real estate in the Los Angeles area (“fix and flip” residential real
  estate loans). The substantial departure from DLI’s described objectives of investing in short-term
  consumer loans through the real estate loans was not disclosed in early investor letters. The loans
  to the Investment T Facility caused a large percentage of DLI’s investor’s funds to be indirectly
  invested in real estate, contrary to the purported objective of short term, stable cash returns. In
  fact, though this investment was expressly built on DLI capitalizing interest due from the borrower,
  rather than cash interest being paid, investor letters during this period continued to emphasize
  current income and the attractiveness of “‘cash flow based’ liquidity that …comes from actual
  repayment.” The Receiver has concluded that the misrepresentations and non-disclosures were
  intentional on the part of Ross and were made by him in order to continue to attract investments
  from a similar pool of investors that invested based on the promises of stable, immediate cash
  returns from investing in whole loans.

  As another example, despite the fact that DLI continued to assure investors that it owned “loans
  and not equity” (see, e.g., its July 2016 investor letter), by 2015, DLI invested in a substantial
  equity position involving Investment H.24

  The continuing departure by DLI from the investment strategy that was represented to investors is
  also illustrated by the fact that in the spring of 2017, DLI started investing in a company that
  acquires and enforces patent rights through litigation. While the company’s efforts were initially
  confined to the United States, shortly after it began its relationship with DLI, it shifted its patent
  enforcement strategy almost entirely to China. This was a dramatic departure from the direct
  lending strategy. Between May 2017 and September 2018, DLI lent almost $60 million to this
  entity pursuant to a credit agreement that called for 15% interest payments. Although in 2017
  investor letters began to disclose DLI’s shift from small business loans to different types of
  receivables, and in April 2018, DLI disclosed that it was making loans to SPEs holding financial
  and non-financial assets representing “highly illiquid investments,” it was not until the July 2018
  investor letter that DLI disclosed information about investing in “intellectual property,” more than
  a year after that investment activity had begun.

  In a December 2017 letter to investors, DLI presented to its investors the following chart of asset
  allocation by asset type over a 3-year period, which begins to illustrate the impact of the change
  over time:

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    See Notice of Motion and Motion of Receiver for Order Approving: (1) Settlement and Restructuring Agreement
  with Investment H and Related Entities; (2) Payment of Raymond James & Associates, Inc. Fees; and (3) Form and/or
  Limitation of Notice Under Local Civil Rule 66-7 (Doc. No. 222) for additional information.


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                          Asset Allocation by Asset Type (1/2015 – 12/2017)
                       as Reported in the December 2017 DLI Investor Letter




                    Source: Image extracted from the December 2017 DLI Investor Letter.


  The chart, however, was misleading in several material respects. For example, the chart obscured
  investment types being made with significant portions of investor capital. DLI categorized
  investments by asset type, but did not define what each type was comprised of nor did it expressly
  state that all asset types listed are types of private credit. Further, the growth of the “other”
  category over time is troubling, as the chart does not disclose what is included in this category,
  which could include investments such as Investment M and the equity investment in Investment H.
  Similarly, “Receivables” includes loans to VoIP Guardian Partners I, LLC against receivables
  owed to parties that operated overseas, used foreign bank accounts, and had no indicia of
  legitimacy (see discussion on page 61). At the outset, the representation to investors regarding
  investment criteria was that DLI invested in whole loans that generated current cash income (see
  brown area in chart above). The portion of DLI’s portfolio that was actually invested in this loan
  type eventually drifted down toward 10% with updated representations to investors being made
  late to investors after such shifts had already happened.

  In the chart above which was shared with investors, at the direction of Ross, DLI intentionally
  used four deceptively similar shades of blue to portray the changing percentages of the Master
  Fund’s investments in (1) receivables, (2) “consumer”, (3) “real estate”, and (4) “other” assets.
  Moreover, the legend is placed over the “other” category, further visually obscuring the extent of
  the trend over time. The footnote with the following explanation creates further doubt as to
  accuracy of the asset allocation the chart purports to depict - the “classification of our investments
  includes subjective judgments. Reasonable parties might classify these assets differently which
  would likely result in different allocation percentages in this chart.”



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         D. SEC Regulatory Issues

  DLI was the subject of regulatory scrutiny for most of the time it acted as an investment advisor
  to DLIF and DLIFF. In December 2015, DLIF filed a Form N-2 registration statement with the
  SEC. In addition, on February 1, 2016, well after assets under management exceeded $100 million,
  DLI for the first time registered with the SEC as an investment adviser under the Investment
  Advisers Act of 1940. On February 8, 2016, the SEC replied to DLIF’s Form N-2 registration
  statement with a number of questions concerning DLIF’s business.

  Those concerns included well-founded questions about whether DLIF’s name (“Direct Lending”)
  implied that it was an originator of loans; whether DLIF would rely on information provided by
  the various lending platforms without verifying that information; what types of leverage DLIF
  would use; the process for selecting individual loans and whether the underwriting process was
  sufficient; whether DLIF would finance the lending platforms directly; DLIF’s procedures for
  monitoring the lending platforms; whether DLIF would enter into any preferential access
  agreements with the lending platforms; and whether DLIF was implementing proper valuation
  procedures, among others. DLI engaged its then-usual compliance counsel to send a response to
  the SEC. DLIF withdrew its registration request on June 1, 2016 rather than undertaking to satisfy
  all of the SEC’s questions.

  On October 11, 2016, the SEC initiated a limited scope examination regarding DLI’s compliance
  with federal laws and regulations, and requested information from DLI regarding its operations
  and investments. The SEC conducted an interview of DLI in October 2016 and reviewed certain
  DLI marketing materials.

  In February 2017, the SEC sent an exam request letter to DLI, for a period that initially covered
  January 1, 2015 to January 31, 2017, but was later extended to May 2018. On March 28, 2017,
  the SEC conducted an extensive three-day onsite examination of DLI. DLI was required to
  produce voluminous documents to the SEC over the course of the examination. DLI also provided
  a number of written responses to the SEC’s inquiries over the examination period.

  On July 25, 2018, the SEC sent a 40-page deficiency letter to DLI as a result of its lengthy
  examination, identifying numerous problems. The main areas of concern identified by the SEC
  included: (1) misleading statements and deceitful acts with respect to Dealstruck; (2) misleading
  statements and omissions regarding consumer loan platforms; (3) misleading and false returns and
  manipulation of loan loss reserves; (4) misleading statements regarding asset composition and
  duration; (5) misleading statements regarding conflicts of interest in connection with consumer
  platforms; (6) misleading statements and deceitful acts related to fee sharing arrangements; (7)
  concerns about the sufficiency of DLI’s compliance; (8) concerns about the potentially misleading
  nature of certain advertisements; and (9) the failure to register under the Investment Advisers Act
  of 1940 until 2016.

  The SEC noted that under Rule 203A-1, an adviser is required to register once it obtains
  $110 million of assets under management, and that by January 1, 2015, DLI had $118 million of
  assets under management. But DLI did not register for another year, until January 2016, when at
  that point DLI had approximately $450 million under management. In its registration memo, DLI



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  argued that its only client prior to registration was DLIF, and therefore did not provide advice
  regarding the purchase or sale of securities. But the SEC found that because the business model
  was to invest in special purpose vehicles that own the notes, DLIF had invested in securities of
  Investment I, which meant that DLI had clearly provided advice regarding the purchase of
  securities. As such, the SEC found that DLI’s failure to register until January 2016 was a violation
  of Section 203(a) of the Adviser Act.

  In addition to the support of DLI’s compliance counsel as discussed above, DLI engaged Paul
  Hastings on March 27, 2017, and other law firms, in attempting to respond to the SEC concerns.
  After extensive efforts, on October 1, 2018, DLI through Paul Hastings provided the SEC with a
  125-page response attempting to respond to each of the specific issues raised by the SEC. The
  response also represented that DLI had undertaken efforts to improve its compliance programs and
  attached an exhibit purporting to detail the various compliance milestones. The SEC responded in
  early 2019 asking DLI’s counsel for clarification on Ross’s future role in DLI. As described
  further below, in March 2019, Ross resigned from DLI.

           E. QuarterSpot, Inc. Side Pocket

  In mid-2017, as part of implementing a new valuation policy, DLI employees analyzed the
  QuarterSpot loan portfolio and discovered various issues, including that a large number of loans
  had small payments, and that many loans’ maturity dates were extended beyond the maximum 18-
  month term. The issues were significant enough for DLI to conclude that many QuarterSpot loans
  were significantly impaired, that the portfolio’s value needed to be reduced by $35-$36 million,
  and that DLI needed to take additional reserves. Due to difficulty in obtaining a clear
  understanding of QuarterSpot’s financials and reporting, DLI decided to side-pocket its
  QuarterSpot assets until DLI could obtain a proper valuation and determine an appropriate value
  for the portfolio. The portion of each investor’s capital account allocable to the QuarterSpot
  portfolio was allocated to the side pocket account, which resulted in investors receiving two
  statements for each month of the side pocket.

  Without a quick resolution of the side pocket, the Feeder Funds could have experienced reductions
  in subscriptions to and increases in redemptions from the Feeder Funds which would in turn have
  reduced the size of the Master Fund. DLI took a few notable steps in order to quickly resolve the
  side pocket account, including:

       1. amended the QuarterSpot agreement to gain access to additional underwriting and
          servicing data with respect to the underlying loans;
       2. engaged a valuation consulting firm to provide an independent valuation opinion of the
          QuarterSpot portfolio; and
       3. entered into an agreement to sell loan participations in QuarterSpot to DL Global, Ltd.
          (“DL Global” or “DLG”).25



  25
    DL Global, Ltd. is a Cayman Islands exempted company formed in the summer of 2017 for the purpose of
  purchasing $232.1 million in loan participations from the DLI entities. DLG’s principal at the time of the transaction
  was an investment advisor specializing in placing investments by investors in Korea.


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  As a result, by the end of August 2017, the side pocket was dissolved and its remaining assets
  merged back with the other investments.

  In September 2017, before the valuation consulting firm could evaluate the portfolio, DLI closed
  on DL Global’s purchase of approximately $55 million in loan participations in QuarterSpot at
  100% of the principal balance. Considering DL Global’s commitment to purchase the vast
  majority of DLI’s impaired QuarterSpot loans, the valuation consulting firm was able to value
  those assets at par, as if they were performing loans. Thus, the valuation consulting firm gave a
  favorable valuation to the QuarterSpot loan portfolio relying on the DL Global purchase price to
  value the loans at par rather than the underlying loan performance. Ross caused misleading reports
  to be presented to DL Global when DL Global was conducting due diligence in connection with
  its purchase of QuarterSpot participations.

  DLI’s sale of QuarterSpot participations and other assets to DL Global had the following effects:

     1. Allowed DLI to resolve the side pocket of the QuarterSpot portfolio that threatened DLI’s
        viability;
     2. Ensured that DLI would be able to pay $201 million in redemptions that were due to Korean
        investors, which Ross and DLI knew needed to be paid between September 2017 and
        October 2018 on a predetermined schedule; and
     3. Allowed DLI to avoid recognizing any losses on the sold QuarterSpot loans.

  Without the sale of the QuarterSpot loans, the timing and ultimate resolution of the side pocket
  would have been questionable. In all likelihood, however, the alternative outcome would have
  been a lower valuation of the QuarterSpot investment which would have raised significant
  concerns regarding the Master Fund’s investments and DLI’s ability to manage the Master Fund
  and the Feeder Funds, which might have led to an exodus of investors and a potential collapse of
  the structure.

         F. Events Leading to Brendan Ross Resignation

  On February 11, 2019, DLI announced to investors that the Feeder Funds had suspended
  withdrawals and redemptions because one of DLI’s largest counterparties, VoIP Guardian
  Partners I, LLC (“VoIP Guardian”), had ceased making payments on a $192 million loan. DLI
  indicated in its announcement that it suspected that the cessation of payments was likely a result
  of undetermined misconduct and that a substantial portion of the outstanding $160 million loan
  balance may not be recoverable.

  In and around late February of 2019, during an unrelated email review relating to VoIP Guardian,
  DLI employees discovered emails that indicated Ross: (a) directed QuarterSpot to rebate their
  service fees and falsely report them as small payments made by late and/or non-paying borrowers,
  and (b) conspired with QuarterSpot to hide his involvement in manipulating QuarterSpot’s
  reporting.

  On March 6, 2019, DLI removed Ross from its premises. On March 19, 2019, DLI announced to
  investors that another position, QuarterSpot, may have been materially overstated for a period of


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  years, and that, following the request of DLI’s management committee that he take a leave of
  absence, Ross had formally resigned all positions at DLI on March 18, 2019 and had ceded control
  to its management committee.

          G. SEC Complaint and the Appointment of a Receiver

  After the resignation of Ross, the SEC filed the Complaint in the United District Court for the
  Central District of California (the “Court” or the “Receivership Court”), Case No.
  2:19−cv−02188−DSF−MRW. The SEC sought the appointment of a receiver, and the Receiver
  was appointed as of April 1, 2019, commencing the receivership (the “Receivership”). Following
  the filing of the Complaint, the Receiver entered into a stipulation with the SEC, consenting to the
  entry of the Preliminary Injunction and Order Appointing Permanent Receiver entered by the Court
  in April 2019 and agreeing to, among other things, the disgorgement of ill-gotten gains and civil
  penalties determined by the Court upon motion by the SEC. Based on the financial information
  available and interviews with DLI employees and professionals, the Receiver, on behalf of the
  Receivership Entities, agreed to the entry of a consent judgment which was entered by the Court
  on June 14, 2019 (the “Judgment”). The Judgment, among other things, permanently restrained
  DLI, and its officers, agents, servants, employees, attorneys, successors, subsidiaries and affiliates,
  and those persons in active concert or participation with any of them, from, employing any device,
  scheme or artifice to defraud any client or prospective client; and from engaging in any transaction,
  practice, or course of business that would operate as a fraud or deceit upon any client or prospective
  client; in violation of the Advisers Act, 15 U.S.C. §§ 80b-6(1) & 80b-6(2). (Section III.) The
  Judgment further provided, among other things, that DLI shall pay disgorgement of ill-gotten gains
  and a civil penalty, in amounts to be determined by the Court upon motion by the SEC.
  (Section V.) DLI consented to this procedure, and agreed that it would be precluded from arguing
  that it did not violate the federal security laws alleged in the Complaint, and that it would not
  challenge the validity of the Consent or Judgment. (Consent, ¶ 4.)

  The Receiver has filed pre-Receivership tax returns for 2018 and the stub period through March
  31, 2019, and he has filed a qualified settlement fund (“QSF”) tax return for the Receivership stub
  period of April 1, 2019 through December 31, 2019, consistent with the provisions of Treasury
  Regulation § 1.468B(1)(c) and based on his understanding that criteria mandating the
  establishment of a QSF were present in this case.

          H. Investors as of the Receivership Date

  Records of the Receivership Entities show 952 investor accounts with a total investor NAV of
  $757.5 million across the two Feeder Funds as of November 30, 2018.26




  26
    The number of investor accounts and total investor NAV amount include all investment accounts with NAV
  balances, including DLI’s investment account and one of Ross’s trust’s investment account. See Exhibit 4 for DLIF
  and DLIFF’s NAV presented on a monthly basis from inception through November 30, 2018.


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                          Reported Investor NAV and Count as of November 30, 2018

                                                          Reported
                                                        Investor NAV             Investor Count
                            DLIF (Onshore)                  $577,949,793                      898
                            DLIFF (Offshore)                $179,581,078                       54
                            Total Combined                  $757,530,871                      952


  After November 30, 2018, DLI received $34.1 million in subscriptions and paid out $34.6 million
  in redemptions. This would have resulted in a reported NAV of $757.0 million as of the
  Receivership Date assuming everything else is held constant.

  Excluding DLI’s investment account and one of Ross’s trust’s investment accounts, the total net
  invested capital27 was $539.0 million as of November 30, 2018 and $538.5 million as of March
  31, 2019.

                           Subscriptions and New Investors after November 30, 2018
                                                        12/1/18-2/1/19                  New
                                                        Subscriptions              Investor Count
                            DLIF (Onshore)                  $23,638,525                        19
                            DLIFF (Offshore)                $10,456,900                         4
                            Total Combined                  $34,095,425                        23


  Since inception, the Receivership Entities raised a total of $1.5 billion from 1,843 investor
  accounts.28

  IV. Post-Receivership

           A. Information Recovery, Review and Analysis

  The Receivership Entities’ books and records are almost entirely held in electronic form, including
  the document/data management and email records. The Receiver took steps necessary to preserve
  the electronic records, including instructing the third parties managing the cloud databases and
  email records to preserve the electronic backup data and to ensure the data is not overwritten or
  deleted. The Receiver and his Professionals identified hundreds of thousands of documents, from
  multiple sources. There are very few hard copy records, and the Receiver has been able to obtain
  and secure all such records.

  27
     Net invested capital represents investors' total net cash invested with DLIF and DLIFF based on the total of
  subscriptions less redemptions less distributions. The net invested capital amount does not include the purported
  returns on investments that were reflected in the reports to investors as to the supposed value of their investments on
  their individual investor account statements.
  28
     Excludes $161.6 million in total of (a) DLI’s investment account, (b) non-cash transfers and (c) non-cash switches.
  The words switch or switches are used to describe an event whereby an investor closes their account with one fund
  (e.g., DLIF) in order to open a new account with the other fund (e.g., DLIFF).


                                                                                                                     25
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  Upon taking possession of DLI’s offices, the Receiver’s team performed a cursory review of all
  records located on the premises and available electronically. The team specifically sought out and
  reviewed in greater detail records pertaining to existing assets, accounting, investors/fundraising,
  acquisition/disposition of assets, and other related matters. All pertinent records and data were
  reviewed in detail as appropriate during investigation and administration of the Receivership. The
  universe of third-party records continues to grow as other investigations continue.

  In addition, the Receiver has received and reviewed investor tips; evaluated the claims and
  contentions of counterparties during settlement negotiations, as reflected in various refinancing
  and settlement agreements as approved by the Court; met with current and former DLI employees;
  and considered input from counsel that reflects attorney opinion work product based on counsel’s
  interviews of numerous witnesses, review of documents produced by many third parties, and
  factual and legal research.

  While the Receiver found a plethora of documentation and information, the records of DLI were
  deficient with respect to management level reports that would allow someone to quickly and easily
  understand the loan underwriting process, financial activity by counterparty, and uses of investor
  funds, among other key aspects of DLI’s business. During the Receivership, the Receiver and his
  team have worked with DLI employees to gather relevant information and documents, reconstruct
  loan activity, analyze all disbursements and conduct other analyses in connection with this Report.

  Shortly after the initial entry, the Receiver also took control of the bank accounts of the
  Receivership Entities and a bank account in the name of DLI Assets, LLC. All bank accounts have
  been secured, and the Receiver has opened new accounts as appropriate.

         B. Employees

  As of April 1, 2019, when the Receiver made his entry, DLI had 16 employees and one
  temporary/contract employee. In addition to the management team, the employees included
  accounting personnel, employees assigned to investor relations who respond to investor inquiries,
  personnel involved in loan and related collections, and legal personnel.

  With the authority granted to the Receiver based on the Court’s order granting the Receiver’s
  Motion for Instructions re Scope of Receivership (Doc. No. 57) (“Additional Receiver Authority
  Order”), by the end of third quarter 2019 the Receiver was able to address overstaffing by reducing
  the number of DLI staff from 16 to six employees and one temporary employee. By early October,
  the Receiver arranged for the remaining employees to work remotely to allow the Receiver to
  vacate the DLI leased office premises in Glendale.

  As of the date of this Report, there are four employees, all of which work remotely.

         C. Leased Premises

  Pursuant to the authority granted in the Additional Receiver Authority Order, the Receiver
  successfully subleased the DLI office space effective October 7, 2019, resulting in significant


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  savings to the estate as the scheduled sublease payments covered almost all of the monthly lease
  payments due under the Master Lease. Subsequent to the sublease, the Receiver was able to reach
  an agreement with the landlord to effectively buy out of the office lease which resulted in the
  termination of the office lease, termination of the sublease and release of funds used as collateral
  for the letter of credit held by the landlord.

         D. Opus

  Beginning in August 2019, the Receiver shifted the investor noticing work from Opus Fund
  Services (Bermuda) Ltd. (“Opus”) to the Receiver’s Court-approved claims agent Bankruptcy
  Management Solutions dba Stretto (“Stretto”) in anticipation of the termination of Opus as an
  ongoing service provider. Under the terms of the service agreement with Opus, the Receiver
  terminated the services of Opus effective September 26, 2019. As part of the termination of the
  services of Opus, the Receiver explored alternatives for all of the historical data and
  communications held by Opus to be transferred to the Receiver. Based on logistical issues with
  the transfer of the records, Opus instead acknowledged and agreed in writing to comply with the
  provisions of its service agreement that obligate Opus to maintain, at Opus’s expense, all
  documents, records, communications, and other investor data and to provide such data from time
  to time that the Receiver may request, at Opus’s expense. Opus continues to maintain records and
  provide the Receiver access to its portal.

  Since the termination of services of Opus, Stretto has taken primary responsibility for
  communications with investors. The Receiver’s team and DLI employees are also providing
  standardized information to investors about the status of DLI, its funds and the Receivership,
  including through the Receiver’s website that was established for the purpose of keeping investors
  informed of developments in the case.

         E. Tangible Personal Property

  In addition to the cash on hand and loan portfolio at the commencement of the Receivership, the
  estate included personal property and furnishings located at the DLI offices in Glendale,
  California. The Receiver inventoried the personal property assets and, in connection with the
  office sublease, the Receiver negotiated a sale of miscellaneous office furniture, office equipment,
  and office supplies to the new subtenant. The sale produced $20,000 in additional proceeds for
  the estate in addition to enticing the subtenant to move into the office space. The sale of the goods
  in place avoided the expenses of moving and attempting to liquidate this miscellaneous property
  that would have had little or no net value if it had not been sold in place.

  The Receiver has also sold all seven wall art pieces for $74,000 to two buyers following an order
  entered on June 1, 2020.

         F. Litigation Claims

  The other significant assets of the estate are potential litigation claims. The Receiver and his
  litigation counsel have concluded that improper and/or negligent conduct by certain third party
  professional service advisors and individuals were also substantial factors contributing to, or


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  directly, causing losses to the Receivership Entities. The Receiver and counsel are investigating
  those claims further, as well as additional potential claims, including potential claims against other
  professional advisors, fraudulent transfer and related claims, claims against third parties that may
  have conspired with Ross or aided and abetted improper conduct, as well as potential claims
  against former officers and directors of the Receivership Entities, which may be covered by the
  directors and officers liability insurance policy (“D&O Policy”). The investigations are at different
  stages, and the Receiver will provide additional reporting to the Court on those potential claims as
  settlement efforts are undertaken, as litigation unfolds and is proposed, and as additional
  information is developed.

  In the course of the investigation, the Receiver’s Counsel has issued more than sixty (60)
  subpoenas to third parties for the production of records -- including subpoenas to legal, accounting,
  valuation professionals, and financial institutions. Counsel has reviewed and analyzed a
  significant volume of the documents and records produced. These subpoenas, and voluntary
  productions by other entities, resulted in the production of more than 750,000 pages of documents.
  The Receiver continues to receive further productions from third parties, and the review process
  of these voluminous productions continues. Many of the third party productions are covered by a
  protective order in place that limits the use of certain confidential information.

  From the DLI servers the Receiver: secured and is analyzing over 1.5 terabytes of electronic
  material; secured and is reviewing the information on 25 company laptops and tablets; and
  migrated over 480 gigabytes of email archives to a robust and efficient e-discovery platform.
  Counsel for the Receiver has isolated more than 100,000 key communications between Ross, and
  other DLI employees, with counterparties; investors; and regulators to review in-depth and use the
  information to further the investigation.

  To date, the Receiver’s Counsel has participated in extensive meetings and undertaken witness
  interviews with more than seventeen persons employed by or affiliated with DLI. The Receiver’s
  Counsel has conducted in depth investigations and interviews of several counterparties, including
  three principals of counterparties with substantial positions related to DLI, and has gained valuable
  knowledge of the counterparties’ business and financial positions from participating in
  negotiations with counterparties as the portfolio has been liquidated. Counsel has interviewed
  witnesses from third party service providers for DLI and obtained additional facts and perspective.
  In addition, Counsel has spoken to many investors and discussed the circumstances related to how
  these investors decided to invest with DLI and what representations were made to them. These
  meetings and interviews have provided valuable information regarding DLI, the investments with
  and relationships with the counterparties, the reasons for the investments’ success or failure, the
  events leading up to the resignation of Ross, and the circumstances that led to the commencement
  of the Receivership.

  The Receiver and his Professionals have engaged in a comprehensive analysis of the factual and
  legal foundation for a number of potential claims, and legal issues germane to the evaluation of
  such claims and defenses, including statute of limitations issues, potential application of the
  discovery rule, and choice of law considerations. This work product and the active work underway
  will provide the basis for recommendations concerning whether or not to initiate litigation against
  potential defendants. Further investigation of the facts and circumstances relevant to the basis to



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  assert those claims or may provide evidence of defenses to the claims, precluding or limiting their
  assertion. The Receiver has entered into confidential tolling agreements with a number of key
  parties where counsel identified a possible statute of limitations period that could have expired
  before April 30, 2020, and has entered into tolling agreements with other parties as well, in order
  to allow him and his counsel to fully investigate and analyze potential claims.

  To promote the goal of resolving potential claims against third parties where possible without the
  expense of litigation, the Receiver has reached an agreement with the audit firm Deloitte & Touche
  LLP, to pursue a settlement process, including selecting a team of well-qualified mediators.
  Certain investors and their lawyers will also participate in the process subject to confidentiality
  agreements. It is expected that this process will unfold over the coming months as information is
  exchanged between the parties pursuant to the settlement protocol.

  The Receiver, as well as DLIFF through the Joint Official Liquidators, filed a lawsuit against Duff
  & Phelps, LLC on September 3, 2020, which is pending before the Receivership Court.29

  Efforts also are underway to explore the possibility of mediating a number of other potential claims
  as well. The Receiver will update the Court and the parties in interest on his progress.

  With respect to potential litigation, the Receiver, in his capacity as U.S. Joint Official Liquidator
  in the Cayman Proceeding, and the Cayman JOL, Christopher D. Johnson, agreed that it would be
  most efficient and cost-effective to use a single law firm, Diamond McCarthy, LLP, to pursue
  claims on behalf of the off-shore Feeder Fund DLIFF alongside the Receiver’s claims. A conflict
  resolution protocol (the “Protocol”) was submitted to the Cayman Court and was approved by that
  court on July 16, 2020. The Receivership Court subsequently also approved the Protocol. (Doc
  No. 293). The Receivership Court also approved the Receiver entering into an engagement letter
  with Diamond McCarthy which will permit the firm to serve as counsel for the JOLs for the limited
  purpose of investigation and evaluation of potential claims of DLIFF under United States law.


  V. Ponzi Scheme Analysis

          A. The Definition of Ponzi Scheme

  No single definition of a Ponzi scheme exists.30 In general, courts have stated that Ponzi schemes
  exist when “returns to investors are not obtained by any business venture but are taken from monies
  received from later investors.”31 Other courts have concluded that the existence of some legitimate
  business operations does not preclude a determination of the existence of a Ponzi scheme when it


  29
     Bradley D. Sharp, as the Permanent Receiver for the Estate of Direct Lending Investments, LLC, et al. v. Duff &
  Phelps, LLC, Case No. 2:20-cv-08069, United States District Court, Central District of California.
  30
     SEC v. Management Solutions, Inc., 2013 U.S. Dist. LEXIS 120277 (Aug. 22, 2013 D.Utah) (citing cases on Ponzi
  scheme definitions); Gold v. First Tenn. Bank (In re Taneja), 2012 WL 3073175 *4-6 (Bankr. E.D. VaA. July 30,
  2012) (quoting various Ponzi scheme definitions and case citations).
  31
     In re Taubman, 160 B.R. 964, 978 (Bankr. S.D. Ohio 1993) (citing Danning v. Bozek (In re Bullion Reserve of N.
  Am.), 836 F.2d 1214, 1219 n.8 (9th Cir. 1988), cert. denied, 486 U.S. 1056 (1988)); See also, Auza v. United Dev.,
  Inc. (In re United Dev., Inc.), 2007 Bankr. LEXIS 4857, at *14 (9th Cir. BAP 2007).


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  deviated thereafter.32 Some courts have stated that Ponzi schemes, by their very nature, are
  insolvent from inception of the scheme and become increasingly more insolvent as the scheme
  progresses.33

  The SEC defines a Ponzi scheme as follows:34

           A Ponzi scheme is an investment fraud that involves the payment of purported
           returns to existing investors from funds contributed by new investors. Ponzi scheme
           organizers often solicit new investors by promising to invest funds in opportunities
           claimed to generate high returns with little or no risk. In many Ponzi schemes, the
           fraudsters focus on attracting new money to make promised payments to earlier-
           stage investors to create the false appearance that investors are profiting from a
           legitimate business.

  The Forensic & Valuation Services Practice Forensic Accounting – Fraud Investigations,
  published by the AICPA, defines a Ponzi scheme as follows:35

           A Ponzi or pyramid scheme is usually a venture wherein earlier investors are repaid
           principal plus interest with funds provided by later investors. There may or may not
           be a legitimate business purpose for the venture, but the need for capital creates and
           continues the scheme. Often, unusually high investment returns or other
           inducements are offered by the promoters to attract investors.

  The Ninth Circuit Court of Appeals has described a Ponzi scheme as:36

           …an arrangement whereby an enterprise makes payments to investors from the
           proceeds of a later investment rather than from profits of the underlying business
           venture, as the investors expected. The fraud consists of transferring proceeds
           received from the new investors to previous investors, thereby giving other
           investors the impression that a legitimate profit-making business opportunity exists
           where in fact no such opportunity exists.

  32
     See, e.g., Auza v. United Dev., Inc. (In re United Dev., Inc.), 2007 Bankr. LEXIS 4857, at *16 (9th Cir. BAP 2007);
  In re Bonham, 251 B.R. 113, 136–137 (Bankr. D. Alaska 2000); In re Taubman, 160 B.R. 964, 973 (Bankr. S.D. Ohio
  1993); Gillman v. Geis (In re Twin Peaks Fin. Servs.) 516 B.R. 651, 655 (Bankr. D. Utah 2014) (“The fact that an
  investment scheme may have some legitimate business operations is not determinative. If the debtor’s legitimate
  business operations cannot fund the promised returns to investors, and the payments to investors are funded by newly
  attracted investors, then the debtor is operating a Ponzi scheme.”); and Wing v. Dockstader, 2010 WL 5020959 at *4
  (D. Utah 2010).
  33
     Picard v. Madoff (In re Bernard L. Madoff Inv. Sec. LLC), 458 B.R. 87, 110 n.15 (Bankr. S.D.N.Y. 2011) (additional
  citations omitted); and Warfield v. Byron, 436 F.3d 551, 558 (5th Cir. 2006).
  34
       Source: U.S. Securities and Exchange Commission website at https://www.sec.gov/fast-answers/
  answersponzihtm.html under What is a Ponzi scheme? (last visited July 10, 2020).
  35
     Source: Forensic & Valuation Services Practice Aid Forensic Accounting – Fraud Investigations, published by the
  American Institute of Certified Public Accountants 2014, page 58 – Ponzi.
  36
     Sources: Auza v. United Dev., Inc. (In re United Dev. Inc.), 2007 Bankr. LEXIS 4857 at *14; Hayes v. Palm
  Seedlings Partners (In re Agric Research) 916 F.2d 528, 531 (9th Cir. 1990) (Citing, Cunningham v. Brown, 265 U.S.
  1, 7-8, 44 S.Ct. 424, 425, 68 L. Ed. 873 (1924); see also Wyle v. C. H. Rider & Family (In re United Energy Corp.),
  944 F.2d 589, 590 n. 1 (9th Cir. 1991).


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  “By its very nature, a Ponzi scheme will eventually collapse. Perpetrators therefore know that the
  investors at the end of the line will lose their investment.”37

  “As a result of the absence of sufficient, or any, assets able to generate funds necessary to pay the
  promised returns, the success of such a scheme guarantees its demise because the operator must
  attract more and more funds, which thereby creates a greater need for funds to pay previous
  investors, all of which ultimately causes the scheme to collapse.”38

           B. Summary of Factors Identified in Receivership Case Demonstrating Ponzi Scheme

  The facts considered by courts to determine whether or not a Ponzi scheme exists range in scope.
  One court created a four-factor analysis that many other courts have relied upon, including: 39

       1. deposits were made by investors;

       2. the Debtor conducted little or no legitimate business operations as represented to investors;

       3. the purported business operations of the Debtor produced little or no profits or earnings;
          and

       4. the source of payments to investors was from cash infused by new investors.

  There are additional factors that have been found to weigh in favor of applying a presumption of
  fraud in a Ponzi case. “These badges are, however, merely characteristics of many Ponzi schemes
  but a Ponzi scheme can exist without them.”40 Some courts find that a “‘clear pattern of purposeful
  conduct’ will support a ‘finding of actual intent to defraud.’”41

  The additional factors will be discussed below and following each factor is a summary of
  corresponding findings in this Receivership case. The Receiver’s findings are discussed in more
  detail starting on page 39.




  37
     Ivey v. First Citizens Bank & Trust Co. (In re Whitley), 2013 Bankr. LEXIS 521, at *31 (Bankr. M.D.N.C. Feb. 7,
  2013) (citing Martino v. Edison Worldwide Capital (In re Randy), 189 B.R. 425, 438 (N.D. Ill. 1995)).
  38
     Gold v. First Tenn. Bank, N.A. (In re Taneja), 2012 Bankr. LEXIS 3554, at *20 (Bankr. E.D. Va. July 30, 2012),
  aff'd, 743 F.3d 423 (4th Cir. 2014) (citing In re C.F. Foods, L.P., 280 B.R. 103, 110 n.15 (Bankr. E.D. Pa. 2002)).
  39
     Rieser v. Hayslip (In re Canyon Sys. Corp.), 343 B.R. 615, 630 (Bankr. S.D. Ohio 2006) (citation omitted); Wiand
  v. Waxenberg, 611 F. Supp. 2d 1299, 1312 (M.D. Fla. 2009); Forman v. Salzano (In re Norvergence, Inc.), 405 B.R.
  709, 730 (Bankr. D.N.J. 2009); see also United States v. Sudeen, 434 F.3d 384, 386 (5th Cir. 2005) (describing several
  interdependent fraudulent schemes as “a fairly elaborate Ponzi scheme” where perpetrators represented to potential
  investors, among other things, “that their money would be placed in ‘high yield investment programs that would
  generate profits for them at greater-than-market rates of return.”).
  40
     Gowan v. Amaranth Advisers L.L.C. (In re Dreier LLP), 2014 Bankr. LEXIS 11, at *30 (Bankr. S.D.N.Y. Jan. 2,
  2014).
  41
     Pereira v. Checkmate Commc’ns Co. (In re Checkmate Stereo & Elecs., Ltd.), 9 B.R. 585, 612-13 (Bankr. E.D.N.Y.
  1981) (citing In re Freudmann, 495 F.2d 816, 817 (2d Cir. 1974)).


                                                                                                                    31
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                   1. Limited legitimate business investments were overrun by fraudulent operations.

                        The Ponzi perpetrator did not have any legitimate business operation to which
                        its alleged investment program is connected.42

  The Master Fund initially invested investor funds in a variety of loans, many of which involved
  legitimate business operations. However, fraudulent conduct permeated these operations and
  investments from inception. The Receiver has concluded that at some point, it was no longer
  possible for the Master Fund to operate legitimately to generate sufficient returns to pay repay the
  Feeder Funds and permit the Feeder Funds to repay their investors at the NAV that had been
  reported to those investors. Further, the Receiver has concluded that Ross, with fraudulent intent,
  sought new investor funds that were used to pay earlier investors their promised returns.

  Since no investor held interests in a specific asset or loan portfolio, the fraud tainted each investor’s
  investment equally. Ross caused DLI to provide investor reports with inflated NAVs and other
  misrepresentations to all investors, regardless of the nature of the investments made with their
  funds. DLI thereafter caused the funds raised from investors to be commingled with other investor
  funds and loan portfolio proceeds. Investors were also all subject to the misappropriation of funds
  and other misconduct by Ross described in this Report, which caused the incurrence of substantial
  unrecognized losses. Therefore, despite some underlying legitimate investments, the overall
  business operations of the Master Fund have caused losses to the investment portfolio and an
  estimated $250.7 million in Aggregate Investor Cash Losses.

  For a detailed description of the performance of the loan portfolio, see pages 58 and 68,
  respectively.

                   2. Misrepresentations to investors.

                        The Ponzi perpetrator made unrealistic promises of returns on their
                        investments.43


  42
     Scholes v. Lehmann, 56 F.3d 750, 757 (7th Cir. 1995) (“It is no answer that some or for that matter all of the
  investor’s profit may have come from ‘legitimate’ trades made by the [corporations owned by the debtor]. They were
  not legitimate. The money used for the trades came from investors gulled by fraudulent representations.”); Wyle v.
  C.H. Rider & Family (In re United Energy Corp.), 944 F.2d 589, 590 n.1 (9th Cir. 1991) (describing the Ponzi
  scheme’s purported “profit-making business opportunity” as “an illusion”); In re Vaughan Co. Realtors, 500 B.R.
  778, 789 (Bankr. D.N.M. 2013) (“[R]eturns to investors are not financed through the success of the underlying
  business venture, if any, but are taken from principal sums received from newly attracted investments.”).
  43
     O’Halloran v. First Union Nat’l Bank of Fla., 350 F.3d 1197, 1199 (11th Cir. 2003) (noting that 100% return was
  promised to those investors who were able to find two additional investors); United States v. Benson, 79 Fed. App’x
  813, 817 (6th Cir. 2003) (noting that perpetrator promised 138% and 181% return with no risk); Canyon Sys., 343
  B.R. at 624-25; In re Taubman, 160 B.R. 964, 978 (Bankr. S.D. Ohio 1993); Kapila v. Phillips Buick-Pontiac-GMC
  Truck, Inc. (In re ATM Fin. Servs. LLC), 2011 Bankr. LEXIS 2394, at *15 (Bankr. M.D. Fla. June 24, 2011) (“The
  debtor and the Netschi Companies conned people into making a purchase they believed would generate a future
  income stream based on the perpetrators’ misrepresentations about the amount of withdrawal fees each ATM could
  earn. The ATM purchasers were therefore no different from investors hoping to make above market returns based on
  phony investments, and the monies they transferred to the debtor and the Netschi Companies were functionally
  equivalent to investments.”).


                                                                                                                  32
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                       The perpetrator overstated its investment returns and understated its losses.44
                       “[T]he debtor induces investments through an illusion of paying returns to
                       investors from legitimate business activities.45
                       The perpetrator “mischaracterize[s] the nature of the . . . investment
                       opportunities and any risk associated with making an investment.”46
                       The perpetrator failed to invest all of the investors’ funds in promised
                       investments.47
                       There were inconsistencies between debtors’ bank statements and “false
                       statements issued to customers.”48

  The six factors listed above, and that are commonly found in Ponzi scheme cases, share the
  common theme where the reality of the failed investments are very different than what was
  represented or promised to investors. Similar facts exist in this case. Unrealistic promises of
  consistent and high returns guided by specific loan criteria involving supposedly little risk were
  made. This certainly encouraged new investors to invest and existing investors to maintain their
  investments. In reality, Ross failed to fulfill his promises. Instead of exposing the truth about loan
  underperformance or losses, Ross: (a) covered up his inability to identify sound investment
  opportunities at a pace consistent with the overwhelming inflow of investor funds, (b) hid the
  losses associated with underperforming loans in order to report high and consistent returns to
  investors, and (c) increased his opportunity to extract investor funds for his personal benefit.

  Ultimately, Ross misrepresented the nature of the investment opportunities, the risk associated
  with making an investment, and the performance of the loan portfolio and the returns to investors.
  The result of Ross’s efforts is that later investors were persuaded to invest and earlier investors
  were discouraged from redeeming their investments. The impact of the losses will inequitably be
  felt most by the investors that remained through the Receivership Date.

                   3. Funds from later investors used to pay earlier investors.

                       “[N]ew investor money was being used to pay old investors.” 49

  Since inception, a total of 80% of the funds paid to earlier investors in connection with their
  redemption and distribution requests came from funds from later investors and DLG. The returns
  actually paid to investors largely did not come from any profitable business operations; rather, the
  scheme perpetuated itself because investors could comfortably redeem so long as new money came
  in from later investors. Ultimately, the Master Fund did not have sufficient funds or value from its
  investments to repay the net invested capital of the Feeder Funds in full. For every dollar that was
  paid out to a redeeming investor, DLI created a further divide between the obligations to repay

  44
     Id.
  45
     Id.
  46
     Wing v. Dockstader, 2010 U.S. Dist. LEXIS 128571, at *11 (D. Utah Dec. 3, 2010) (noting that “investors were
  told their investment was secured by real property, including a first position trust deed when they were not”).
  47
     Id.
  48
     Id.
  49
     Wing v. Williams, 2011 U.S. Dist. LEXIS 25607, at *10 (D. Utah Mar. 11, 2011).


                                                                                                              33
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  investors and the bag of assets available to repay investors. See page 37 for an overview of the
  sources and uses of cash for further detail regarding the use of funds from later investors used to
  pay earlier investors.

                    4. The Master Fund, Feeder Funds and other Receivership Entities did not
                       maintain a proper separateness as investor funds were commingled.

                        “Money was commingled.”50
                        Investors’ monies were transferred among related entities without regard to
                        separate corporate identities.51
                        The perpetrator failed “to maintain separate investor accounts.”52

  Although there was an obligation to limit redemptions when money was not available to both
  support operations and to repay investors, and promised investors that DLI would pay redemptions
  only when there was available funds to support redemptions, Ross routinely used money from new
  subscriptions to repay investors when there were not enough receipts from operations to fund
  redemptions.53 To make matters worse, even when funds from subscriptions were used to pay
  redemptions, Ross also directed new subscription funds to be used to fund loan portfolio positions
  that were overvalued and only losing money.

  Funds from investors were always commingled with other investor funds and, to the extent funds
  were not used to repay earlier investors directly, they would be commingled further with proceeds
  from the loan portfolio.

  The undisputed facts surrounding the investment program reflect that: (a) investor subscriptions
  (or deposits) were made by investors; (b) investor subscriptions (or deposits) were commingled
  with proceeds from the loan portfolios or other investor funds in accounts where the money was
  then used to repay old investors; (c) investor subscriptions (or deposits) were commingled with
  proceeds from the loan portfolios and virtually all investor redemptions were paid from
  commingled funds; and (d) the source and destination of each investor’s funds cannot be
  meaningfully disentangled.

  See page 47 for a more detailed discussion of the commingling of funds.



  50
     Id.
  51
     Id. at *12 (“[W]hen there wasn’t enough money in one account to satisfy one entities’ obligations, [the Ponzi scheme
  orchestrator] would transfer money between accounts in order to meet [the corporations’] obligations.”).
  52
     In re NJ Affordable Homes Corp., 2013 Bankr. LEXIS 4798, at *74 (Bankr. D.N.J. Nov. 8, 2013)
  53
      Professional third party advisors, and others, whose work should have alerted individuals within and connected to
  the Receivership Entities, failed to properly comply with the applicable standard of care and/or engaged in other
  misconduct. There were individuals within the Receivership Entities and connected to the Receivership Entities that
  would have taken action to protect the interests of the Receivership Entities and would have implemented changes to
  prevent them from sustaining the full extent of the damages suffered by the Receivership Entities, which in turn
  impacted the investors. Unfortunately, they were not aware of and/or alerted to the intentional improper acts and/or
  the full facts and circumstances described in the Report.



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                   5. Lower returns to later investors.

                        Later investors received lower returns than earlier investors.54

  Later investors generally received lower returns than earlier investors with initial reported net
  returns as high as 13% and later reported returns as low as 7%, both on an annualized basis. Earlier
  DLIF investors received $89.3 million in payments in excess of their investments (“net winnings”),
  so earlier investors profited at the expense of the later investors. See page 49 for analysis of net
  winnings paid to DLIF investors over time. Investor claimants will bear the full brunt of the
  unrealized losses. See page 48 for a more detailed description of the reduction of returns to
  investors over time.

                   6. Perpetrator benefiting from scheme.

                        Excessively large fees were taken by the perpetrator from the customers’
                        “investment” funds.55
                        The perpetrator used customer funds “for non-customer purposes.”56

  Excessive fees were taken by DLI in connection with the previously discussed QuarterSpot
  overvaluation and with the general practice of falsely inflating NAVs and loan balances. These
  fees were an important part of the fraud. The higher the falsified NAVs and loan balances were,
  the greater the fee that Ross could justify having the investors pay DLI. The greater the fee paid to
  DLI, the more opportunity to remove funds for Ross’s benefit. Ross benefited from the scheme in
  at least the following ways:

          (a) Ross took payments or allocations in the amount of at least $31.4 million from DLI,
              including through Robin Hill Investments, LLC and Robin Hill Services, LLC, as
              discussed more fully on page 51.
          (b) Ross tried to profit from investments in, and ingratiate himself to, risky startup
              companies in the “FinTech” lending space hoping to capitalize on the growth in that
              sector, while personally aggrandizing himself as an investment guru and claiming to be
              an expert on investing money through non-traditional loans to new businesses. The
              amount of profits Ross made from such personal investments in entities that borrowed
              from the Master Fund is unknown at this time.
          (c) Ross arranged for DLI to invest in the Master Fund the management and performance
              fees paid to it. As a result, DLI recorded its own return from its investment of fees to
              the tune of a $17.6 million57 in redemptions in excess of principal invested at a time
              when the Feeder Funds could not even satisfy redemption requests or pay promised
              returns to legitimate investors without using new investor funds. This was a significant
              contributor to the $31.4 million that was taken out of DLI as discussed above. In
              written materials generally sent to investors, Ross did not promote the fact that DLI

  54
     Taubman, 160 B.R. at 973.
  55
     Emerson v. Maples (In re Mark Benskin & Co.), 161 B.R. 644, 650 (Bankr. W.D. Tenn. 1993).
  56
     Id.; World Vision, 275 B.R. at 657.
  57
     DLI’s investment return of $17.6 million includes $14.4 million in cash redemptions and $3.2 million in non-cash
  allocations from DLI’s investment account to Ross’s investment account.


                                                                                                                  35
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               invested in the Master Fund as might be expected to encourage investors to invest
               because he also had “skin in the game,” perhaps because the DLI investment was the
               primary mechanism for him to remove money from the scheme. He may, however,
               have covered this in his many oral presentations to investors or in emails that the
               Receiver has not yet identified. The DLI investment was reflected in audited financial
               reports for the Master Fund in Statements of Changes in Partner’s Capital which
               included investment activity for DLI and the limited partners, so the information was
               available to investors as audited financial reports were shared with investors.

                   7. Use of broker dealers and finders.

                       The perpetrator recruited agents to sell its products and pays commissions to
                       perpetuate the scheme.58
                       The perpetrator paid the brokers high commissions to induce them to continue
                       the sales and keep the cash flowing in.59
                       The commission structure with the sales people provided incentives “to
                       discourage investors from requesting withdrawals.”60

  DLI paid a 20% commission to broker dealers and finders, including at least 9 current DLIF
  investors, on both management fees and performance fees on a periodic basis in order to induce
  other parties to bring new investors and new funds into the Feeder Funds.61 Since the commissions
  were paid on an ongoing basis, as long as the investors maintained their investments with the
  Feeder Funds there was an incentive for the agents and finders to discourage investors from
  redeeming their investments from the Feeder Funds.

                   8. False incentives to investors.

                       Investors were encouraged to roll over or extend their investments rather than
                       receive back their principal.62

  Ross ensured that investor relations employees were constantly aware of when investors were
  requesting redemptions and what might be done to persuade them from redeeming. Ross would
  then insist that he be the one to communicate further with the investors. In particular, during the
  summer of 2017 with the QuarterSpot side pocket and the threat of wholesale redemptions, Ross
  made sure that all investor questions were funneled to him. Ross put tremendous efforts into
  shaping the messaging in the investor letters during the late summer of 2017, even noting in one
  email that the August 2017 investor letter “might be the most expensive in history” given his
  painstaking efforts to spin the messages being delivered to the investors in that critical time period.



  58
     Cuthill v. Greenmark, LLC (In re World Vision Entm’t, Inc.), 275 B.R. 641, 656-57 (Bankr. M.D. Fla. 2002).
  59
     Id.
  60
     Smith v. Suarez (In re IFS Fin. Corp.), 417 B.R. 419, 440 (Bankr. S.D. Tex. 2009).
  61
     Certain limited exceptions to this commission structure have been identified, including commissions based on a
  percentage of investor subscription amounts.
  62
     Id.


                                                                                                                36
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  Ross had DLI employees track and notify him of redemption requests and would undertake efforts
  to dissuade investors, where possible, from actually redeeming.

                 9. Fraudulent conduct of the promoter of the scheme.

  As an overlay to all of these hallmark signs of a Ponzi scheme, the Receiver’s investigation has
  revealed fraudulent conduct which helps to explain why the irregularities and losses have occurred
  in this case. The fraudulent conduct detailed in this Report is summarized at a high level as follows:

         (a) The falsification of loan values and NAVs that were done to (i) misrepresent
             information to investors to perpetuate the scheme and (ii) allow Ross to increase the
             management fees to his wholly-owned DLI that were then misappropriated by him;
         (b) Ross misappropriated at least $31.4 million from DLI; and
         (c) The substantial and blatant ongoing misrepresentations to investors.

  Ponzi schemes must ultimately fail because the returns promised to investors exceed any legitimate
  business profits and the scheme is dependent on new investor funds to pay promised returns to
  earlier investors. The existence of some legitimate business activities does not preclude the
  determination of a Ponzi scheme, nor do they eliminate the damage caused by the fraudulent
  activity. The fraudulent conduct in this case, on top of the commingling and grossly insufficient
  legitimate loan performance, makes clear that the fraudulent scheme became a Ponzi scheme.

  The factors summarized in this section are detailed more fully following the summary presentation
  of all Receivership cash sources and uses in the next section.

         C. Cash Sources and Uses

  Prior to exploring each Ponzi scheme factor in further detail, this section provides an overview of
  all of the cash sources and uses of the Receivership Entities. On the following page is a summary
  of the sources and uses broken down by five key categories: (a) investor activity, (b) DL Global
  activity, (c) loan activity, (d) operating activity, and (e) Brendon Ross activity.

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                                                                                                     37
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                                   Receivership Entities - Cash Sources & Uses (Inception – 3/31/19) ($M)
                                                                 2012      2013     2014      2015     2016     2017      2018      1Q19     Total
        Cash - Beginning Balance                                      -     $0.0     $0.0      $0.5     $1.3    $20.1     $60.3      $2.9            -
        Investor Activity
           Funds Received from Investors                            1.0     16.0     87.0     299.8 515.2 350.1 174.5                23.3 1,466.8
           Investor Redemptions & Distributions                       -     (0.1)    (2.6)    (27.6) (152.3) (376.0) (356.2)        (13.6) (928.3)
             Net Investor Activity                                  1.0     15.8     84.4     272.2 362.9     (25.9) (181.7)          9.7   538.5
                                          [1]
        DLG Participation Activity
          DLG Participation Proceeds                                  -        -         -        -        -    170.3       61.8        -     232.1
          Passthrough Receipts                                        -        -         -        -      0.0      6.1       36.9      7.9      50.9
          Participation Payouts                                       -        -         -        -        -     (4.6)     (37.9)    (7.9)    (50.5)
           Net DLG Participation Activity                             -        -         -        -      0.0    171.7       60.8     (0.0)    232.5
              Net Investor & DLG Participation Activity             1.0     15.8     84.4     272.2    362.9    145.8     (120.9)     9.7     771.0
        Loan Activity
                                                 [2]
           Portfolio Receipts - Principal                             -        -      5.1    27.4 190.9 282.9 231.7                  42.3     780.2
           Portfolio Receipts - Interest                              -        -      9.6    16.5    53.5 115.3 119.2                12.0     326.1
           Loan Fundings                                           (1.0)   (15.9)   (97.0) (308.1) (569.1) (468.2) (263.3)          (25.8) (1,748.4)
                                                [3]
           Other Passthrough Receipts                                 -        -         -        -        -      1.5        2.4      0.5       4.4
                                                 [3]
           Other Passthrough Payments                                 -        -         -        -        -      (1.5)     (2.4)    (0.5)     (4.4)
                                   [4]
            Net Loan Activity                                      (1.0)   (15.9)   (82.3) (264.2) (324.7)      (70.0)     87.6      28.5    (642.0)
                             [5]
        Operating Activity                                          0.1      0.0      (1.0)    (3.6)   (12.4)   (22.6)     (17.8)    (9.3)    (66.6)
        Ross Activity
          Ross DLIF Investment Acct. Funding                          -      0.2         -        -      0.7         -         -        -       0.9
          Ross DLI Advances & Repayments                              -        -       0.0      0.1      8.9       3.2       0.3      0.5      12.9
          Ross DLIF Redemptions & Distributions                       -     (0.0)     (0.0)    (0.2)    (1.0)     (1.3)     (0.2)       -      (2.8)
                                                       [6]
           Ross Net Payments via RHS / RHI / RAA                      -        -      (0.2)    (0.1)    (9.3)    (9.1)      (5.3)       -     (24.1)
           Ross Payroll Related Payments via DLI / RAA             (0.1)    (0.1)     (0.3)    (0.7)    (0.5)    (0.3)      (0.3)    (0.0)     (2.5)
           Ross DLI Withdrawals & Distributions                       -        -      (0.1)    (2.7)    (5.7)    (5.4)      (0.7)       -     (14.6)
            Net Ross Activity                                      (0.1)     0.1      (0.7)    (3.7)    (7.0)   (12.9)      (6.3)     0.5     (30.2)
                                         [7]
        Cash - Ending Balance                                     $0.0      $0.0     $0.5      $1.3    $20.1    $60.3      $2.9     $32.1     $32.1

       1) DLG paid $232.1 million for loan participation interests in certain counterparty loans, including QuarterSpot, Investment T, Investment
       S and Forward Financing. DLI subsequently collected $50.9 million in passthrough receipts from these counterparties on behalf of DLG
       (see passthrough receipts) and forwarded $50.5 million to DLG. The remaining $0.4 million ($50.9 million collected minus $50.5 million
       forwarded) was sent to DLG in 2020.
       2) Amounts include $38 million in receipts from Quanta’s direct purchase of Investment S loans.
       3) Passthrough receipts include $3.7 million in Investment S proceeds for Quanta and $0.7 million in interest passthrough payments to
       CPH2, a CarePayment Technologies affiliate. The timing of the receipts has been scheduled to match the timing of the payments for
       simplification purposes. The actual timing of these receipts may be slightly earlier than presented.
       4) The $642.0 million net cash outflow, or deficit, as of the Receivership Date will ultimately be reduced by post-Receivership portfolio
       recoveries. Through July 31, 2020, the Receiver has collected $177.4 million from the loan portfolio, net of additional loan fundings
       and participation collections on behalf of third parties, with expectations to recover an additional $109.2 million, net of any additional
       loan fundings, for a total post-Receivership recovery of $286.6 million. If this total post-Receivership recovery is realized, the
       $642.0 million deficit would turn into a $355.4 million deficit. The Receiver estimates that Net Loan Losses will be $501.4 million.
       5) Amounts include $4.4 million that went to Robin Hill Investments, LLC, Robin Hill Services, and LLC Ross Asset Advisors, Inc.
       which is in addition to the amounts that ultimately reached Ross through the same entities.
       6) Amounts represent payments by Robin Hill Services, LLC, Robin Hill Investments, LLC and Ross Asset Advisors, Inc. to Ross (less
       amounts received from Ross) from funds received from Direct Lending Investments, LLC.
       7) The March 31, 2019 cash balance of $29.7 million as reported in First Status Report (Doc. No. 15) had a mathematical error and
       should have shown a total of $32.3 million. The difference between the $32.3 million book balance as reported in the First Status Report
       versus the $32.1 million bank balance shown above about is related to (a) omission of the $285 thousand cash balance associated with a
       letter of credit for the office lease from the First Status Report and (b) $500 thousand in timing differences between book to bank balances.


  While at first glance it may appear that in each year there were sufficient funds from portfolio
  receipts (first two lines under Loan Activity) to pay investor redemptions and distributions (second
  line under Investor Activity), the timing of portfolio receipts and investor payments did not allow



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  for that to actually happen. See page 46 for a discussion regarding the analysis conducted to
  determine source of funds used to pay investors.

           D. Deeper Discussion of Factors Demonstrating Ponzi Scheme

                    1. Limited legitimate business investments were overrun by fraudulent operations
                       which led to certain insolvency.

  The law does not require 100% fraud to establish a Ponzi scheme.63 This is a situation where some
  of the underlying loan investments were legitimate but the overall business operations of the U.S.
  Receivership Entities were permeated with fraudulent inducement, misappropriation of funds,
  improper commingling, and related fraud.64 See Exhibit 1 for a more detailed discussion of
  findings related to the pervasive fraudulent misrepresentations. In addition to the fraud from the
  inception, the facts also demonstrate that fraud necessarily resulted in a financial situation where
  since at least April 30, 2016, there is no evidence that the U.S. Receivership Entities in the
  aggregate were engaged in profitable economic activity that could have led to the repayment of all
  net invested capital to Feeder Fund investors, let alone pay the promised returns to investors. DLIF
  was undeniably insolvent from at least April 30, 2016 forward, if not earlier, based on the
  restitution claims of the DLIF Investors.

  There are several reasons for this conclusion. First, given the Receiver’s determination that the
  investors were defrauded into entering into the investments through the DLIF limited partnership,
  the investors would “have claims for restitution and rescission against [DLIF] up to the amount of
  their initial investments.”65 Counting the amount of the restitution claims as liabilities renders
  DLIF insolvent on a balance sheet basis66 as of at least April 30, 2016 forward. It is well-
  recognized that liability on such claims should be considered as debts for the purpose of
  considering balance sheet insolvency.67 The debts were non-contingent, since all the events giving

  63
     Scholes v. Lehmann, 56 F.3d 750, 757 (7th Cir. 1995) (“It is no answer that some or for that matter all of [the
  investor’s] profit may have come from ‘legitimate’ trades made by the corporations [owned by the debtor]. They are
  not legitimate. The money used for the trades came from investors gulled by fraudulent representations.”); Wyle v.
  C.H. Rider & Family (In re United Energy Corp.), 944 F.2d 589, 590 n.1 (9th Cir. 1991) (describing the Ponzi
  scheme’s purported “profitmaking business opportunity” as “an illusion”); Santa Barbara Capital Mgmt. v. Neilson
  (In re Slatkin), 525 F.3d 805, 816 (9th Cir. 2008) (“Further, that Slatkin may have invested a small percentage of the
  funds he received from investors, and may have received a profit from such investments, does not create a genuine
  issue of material fact as to the actual existence of the Ponzi scheme.”).
  64
     The discussion in this section intentionally excludes consideration of DLIFF, but said exclusion should not be
  deemed to be a conclusion as to whether these facts and conclusions also apply to DLIFF.
  65
     Donell v. Kowell, 533 F.3d 762, 772 (9th Cir. 2008).
  66
     Under the balance sheet test, a debtor is insolvent if the sum of the debtor’s debts is greater than all of the debtor’s
  assets at a fair valuation. E.g., In re Bayou Group, LLC, 438 B.R. 284 (S.D.N.Y. 2010) (“Insolvency is generally
  analyzed using the ‘balance sheet test,’ [which focuses on] whether the debtor’s assets were exceeded by [its]
  liabilities . . .” (quoting Universal Church v. Geltzer, 463 F.3d 218, 226 (2nd Cir. 2006) (in turn citing 11 U.S.C. §
  101(32(A)) and citing In re Centennial Textiles, Inc., 220 B.R. 165, 174 (Bankr. S.D.N.Y. 1998), and In re Durso
  Supermarkets, Inc., 193 B.R. 682, 701 (Bankr. S.D.N.Y 1996)).
  67
     See, e.g., Travellers, Int’l v. Transworld Airlines, Inc. (In re Transworld Airlines, Inc.), 134 F.3d 188, 197 (3d Cir.
  1998); Loya v. Rapp (In re Loya), 123 B.R. 338, 340 (B.A.P. 9th Cir. 1991); see generally Ratner, Stein & Weitnauer,
  Business Valuations and Bankruptcy (2009), at 128-32 (Insolvency Test: Valuation of Debts). The issue of when
  restitution claims arise was addressed specifically in the case of In re Bayou Group, LLC, 432 B.R. at 335 (quoting In



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  rise to liability occurred at or before the time investors made the investments.68 As of at least
  April 30, 2016, DLIF had liabilities totaling $483.0 million which exceeded the assets of
  $478.0 million based on an estimated restated total value69 as identified in the chart on page 68.

  Second, since DLIF did not have an ability to repay investors’ capital with profits that were likely
  to be generated from the portfolio investments, DLIF was operating with unreasonably small
  capital and thus was insolvent on this basis as well.

  Although the phrases “unreasonably small capital” and “unreasonably small assets” are not defined
  in the Uniform Voidable Transfer Act or in the Bankruptcy Code, courts focus on the financial
  stability of the company, based on the company’s ability to generate sufficient profits to sustain
  operations, pay its debts and remain financially stable.70 The fact-based test focuses on whether a
  company’s cash flow forecasts combined with its assets or capital are reasonable and leave enough
  margin for error to account for reasonably foreseeable difficulties.71 The term “unreasonably small
  assets” denotes a financial condition short of balance sheet insolvency, and the Unreasonably
  Small Assets Test of financial condition is aimed at transfers that leave the transferor technically
  balance sheet solvent but likely doomed to fail.72 The facts in this case demonstrating
  Unreasonably Small Assets include:

       (a) Many of the counterparty loans would require a regular influx of additional funding from
           DLI in order to maintain an ability to repay the existing loans in full and on schedule. Just
           as DLIF did not have the ability to repay investors’ capital with profits that were likely to
           be generated from the portfolio investments, it was also dependent upon new investment
           capital to further fund the counterparty loans so that certain counterparties might be able
           to repay the loans.




  re Bayou Group, LLC, 396 B.R. 810, 838 (Bankr. S.D.N.Y. 2008) (“Bayou III”). In Bayou III, the court explained
  that, because the Bayou hedge funds were a fraudulent scheme, they “‘were not ordinary corporations [and] the tort
  liability of the Bayou hedge funds to their investors based upon rescission for fraud was not analogous to shareholder
  equity interests in a corporation, and this was not an ordinary corporate solvency analysis.’” Id. (quoting Bayou III).
  The Bayou III court further explained: “‘Unlike a corporation which has no liability to its shareholders, it is a given .
  . . that the Bayou hedge funds had a legal tort liability to their investors for the full amount of their investment based
  on rescission for fraud. As such, the investors were and are creditors…” Id. “[I]n tort cases[,] the relationship of
  debtor and creditor arises the moment the cause of action accrues.” Id. (citations omitted).
  68
     See Fostvedt v. Dow (In re Fostvedt), 823 F.2d 305, 306-07 (9th Cir. 1987); In re Loya, 123 B.R. at 340.
  69
     Estimated restated total value is equal to the estimated restated carrying values of the counterparty loans (discussed
  and identified above) plus the reported non-portfolio components of NAV which consists of cash on hand, plus
  receivables and prepaid expenses less accrued management fees, accrued performance fees and other payables.
  70
     Moody v. Sec. Pac. Bus. Credit, Inc. 971 F.2d 1056, 1070 (3rd Cir. 1992) (discussing “unreasonably small capital”
  in the context of the Uniform Fraudulent Conveyance Act); Liebersohn v. Campus Crusade for Christ (In re C.F.
  Food, L.P.), 280 B.R. 103, 116 (Bankr. E.D. Pa. 2002) (because the ability of a Ponzi scheme to generate cash flow
  can only come from the continuation of the fraudulent scheme, the operation could never be ‘financially stable,’ since
  its collapse is inevitable).
  71
      See Moody v. Security Pacific Business Credit, Inc., 971 F.2d 1056, 1071-1076 (3d Cir. 1992) (discussing
  ‘unreasonably small capital’ under the circumstances of the failure of a company following a leveraged buyout); and
  Credit Managers Ass’n v. Federal Co., 629 F. Supp. 175, 184-188 (C.D. Cal. 1985)(discussing ‘unreasonably small
  capital’ under the Uniform Fraudulent Conveyance Act).
  72
     Kipperman v. Onex Corp., 411 B.R. 805, 836 (N.D. Ga. 2009).


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       (b) DLIF’s dependency on new investor capital to pay redemptions and to fund additional
           amounts to the counterparties left it at risk if there were to be a wave of redemptions, as it
           would have only two months to generate sufficient new investments or obtain large loan
           recoveries.

       (c) The fraudulent nature of DLI’s investment scheme left the Receivership Entities
           vulnerable to substantial, possible legal liabilities and expense (from governmental
           authorities, loan counterparties, investors, and others) and, with respect to DLIF, an
           inability to pay investor claims for rescission, which had accrued even though largely
           undiscovered by the investors.

  Indeed, Ponzi schemes are considered inherently insolvent as a matter of U.S. law.73 See page 68
  for a discussion of solvency over time.

  By 2015, DLI’s portfolio became increasingly concentrated in larger and riskier investments,74
  and since at least April 30, 2016 forward, DLIF was insolvent. To conceal this insolvency, the
  actual financial condition of and activities undertaken were not accurately disclosed to investors.
  At a time when these issues were known by Ross, he was able to manipulate DLI into continuing
  to lure in new investors with false promises and representations.

  Factoring in the information known as of the date of this Report, the Receiver compared reported
  principal balances to estimated recoverable amounts in order conservatively estimate the extent to
  which DLI underreported allowance for doubtful accounts and bad debt expense to investors.
  Based on this analysis, as of the Receivership Date, DLI had underreported allowance for doubtful
  accounts and bad debt expense of $501.4 million as summarized in the schedule below. While the
  general practice of falsely inflating NAVs and loan balances started earlier than December 2015,
  based on the conservative approach used here, the current analysis does not yet show that the
  Master Fund reported loan values above estimated recoverable amounts when the portfolio is
  evaluated as a whole under the methodology used for this Report prior to that period.


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  73
     Scholes v. Lehman, 56 F. 3d 750, 755 (7th Cir. 1995); In re Independent Clearing House, 77 B.R. 843, 871 (D. Utah
  1987).
  74
     See page 18 for a discussion of the change in DLI’s investment focus over time.


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                         Estimated Allowance for Doubtful Accounts and Bad Debt Expense
                                               (Inception – 3/31/19)
                                                                Since
                                                              Inception        5 Mos.         8 Mos.
                                                               Ending          Ending        Ending
                                                                                                                                   1              1
           ($ in millions)                                     11/30/15        4/30/16       12/31/16        FY17           FY18           1Q19

           Reported Loan Balance 2                                 $362.3         $519.6        $810.0         $848.4         $793.8          $788.0

           Beg. Est. Allowance for Doubtful Accts                         -             -         (45.3)        (158.8)        (376.0)        (475.3)
            Est. Bad Debt Expense 3                                       -         (45.3)       (113.5)        (217.3)         (99.2)         (26.1)
           End. Est. Allowance for Doubtful Accts                         -         (45.3)       (158.8)        (376.0)        (475.3)        (501.4)

           Est. Restated Loan Balance                               362.3          474.4         651.2           472.4          318.5          286.6

           Other Components of Loan Portfolio 4                        4.6           15.5          15.0           (8.4)           (2.9)        (10.5)

           Est. Restated Loan Portfolio Balance                    $366.9         $489.9        $666.2         $464.0         $315.6          $276.1

           Feeder Funds’ Net Invested Capital 5                    $333.8         $483.0        $731.4         $704.2         $536.4          $534.0

           Est. Surplus/(Deficiency) Amount                         $33.1           $6.9         ($65.2)      ($240.2)        ($220.8)       ($258.0)
           Est. Surplus/(Deficiency) Margin                         9.9%           1.4%          (8.9%)       (34.1%)         (41.2%)        (48.3%)

          1. The last period for which the books were closed was November 30, 2018. The amounts shown for reported loan balances after this date
          were prepared in a manner consistent with methodologies used to determine previously reported balances. The November 30, 2018 amount
          for Ending Estimated Allowance for Doubtful Accounts is $465.7 million ($788.3 million reported portfolio NAV less $322.6 million
          estimated recovery).
          2. The amounts shown for reported loan balances are based on the ending principal balances as prepared and reported by DLI, except for
          FY18 and 1Q19 (see footnote above). The March 31, 2019 par debt amount of $789.6 million as first reported in the Second Status Report
          (Doc. No. 83-2) should have been reported as $788.0 million. The difference of $1.6 million is a result of reflecting certain payments
          from counterparties as principal paydowns instead of interest payments and including capitalized interest reserves.
          3. Estimated bad debt expense was determined by comparing the reported loan balances with the estimated restated value (discussed on
          page 64) in order to estimate the extent to which DLI underreported allowance for doubtful accounts and bad debt expense to investors.
          4. Amounts include cash set aside for loan fundings in future periods, amortized discounts, interest receivable, servicing fees payable,
          amounts due to/from counterparty, loans in funding, and principal and interest reserves.
          5. Feeder Funds’ net invested capital represents investors' total net cash invested (based on the total of subscriptions less redemptions less
          distributions) with DLIF prior to the October 2016 restructuring and DLIF and DLIFF’s total net cash invested at the Master Fund
          subsequent to the October 2016 restructuring. Amounts exclude Direct Lending Investments, LLC activity and do not necessarily reflect
          the invested capital at the Master Fund.


  On those loans where DLI has collected in full, either pre- or post-Receivership, the effective
  internal rate of return (“IRR”) was 19.4% (on $465.2 million invested), which could have
  supported a profitable operation when ignoring written off loans (-40.3% estimated IRR on
  $430.1 million invested) and outstanding loans (-3.3% estimated IRR on $854.0 million
  invested).75 However, incorporating the estimated bad debt expenses that should have been
  recognized during pre-Receivership periods shows a very different picture with respect to the
  profitability of the Master Fund. As shown in the schedule below, the Master Fund faced steep
  losses after 2015.




  75
       See page 59 for a schedule of internal rate of returns by counterparty.


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                                                      Profitability Analysis ($M)
                                                         (Inception – 3/31/19)




     1) Activity is reported on a cash basis.
     2) Estimated bad debt expense was determined by comparing the reported principal balance to the estimated restated value (discussed on
     page 64) in order to estimate the extent to which DLI underreported allowance for doubtful accounts and bad debt expense to investors.
     3) Feeder Funds’ net invested capital represents investors' total net cash invested (based on the total of subscriptions less redemptions less
     distributions) with DLIF prior to the October 2016 restructuring and DLIF and DLIFF’s total net cash invested at the Master Fund
     subsequent to the October 2016 restructuring. Amounts exclude Direct Lending Investments, LLC activity and do not necessarily reflect
     the invested capital at the Master Fund.


  Given the insolvency of DLIF, Ross needed new investor funds in order to support the longevity
  of his scheme. The Master Fund did not have sufficient assets or the ability to generate profits to
  sustain its business and, without new investors provided through the Feeder Funds, the scheme
  would have collapsed.

                      2. Misrepresentations to investors.

                                 a. Investment misrepresentations.

  DLI marketed and reported consistent and high returns available to and earned by investors. In
  order to support this façade, Ross manipulated the true state of the loan portfolio to prop up NAVs
  and loan balances and reported such overstated values to investors. This overstating of investment
  and loan values resulted in the Master Fund, and DLIF before it, understating its losses. As shown
  in the schedule above in paragraph 1, the Receiver identified significant underreported allowance
  for doubtful accounts and bad debt expense which would have resulted in sizeable losses being
  reported to Feeder Fund investors had DLI appropriately recorded and reported the underlying
  loan portfolio performance. All of the returns that were reported as far back as at least November
  2015 were overstated because they were a function of the inaccurate loan values and understated
  losses.

  As evidenced by DLI’s marketing material, consistency of high returns was paramount.
  Presentations to potential investors in 2015 and 2016 indicated that investments in the Feeder
  Funds generated “10-12% returns” or “double-digit returns net to investors with no down months.”


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  In a presentation titled April 2016 Private Credit Strategy in Short-Term Small Business Loans,
  DLI indicated that it was “unique in its ability to deliver double-digit, unlevered returns.”

  DLI also featured the consistency of its historical performance on documents and other material at
  some or all of the over 120 conferences and industry events attended by Ross and/or other DLI
  employees since 2014 as well as in letters, fact sheets and presentations to existing and prospective
  investors. As seen in the December 2018 investor letter published January 29, 2019, DLI presented
  74 historical monthly net returns to investors all within a surprisingly tight range of 51 basis points
  or between 0.59% to 1.10%.

                                  Net Returns to Investors as Reported in the
                                       December 2018 Investor Letter




              Source: Image extracted from the December 2018 investor letter published January 29, 2019. This is the last
              known reporting of net returns to investors.
              Note: The return presented for December 2018 is an estimate provided by DLI.


  Of the 74 reported months, 28 (or 39%) of the monthly returns were within an extremely tight
  band of 10 basis points between 0.8% and 0.9%. While this shows how incredibly consistent the
  reported returns were, the truth was that the actual returns varied greatly and should have turned
  negative in 2015 and beyond.



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                         Net Returns Reported to Investors (Inception-12/2018)

                                          30

                                          25

                                          20


                            # of Months
                                          15

                                          10

                                          5

                                          0
                                               0.0-0.1%
                                                          0.1-0.2%
                                                                     0.2-0.3%
                                                                                0.3-0.4%
                                                                                           0.4-0.5%
                                                                                                      0.5-0.6%
                                                                                                                 0.6-0.7%
                                                                                                                            0.7-0.8%
                                                                                                                                       0.8-0.9%
                                                                                                                                                  0.9-1.0%
                                                                                                                                                             1.0-1.1%
                                                                                                                                                                        1.1-1.2%
                                                                                                                                                                                   1.2-1.3%
                                                                                                                                                                                              1.3-1.4%
                                                                                                                                                                                                         1.4-1.5%
                                                                                                                                                                                                                    1.5-1.6%
                                                                                                                                                                                                                               1.6-1.7%
                                                                                                                                                                                                                                          1.7-1.8%
                                                                                                                                                                                                                                                     1.8-1.9%
                                                                                                                                                                                                                                                                1.9-2.0%
                                                                                                      Investor Returns (Net of All Fees)

                        Source: Data from the December 2018 investor letter published January 29, 2019. This is
                        the last known reporting of net returns to investors.
                        Note: The return presented for December 2018 is an estimate provided by DLI.


  Ross also marketed higher yielding returns than comparable investments. In a December 2017
  letter to investors, DLI presented this summary of weighted average interest rates compared to key
  market returns:

                     DLIF Reported Net Returns to Investors vs. Benchmarks
                       as Reported in the December 2018 Investor Letter




                Source: Image extracted from the December 2018 investor letter published January 29, 2019. This is
                the last known reporting of net returns to investors.




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                             b. DLI, DLIF and the Master Fund failed to invest all of the investors’
                                funds in promised investments.

  DLI made material shifts in the investment strategy and investments of DLIF and the Master Fund
  without advanced or proper notice to investors. As a result of the shift in investment strategy over
  time and the poor quality of investments made, DLI’s actual performance was volatile and far
  below what was required in order to provide returns to investors and repay investor capital. To
  make matters worse, Ross extracted investor funds by charging excess fees and funneling such
  funds through a variety of newly created entities. See page 18 for a discussion of DLI’s investment
  strategy and investments relative to the representations made to investors.

                             c. Other misrepresentations.

  In general, DLI was operated as a fairly broad fraudulent business scheme by Ross, given the
  manipulation of the QuarterSpot reported loan repayments and the other material, substantial
  issues with the underlying portfolios, which appear to go beyond mere serious business errors in
  loans to counterparties. The misrepresentations to investors and others as to the nature and quality
  of the DLI investments and loan portfolios were pervasive. See page 69 for a detailed discussion
  of such misrepresentations to investors.

                    3. Funds from later investors used to pay earlier investors.

  Monthly redemptions and distributions were paid primarily from funds contributed by later
  investors. Of the $945.3 million that was paid to investors, 80% came from funds provided by
  DLG76 and later investors as reflected in the following chart.77


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  76
     The funds received from DL Global are viewed in a similar way as new investor money largely because the principal
  of DL Global represented a large number of Korean investors that needed to receive scheduled redemptions over the
  coming months and were essentially “taken out” by the new Korean investors that were investing through DL Global.
  77
     Includes DL Global participation proceeds. Findings are based on a month-by-month analysis of historical financial
  activity and, due to commingling and the fungibility of money, the following assumptions to identify the source of
  funds for all disbursement have been made for purposes of analysis only:
        1) Cash on hand is used to fund non-investor disbursements first and in the following order: (a) cash on hand at
        inception, (b) portfolio receipts, (c) DL Global receipts, (d) money market interest income and (e) investor
        subscriptions.
        2) Cash on hand is used to fund investor disbursements second and in the following order: (a) cash on hand at
        inception, (b) portfolio receipts, (c) DL Global receipts, (d) money market interest income and (e) investor
        subscriptions.
  Disbursements to investors are assumed to be made after all non-investor uses each month which is generally
  consistent with actual activity given that DLI generally paid all redemptions and distributions at the end of the month.


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                                Sources of Payments to Investors (Inception-3/2019)




                                    Portfolio                                                 Subscriptions,
                                    Receipts,                                                 $560.4M, 59%
                                  $192.4M, 20%



                    Source: Company records.
                    Note: Total of all sources is $945.3 million. See footnote 77 for discussion regarding assumptions.


  To further illustrate this point, the first time that monthly portfolio net cash flow78 was positive
  was not until March 2017. Prior to that month, a total of $234 million had already been disbursed
  to investors in the form of redemptions and distributions, none of which, on a monthly basis, could
  have been paid exclusively from net recoveries from portfolio investments. In other words, prior
  to that period, the only way that every investor was able to receive payment of profits or a return
  of their invested capital in any given month was necessarily from funds from later investors.

                    4. The Master Fund, Feeder Funds and other Receivership Entities did not
                       maintain separateness as investor funds were commingled.

  At no point in time were any investor funds deposited by the Receivership Entities into segregated
  accounts specific to the investors nor were any investments set aside for a specific investor or
  group of investors. Each investor had only their interest in the Feeder Fund through which they
  invested their funds.

  To further illustrate the movement of investor funds throughout the Receivership Entities,
  subsequent to the October 2016 restructuring, the general flow of new investor money was such
  that investor funds either went directly into the redemption bank account to pay old investors or to
  the Master Fund. When there were not sufficient funds in the Master Fund to pay redemption
  requests at the Feeder Funds, new investor funds into the Feeder Funds would not be invested in
  the Master Fund but would make a u-turn and go back out to pay earlier investors.




  78
    Portfolio net cash flow is equal to loan funding (negative; cash outflow) plus principal repayments, participation
  proceeds and cash interest received (positive; cash inflow). A negative amount indicates a period in which there was
  a net cash outflow in connection with loans. In other words, more funds were put into funding loans than were
  generated from loans during the given period. Positive net cash flow does not, however, imply that the loan portfolios
  were operating on a profitable basis since DLIF and the Master Fund were operating with annual losses on a restated
  basis consistently since late-2015, and perhaps earlier.


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  If the new investor funds were actually directed to the Master Fund for funding loans to
  counterparties, it would generally be in the following manner:

     1. investor funds received by DLIF and DLIFF subscription bank accounts;

     2. funds transferred from DLIF/DLIFF subscription accounts to DLIF/DLIFF sweep bank
        accounts;

     3. funds transferred from DLIF/DLIFF sweep accounts to DLIC sweep bank account; and

     4. funds transferred from DLIC sweep account to DLIAB sweep account and used for funding
        loans to counterparties.

  The commingling of funds was happening since inception. The cash management practice turned
  into fraudulent fund commingling as new investor dollars were needed to satisfy redemption
  requests from earlier investors. New investor money should have been invested in the Master
  Fund instead of paying old investors in full, including false profits at inflated NAVs.

  Further, the investor funds that actually reached the DLIAB sweep account were primarily first
  directed to the counterparties, which may have led to both DLI fraudulently reporting inflated
  NAV values and that money being improperly cycled back to the Feeder Funds as purported
  returns from the portfolios and then returned to investors as supposed profits. In other words,
  investor funds were commingled with other investor funds and proceeds from loans along every
  step of DLI’s money movement process for its investment activities including from receiving
  investor funds, investing investor funds, redeploying proceeds from loans, and repayment of
  investor capital.

                5. Lower returns to later investors.

  Net returns reported to investors started off as high as 13% and generally trended downward over
  time to as low as 7%, both on an annualized basis.


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                                       Net Returns Reported to Investors
                                           (Inception-12/2018) ($M)

                          1.20%

                          1.00%

                          0.80%

                          0.60%

                          0.40%

                          0.20%

                               -
                                   2012-11
                                   2013-02
                                   2013-05
                                   2013-08
                                   2013-11
                                   2014-02
                                   2014-05
                                   2014-08
                                   2014-11
                                   2015-02
                                   2015-05
                                   2015-08
                                   2015-11
                                   2016-02
                                   2016-05
                                   2016-08
                                   2016-11
                                   2017-02
                                   2017-05
                                   2017-08
                                   2017-11
                                   2018-02
                                   2018-05
                                   2018-08
                                   2018-11
                                        Reported Net Returns        Linear (Reported Net Returns)


              Source: Data from the December 2018 investor letter published January 29, 2019. This is the last known
              reporting of net returns to investors.
              Note: The return presented for December 2018 is an estimate provided by DLI.


  In reality, and as discussed on page 43, when adjusted for bad debt expenses, the Receivership
  Entities were operating with annual losses consistently since 2016. Investor claimants will bear
  the full brunt of the unrealized losses that were not reported to investors prior to the Receivership.

  Since inception, a total of 853 investor accounts79 received payments from DLIF in excess of their
  respective investments. Of the $824.5 million that was paid to such investors, $735.2 million was
  return of funds invested and $89.3 million was in excess of funds invested by these DLIF “net
  winners.” These net winnings were paid at a time when DLIF did not even have sufficient assets
  or cash flow to satisfy the repayment of investors’ net invested capital without consideration to
  promised returns. The following chart shows the cumulative cash payments to DLIF investors in
  excess of their invested capital amounts over time.


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  79
    The amount of investor accounts merely captures the unique investor accounts as identified from DLI’s books and
  records, not the number of unique investors. The net winner analysis excludes DLI’s investment account.


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                          DLIF Cumulative Net Winner Amounts by Month (12/13-2/19)




                      Note: Excludes DLI’s investment account. There were no redemptions prior to December 2013 or after
                      February 2019 which gave rise to net winner activity. Cumulative net winner amount is $89.3 million as of
                      February 2019, including non-cash transfers and switches.


  The redemptions and distributions paid to investors include payments to insiders and employees
  and are summarized as follows:

          a. $58.1 million of redemptions and distributions to 36 insiders, including $6.0 million in
             excess of principal invested for 13 accounts.80

          b. $0.8 million of redemptions and distributions to 4 employees (excluding Ross),
             including $0.1 million in excess of principal invested.

                   6. Perpetrator benefiting from scheme.

                             a. Excess DLI management and performance fees.

  A total of $80 million in management and performance fees were received by DLI from (a) the
  $64 million in payments of fees, and (b) the purported earnings from the investment of such fees.
  These fees were important for Ross as this was the primary mechanism he used to remove a net
  total of $31.4 million from DLI.




  80
    Excludes $17.6 million in DLI redemptions and distributions in excess of cash or fees invested that were paid to
  DLI or allocated to Ross. Note: The Report uses the word “principal”, “interest” and “returns” but the Receiver does
  not concede those characterizations from the DLI records. Any such determination will be governed by the Court
  approved Distribution Plan.


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                Management Fees and Performance Fees Paid to DLI by Quarter
                                  (Inception-1Q19) ($M)




              Source: Company records.
              Note: Management fees and performance fees paid to DLI from inception through March 2019 totaled
              $64.3 million. This amount excludes the purported earnings from the investment of such fees in DLIF and
              subsequently the Master Fund.


  DLI was generating increasing management fees and performance fees with a peak of over
  $8 million in 3Q17, while the financial condition of the Master Fund was simultaneously
  worsening. As long as Ross was able to maintain the façade of successful and profitable investing,
  the continued growth in investor funds and the inflated NAVs allowed DLI to extract a significant
  amount of fees from investors at the same time it was digging a deeper and deeper hole with bad
  investments and using funds from later investors to pay earlier investors in full. The extent to
  which Ross covered up underperforming loans to prop up loan values and facilitate the payment
  of excess management and performance fees to DLI is discussed on page 60, including the
  egregious actions to manipulate loan payment history for the QuarterSpot portfolio and other
  overvaluations.

  In addition to ensuring the overpayment of fees to DLI, Ross directed the Master Fund, and DLIF
  before it, to invest such fees for DLI in order to generate an additional $17.6 million in reported
  returns that were ultimately paid out in the form of redemptions and/or distributions to DLI and
  Ross as discussed directly below.

                            b. Ross extraction of DLI funds.

  A significant amount of the DLI management and performance fees were ultimately extracted by
  Ross. Net payments and allocations totaling at least $31.4 million went directly and indirectly to
  or for the benefit of Ross and his relatives from the Receivership Entities. The net payments and
  allocations of $31.4 million are based on $44.4 million in gross payments and allocations from
  DLI less $13.0 million in payments from Ross.



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                         DLI Direct and Indirect Payments to Brendan Ross
                                       (Inception-3/19) ($M)

                                                                                            Total

                                                                                                          (1)
                       DLI to Robin Hill Investments, LLC to Ross                             $22.9
                                                                                                          (2)
                       DLI to Ross                                                            $20.3
                       DLI to Robin Hill Services, LLC to Ross                                 $0.6
                       DLI to Ross Asset Advisors, Inc. to Ross                                $0.6
                       Total to Ross                                                          $44.4
                       Ross to DLI                                                           ($13.0)
                                                                                                          (3)
                       Net to Ross                                                            $31.4

                      Note: Payments made directly from non-DLI entities to Ross were funded by payments
                      made from Receivership Entities to third parties controlled by Ross. Additional payments
                      not reflected herein could have reached Ross or could have been made for his personal
                      benefit and an investigation into such activity is ongoing.
                      1) The $22.9 million that reached Robin Hill Investments, LLC was first received directly
                      from DLI by Robin Hill Services, LLC before being sent to Robin Hill Investments, LLC.
                      2) Total includes (a) $2.5 million in payroll, bonus, retirement contributions and
                      distributions during the Relevant Time Period and expense reimbursements for 2014-
                      2018, (b) $3.2 million in non-cash allocations from DLI’s investment account to Ross’s
                      investment account, and (c) $0.65 million in distributions from DLI to Ross by way of a
                      cash investment from DLI to Ross’s investment account.
                      3) The $31.4 million in net cash and non-cash payments to Ross from DLI can be bridged
                      to the $30.2 million of net Ross activity in the cash sources and uses for the Receivership
                      Entities by subtracting the $3.21 million in non-cash allocations from DLI’s investment
                      account to Ross’s investment account and adding the net investment activity of
                      $1.9 million ($2.8 million in cash redemptions less $0.9 million in cash subscriptions).


  The majority of the payments from DLI that ultimately reached Ross and his relatives were paid
  from Robin Hill Investments, LLC (“RHI”) in the amount of $22.9 million. RHI and its subsidiary,
  Robin Hill Services, LLC (“RHS”), were formed by Ross, with Ross and his immediate family as
  owners, in September 2016 shortly before DLI entered into an Investment Management Services
  Agreement with RHS (the “RHS Agreement”) on September 27, 2016. The RHS Agreement
  provided for $10.3 million in annual service fees to RHS.

  Under the RHS Agreement, RHS was to provide certain services to DLI. However, every RHS
  employee was also a DLI employee and the salaries for each employee were split 80% to DLI and
  20% to RHS.81

  For the first 16 months of its existence, RHS was paid a total of $20.4 million by DLI. Of that
  amount, $18.0 million went to RHI which ultimately paid $17.9 million to Ross and his relatives.
  A diagram of the payments between Ross, DLI, RHS and RHI for 2016-2017 is presented below.




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     From November 1, 2016 to January 31, 2019, DLI and RHS paid $1.5 million and $0.3 million respectively in
  connection with bonus, severance and allocated salary payments to shared employees. The overall allocation does not
  reflect an 80/20 split because different allocations were used for severance payments and bonuses.


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                            Brendan Ross Payments Diagram (2016-2017)


                                                                Brendan
                                                                  Ross
                                      $14.3M

                                                                               $17.9M
                                                    $12.1M


                                Direct Lending                                             Robin Hill
                               Investments, LLC                                         Investments, LLC




                                           $20.4M                            $18.0M



                                                              Robin Hill
                                                             Services, LLC



               Source: Company records.

  The timing and manner of payments from DLI to Ross are highly unusual. For example, during
  the first 10 months of 2016, DLI paid $8.3 million to Ross directly. During the remainder of 2016,
  Ross paid $8.3 million along with another $0.7 million back to DLI for a total of $8.9 million.
  These funds were subsequently used by DLI to pay a total of $9.9 million to RHS, which then paid
  a total of $9.3 million to RHI, which then paid a total of $9.1 million to Ross, all during the 4th
  quarter of 2016.

  In 2017, a similar pattern of payments went from DLI to Ross to DLI to RHS to RHI to Ross
  whereby Ross received another $8.8 million in payments for a total of $17.9 million during 2016
  and 2017.

  Of the DLI funds that ultimately reached Ross, $11.4 million was then sent by the Ross Family
  Trust to a Hungarian bank for the benefit of the Strawberry Peak Trust (“SPT”) which was created
  by Ross on June 8, 2017 for his children as the beneficiaries.

  It is notable that Ross created the SPT and began moving funds offshore as DLI faced two
  expanding problems: (1) the bankruptcy of Dealstruck and DLI’s foreclosure on the underlying
  loans and the slow pace of recovery on those loans, which was dragging returns down significantly,
  and (2) the continued deterioration of the QuarterSpot loan portfolio performance, which was
  being masked through greater and more desperate efforts by Ross to manipulate the false payment
  reporting.

  The use of the Robin Hill entities by Ross is evidence of his elaborate schemes to manipulate DLI’s
  books and records, in this instance by including fraudulent transactions, to hide or shelter
  compensation the Receivership Entities paid to him.

  First, the agreement with RHS was not arms-length. Ross was on both sides of the transaction,
  representing both DLI and RHS. Without justification, DLI and RHS “contemplated” that RHS


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  would provide approximately $10 million in services to DLI per year. Financial documents show
  that RHS invoiced, and DLI subsequently paid, approximately $20.4 million from October 2016
  to December 31, 2017.82

  Second, there is no indication that RHS provided any meaningful service to DLI at all. For
  example, on October 28, 2016, just one month after DLI and RHS entered into the Agreement,
  DLI transferred funds to RHS and in amounts of approximately $2.2 million and $0.6 million. Just
  one month later, on November 10, 2016 and November 23, 2016, DLI transferred approximately
  $2.5 million and $1.9 million to RHS, respectively. Despite that, RHS’s audited financials for
  2016 state that, “[RHS] recognizes revenue in the form of management service fees earned as a
  result of providing its services to DLI. These fees are recorded in the period in which the services
  are provided. . . .” RHS’s audited financials show a 2016 year-end total revenue of approximately
  $9.9 million (in RHS’s first four months of existence). To emphasize the discrepancy between
  RHS’s revenue and its actual services provided, its year-end salaries and wages for 2016 was just
  $28,167. By year-end 2016, RHS distributed approximately $9.0 million of its revenue to its
  members (i.e., to Ross and his family).

  Third, while the Agreement between DLI and RHS provided that RHS was to furnish “streamlined
  and professional management services, marketing and entrepreneurial services . . . so as to permit
  [DLI] to devote its concentrated and continuous efforts to providing investment management
  services at peak efficiency,” that never happened. As mentioned above, all of RHS’s employees
  were also employees of DLI.83 Specifically, RHS and DLI “shared” between five and seven
  employees. DLI paid each of those employee’s 80% of their salary, while RHS would pay 20%.
  In other words, RHS was paying DLI employees, to do DLI-related tasks, to justify charging DLI
  exorbitant “service” fees, all while directly contradicting the purpose of the Agreement. Some
  RHS employees had no understanding that they were employed by RHS and did not know why
  their W-2 statements reflected separate wages from different employers.

  While there is evidence that Ross extracted additional funds disguised as operating expenses, the
  magnitude of such findings is small. Most notably, there were $90 thousand in payments to Ross’s
  wife from January 2015 to August 2015 even though there is no evidence to suggest she provided
  any services for DLI and $25 thousand in car lease payments from November 2013 to April 2016.
  Investigation into this and other possible payments to or for the benefit of Ross that were disguised
  as operating expenses is ongoing.

                            c. Ross extraction of DLIF investment account funds.

  Ross was able to extract reported returns on his personal investments in DLIF as well as from the
  $3.2 million in DLI’s investment account that was transferred to his investor account. In total, $2.8
  million in redemptions and distributions went to trusts held by Ross and/or relatives from a total
  of $0.9 million in principal invested.84


  82
     See 2016 RHS Audited Financials and 2017 RHS Audited Financials.
  83
     See 2016 RHS Audited Financials, page 12.
  84
     In addition to the $0.9 million in cash investments from Ross, $3.2 million was re-allocated from DLI’s investor
  account balance to Ross.


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                            d. Ross’s personal interest in counterparties.

  In addition to the fees that Ross was able to extract from DLI, Ross may also have benefited from
  DLI’s business decisions to make loans to certain counterparties as Ross had a financial interest in
  as many as 8 counterparties which received a total of $647 million, or 39%, out of the $1.7 billion
  in total loan funding to all counterparties, furthering his ability to extract even more funds from
  unsuspecting investors.

  Certainly, in the case of QuarterSpot where the ultimate goal was to maintain high management
  fees and performance fees, Ross was able to leverage his personal interest in the counterparty to
  direct QuarterSpot management to manipulate loan histories based on the false data he provided.

  Ross made factually inaccurate statements and misrepresentations to DLI’s investors, employees,
  the SEC, and others about how he obtained the economic interests and the nature of his interests
  with the counterparties. Ross represented that (a) he paid for his investments in the counterparties
  and (b) the purpose for this was to get a “foot-in-the-door” to build a lending relationship between
  the counterparty and DLI. Ross noted only one exception, VoIP Guardian, LLC, the sole member
  of the borrower VoIP Guardian. Ross, though, later maintained he never obtained an interest in
  VoIP Guardian, LLC because he claimed the deal was never consummated. However, Ross’s
  supposed personal ownership interest in VoIP Guardian, LLC was communicated repeatedly to
  the SEC. DLI amended its written response to the SEC about Ross’s ownership in VoIP Guardian,
  LLC, contending that Ross’s disclosures and DLI’s response #7 was “an inadvertent mistake: an
  agreement giving Ross such an interest was contemplated but never consummated, and Ross never
  received any payment or other benefit in connection with an ownership interest in VoIP Guardian,
  LLC.” Ross also made factually inaccurate statements to investors about his ownership interests
  to investors. For example, when an investor or prospective investor asked about Ross’s personal
  interests in January 2017, he stated that he paid for such interests and did not receive any favorable
  pricing or treatment.

  While the investigation into Ross’s personal interests in counterparties is ongoing, the Receiver
  estimates an underreported allowance for doubtful accounts and bad debt expense of
  $343.7 million relative to the obligations of these loan counterparties to the Master Fund as of
  March 31, 2019,85 as set forth in the chart below.

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     The last period for which the books were closed was November 30, 2018. Outstanding loan balances that are
  presented or used for amounts after this date were prepared in a manner consistent with methodologies used to
  determine previously reported balances. The $343.7 million estimate is calculated by taking the March 31, 2019
  principal balance of $398.5 million (using the manner described above) and comparing it to the estimated recoverable
  balance of $54.8 million (using information available as of July 31, 2020).


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            Estimated Recoveries on Loans to Counterparties as of Receivership Date
                   in Which Ross Had or May Have Had a Financial Interest

                                                                            Book Based

                                                              3/31/19        Act./Est.   Estimated
                                                             Principal         Book     Recoverable
                                  ($ in millions)             Balance       Gain/(Loss)   Balance

                                  VoIP Guardian                   $191.7          ($191.7)              -
                                  Investment H/I                  $193.4          ($151.2)          $42.2
                                  LoanHero                         $11.0            ($2.5)           $8.5
                                  QuarterSpot                       $2.4            ($0.9)           $1.5
                                  Realty Mogul                         -                -               -
                                  IOU                                  -                -               -
                                  Nativa                               -                -               -
                                  Dealstruck                           -             $2.6            $2.6

                                  Total                          $398.5          ($343.7)          $54.8


           Note: Counterparties listed represent those borrowers where Ross is known or believed to have a financial interest. The
           last period for which the books were closed was November 30, 2018. Outstanding loan balances that are presented or
           used for amounts after this date were prepared in a manner consistent with methodologies used to determine previously
           reported balances.


  See Exhibit 5 for additional information regarding Ross’s personal interest in counterparties.

                               e. Ross suspicious activity – false identities

  In November 2018, if not earlier, it appears that Ross took steps to establish a false identity:
  Brandon Rosen. Ross contacted a Spain-based company La Tinta Hopper, S.L., which operates
  the www.hopper-ink.com website, to prepare a fake California driver’s license for a “Brandon
  Rosen” with his picture on it, and the address 409 Robin Hill Ln., Escondido, CA 92026, which
  does not appear to be a valid address. When the name Rosen was misspelled as Rossen, Ross
  instructed them to correct it to Rosen, as that name was more common. In addition, he contacted
  Linked Jetpak requesting a LinkedIn profile for “Brandon Rosen.” He also created a fake email
  address for Brandon Rosen: “brandonrosen@mail.com.”

  La Tinta Hopper, S.L. is the graphic designer that created the artwork for most of DLI’s marketing
  materials, including logos, banners, presentations, fact sheets, website, organizational charts, gift
  packaging, business cards, etc. The company received a total of $106,898 from Robin Hill
  Services, LLC across 24 wire payments between February 2017 and February 2019. It is unclear
  how much was paid or who paid for the services related to the Brandon Rosen driver’s license. A
  review of the invoices associated with payments made after October 2018 did not indicate that the
  driver’s license services were paid for by Robin Hill Services, LLC. A review of the cash activity
  for the Receivership Entities and for other Ross entities did not identify any other payments that
  were made to La Tinta Hopper, S.L.

  Investigation into this and other possible false identities is ongoing.



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                         f. Ross suspicious activity – other

  Ross undertook efforts at DLI to maintain control, silence dissenting voices, and silo employees
  on certain occasions from having full access to information. In addition, he tried to shield his
  communications with investors from discovery and full disclosure. As noted above, he often used
  his Gmail account to privately communicate outside the DLI email system. He also pushed
  employees of the Receivership Entities to use (and he frequently used himself) a private messenger
  application called Signal Messenger, that causes messages to disappear allowing Ross to try and
  hide his tracks. Ross discouraged employees from communicating directly with one another and
  often instructed them to instead communicate through him. Ross often became frustrated, angry,
  and annoyed when employees questioned his authority or were asking too many questions
  regarding DLI’s investments. Ross threatened to terminate employees, seemingly because they
  made inquiries about the valuation of the loans in the portfolio. In a similar vein, Ross reduced the
  pay of his employees and threatened their job security, when he felt that they were not performing
  in the way Ross desired.

  Ross by far was the DLI representative that most frequently communicated directly with investors,
  despite the company having an investor relations department and/or employees solely dedicated
  to working with investors. He often communicated with investors without other DLI employees
  on the phone or copied on any correspondence. Ross would send potential and existing investors
  private placement memorandums and information related to the various loan portfolios. Ross also
  advertised demo tours of Investment E/D and IOU Central platforms to investors through investor
  letters, and would personally walk investors through the two portfolios using examples that he had
  reviewed in advance.

  When Ross was confronted with evidence of his wrongdoing in the spring of 2019, on several
  occasions he made statements seemingly designed to imply that others were guilty as well. For
  example, Ross commented to one DLI employee that he always thought the employee knew certain
  QuarterSpot payments from borrowers were fake.

                 7. Use of broker dealers and finders.

                         a. Broker dealers.

  DLI relied on registered broker dealers to raise the vast majority of investor funds. Of the
  $1.5 billion raised from 1,843 investor accounts, $1.0 billion (71% of total) was raised from 1,142
  accounts (62%) associated with a broker dealer.

  Since inception, DLI paid $7.3 million in commissions to broker dealers in furtherance of the
  scheme. The overwhelming majority of commissions and fees paid were based on agreements that
  provided for payment in arrears equal to 20% of management fees and performance fees paid to
  DLI by eligible investors. The more inflated the loan values and NAV, the more inflated the
  management fees and performance fees, and therefore the more inflated the commissions were.

                         b. Finders.

  In addition, DLI had arrangements with 16 finders that were paid finder’s fees for new investment


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  funds that they were responsible for directing to the Feeder Funds, accounting for an additional
  $135 million in investor funds raised (9% of total). Such finders included a mix of Feeder Fund
  investors,86 DLI employees, and consultants. Since inception, DLI paid $2.4 million to finders in
  furtherance of the scheme.

  In the case of DLI employees providing services in a dual role under independent consultant
  agreements, when DLI realized that having its employees paid finders’ fees might give rise to
  reporting issues and problems with unlicensed brokers receiving commissions, it chose to address
  the problem by having them assume a dual role and work for a brokerage firm that was licensed
  to receive commissions. The last period for which there is evidence that finder fees were paid,
  other than through a registered broker, was December 2016. In late 2018, DLI decided to disclose
  the employees having received undisclosed commissions after-the-fact and to offer investors who
  had invested based on being solicited by DLI employees the right to rescind their investments.

                               c. Incentives.

  While a 20% commission or finder’s fee on both management fees and performance fees is
  considered a common structure for investment firms to offer to third party marketers, it was a
  sizeable commission sufficient to induce broker dealers and “consultant investors” to find ways to
  bring new money to and keep funds from earlier investors. These commissions and fees gave
  broker dealers and finders an incentive to discourage investors from requesting withdrawals given
  that they were paid a periodic commission or fee based on total investments retained with DLI.

  To support their efforts to raise new investor funds, DLI spent at least $0.9 million to participate
  in conferences and industry events, $0.5 million on public relations and $0.4 million in travel and
  entertainment.


  VI. Loan Portfolio

             A. Introduction

  As previously mentioned, the Receiver estimates that Net Loan Losses will be $501.4 million,
  which is a book-based shortfall relative to the obligations of the loan counterparties including
  accrued and unpaid interest and other items in excess of net cash funding. In terms of cash-based
  shortfalls, of the $1.7 billion in funding for loans to counterparties, only $465.2 million has been
  repaid in full, with interest, as of July 31, 2020. The $72.9 million return on these fully liquidated
  loans is insufficient to offset the realized and expected shortfall totaling $305.6 million on funding
  of $1.3 billion for unrecovered loans. As of July 31, 2020, a total of $232.6 million in principal
  funding remains unrecovered when including the $72.9 million return on fully liquidated loans.
  The Receiver estimates that only $109.2 million of that amount will be recovered. A review of
  the loans made to 29 counterparties shows that 10 have been fully liquidated, 9 have been written
  off with no or negligible recovery expectations and 10 are still outstanding.



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       The finders or their principals include at least 9 remaining investors, some of whom are also ex-employees of DLI.]


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                        Estimated Loan Performance by Counterparty – Cash Basis ($M)

                                                                  A                B              C          D=A+B+C       E            F=D+E
                                                                                 Total     Total Recovery                              Estimated
                                                                               Recovery      from Third      Actual Net Estimated      Final Net Internal
                                             Investment         Total            from           Party        Recovery/   Future        Recovery/ Rate of
                                                      1                                  2               2           2            2            2        3
                                               Period         Invested       Counterparty Participations      (Loss)   Recoveries       (Loss)   Return
       Fully Liquidated Loans
       Talking Capital                     10/14 to 5/16      $     (62.5) $          68.9 $          -   $        6.4 $         -     $     6.4       15.9%
       Forward Financing SPV, LLC          4/15 to 3/19             (64.5)            33.5           44.0         13.0           -          13.0       18.5%
       Bay Point Capital Partners, LP      9/15 to 12/18           (101.0)           112.9            -           11.9           -          11.9       20.8%
       Nativa Capital Partners, LP         12/15 to 3/16             (3.7)             3.8            -            0.1           -           0.1       13.2%
       CarePayment Technologies, Inc.      3/16 to 8/18             (71.0)            89.0            -           18.0           -          18.0       27.3%
       Origin SPE, LLC (Mepco)             5/17 to 5/19             (92.0)           107.7            -           15.7           -          15.7       16.3%
       LiftForward SPV III, LLC            5/17 to 7/18             (35.3)            38.7            -            3.5           -           3.5       16.4%
       The Mane Choice Hair Salon, LLC     9/17 to 9/18              (2.1)             2.6            -            0.5           -           0.5       24.5%
       Fast Pay Partners, LLC              3/18 to 8/19             (30.8)            28.5            6.0          3.7           -           3.7       14.8%
       FPP, LLC (Multistream Capital)      12/18 to 5/19             (2.3)             2.4            -            0.1           -           0.1       20.2%
       Subtotal - Fully Liquidated Loans                          (465.2)           488.1            50.0         72.9           -          72.9      19.4%

       Written Off Loans (No or Negligible Expected Recovery)
       IOU Central Inc.                 11/12 to 9/16          (31.6)                 39.9            -             8.3          -             8.3   15.0%
       DealStruck Funding               2/14 to 10/19          (74.3)                 77.3            -             3.0          -             3.0    2.7%
       Realty Mogul, Co.                9/14 to 3/19            (7.2)                  7.7            -             0.5          -             0.5    5.7%
       StreetShares, Inc.               11/14 to 12/15          (1.2)                  1.2            -             0.0          -             0.0    5.7%
       LoanHero, LLC                    5/15 to 7/20           (41.4)                 43.2            -             1.9          -             1.9    2.9%
       VoIP Guardian Partners 1, LLC    10/15 to 2/19         (250.6)                101.4            -          (149.2)         -          (149.2) (73.9%)
       OLP – Sequoia Funding SPV1, LLC 6/16 to 11/18           (10.5)                  9.9            -            (0.6)         -            (0.6)  (4.2%)
       Investment K                     4/17 to 5/20           (10.1)                  0.8            -            (9.4)         -            (9.4) (87.2%)
       Morrison Oil, LLC                6/17 to 7/20            (3.4)                  0.2            -            (3.2)         -            (3.2) (98.7%)
       Subtotal - Written Off Loans                          (430.1)                281.5             -         (148.6)          -         (148.6) (40.3%)

       Outstanding Loans
       QuarterSpot                         8/13 to Current         (120.8)          102.5            54.2          36.0          0.1          36.1     13.9%
       Investment E/D                      3/14 to Current          (75.2)           91.6             -            16.4          0.2          16.6      9.8%
       Investment N                        11/14 to Current         (80.0)           46.0             -           (34.0)        53.9          19.9      9.1%
       Investment P                        2/15 to Current          (44.6)           37.7             -            (6.9)        12.6           5.7     12.4%
       Investment H/I                      2/15 to Current         (171.0)           79.0             -           (92.0)         6.1         (85.9)   (25.4%)
       Investment S/T                      8/15 to Current         (234.5)           68.9           171.6           5.9         10.3          16.2      4.5%
       Investment R                        12/16 to Current         (27.5)           16.9             -           (10.7)        13.0           2.3      3.5%
       Investment F/G                      3/17 to Current          (13.6)            5.0             -            (8.7)         1.1          (7.6)   (51.4%)
       Investment M                        5/17 to Current          (59.3)           17.3             -           (42.0)         1.0         (41.0)   (54.7%)
       Investment L                        10/18 to Current         (27.4)            6.5             -           (20.9)        10.9         (10.0)   (24.6%)
       Subtotal - Outstanding Loans                               (854.0)           471.2           225.8       (157.0)        109.2        (47.8)     (3.3%)

       Total                                                  $ (1,749.4) $        1,240.9   $      275.8    $ (232.6) $       109.2   $   (123.5)    (5.5%)

       1) The investment period identifies the first month that funds were loaned out and the last month that funds were received from each
       counterparty.
       2) As of July 31, 2020.
       3) Assumes all estimated future recoveries occur on December 31, 2020 for simplicity purposes.


  The primary assets of the estate consist of the various investment instruments, loans, and loan
  portfolios into which funds generated from investors through the Feeder Funds were invested.

  The March 31, 2019 outstanding loan balance was $788.0 million.87 After considering amounts
  collected to date by the Receiver since his appointment and the likely future collections, the

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    The last period for which the books were closed was November 30, 2018. Outstanding loan balances that are
  presented or used for amounts after this date were prepared in a manner consistent with methodologies used to
  determine previously reported balances.


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  Receiver estimates a $286.6 million recovery on the loan portfolio (or about 36% of the March 31,
  2019 book value), before expenses. Of course, this is only an estimate and the ultimate recovery
  is not certain. Of the 10 remaining outstanding loan and investment portfolios, most are in some
  form of financial distress or subject to disputes that may affect the timing and extent of recoveries
  on those portfolios.

  DLI investors were led to believe throughout the entire pre-Receivership period that they were
  investing in a strong loan portfolio that would earn positive returns and were backed by solid assets
  providing collateral for the loans. The reports and verifications of auditors and valuation firms
  reinforced these beliefs. Unfortunately, the forensic analysis of the Receiver and the related
  investigations reveals a far different picture.

          B. Propped up Loan Values

  The Receiver’s investigation to date has revealed many of the reasons for the magnitude of the
  loss in the value of the investments, which the Receiver understands is surprising to the investors
  in light of misrepresentations made to them. The Receiver’s investigation has revealed the nature
  of the DLI investments; the true likely value of the investment positions; the real returns on the
  investments to DLI; and the inaccurate reporting of investments results and the performance and
  financial position of counterparties. In the judgment of the Receiver and his Counsel, there is
  overwhelming evidence to support the allegations related to the fraudulent misreporting of
  borrower repayments by QuarterSpot, as alleged in the SEC Complaint. In addition, the Receiver
  has identified strong support for many of the other allegations in the SEC Complaint of improper
  conduct by DLI.

  The Receiver has observed previously that DLI’s investments were generally poorly underwritten;
  inadequately documented, often without proper credit agreements and security interests; and
  inconsistently administered. The significant projected shortfall on expected recoveries on DLI’s
  investment portfolio is very consistent with the Receiver’s initial observations and subsequent
  experience. The Receiver is now able to conclude that the issues were more than merely bad
  management and bad business. The actions of Ross, including manipulating loan payment
  histories, propping up loan values, charging excessive fees, and extracting tens of millions of
  dollars for personal benefit, constituted fraudulent activity.

  As shown in the Profitability Analysis schedule on page 43 and the Estimated Restated Values vs.
  Reported Portfolio NAVs chart and schedule on page 67, the issue of overvalued portfolio
  positions began in 2015. By the end of 2015, overvalued loans accounted for an estimated 36%88
  of the reported loan portfolio balance, which contributed to an estimated 6% overstatement of the
  portfolio NAV. By November 30, 2018, the last period for which the books were closed, loans
  that accounted for 77% of the stated investment value were overvalued, which contributed to an
  estimated 144% overstatement of the portfolio NAV. DLI’s investment returns were consistently

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    Percentage calculations in this paragraph are based on the reported NAV of loans identified as overvalued divided
  by the total reported portfolio NAV. Overvalued loans were determined by identifying the difference between the
  estimated restated carrying values relative to the reported carrying values of each counterparty loan. A counterparty
  loan with an estimated restated carrying value that is lower than the reported carrying value is determined to be
  overstated.


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  overstated, which encouraged further investment and allowed DLI to avoid redemptions by
  informed investors and minimized the investors who requested regular dividends as opposed to
  reinvesting the purported returns. Investors were not properly alerted to the real risk of loss from
  DLI’s most substantial investments and material facts were not disclosed or insufficiently
  described. The generation of excess management and performance fees damaged DLI and its
  investors and enabled Ross to pull out more money for his personal benefit.

  In the following pages, the Receiver will summarize issues with respect to five other loans by way
  of example.

                 1. QuarterSpot, Inc.

  The Complaint outlines alleged fraudulent conduct specific to the QuarterSpot lending platform,
  (including falsifying borrower payment information, grossly overstating the valuation of the
  position, and collecting excess management and performance fees based on that overvaluation).
  The Receiver believes that the allegations of the SEC Complaint are well-founded and supported
  by substantial evidence. As outlined in the Complaint, Ross helped engineer false borrower
  “payments” that caused many of the loans to be valued at par, instead of at no value, outrightly
  manipulating the loan values. The amount and timing of reserves were also manipulated to meet
  return targets. Between 2014 and 2017, DLI overvalued the QuarterSpot position by
  approximately $53 million and overstated performance by at least two to three percent annually.
  This overvaluation alone resulted in DLI collecting at least around $11 million in excess
  management and performance fees. See page 72 for a discussion of Ross’s bad acts with respect
  to the QuarterSpot loan.

                 2. VoIP Guardian Partners I, LLC

  In addition to the fraud with QuarterSpot, the Receiver estimates that the losses in connection with
  the $202 million VoIP Guardian credit facility will likely account for 25% of the loss of the Master
  Fund’s purported value. From mid-2015 on, DLI provided financing for VoIP Guardian in steadily
  ballooning amounts. Ross represented that the loans were made to purchase, at a discount,
  accounts receivable of lower-tier telecommunications companies that supposedly would be paid
  by top tier telecommunication companies such as Verizon, Orange, and AT&T. In reality, neither
  the collateral for the loans, nor the lower-tier telecommunication counterparties, were legitimate.
  VoIP Guardian ceased paying DLI in late 2018. VoIP Guardian shortly thereafter filed for
  Chapter 7 bankruptcy. As early as February of 2017, Ross was aware that an active criminal
  investigation was underway in the Netherlands focused on VoIP Guardian’s telecommunication
  business and counterparties. Criminal charges were filed against VoIP Guardian, its principal
  Rodney Omanoff, and associates. The Receiver’s investigation of Omanoff and his relationship
  with Ross are the subject of ongoing investigation. See Exhibit 6 for additional detail.

  The fraud involving VoIP Guardian developed very early on in DLI’s history. DLI initially
  invested in a similar company, Talking Capital Partners I, LLC, in 2014 and transitioned to VoIP
  Guardian in 2015. The same primary individuals operated both counterparties. Both Talking
  Capital and VoIP Guardian purported to be in the telecom receivables factoring business and
  offered the same too-good-to-be-true risk-free 15% return. DLI’s investment ballooned to



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  $200 million by December 2018, with 80% of that amount loaned against receivables owed to
  parties that operated overseas, used foreign bank accounts, and had no indicia of legitimacy. When
  DLI could no longer fund new investments, the foreign businesses disappeared. This evidence
  suggests VoIP Guardian was either a Ponzi scheme or a money-laundering or other criminal
  enterprise. DLI’s failure to provide any new money in November 2018 led to the immediate
  collapse of the VoIP Guardian operations.

                 3. Dealstruck Holdings, Inc.

  Dealstruck Holdings, Inc. (“Dealstruck”) was touted by DLI as an early successful consumer loan-
  based investment, but was also overvalued and the purported returns from this investment were
  misrepresented from the outset. Ross personally held an interest in Dealstruck. The evidence
  indicates he caused DLI to take actions that increased DLI’s position in poorly performing
  portfolios to protect his individual position or misrepresent DLI’s overall position, all the while
  causing DLI to fail to adjust its valuations or disclose the underlying weaknesses in the collateral
  to DLI’s investors. Despite glowing representation of the returns from the Dealstruck portfolio,
  in reality DLI was pumping more money into the Dealstruck loan portfolio such that by September
  2016 its net funding was over $45 million. In the summer of 2016, DLI needed to provide a
  working capital loan with Dealstruck itself in order for it to meet payroll. In December 2016, DLI
  foreclosed on the underlying loan portfolios and had to take responsibility for the slow collection
  of the loans over time. The remaining Dealstruck loans were not liquidated until October 2019.
  The portfolio ultimately yielded only a 2.7% internal rate of return – far less than what could
  support 10-12% net returns to investors. The investors were misled as to the full set of
  circumstances and the impact related to Dealstruck’s eventual wind down.

                 4. LoanHero, Inc.

  Similar to the Dealstruck investment, LoanHero, LLC (“LoanHero”) was also touted by DLI as an
  early successful consumer loan-based investment that was also overvalued with purported returns
  misrepresented from the outset. LoanHero was formed in 2014. Ross also personally held an
  interest in Dealstruck and was one of the four founding members of the company, which was set
  up as a “point of sale consumer finance solution.” On April 30, 2015, DLIF and, after the
  establishment of the master-feeder structure in 2016, the Master Fund began providing a revolving
  loan facility to LoanHero with a 16% interest rate. Ross touted the value of the LoanHero
  investment, but the actual performance of the underlying loans financed by LoanHero was much
  worse than represented by Ross. LoanHero was only able to make the required interest payments
  on the facility by using new loan funding from DLI. By June of 2016, DLI’s internal analyses
  questioned the sustainability of the LoanHero collateral. DLI’s internal reports showed the return
  from the loans to LoanHero to be 6.1%, well below what could sustain continuing to make the
  coupon payments due. Rather than reduce its funding and the risk to DLI, Ross increased the loan
  commitment to LoanHero to $25 million in November of 2016. By September of 2107, DLI’s
  internal reporting showed that the LoanHero loans serving as collateral for DLI were only
  returning 0.6%. Even though the facility had been undercollateralized for three months, on
  October 30, 2017, DLI increased the maximum facility amount to $42.5 million. On December
  29, 2017, DLI was forced to conduct a strict foreclosure of the facility and the Receivership Entities
  took possession of the underlying loans as a whole loan portfolio. DLI failed to disclose the



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  foreclosure in investor letters from December 2017 through March 2018. The underlying loans
  were not completely liquidated until the Receiver sold the loans at auction during the receivership.
  The internal rate of return on the LoanHero investment was only 2.9% -- a stark contrast to the
  representations by Ross about LoanHero.

                 5. Investment M

  In May of 2017, DLI began loaning tens of millions of dollars to Investment M, an entity seeking
  to monetize a patent portfolio primarily through patent litigation. In the judgment of the Receiver
  and his counsel, among other problems, DLI’s investment in this patent strategy was inconsistent
  with the representations of DLI’s investment strategy made to investors; overvalued by DLI;
  insufficiently underwritten; and the risks to investors were not adequately disclosed. There were
  a series of foreseeable legal changes almost immediately after DLI began its funding of Investment
  M that made patent litigation of the type invested in far more challenging and risky.

         C. Incorrect NAVs in 2016 and 2017

  The weakness in the financial position and the serious overvaluation of the NAVs, which represent
  the value of the portfolio and each individual investor’s account, can be illustrated by considering
  the major components of the portfolio NAV as of December 31, 2016. By then, $633 million of
  the purported $825 million in portfolio NAV (77%) was attributed to problematic assets worth far
  less than represented.

                          Portfolio NAV Breakdown - December 31, 2016

                                                                                NAV ($M)           NAV (%)
                                                    1
                Substantial Losses Expected
                Investment T                                                          $195.0           23.6%
                VoIP Guardian                                                         $101.6           12.3%
                Investment H/I                                                         $83.7           10.1%
                Total - Substantial Losses Expected                                   $380.3           46.1%

                Problem Investments
                QuarterSpot                                                           $128.4           15.6%
                Dealstruck                                                             $63.7            7.7%
                Investment E/D                                                         $60.5            7.3%
                Total - Other Problem Investments                                     $252.5           30.6%

                Total Problematic Investments                                         $632.9           76.7%
                Other Investments2                                                    $192.1           23.3%
                Total Portfolio NAV                                                   $825.0          100.0%


               1) Expected losses range from $36 million to $94 million for each counterparty based on the reported
               NAVs less the estimated restated values as of December 31, 2016.
               2) Excludes non-portfolio components of total NAV such as cash and accounts payable.




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  As of December 31, 2017, $589 million of the purported $840 million in portfolio NAV (70%)
  was attributed to problematic assets worth far less than represented.

                             Portfolio NAV Breakdown - December 31, 2017

                                                                                 NAV ($M)          NAV (%)
                  Substantial Losses Expected1
                  Investment H/I                                                       $191.8           22.8%
                  VoIP Guardian                                                        $184.4           21.9%
                  Investment T                                                          $47.8            5.7%
                  Investment M                                                          $34.5            4.1%
                  Total - Substantial Losses Expected                                  $458.4          54.6%

                  Other Problematic Investments
                  QuarterSpot                                                           $51.0           6.1%
                  LoanHero                                                              $38.9           4.6%
                  Investment E/D                                                        $21.9           2.6%
                  Dealstruck                                                            $18.6           2.2%
                  Total - Other Problematic Investments                                $130.4          15.5%

                  Total Problematic Investments                                        $588.8          70.1%
                  Other Investments                                                    $251.3          29.9%
                  Total Portfolio NAV                                                  $840.1         100.0%

                 1) Expected losses range from $11 million to $164 million for each counterparty based on the reported
                 NAVs less the estimated restated values as of December 31, 2017.


  The above examples do not present a full outline of all of DLI’s issues regarding overvaluation
  and problematic investments, but are offered to illustrate common issues. In summary, with many
  of the major portfolio positions, although along the way DLI was reporting consistent returns, the
  positions were falsely represented to investors, and the Receiver expects to recover only a fraction
  of the value of all remaining open positions.

          D. Estimation of Restated Values

  Since Ross wanted to and did take egregious actions to hide losses and prop up loan values, he and
  DLI also did not disclose to investors the true nature of the investment portfolio’s performance at
  the time the losses were incurred. For the purposes of this Report, the Receiver has prepared an
  analysis to estimate appropriate historical counterparty loan carrying values for every month since
  October 2012 with the benefit of information available as of the date of this Report. The main
  assumption in the analysis is that a more appropriate carrying value89 of any given counterparty
  loan is equal to the amount of cumulative loan funding multiplied by the ratio of actual or estimated
  ultimate cash recoveries, including participation proceeds, divided by total actual or estimated cash
  funding. In other words, the estimation of restated values grosses up or down each new loan

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    Carrying value is another term for reported loan value, which is a significant component of the calculation for
  reported portfolio NAVs.


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  funding by the percentage of the ultimate cash gain or loss realized or expected to be realized on
  each total counterparty loan. Or said differently, estimated restated values are based on the
  immediate realization of the ultimate cash gains or losses realized or expected to be realized on a
  pro rata basis.90 While this simplified analysis is conservative and does not necessarily result in
  values that would support actual restated values, it does provide insightful information regarding
  the actual performance and value of all counterparty loan fundings.91

  There are three main illustrations from this analysis that can help better understand the true
  performance and value of counterparty loans over time: (1) estimated restated values vs. loan
  fundings shows the ultimate estimated net recovery for each dollar invested at the time it was
  invested, (2) estimated restated values vs. reported portfolio NAVs shows how loan performance
  was misrepresented, and (3) estimated restated total value vs. Feeder Funds’ net invested capital
  shows how the Feeder Funds would have been unable to repay their investors’ net invested capital
  solely from the value of the investment portfolio and without the benefit of funds contributed by
  new investors.

                   1. Estimated Restated Values vs. Loan Fundings

  The following schedule shows the difference between the estimated restated carrying values of
  each counterparty loan relative to the amount funded. The results are shown on a quarterly basis
  for the two partial stub years and for 2015; otherwise the results are presented on an annual basis.
  Amounts shown with green shading indicate loan fundings to counterparties that returned or are
  expected to return more than what was funded while amounts shown with red shading indicate
  loan fundings to counterparties that returned or are expected to return less than what was funded.
  As shown in the schedule, on an aggregate basis, loans to counterparties were profitable on an
  aggregate basis through the third quarter of 2015. However, the seeds were sown for future losses.
  After that period, and starting with the initial funding of $19.5 million into the VoIP Guardian
  loan, all loan funding on a cumulative basis was disastrously unprofitable.


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     An illustrative example is as follows: ABC Company received $50 million in total loan funding across all time
  periods and repaid a total of $45 million including interest (90% cash recovery). Consider an initial loan funding of
  $10 million. The estimated restated value of the $10 million initial loan would be $9 million ($10 million x 90% =
  $9 million).
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     Further expert development and analysis of the portfolios on a more fact-specific basis may lead to the conclusion
  that the actual overvaluations were larger.


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                 Estimated Restated Values vs. Loan Fundings (Inception – 3/2019) ($M)
                                            4Q12       2013       2014       1Q15       2Q15       3Q15    4Q15       2016       2017       2018       1Q19       Total

          IOU Central Inc.                   $0.4       $3.0       $3.0       $0.5       $0.3       $1.0          -          -          -          -          -      $8.3
                      1
          QuarterSpot                              -     1.5        5.9         2.0        3.6       2.5      1.6       16.1        2.8          -            -      36.1
          DealStruck Funding                       -       -        0.4         0.3        0.1       0.2      0.2        1.8          -          -            -       3.0
          Investment E/D                           -       -        8.9         2.1        1.6       1.0      1.4        1.4          -        0.0            -      16.6
          Realty Mogul, Co.                        -       -        0.3         0.2          -         -        -          -          -          -            -       0.5
          Talking Capital                          -       -        1.1         0.6        2.3       0.2      1.9        0.2          -          -            -       6.4
          StreetShares, Inc.                       -       -        0.0         0.0        0.0         -        -        0.0          -          -            -       0.0
          Investment N                             -       -        0.6         0.5          -         -        -        6.5        7.5        4.9            -      19.9
          Investment H/I                           -       -          -        (2.3)      (0.8)        -     (4.9)     (20.2)     (56.4)      (1.4)           -     (85.9)
          Investment P                             -       -          -         0.4        0.3       0.5      0.0        1.5        1.6        1.3            -       5.7
                                       2
          Forward Financing SPV, LLC               -          -          -          -     1.4        1.0      3.0        1.2        1.4        4.8        0.1        13.0
          LoanHero, LLC                            -          -          -          -     0.0        0.1      0.1        0.9        0.8          -          -         1.9
                          3
          Investment S/T                           -          -          -          -          -     2.7      1.8        7.9        1.4        1.7        0.7        16.2
          Bay Point Capital Partners, LP           -          -          -          -          -     0.4      0.7        4.6        3.5        2.7          -        11.9
          VoIP Guardian Partners I, LLC            -          -          -          -          -       -    (19.5)     (69.4)     (44.6)     (14.3)      (1.3)     (149.2)
          Nativa Capital Partners, LP              -          -          -          -          -       -      0.1          -          -          -          -         0.1
          CarePayment Technologies, Inc.           -          -          -          -          -       -        -       12.7        5.3          -          -        18.0
          OLP – Sequoia Funding SPV1, LLC          -          -          -          -          -       -        -       (0.3)      (0.3)         -          -        (0.6)
          Investment R                             -          -          -          -          -       -        -        0.7        1.5        0.1          -         2.3
          Investment F/G                           -          -          -          -          -       -        -          -       (1.2)      (6.3)         -        (7.6)
          Investment K                             -          -          -          -          -       -        -          -       (9.4)      (0.0)      (0.0)       (9.4)
          Investment M                             -          -          -          -          -       -        -          -      (23.7)     (17.3)         -       (41.0)
          LiftForward SPV III, LLC                 -          -          -          -          -       -        -          -        2.4        1.1          -         3.5
          Origin SPE, LLC (Mepco)                  -          -          -          -          -       -        -          -       10.0        5.7          -        15.7
          Morrison Oil, LLC                        -          -          -          -          -       -        -          -       (2.9)      (0.3)      (0.1)       (3.2)
          The Mane Choice Hair Salon, LLC          -          -          -          -          -       -        -          -        0.5        0.0          -         0.5
                                 4
          Fast Pay Partners, LLC                -          -          -          -          -          -        -          -          -        3.7          -         3.7
          Investment L                          -          -          -          -          -          -        -          -          -       (6.1)      (4.0)      (10.0)
          FPP, LLC (Multistream Capital)        -          -          -          -          -          -        -          -          -        0.0        0.1         0.1
          TOTAL                              $0.4       $4.5      $20.3       $4.5       $8.9       $9.7   ($13.5)    ($34.4)    ($99.7)    ($19.7)     ($4.5)    ($123.4)

   Color legend: Amounts shown with green shading indicate loan fundings to counterparties that returned or are expected to return more than
   what was funded while amounts shown with red shading indicate loan fundings to counterparties that returned or are expected to return less
   than what was funded.
   Note: The last period for which the books were closed was November 30, 2018, therefore the amounts shown for estimated restated values after
   this date do not have any corresponding reported amounts.
   1) Includes $54.2 million in participation proceeds from DL Global.
   2) Includes $44.0 million in participation proceeds from DL Global.
   3) Includes $127.8 million in participation proceeds from DL Global and $43.8 million in loan purchase proceeds from Quanta.
   4) Includes $6.0 million in participation proceeds from DL Global.


                              2. Estimated Restated Values vs. Reported Portfolio NAVs

  The following chart and schedule show the difference between the estimated restated carrying
  values relative to the reported carrying values of each counterparty loan based on the conservative
  methodology used for the purposes of this Report. While the chart shows monthly results on an
  aggregate basis, the schedule shows results for each counterparty loan on a year-end or stub period-
  end basis, except for 2015 which is shown on a quarter end basis. The amounts in each column in
  the schedule represent each date’s calculated amount. Amounts shown with green shading indicate
  the estimated restated carrying values of each counterparty loan is greater than the reported
  carrying values of the counterparty loan while amounts with red shading indicate the estimated
  restated carrying values of each counterparty loan is lower than the reported carrying values of the
  counterparty loan, or the reported portfolio NAV. On an aggregate basis through September 2015,
  loans to counterparties were reported at values that were largely in line with or below the estimated
  restated carrying value based on the methodology used here. After September 2015, reported
  portfolio NAVs on an aggregate basis were substantially greater than the estimated restated values,
  the magnitude of which serves as a financial measure of the misrepresentations to investors.


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             Estimated Restated Values vs. Reported Portfolio NAVs (Inception – 11/2018) ($M)




       Schedule of variances between the estimated restated carrying values of each counterparty loan relative to the reported carrying
       values of the counterparty loan, or the reported portfolio NAV, for selected dates by counterparty and in the aggregate:

                                                      12/2012    12/2013    12/2014     3/2015     6/2015     9/2015     12/2015     12/2016 12/2017 11/2018
                    IOU Central Inc.                      $0.9       $3.7       $2.9       $2.9       $2.2       $1.2        $0.2       ($1.4)   $0.0   ($0.1)
                                1
                    QuarterSpot                              -        1.3        5.1        5.9        7.9        8.3         7.7        10.0        1.2        1.2
                    DealStruck Funding                       -          -       (0.0)      (0.2)      (0.9)      (1.6)       (2.5)       (5.7)      (1.0)      (1.4)
                    Investment E/D                           -          -        6.3        6.7        6.3        5.1         4.0        (4.4)      (7.5)      (7.3)
                    Realty Mogul, Co.                        -          -        0.2        0.3        0.1       (0.1)       (0.2)       (0.3)      (0.4)      (0.1)
                    Talking Capital                          -          -        0.9        1.2        2.2        0.8         0.4        (0.0)      (0.0)      (0.0)
                    StreetShares, Inc.                       -          -        0.0        0.0       (0.0)      (0.0)       (0.0)       (0.0)      (0.0)      (0.0)
                    Investment N                             -          -        0.5        0.9        0.8        0.6         0.5         4.4        5.7        1.5
                    Investment P                             -          -          -        0.8        1.1        0.6         0.3        (2.0)      (3.4)      (3.9)
                    Investment H/I                           -          -          -       (2.3)      (3.2)      (3.4)       (8.6)      (36.3)    (115.1)    (141.8)
                                                 2
                    Forward Financing SPV, LLC               -          -          -          -        1.2        1.7         3.9        (0.4)      (3.0)       1.3
                    LoanHero, LLC                            -          -          -          -        0.0        0.0        (0.0)       (1.3)      (2.0)      (1.8)
                                    3
                    Investment S/T                           -          -          -          -          -       (5.5)      (11.2)      (51.5)     (56.0)     (48.2)
                    Bay Point Capital Partners, LP           -          -          -          -          -        0.4         0.9         2.7        2.1        0.1
                    VoIP Guardian Partners I, LLC            -          -          -          -          -          -       (19.7)      (93.6)    (156.6)    (192.6)
                    Nativa Capital Partners, LP              -          -          -          -          -          -         0.1           -          -          -
                    CarePayment Technologies, Inc.           -          -          -          -          -          -           -         5.7        0.1        0.0
                    OLP – Sequoia Funding SPV1, LLC          -          -          -          -          -          -           -        (0.5)      (1.0)      (0.0)
                    Investment R                             -          -          -          -          -          -           -         0.7       (0.4)      (3.8)
                    Investment F/G                           -          -          -          -          -          -           -           -       (1.5)      (8.3)
                    Investment K                             -          -          -          -          -          -           -           -       (6.2)      (3.4)
                    Investment M                             -          -          -          -          -          -           -           -      (27.0)     (52.1)
                    LiftForward SPV III, LLC                 -          -          -          -          -          -           -           -        1.1       (0.0)
                    Origin SPE, LLC (Mepco)                  -          -          -          -          -          -           -           -        5.7        4.3
                    Morrison Oil, LLC                        -          -          -          -          -          -           -           -       (3.1)      (3.9)
                    The Mane Choice Hair Salon, LLC          -          -          -          -          -          -           -           -        0.3          -
                                          4
                    Fast Pay Partners, LLC                   -          -          -          -          -          -           -           -          -        1.0
                    Investment L                             -          -          -          -          -          -           -           -          -       (6.4)
                    FPP, LLC (Multistream Capital)           -          -          -          -          -          -           -           -          -        0.1
                    TOTAL                                 $0.9       $4.9      $16.0      $16.2      $17.6       $8.1      ($24.3)    ($173.8)   ($367.7)   ($465.7)

                    Total % of Reported NAV             90.4%      27.2%      14.7%      10.5%       8.2%       2.7%       (5.9%)     (21.1%)    (43.8%)    (59.1%)


       Note: The NAV amounts used in this analysis do not include any cash set aside for loan fundings in future periods. As such, the variances shown
       above for any given counterparty in any given period may be overstated by the amount of cash set aside for future investments. The last period for
       which the books were closed was November 30, 2018, therefore the chart and schedule do not extend beyond that date.
       Color legend: Amounts shown with green shading indicate the estimated restated carrying values of each counterparty loan is greater than the
       reported carrying values of the counterparty loan while amounts with red shading indicate the estimated restated carrying values of each
       counterparty loan is lower than the reported carrying values of the counterparty loan.
       1) Includes $54.2 million in participation proceeds from DL Global.
       2) Includes $44.0 million in participation proceeds from DL Global.
       3) Includes $127.8 million in participation proceeds from DL Global and $43.8 million in loan purchase proceeds from Quanta.
       4) Includes $6.0 million in participation proceeds from DL Global.



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  The counterparty loan values reflected in the schedule directly above do not include all components
  of total NAV; the amounts reflect only the portfolio components of total NAV. The non-portfolio
  components of total NAV include cash on hand, plus receivables and prepaid expenses less accrued
  management fees, accrued performance fees and other payables. The portfolio NAV plus non-
  portfolio NAV equals total NAV.

                     3. Estimated Restated Total Value vs. Feeder Funds’ Net Invested Capital

  The following graph shows the difference between the estimated restated total value92 relative to
  the Feeder Funds’ net invested capital,93 a comparison which results in a determination of solvency
  or insolvency. As shown in the graph below, the estimated restated total value (see blue areas)
  exceeded the Feeder Funds’ net invested capital (see orange area) until April 2016 when a
  divergence between the two began.

                Estimated Restated Total Value vs. Feeder Funds’ Net Invested Capital ($M)
                                          (Inception – 3/31/2019)




            Note: Feeder Funds’ Net Invested Capital represents investors' total net cash invested with DLIF prior to the October 2016
            restructuring and DLIF and DLIFF’s total net cash invested at the Master Fund subsequent to the October 2016 restructuring. Total
            net cash invested is based on the total of subscriptions less redemptions less distributions. Amounts exclude Direct Lending
            Investments, LLC activity and do not necessarily reflect the invested capital at the Master Fund. The last period for which the books
            were closed was November 30, 2018, therefore the amounts shown for Estimated Restated Total Values after this date do not have
            any corresponding reported amounts.

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     Estimated restated total value is another way of saying estimated restated total NAV, which includes the values of
  the counterparty loans (discussed and identified above) plus the reported non-portfolio components of total NAV
  which consists of cash on hand, plus receivables and prepaid expenses less accrued management fees, accrued
  performance fees and other payables.
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     Feeder Funds’ net invested capital represents investors' total net cash invested (based on the total of subscriptions
  less redemptions less distributions) with DLIF prior to the October 2016 restructuring and DLIF and DLIFF’s total
  net cash invested at the Master Fund subsequent to the October 2016 restructuring.



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  In the chart above, the light blue area represents the value of loans purchased by DL Global based
  on the price that was paid in late 2017. Without this transaction with DL Global, the estimated
  restated total values would have been lower which would have resulted in an earlier insolvency
  date.

         E. Misrepresentations to Investors

                 1. Private Placement Memorandums

  The Feeder Fund Private Placement Memorandums (“PPM”) generally emphasized the goal of
  “seeking to generate current income through opportunistic investments in financing transactions,
  including without limitation, in loans to small and medium-sized businesses and consumers, and
  non-bank lenders.” (October 2016 DLIF PPM, emphasis added.) While including a caveat it
  “cannot guarantee results,” the PPMs stated that the Feeder Funds seek to offer:

        Potential for investment returns greater than those provided by investment-grade fixed
         income investments;
        Lower exposure to interest rate risk by investments with short-term maturities or otherwise
         through uncommitted financing arrangements that are discretionary;
        Diversified exposure to small- and medium-sized businesses and consumers across
         geographic areas, professions, and asset classes; and
        Diversified underwriting exposure through multiple underwriting platforms.

                 2. Investor Letters

  One central strategy for Ross to communicate to investors was through DLI’s monthly investor
  letters. Each month, Ross prepared and signed an investor letter that included charts of the Feeder
  Funds’ historical monthly returns over time. The letters also contained headings like “Consistent
  Performance.” One of the Feeder Funds’ principal objectives was repeatedly stated as being to
  “[m]aintain unlevered, double-digit, investment returns.” DLI’s monthly investor letters and fact
  sheets consistently marketed the Feeder Funds’ 10-12% returns, no lock-up, and monthly (35-day)
  liquidity. The presentations often provided other overly optimistic views of the safety and
  projected returns from DLI’s investment strategy:

        DLIF “will not stray” from “the sweet spot for private credit: short-term, high-yield, sub-
         $150K loans to local, established businesses” (July 2013 investor letter);
        In January 2014, the investor letter announces the DLIF’s ownership of “over 800 similar
         loans with consistent payment, pre-payment, and default characteristics”;
        The April 2014 letter celebrates how DLIF continues “to be the only Fund focused
         exclusively on small business loans”;
        Additionally, the “About” section asserts that DLIF is for investors “who want higher
         returns from their fixed income portfolio” and for “investors who wish to diversify away
         from equities”;




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        The October 2014 investor letter asserts that DLIF’s assets are “delivering double-digit
         returns in the shortest-duration, highest-yielding, lowest-volatility fixed income class
         available in the US today”;
        DLI “continue[s] to apply conservative lending principles” (October 2015 investor letter);
        DLIF’s “loans are rapidly replaced throughout the business cycle,” ensuring that it “has
         ample liquidity for redemptions, and that the Fund could “self-liquidate” to meet any future
         outsized redemptions “without impacting future returns” (April 2016 investor letter);
        DLIF “own[s] loans and not equity” (July 2016 investor letter);
        For the month ending November 30, 2016, Ross listed various factors that affect DLI’s
         returns, which included having to write down bad loans. Ross emphasized that DLI writes
         down bad loans as soon as it becomes aware of any impairment, contrasting DLI with other
         investment funds that failed to be “conservative” in this respect and stating that “[b]ecause
         we at DLI intend to build a private credit firm that will endure for decades to come, we
         take our responsibility to properly mark assets very seriously”;
        In his investor letter for the month ending December 31, 2016, Ross claimed that “[o]ne of
         the hallmarks of DLIF [the domestic Fund] has always been, in our opinion, its
         conservative approach to taking reserves against late loans”;
        DLI “produce[s] the Fund’s returns based on interest income net of new loan loss reserves
         and fund expenses” (February 2017 investor letter);
        “Specialty finance remains the less-well-traveled path within private credit, and our focus
         will continue to be on remaining within this niche.” (2017 year end review);
        The Master Fund “charge[s] interest by the day” in its Facility Deals (February 2018
         investor letter); and
        Although “extending monthly close process may inconvenience some investors, the benefit
         to all investors of having valuation reports available for the Funds to close their books each
         month is ultimately … more supportive of the optimal operations of the Funds” (October
         2018 investor letter).

  The investor letters are also notable for what they omit about the financial difficulties faced by the
  platforms. For example, the 2016 investor letters fail to disclose that the Fund was lending money
  to Dealstruck in order for the company to meet payroll, let alone that Ross also had a financial
  interest in Dealstruck.

                 3. Investor Fact Sheets and Marketing Materials

  DLI’s investor “fact sheets” and marketing materials also presented a false picture regarding the
  safety and nature of its “direct lending” investments:

        DLI’s fact sheets for the months of January 2015 to July 2016, which it provided to
         prospective and current investors, emphasized the Funds’ high returns relative to defaults,
         boldly directing investors, “But don’t focus on the bad loans; we write plenty of loans off
         but still achieve excellent returns.”
        DLI stated that its loans were to companies with “asset-heavy balance sheets” and that its
         “assets commonly pay cash interest”;




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        A fact sheet from the fall of 2017 described its investment approach as providing
         “financing solutions to best-in-class specialty finance operators who each exhibit specific
         competitive advantages and asset heavy balance sheets”;
        The fact sheet stated that “[t]he non-banks that we finance generally bear some or all of the
         risk of underperformance and we credit this approach with our historically high, stable
         returns”;
        Even as late as January of 2019, the Fund’s objective was described as to “generate
         attractive current income”;
        DLI stated that DLIF “has achieved average annual returns of 10.8% with no down months
         since inception; and
        DLI represented that its underwriting, deal structuring, and collateral monitoring were top
         notch and “DLI’s investment process reflects the strength of our team.”

  Ross frequently sent misleading emails to investors and caused others at DLI to send misleading
  emails to investors and to provide false information regarding the Funds’ financial performance:

        On October 7, 2015, Ross emailed a prospective investor a series of “highlights of the
         Fund,” emphasizing that it “produces consistent, non-market-correlated returns.” Ross
         further explained that DLIF has achieved “10-12% returns net to investors with no down
         months.” In this same October 2015 email, Ross continued, “Defaults trending down, now
         at 4% and could be as high as 20% without loss of principal,” and he noted the Funds’
         “[f]ull transparency.”
        In an email dated February 15, 2016, Ross sent a prospective investor an investor
         presentation, directing him to “[n]ote the historical returns on p3 of the Presentation.” Ross
         also represented that “[o]ur investors receive double-digit unlevered returns, and we have
         had no down months, and the Fund is suitable for regular and IRA accounts.” Ross also
         included the same “highlights of the Fund” that he included in his October 7, 2015 email,
         again emphasizing strong and stable returns, low default rate, and full transparency.
        In multiple communications with prospective and existing investors up into at least spring
         2017, including in emails dated October 21, 2016, February 23, 2017, and March 13, 2017,
         DLI’s investor relations representative emphasized in the “Fund Highlights” that DLI
         “continues to deliver very stable, unlevered, double digit returns with no down months
         since the Fund’s inception in 2012 [bold in original].”
        During the relevant period, Ross and others at DLI also provided or made available to
         prospective and current investors “default sensitivity analysis” spreadsheets that detailed
         the amount of historical write downs and included graphs showing defaults as a percentage
         of assets under management.
        Ross and DLI’s representatives also routinely highlighted low default rates for the
         investments. For example, on January 12, 2016, Ross sent an email to investors with the
         subject line “Loan Loss Reserves + other files” that attached a spreadsheet titled “DLIF –
         Default Sensitivity Analysis.” This spreadsheet detailed historical monthly write downs
         and expressed those write downs as a very small percentage of assets under management
         for each month, arriving at an average monthly write down percentage. The same
         spreadsheet included a tab with a graph that tracked the default rate each month over time.




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        Up into mid-2017, DLI representatives at Ross’s direction continued to provide to
         prospective and current investors “default sensitivity analysis” documents that showed the
         historical default rates for the investment portfolio.

                 4. QuarterSpot Borrower Loan Repayments

  Despite a growing problem with the impaired nature of QuarterSpot loans, and Ross’s concern
  about the increasing unrecognized losses, the QuarterSpot portfolio continued to grow. From
  August 2013 to June 2017, the QuarterSpot portfolio’s loan principal plus cash value increased
  from $0.4 million to $149.6 million. By all accounts, QuarterSpot appeared to be one of DLI’s
  best-performing positions. From at least December 2013 to January 2018, however, Ross knew
  of serious problems relating to the quality of DLI’s QuarterSpot loan portfolio and concealed these
  issues by:

        Colluding with QuarterSpot by falsifying thousands of payments for non-paying or late-
         paying QuarterSpot borrowers, causing the false appearance that non-paying loans were
         performing, and funding those payments by rebating QuarterSpot’s service fees;
        Controlling how QuarterSpot transmitted its reports and information to DLI staff and Opus
         Fund Services, hiding his role in QuarterSpot’s reporting processes;
        Affirmatively misrepresenting the status of delinquent and/or non-paying loans to DLI
         investors and/or prospective investors; and
        Using his personal Gmail email address to communicate with QuarterSpot, to avoid
         detection by DLI personnel.

  As the portfolio grew, Ross began to direct the falsification of payments in QuarterSpot’s reports,
  which manipulation increased over time as the actual performance of the loans deteriorated.

  By September 6, 2017, Ross’s scheme evolved in both process and scope. By then, Ross was
  utilizing monthly spreadsheets to mass-tag the loans for which to falsify payments (and the amount
  of each payment). Each month, QuarterSpot would send Ross loan-level data. Ross would then
  add columns to the spreadsheet indicating (1) whether QuarterSpot was to reflect a payment on
  the loan; and (2) the amount of that payment. QuarterSpot would then incorporate Ross’s
  requested payment information into its reports, and then forward those reports to DLI staff.

  Ross’s bad acts related to QuarterSpot include, among other things:

        Falsely inflating QuarterSpot’s loan balances, cumulatively, for the period 2014 to 2017,
         by $53 million;
        Preventing DLI from taking an adequate amount of loan reserves;
        Causing DLI to overstate its valuation of the QuarterSpot loan portfolio and the Master
         Fund;
        Causing DLI to overstate its return by about 200 basis points, on average, for the period
         2014 to 2017;
        Causing DLI to collect over $11 million in excess fees, for the period 2014 to 2017; and
        Undermining DLI’s, its investors’, and potential investors’ ability to assess whether
         continued investment in QuarterSpot, or similar assets, was warranted.


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  Ross’s actions allowed him to continue raising capital for DLI, enabling DLI to continue its
  operations under the guise of a very-successful investment fund, while avoiding the scrutiny that
  DLI’s investments and business model deserved. Ross’s bad acts with respect to QuarterSpot
  epitomized his disregard for reporting and financial integrity, his willingness to conceal problems
  with respect to DLI’s investments, and his general dishonesty with his colleagues, investors, and
  third parties. Further, Ross’s acts with respect to QuarterSpot exposed himself, DLI, his business
  associates, and others to regulatory and/or other liability.


  VII. Conclusion

      1. Under U.S. law, each DLIF Investor is similarly situated and holds the same type of claim
         for restitution on account of that fraud. The fraud was a substantial factor causing the
         losses of DLIF Investors.

      2. Irrespective of whether a Ponzi scheme exists, the Distribution Plan should be based on
         the principal that, for DLIF Investors subject to U.S. rules, similarly situated investors
         must be treated alike to preserve equity and fairness and that all fraud victims should be
         treated alike, as is required by applicable U.S. law. The pervasiveness of the fraud and
         the commingling of assets are sufficient to warrant the pooling of the assets and liabilities
         for purposes of distributions to be made under any Distribution Plan.

      3. There was fraud from the inception perpetrated by Ross that has caused similar harm to
         each of DLIF and DLIFF, which harm will be borne by the investors in each. While similar
         (or possibly materially identical) factual circumstances may apply to the investors of
         DLIFF, their rights and potential claims as against DLIFF are a matter of Cayman Islands
         law. Under U.S. law, each DLIF Investor is similarly situated and holds the same type of
         claim for restitution on account of that fraud. The fraud is one substantial factor that
         caused the losses that will be borne by the DLIF Investors.

      4. It is unlikely the investors will be repaid in full. It would be inequitable as a matter of
         U.S. law to distribute assets based on an assumption that an investor should recover both
         fictitious profits and principal based on a benefit of bargain basis since (a) reports of
         returns were made to all investors based on misrepresented NAV figures; and (b) earlier
         investors were repaid at the expense, and to the detriment, of the similarly situated later
         investors.

      5. The best way to put the DLIF Investors on equal footing is to treat the prior payments
         made to these investors, whether as distributions or redemptions, as a return of principal,
         so that the DLIF Investors who receive a distribution through the Distribution Plan may
         share on a pro rata and equitable basis.

      6. The assets and liabilities of the Receivership Entities must be pooled together in order to
         equitably and sensibly account for all of the assets of the Receivership Entities and to
         fairly make distributions to DLIF Investors and other creditors of the Receivership Entities
         who will receive a distribution pursuant to the Distribution Plan.


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     7. Because DLIF Investors have received differing levels of returns, a distribution method
        that seeks to equalize returns to the DLIF Investors would be most equitable.

     8. The Receiver believes that the claims distribution plan has to be based in equity and that
        the Rising Tide Method would be most appropriate to allocate assets to DLIF Investors.




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                                    Exhibits




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                                                    Exhibit 1
                                  Identification of Certain Instances of Fraud


  Included in this exhibit is a sampling of statements by Ross, or by others made at his direction,
  that are either, false, misleading, or omit to include material facts; as well as exchanges
  demonstrating an intent to defraud with respect to QuarterSpot. Note that these are a sample of
  representative misrepresentations and not a full catalogue of all misrepresentations or the evidence
  of fraud.

       2013

       Monthly Investor Letters

        March 2013             Ross decreased IOU Central’s “pro-forma” monthly returns for 2009 - 2012
                               within the chart he provided in each letter without explaining or stating a
                               change in methodology.

        June 2013 until        Each month for almost three years, Ross stated, “We expect no change to our
        March 2016             underlying investment thesis,” which included “close association with
                               experienced underwriters.” [In reality, DLI began purchasing loans from
                               QuarterSpot, Inc. (“QS”) within two months of QS beginning to underwrite
                               loans.]94

        June 2013              Ross announced that the fund “will not stray” from “the sweet spot for private
                               credit: short-term, high-yield, sub-$250K loans to local, established
                               businesses.”

        July 2013              Ross claimed that “First Annapolis Consulting wrote a good article on
                               Merchant Cash Advances, which have interest rates of 70%+. The piece helps
                               point in context how DLIF is able to attract high-quality, low-default business
                               borrowers with a 30% interest rate, which sounds high but is actually low
                               compared to the traditional options faced by local businesses.” Ross continued,
                               “Quarterspot loans are very similar to IOU Central: 6, 9, or 12 month terms,
                               daily repayment, average interest rates in the 30% range.” Ross also stated that
                               there are “no changes to [DLI’s] current strategy” while increasing the second
                               component of this strategy, the targeted default rate, from 1.78% to 5%.

        Oct. 2013              Ross announced that the Wall Street Journal had quoted him and provided a
                               link to the blog post that stated, “When he loans money to small businesses,
                               Mr. Ross says he looks for six-months of bank statements, and business and
                               personal credit reports for the people running the company” [This is an
                               overstatement as to QS. Ross did not seek this information (i.e., bank
                               statements and business and personal credit reports) from persons managing
                               QS.]



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   The contents in the brackets throughout this exhibit provide brief explanations of the nature of the specific
  misrepresentations by Ross.


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      Nov. 2013       Ross stated, “(As a reminder, staffing and other General Partner expenses are
                      borne by myself and do not affect Fund returns.)” [This is false given that the
                      PPMs include a section entitled “Expenses of the Partnership,” which include
                      such expenses]

                      Ross also stated, “The Los Angeles Business Journal, a subscription-only
                      weekly, published a lengthy front-page story on the Fund that was very
                      flattering. You can read it in the separately attached PDF.” The news article
                      included representations by Ross that: (1) As many as one borrower in five
                      could default, and Ross’ investors would still come out ahead; (2) “Banks have
                      been leaving the small-business loan market for 10 years and they continue to
                      do so…The size of the hole is growing, not shrinking.”; (3) About 6 percent of
                      loans across Ross’ portfolio default, though in most cases borrowers will
                      eventually have to pay. Although the loans are made to a business, they’re
                      personally guaranteed by the business owner [QS did not require personal
                      guarantees from borrowers].

                      Ross also stated, “LendAcademy guest-posted a piece I wrote,” and provided a
                      link to access the content, which contained representations by Ross that (1)
                      “Platforms that keep none of their own loans face a unique trust
                      problem…because they have a strong incentive to grow quickly at the expense
                      of good underwriting. Two factors mitigate against this sort of moral hazard:
                      the short duration of the loans, so that investors would smell a rat before
                      managers could achieve an exit, and second, the integrity that I have seen across
                      all management teams in this space”; and (2) in the “Comments” section, Ross
                      responded: “LendingClub and Prosper…expend significant financial resources
                      on SEC compliance and customer service to make 30%+ of their loans
                      available to retail investors. This is the right thing to do, and they do it, but it is
                      not the profitable thing to do.”

                      Ross also stated, “I published a Seeking Alpha piece,” and provided a link to
                      access the content, which included representations by Ross that: (1) In the
                      absence of SEC rules, “Believe [him], private debt hedge funds would be happy
                      to sell to non-accredited investors”; and (2) Ross “spend[s] a lot of time
                      thinking about whether or not the growth of private debt, including online
                      lending, is a bubble…One of the biggest differences between private credit
                      today and the mortgage bubble is duration: the consumer loans are mostly 3
                      year with some 5 year. The business loans I buy in my fund are all 1 year or
                      less.”

      December 2013   Ross stated, “Bankless Times interviewed me on the ‘future of small business
                      lending’” and provided a link to the content, which included Ross’ responses
                      to two questions: (1) Responding to question “what criteria do you use to select
                      the lenders you work with?” Ross states: “Most important is the lender’s
                      management team…These need to be loans that businesses are happy to receive
                      and fully able to pay back. The rest of my lender due diligence process centers
                      around lending practices, including how they source borrowers, their
                      underwriting process and expected default modeling, a full review of their legal
                      documents, their track record, and their funding as an enterprise. Choosing
                      lenders is the most important thing I do…We do not make mistakes during this
                      process”; and (2) Responding to question “you do not favor loaning to startups.


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                        Why is that?” Ross states: “all borrowers need to have enough of an existing
                        business to pay me back whether their growth ambitions succeed or
                        not…Startups do not have an existing business to fall back on, therefore lending
                        to them is not conservative enough for me.” [QS and Dealstruck were fledgling
                        businesses: (a) QS launched in June 2013, merely two months before Ross/DLI
                        entered the deal; and (b) Ross/DLI finalized deal with Dealstruck the following
                        month in January 2014, despite Dealstruck having been operating for less than
                        two years.]

     Prospective/Investor Communications

      Sept. 27, 2013    Ross: “[I]t would not be acceptable for me to bring you into the Fund without
      with PPM          having sent the PPM. Of course you can withdraw any amount you
                        like…Although the PPM stipulates 35 days notice (i.e., tell me before the start
                        of the month) I’m sure I could get you the money sooner. As you know the one
                        year loans provide me with a lot of liquidity.”

      Sept. 28, 2013    Ross: “If you want them, popular options are 8% (i.e., enough to pay your taxes)
      with PPM          or All Interest so that every quarter your account will go back to the original
                        amount, and all extra is wired out to you.” Ross continued: “The Fund generally
                        writes all non-paying loans down to zero within 10-60 days, and the lawsuit
                        process takes about a year, so the Fund’s returns right now are in a kind of “low
                        period” when I have defaults (and mark them to zero, hurting the Fund’s
                        returns) but am not yet winning lawsuits (which will result in windfall money
                        when we collect). And returns have been very good despite that.”

      Oct. 4, 2013 –    In an extended exchange with an investor, Ross states: “Also note that when I
      Oct. 7, 2013      launched with QuarterSpot on August 1, I announced it in the attached July
                        investor letter (which is published in early August). My investors expect a high
                        level of transparency with respect to fund strategy. No one likes surprises.” The
                        investor responds: “If you are not able to share data from Quarterspot, is it
                        possible for you to just invest proceeds into IOU only and not Quarterspot. I
                        don’t feel like I should have to do due diligence directly with Quarterspot if
                        you are the one doing the investing in their deals. You obviously share a lot of
                        data about IOU Central to your potential investors yet can’t share anything on
                        Quarterspot. Ross responds: “I went through a fairly deep look at QuarterSpot’s
                        process…The result of the lower servicing fee is that I could withstand higher
                        defaults vs IOU and still have the same or higher returns…You definitely don’t
                        (and can’t because of the NDA) do the same due diligence as me. I think I’ve
                        picked the two strongest underwriters in the space that sell loans. Mostly you’re
                        betting that you more or less agree. I am running a fund, and it provides a
                        uniform experience to all investors…There are certainly mistakes that can be
                        made which will cause someone’s returns to suffer in this asset class. When it
                        comes to spending money on loans, I don’t think I’ve made any, and I’m more
                        knowledgeable and cautious now than I was a year ago.” The investor then asks
                        Ross about “Quarterspot advertising that their rates are 85% less costs and no
                        personal credit checks or personal guarantees?” Ross responds that: “They are
                        definitely checking personal credit.” The Investor provides an article “where
                        they say No Personal Credit Checks.” Ross maintains his position: “Personal
                        Credit Checks: I think at the time they were getting personal info via the
                        Experian model, but their process has been redesigned around both scores.”


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      Oct. 7, 2013    Ross urges QuarterSpot to help lure investors in by tailoring misinformation,
      Ross forwards   telling QS’ CEO: “FYI on the below for when you talk to [investor]. I took care
      above to QS CEO to craft my language around Personal Credit Checks so that you are not put in
                      an awkward spot in any way. Hopefully I did OK.” QS responds: “Thank you
                      for your discretion, Brendan…I’m fully behind partnering with you and DLIF
                      on anything that makes sense…Will start reaching out to my contacts on your
                      behalf tomorrow.”

      Dec. 3, 2013        Ross: “I’ve generally been doing a 60% reserve when it is 30 days late, and
                          100% at 60 days. Sometimes I’ve been more aggressive, as with loans where
                          the business is no longer operating, or just when I think I’m being prudent…I
                          think I’m about as aggressive at creating reserves as anyone could be. Plus I’m
                          also writing loans down to zero that will definitely see a recovery one day…just
                          don’t know when that day will come.”

      Dec. 9, 2013        Ross: “[I am] happy to discuss how to handicap late loans. I’ve been doing this
      Ross and QS         a while now. Generally speaking, if they’ve missed payments and are not
      exchange            currently making any but plan to “get caught up in two weeks”, it’s bad news.
                          Once they get a taste for not paying, it’s trouble.” Response email from QS to
                          Ross: “…As part of getting our underwriting tuned and generating the numbers
                          for our discussion, I’ve put together a framework for modeling and reporting
                          that’s extremely flexible…” The evidence indicates Ross and QS were more
                          concerned with the data reflected in QuarterSpot’s reports than in objective,
                          accurate financial reporting.

      Dec. 11, 2013       Ross: “My loans just self-liquidate so quickly on their own that I don’t care as
                          much about having a secondary market.” “I don’t really care about the
                          borrowers. I can line up borrowers by doing deals with more platforms. My
                          focus in on lining up investors. That’s all I care about. Make sense?”

      Dec. 13, 2013       Ross in response to question about why investors should not approach lending
      Ross to third-      platforms directly to invest: “Great question that sometimes comes up. It’s
      party marketer of   rarely asked in completel [sic] seriousness, its more like: explain to me why I
      Fund                need you again. Here’s approx. what I say. 1. Availability. IOU and
                          QuarterSpot are full… 4. Cash Drag: The loans self-liquidate very quickly,
                          producing a lot of cash that needs to be put back to work. In short: the portfolios
                          require attention. 5. Size and Leverage: As I continue to add underwriters, I will
                          naturally have both leverage to ensure that I get fair deals and choices which
                          enable me to vary where I deploy capital based on returns.”

      Dec. 13, 2013       “These are exactly the rebuttals that I give to prospects as well. Everyone is
      DLI investor        trying to figure out ways of cutting the middleman out if [sic] the picture…
      relations rep.




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     2014

     Monthly Fact Sheets

      January 2014         Included in a “frequently asked questions” section: (1) “What has made this
      until July 2016      investment possible now?” The response stated, “Transparency. Software now
                           exists that enables the Fund – and its investors – to see real time portfolio
                           performance. Fund management knows what is happening to every loan, every
                           day, and we can show it directly to investors at any time”; (2) “Do you get
                           personal guarantees?” The response stated, “Of course. All borrowers are
                           personally liable for defaulted loans” [QS borrowers did not execute personal
                           guarantees (see emphasis in original)].

     Monthly Investor Letters

      January 2014         Ross restated each of DLIF’s monthly results for 2013 as well as all of IOU
                           Central’s “pro-forma” returns for all prior months and years in the standard chart
                           included in all investor letters (DLI had previously restated IOU’s returns in
                           March 2013, above). Ross also announced the Fund’s ownership of “over 800
                           similar loans with consistent payment, pre-payment, and default characteristics.”
                           Ross also stated, “GARP, the Global Association of Risk Professionals, asked
                           me to write a piece explaining consumer and small business direct lending to
                           their institutional investor audience,” and provided a link to the content, in which
                           Ross explained under the heading “Recession-Proof?” that “The fund I
                           personally run buys high-yield, short-term small business loans. The default rate
                           of the loans in this fund would have to reach 22 percent in order to drive returns
                           down to zero percent.”

      February 2014        Ross stated: “Private Wealth, a Family-Office-focused print magazine, profiled
                           the fund in Banking on Small Business,” and provided a link to the content,
                           which contained representations by Ross that: (1) Loans are short term – six to
                           12 months; (2) The fund currently has about $21 million under management and
                           aims to reach $100 million by the end of the year; (3) “The key to successfully
                           growing an alternative lending business is to find pools of attractive borrowers,”
                           Ross says. “It’s all about the borrowers because the money is not that hard to
                           find.” [see opposite December 11, 2013 statement]; (4) The online lenders go to
                           documents that cannot be misrepresented—by getting direct access to the
                           borrower’s bank account—and make a lending decision based on that
                           information; and (5) “the best process is to establish relationships with
                           underwriters you trust and then work out the mechanics to ensure their
                           underwriting quality continues to stay high,” Ross says; (6) The fund
                           experiences defaults of 6% or so. “We know that some of our loans are going to
                           go bad,” Ross says. “That’s factored into the model that delivers returns.” The
                           fund writes down defaulted loans to zero. “We don’t keep loans on our books
                           that will one day have a 30-cent-on-the-dollar recovery, which is IOU’s historic
                           legal recovery goal. The returns each month are net of bad loans being written
                           down to zero.

                           Ross also stated: “I’m back in Forbes,” and provided a link to the content, which
                           contained representations by Ross that: (1) DLI “connects investors directly
                           with qualified business borrowers; and (2) DLI’s agreement with Dealstruck


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                        will make capital available to entrepreneurs [The reference to entrepreneurs
                        contradicts Ross’ consistent representations to investors, “no startups”]

      March 2014        Ross stated: “We begin our 18th month of continuously profitable operations
                        with an important milestone successfully behind us: Our inception-to-date Audit
                        is complete! …While not the kind of document that most people can stay awake
                        through, it does serve as a valuable third party validation of our strategy and its
                        ability to produce returns…I continue to have four to six conversations a month
                        with new lenders, all of whom make short-term, high-yield small business loans.
                        The best of these will end up fueling the Fund’s continued expansion and
                        dominance of this important lending category.”

     Prospective/Investor Communications

      Jan. 3, 2014      Ross’ response to the question “What is the relationship between your company
      with PPM          and IOU?” is: “I buy loans from them. They do not own any part of the Fund or
                        the GP, and I’m not compensated by them in any way.” [Ross fails to mention
                        his ownership in IOU (250k+ shares) at this time]

      Jan. 4, 2014      Investor: “I would like to get a bit more guidance…” 1. When looking at the
                        interest rates in the loan calculator [Ross previously sent], it shows about 15%.
                        What you are saying is that if we add the guaranty fees and the fact that the loan
                        is being paid along the year – the actual interest is about 30% and the 15%
                        number is bullshit?

                        Ross: “Yes…The origin of the “guarantee fee” is actually the US Small Business
                        Administration, which charges 1-3% guarantee fees. IOU just upped that to
                        10%.”

      Jan. 7, 2014 -    Investor: “seems that IOU is a start-up who doesn’t earn money at the moment,
      Jan. 13, 2014     and with your $20M cash you are buying about 50% of all is [sic] loans. Your
                        fund is also a stat-up [sic].”

                        Ross: “IOU will be cash flow positive in a quarter or two…It’s actually a pretty
                        good story – easy to understand just based on their income from growing their
                        balance sheet and fully utilizing a credit line they already have in place…It’s
                        definitely a story I’ve told to investors doing fairly deep due diligence.”

      Jan. 15, 2014     “Our goal is to be open and transparent with you so we can find a way to partner
      third-party       with your firm… Attached, find: (2.) Loan example [from IOU] that shows the
      marketer email;   details of the information we can evaluate for each loan we are going to buy or
      Ross copied       have bought.” [This is not true for the QS loans]

      Jan. 21, 2014     Canned solicitation includes: “No start-up companies” and “live screen sharing
      DLI investor      of the current portfolio” without distinguishing QuarterSpot as a startup
      relations rep.    company. [These types of messages were sent many times]

      Jan. 24, 2014     Ross: “A good next step is for us to do a screen share, and I’ll show you the
      with PPM          Fund’s live portfolio including the loans, their underwriting details, and the
                        daily flow of payments from the borrowers to the Fund.” [The standard or
                        typical language no longer narrowly tailored to IOU]


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      Feb. 1, 2014     DLIF’s April 25, 2013, Regulation D filing with SEC stated the “Minimum
                       investment accepted from any outside investor” to be: $250,000. On February
                       1, 2014, DLI accepted a $25,000 subscription [In reality, monies accepted from
                       a third-party marketer].

      Feb. 3, 2014     “What we have found very helpful to our clientele is a live screen share session,
      DLI investor     where our portfolio manager takes you inside our fund so you can understand
      relations rep.   what we are doing…”; IOU Case Study: “All borrowers are prime or super-
                       prime…”

      Feb. 10, 2014    Consultant: “I have completed your Due Diligence Report and its [sic] attached.
      Altor Group      Let me know if there are item you would like to see reflected differently or edits
      consultant and   made. I am happy to work with you to create the most useable document, while
      Ross exchange    still remaining objective.”

                       Ross: “9.7.12 – Maybe add in the QS section that no known cases of fraud or
                       identity theft have occurred.”

                       Consultant: “I am on it and will have these changes made by the end of the
                       weekend. Thanks!”

      Mar. 8, 2014     Ross: “scanning the Listings report for Feb 2014 I’m seeing a very substantial
      Ross to QS       number of Late Loans that are not written off. It looks like loans that are between
                       late 30 and 60 total $409k. And the loans that are 0-30 late are also fairly
                       substantial…Am I doing something wrong here? I’m feeling pretty worried
                       about where we are….I need to understand how we get out of the woods that
                       we’re in right now, where you are using up equity to make up for the
                       underwriting, which is scary as hell for both of us.”

      Mar. 20, 2014     Ross: “Quarterspot – very little late loans.” Investor: “I have been investing on
                        Quarterspot. Out of 30 loans that I have invested, 4 are currently late and a
                        total of 9 loans have had some delinquency. Is that comparable to what you
                        see?”

      Mar. 21, 2014     Ross: “I know [QS] is fixing a bug this morning that is going to successfully
                        insert some payments that were made by borrowers but never hit the system –
                        maybe those will improve what you see because I know a number of my loans
                        that look Late in the interface will no longer be late.” Investor: “Just checked
                        my quarterspot acct. Several severely late loans are now fully repaid.”

      June 2014         Asset Valuation Policy (provided to prospective/investors by October 5, 2014,
                        if not earlier) stated for “Late Payment Scenarios” if no payment received in
                        last 1 month, the asset value was 60%; if no payment in last 2 months 20%; if
                        no payment in last 3 months, 0%.

      Sept. 29, 2014    DLIF September 2014 Presentation represents, “Overview: we buy and hold
      with investor     these cash-flow rich loans in a simple, transparent investment vehicle;
      presentation      Loans are acquired from experienced lenders who follow strict underwriting
                        guidelines…” presentation continues, “Fund underwriting is sophisticated and
                        thorough”; “The underwriting process is complex, thorough and rapid.”


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      Oct. 20, 2014        Ross: “I can show you the Fund’s live loan portfolio via screen share”; also
      with PPM             attached misleading Private Wealth article and DLIF September 2014
                           Presentation (see above).

      Oct. 27, 2014        Attached Default Sensitivity Analysis, a spreadsheet that detailed DLIF’s
      from third party     historical monthly write downs and expressed those write downs as a very small
      marketer with        percentage of DLIF’s assets under management for each month, arriving at an
      Ross copied          average monthly write down percentage. The same spreadsheet included a tab
                           with a graph that tracked the default rate each month over time.

      Oct. 29, 2014        Canned solicitations: “No start-up companies…live screen sharing of the
      DLI investor         current portfolio…all notes self-liquidating [notes from 5 lenders] …no
      relations rep.       subprime…”; attached DLIF Notice Letter 2014-10-06: “moving to BDC
                           structure in 2015…”; attached Credit Sensitivity Analysis and DLIF October
                           2014 Presentation (above).

     2015

     Private Placement Memoranda

      Jan. 2015          Stated that under DLI’s valuation policy, loans that had not received payments in
                         the last 30 days would be “[v]alued at 50% of remaining principal balance, and
                         no accrual of interest.” Loans that had not received a payment in the last 60 days
                         would be “[v]alued at 0% of remaining principal balance, and no accrual of
                         interest.”

      Dec. 2015          Expressed DLI’s valuation policy in the same manner as January 2015 (above).

     Monthly Fact Sheets

      Jan. 2015 to       Stated: “But don’t focus on the bad loans; we write plenty of loans off but still
      July 2016          achieve excellent returns.” Included a “frequently asked questions” section that
                         contained the question, “What happens to the defaulted loans?” The response
                         stated, “We write them down to $0, then we work with our lending partners to
                         pursue all defaulted borrowers in a traditional collections process. Although we
                         expect to collect 20 cents on the dollar based on history, we take the ultra-
                         conservative approach of writing bad loans down to $0. Any collections we
                         receive are windfalls for fund investors.”


     Monthly Investor Letters

      February 2015        Celebrated returns as “especially satisfying given that most of our loans
                           continue to be repaid daily, and February has about 10% fewer days to collect
                           interest than January and March.”

      April 2015           Declared that DLI “continue[s] to apply conservative lending principles and
                           reap the rewards for our investors.”




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      October 2015        DLI “continue[s] to apply conservative lending principles”; concludes that as a
                          result of halving default rates, there is now a “lower risk portfolio”; attributes
                          improvement in risk-adjusted returns to both a decrease in defaults within
                          existing lenders and a shift towards more conservative lenders as defined by
                          greater and better deal flow.

      December 2015       “[N]o performance fees will be earned by [DLI] until a 7% return is first earned
                          by investors.”

     Specific Evidence of QuarterSpot Fraud

      Jan. 13, 2015      Quarterspot provided Ross with a list of late loans and asked for permission to
                         charge them off: “Let us know if the list below is ok to chargeoff…”

      Jan. 13, 2015      Ross to QS: “In case this wasn’t totally clear: definitely DO NOT just charge off
                         the Eric list below. That will create MAJOR problems for me!!” QS responds,
                         “Got it loud and clear, I am finishing up the work to enter the charge offs and
                         postdate them. I will hold until you get the late loans.”

      Jan. 18, 2015      Ross directs QS to add false payment for 42 loans in “Collections,” with false
                         payment dates, and then instructed QS how to transmit its falsified reports.

      Jan. 20, 2015      Emails spreadsheet with the title QS_DailyLoans_2014.xlsx, which reflected
      QS to Opus         falsified payment information that Ross provided to QuarterSpot.

      Feb. 8, 2015       “I’d like to talk this week about late loans, again, as I’m not sure that the volume
      Ross to QS         of late loans is actually slowing down despite your efforts. It still seems that
                         more loans are going late each month than I can afford and still have normal
                         returns, so that the can we are kicking down the road is growing in size.”

      Mar. 10, 2015      I also want to talk about the volume of new late loans and the speed at which they
      Ross to QS         are accumulating…It is critical to me that the increase in volume of late loans
                         decelerate relative to what I am writing off, so that I am starting to catch up.”

      Aug. 27, 2015 “I have many payment plan loans whose “maturity date” is in the past. Can one
      Ross to QS    of you guys give me a call to discuss how you can fix this? Obviously there are
                    many solutions. This is important. It is screwing up our balance sheet reporting,
                    and it shouldn’t be hard to fix.”

      Aug. 28, 2015 “1. For the loans that have not been officially modified, assume the current daily
      Ross to QS    payment and the current remaining balance, and compute a new end date. This
                    would by definition be no further out in the future than the original loan term
                    length, and likely less than that. 2. For loans that have been officially modified,
                    obviously we want the new date for as long as they stay on the modified
                    schedule. If they fall off then we’d want to revert to (1) above. Goal is to
                    produce maturity dates in the future even if they tend to roll. This will take the
                    issue off the table.”




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     Prospective/Investor Communications

      Oct. 7, 2015      Ross provides series of “highlights of the Fund,” emphasizing that DLIF
                        “produces consistent, non-market-correlated returns”; further explains that it has
                        achieved “10-12% returns net to investors with no down months.” continues,
                        “Defaults trending down, now at 4% and could be as high as 20% without loss of
                        principal,” and he noted the Funds’ “[f]ull transparency.”

     2016

     Monthly Investor Letters

      April 2016       DLIF “does not buy from marketplace lenders,” and its “loans are rapidly replaced
                       throughout the business cycle, ensuring that the fund “has ample liquidity for
                       redemptions, and that the fund could “self-liquidate” to meet any future outsized
                       redemptions “without impacting future returns.”

      July 2016        DLIF “own[s] loans and not equity.” The “funds with equity positions often have
                       long lockups, operating more like a private equity fund than a debt vehicle like
                       DLIF whose goal is simply to produce current income.” Under the heading “how
                       we think about debt vs equity in the lenders we finance,” DLI explains that it
                       generally combines two features, including “avoiding equity positions in lenders
                       in favor of debt-only positions with high current coupons.” The letter continues,
                       “Because we own loans and not equity, winding down a position is not as traumatic
                       as it is for equity holders. We simply let the loans run off.”

      Aug. 2016        References a file of 10,000 daily pay, one-year loans in its section about
                       quantitative underwriting describing “What We Look for in a Lender,” creating
                       the inference that these are the types of investments still being pursued.

      Nov. 2016        Ross listed various factors that affect DLI’s returns, which included having to
                       write down bad loans. Ross emphasized that DLI writes down bad loans as soon
                       as it becomes aware of any impairment, contrasting DLI with other funds that
                       failed to be “conservative” in this respect and stating that “[b]ecause we at DLI
                       intend to build a private credit firm that will endure for decades to come, we take
                       our responsibility to properly mark assets very seriously.”

      Dec. 2016        “December caps another year of excellent performance as [the Fund] continue[s]
                       to deliver double-digit returns without leverage in one of the most attractive
                       investible asset classes: private credit.” “One of the hallmarks of DLIF has always
                       been, in our opinion, its conservative approach to taking reserves against late
                       loans.”

      Omissions        The investor letters are also notable for what they omit to say about the financial
                       difficulties faced by the platforms. For example, the 2016 investor letters fail to
                       disclose that the money was being lent to Dealstruck in order for the company to
                       meet payroll, let alone that Ross also had a financial interest in Dealstruck.




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      Prospective/Investor Communications

       Feb. 3, 2016     Ross: writes to QS, “quite a few of these loans have Payment amounts of 50, 100,
                        or 200. What is going on with those? I think they will stick out and should be
                        reverted back to their normal payment amount for these late loans.” QS: “These
                        are loans that are either on temporarily or permanently reduced payment plans.
                        Borrower’s tend to say they can afford to pay a round number, which is the reason
                        for these.”

       Feb. 15, 2016     Ross: attached an investor presentations and directed investor to “[n]ote the
                         historical returns on p3 of the Presentation”; represented that “[o]ur investors
                         receive double-digit unlevered returns, and we have had no down months, and
                         the Fund is suitable for regular and IRA accounts”; included the same
                         “highlights of the Fund” also in October 7, 2015 email, again emphasizing the
                         Fund’s strong and stable returns, low default rate, and full transparency.”

       Apr. 19, 2016     Ross provided same “Fund highlights,” again attaching investor presentations
       and               and stating, “Our investors have received 10-12% unlevered returns, and we
       June 24, 2016     have had no down months, and the Fund is suitable for on- and offshore
                         accounts.”

       July 5, 2016     Ross circulated a document titled “Private Credit Investing Portfolio Summary”
       and two emails   to investors and their representatives. Among other things, this document
       on               included specific information about the historical returns for the QuarterSpot
       Sept. 17, 2016   position, including the historical loss reserves taken on that position, while
                        touting the QuarterSpot position’s consistently strong performance.

       Aug. 21, 2016    Ross provided updated default sensitivity analysis with same sort of historical
                        write down information that showed DLIF write downs as a percentage of assets
                        under management and included a graph tracking default rates over time.

       Oct. 11, 2016    Ross: “For the two remaining platforms where we continue to buy whole loans,
                        Investment E/D and Quarterspot, we reserve 50% if loans are 30 days late and
                        100% if they are 60 days late. There are some limited exceptions, but it’s
                        generally according to that formula.”

       Oct. 20, 2016    In response to recommendations to improve appearance of monthly factsheets
       between          that DLI provided to investors, [Designer] wrote, “Brendan [Ross] likes the text
       consultants at   in all white with it going big to small according to pie slice size. He also knows
       Minard Capital   you can’t read it, and as he says ‘well it’s not really meant to be read.’”

       Oct. 21, 2016    Emphasized in the “Fund Highlights” that DLI “continues to deliver very stable,
       DLI investor     unlevered, double digit returns with no down months since the Fund’s inception
       relations rep.   in 2012.”

       Oct. 23, 2016    Minard: Pie Chart “Cannot read “Consumer” – white text on a light blue
       Ross and         background is always illegible”; Ross: “leave consumer pie slice as it is. It’s
       Minard Capital   investor’s least favorite and I want to downplay it. That was on purpose.”;
                        Minard: Short-Duration Collateral Chart – “Can’t read 26-36 mo. – see above
                        (change to dark blue or make font color dark gray or black.); Ross: “same as
                        Consumer. Let’s keep it that way.”


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      2017

      Monthly Investor Letters

       Jan. 2017         Praises the “4+ track record as a reliable producer of returns for private debt
                         investors.”

       Feb. 2017         DLI “produce[s] the Fund’s returns based on interest income net of new loan loss
                         reserves and fund expenses”; summarized DLI’s January 2015 valuation policy
                         for its whole loan positions, explaining that “[l]oans 30 days late in payment are
                         marked at 50% of their principal balance” and “[l]oans without a payment in 60
                         days are written down to 0%,” noting that “[a]djustments can be made based upon
                         the facts and circumstances of the individual notes.” This investor letter further
                         explained that “[b]ased on these rules, we would then make necessary loss
                         reserves and produce the Fund’s returns based on interest income net of new loan
                         loss reserves and fund expenses.”; “[f]undamental to understanding our approach
                         is knowing that regardless of how we gain exposures, we always value positions
                         as if we held the collateral directly on our books, and for good reason: if any of
                         our borrowers fail, we expect to take over the collateral.”; indicated that even for
                         its non-QuarterSpot investments structured as credit facilities, “our goal in
                         valuing positions is to remain consistent with the original granular approach,”
                         explaining that “[w]e generally apply borrowing base eligibility rules consistent
                         with our original loan by loan valuation policy.”

       July 2017        Indicated that DLI had learned of the issue with QuarterSpot as part of its regular
                        reassessment of its valuation policies and suggested that the issue arose from lack
                        of visibility into QuarterSpot’s loan-level data; Announced the side pocket,
                        explaining that “[s]ide pockets are a tool used by asset managers to hold any assets
                        for which the estimated fair value cannot be determined as of the measurement
                        date, while still allowing the remainder of the fund’s assets to be fair valued for
                        financial reporting purposes.”; Disclosed (at the end of a long footnote) that “[a]n
                        internal cash flow study was performed which indicated an impairment for a
                        portion of the QuarterSpot portfolio. We believe that additional information needs
                        to be considered and analyzed before the fair value of these assets can be
                        determined.”; DLI described anticipated improved returns due to its ongoing
                        replacement of Whole Loan Deals with Facility Deals, but then describes these
                        new transactions as achieving investor returns in a similar way. The letter did not
                        disclose details of the QS impairment, nor that the partial payments that led to
                        many of the loans being impaired were “rebate” payments that Ross had directed
                        to make delinquent loans appear current.

       August 2017      DLI announced sale of QS loans to the third party; DLI did not disclose to investors
                        Ross’s personal guarantee or the pledging of his equity interest in DLI.

      Prospective/Investor Communications

       Jan. 2017     Described DLI’s valuation methodology, stating that “small business loan
       Due Diligence pricing methodology is based on the payments history of the loans with a general
       Questionnaire valuation rule that assets late in making payments for 30 days will be valued at
                     50% and those delinquent 60 days or more will be marked to 0%.”


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       Jan. 29, 2017   Ross explained that DLI used a servicing fee rebate for a different whole loan
                       platform and contrasted that with QS, for which he represented no such rebate
                       arrangement existed, citing QS’ “good” and “stable” performance over time.

       Feb. 23, 2017   DLI investor relations representative emphasized in the “Fund Highlights” that
       and             DLI “continues to deliver very stable, unlevered, double digit returns with no
       Mar. 13, 2017   down months since the Fund’s inception in 2012.”

       April 2017      Touted performance of the QS position and specifically its low default rate;
       to at least     graph purported to quantify QS’ rate of loan “charge-offs” (loan defaults) and
       June 2017       compare that rate favorably as being lower than default rate for loans originated
       monthly         by a well-known public company small business lender; explained, “DLI’s small
       investor        business lending partner QS outperforms by mitigating charge-offs, not just
       presentations   attempting to offset them with higher pricing.”

       Aug. 6 and 7,   Ross: “The question is: when a loan is 5% or 10% behind, what is the likelihood
       2017            of recovery…I suspect that even 5% behind means the loan is done for.” QS:
                       “Do you want to permanently edit the “Payment” field for those borrowers,
                       inserting $150 or something like that? Seems like there should be a value in the
                       database for them.”

       Summer 2017     When others at DLI discovered impairment of QS position that led to side
       Omissions       pocket, Ross did not disclose to investors that the partial principal payments at
                       issue were not borrower payments but instead “rebate” payments by QS that he
                       had directed; instead, Ross arranged a quick sale to get the delinquent QS loans
                       off the Master Funds’ books, failing to disclose key facts to investors.


       August and      Ross further concealed his rebated payments in communications from to
       September       investors concerning QS and the potential impairment, side pocket, and sale to
       2017            the third-party fund.

       Sept. 6, 2017   Emails between Ross and QuarterSpot reveal that Ross’s scheme had evolved in
                       both process and scope. By then, Ross was utilizing monthly spreadsheets to
                       mass-tag the loans for which to falsify payments (and the amount of each
                       payment).

       Fall of 2017    Described its investment approach as providing “financing solutions to best-in-
       Monthly Fact    class specialty finance operators who each exhibit specific competitive
       Sheets          advantages and asset heavy balance sheets”; “non-banks that we finance
                       generally bear some or all of the risk of underperformance and we credit this
                       approach with our historically high, stable returns.”




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      2018

      Monthly Investor Letters

       February 2018       The Master Fund “charge[s] interest by the day” in its Facility Deals.

       October 2018        “[E]xtending monthly close process may inconvenience some investors, the
                           benefit to all investors of having valuation reports available for the Funds to
                           close their books each month is ultimately … more supportive of the optimal
                           operations of the Funds.”

      Specific Evidence of QuarterSpot Fraud

       Sept. 6, 2017,      Spreadsheets that Ross sent to QS include payments for 455 loans totaling
       Oct. 11, 2017,      $99,641, 407 loans totaling $55,468, and 345 loans totaling $18,573,
       and                 respectively. In January 2014, Ross directed that QS falsify 42 loans payments,
       Jan. 8, 2018        totaling $13,734.22. The reduction in false payments, from September 6, 2017
                           to January 8, 2017, coincides with DLI’s sale of its impaired assets.

      2019

       January 2019       The Feeder Funds’ objective was still described as one to “generate attractive
                          current income.”




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                                                    Exhibit 2
                                        Bank Accounts Included in the Report

  Direct Lending Investments LLC
      1. Citibank x5510
      2. Wells Fargo Bank x0714
      3. Wells Fargo Bank x1467
      4. Bill.com Clearing Account
  Direct Lending Income Fund, L.P.
      5. Northbrook Bank & Trust Co. x7598
      6. Northbrook Bank & Trust Co. x8052
      7. Wells Fargo Bank x1927
  Direct Lending Income Feeder Fund, Ltd.
      8. Northbrook Bank & Trust Co. x4068
      9. Northbrook Bank & Trust Co. x6033
      10. Wells Fargo Bank x1919
  DLI Capital, Inc.
     11. Wells Fargo Bank x1893
     12. Northbrook Bank & Trust Co. x6410
  DLI Capital Partner, Inc.
     13. Wells Fargo Bank x1901
  DLI Assets Bravo, LLC
     14. Wells Fargo Bank x1602
     15. Wells Fargo Bank x2329
     16. Northbrook Bank & Trust Co. x3290
     17. Wells Fargo Bank x1594
  DLI Assets, LLC
     18. Wells Fargo Bank x2311 (account was also under the name of DLI Assets Bravo, LLC)
     19. Northbrook Bank & Trust Co. x8381
     20. Wells Fargo Bank x1885
  DLI TC, LLC
     21. First Republic Bank x5690
  DLI SPV I, LLC
     22. Wells Fargo Bank x4908
  Direct Lending Capital Partners, Ltd.
      23. Northbrook Bank & Trust Co. x9356
  Direct Lending Income Fund (DE Statutory Trust)
      24. Citibank. x9324


  Note: No bank accounts were identified for DLI Lending Agent, LLC, DL Capital, Inc., or Direct Lending Services, Inc.




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                                                              Schematic of Certain Bank Accounts

                          Receives           Receives collections                                        Primary DLIAB
   Used to pay DLIA                                                                                                                              DLI SPV I –      Did not
                          collections from   from First Associates                                       account – receives
   expenses via                                                                Used to pay DLIAB                                                 MTC 4908         commence
                          Dealstruck         (outside servicer for                                       most payments
   Opus/                                                                       expenses via                                                                       operations
                          Borrowers          Dealstruck loans)                                           from investments.
   Northbrook.                                                                 Opus/Northbrook.


                          DLIA ‐ MTC           DLIA –                           DLIAB – NB                   DLIAB – MTC                   DLIAB –               DLIAB – MTC
     DLIA – NB
                           2311 &             MTC 1885                             3290                          1602                     MTC 2329                   1594
       8381
                           Lockbox
                                                                                                                                         Originally used       Used for
                                                                                                                                         for collections       collections from
                                                                                                                                         related to TCJ        legacy IOU
                                                                                                                                         Walsh. No             investment.
                                                                                                                                         current activity.

                                                                                             Primary DLIC cash account –
                          Used to pay DLIC                                                   received any cash from
                          expenses via       DLIC – NB                   DLIC – MTC          feeder subscriptions/funds
                          Opus /
                          Northbrook.
                                               6410                         1893             interest expense, dividends,
                                                                                             redemptions to feeder funds.



    Primary DLIFF cash account        DLIFF –
    – only DLIFF account that                                                                                               DLIF – MTC     Primary DLIF cash account –
    interacts with DLIC.             MTC 1919                                                                                              only DLIF account that
                                                                                                                               1927        interacts with DLIC.



 Used to pay DLIFF                                               DLIFF Subscription         Used to pay DLIF                                           DLIF Subscription
 investor redemptions   DLIFF – NB           DLIFF – NB          account – only             investor              DLIF – NB        DLIF – NB           account – only
                                                                 used to process
 and expenses via          4068                 6033             subscriptions.
                                                                                            redemptions and         7598             8052              used to process
 Opus/Northbrook.                                                                           expenses via                                               subscriptions.
                                                                                            Opus/Northbrook.




Source: Image extracted from DLI’s records.




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                                                Exhibit 3
              DLI’s Explanation of the Master-Feeder Structure (October 2016 Restructuring)


  The following is an excerpt from a letter sent to investors on November 23, 2016: 95

             As we imagined a future that benefitted from the simplest possible structure
             between us and the lenders we finance, it became apparent that being able to engage
             in direct lending activities would be beneficial in many circumstances. However,
             such lending activities if engaged in directly by DLIF would result in all investors
             being subject to income taxes and obligated to file tax returns in certain state and
             local jurisdictions in which the fund operates and would potentially result in non-
             U.S. investors being subject to U.S. federal income taxes on a net basis and
             obligated to file U.S. federal income tax returns and. Because of the significant
             burden this would place on our investors, we needed to find a corporate structure
             that would allow us to act as a direct lender inside of a master feeder structure,
             while permitting investor to deploy capital in the traditional way into feeder funds.

             Using a master fund that is a corporation eliminates this issue, which only applies
             to pass-through entities like LPs and LLCs that don’t elect to be treated as
             corporations for U.S. federal income tax purposes. Corporation are not a pass-
             through entities for U.S. income tax purposes and pay U.S. federal and state taxes
             on all of their income.

             Capitalizing the Master Fund

             If our corporate master was only capitalized by the feeder funds with equity, then
             these corporate taxes would be quite burdensome. However, the feeder funds will
             capitalize the corporate master through an appropriate combination of debt and
             equity, with the interest on the debt resulting in a deductible expense at the
             corporate master level and thus reducing the tax drag at the corporate master to an
             acceptable level.

             In addition to eliminating certain state and local filing obligations for U.S.
             investors, DLIF intends to push down the management fees and certain other
             expenses to the corporate master. For periods prior to the restructuring, the
             deduction of these expenses for U.S. individual investors, and certain estate and
             trust investors, would have been significantly limited under rules applicable to
             miscellaneous itemized deductions. After the restructuring, these expenses are
             expected to be fully deductible by the corporate master.




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       Source: ‘DLIF - Master-Feeder Structure - Oct 2016.pdf.’



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         How the Structure Works:

     (1) The two feeder funds, domestic and offshore, take in 100% equity from investors.
         (The feeder funds have no leverage).
     (2) The two feeder funds send capital to the corporate master as follows: up to 80% of
         the capital is in the form of debt and 20% or more of the capital in the form of
         equity.
     (3) Most expenses including the management fee will be expenses of the master fund
         and thus will be deductible by the master fund.
     (4) The debt of the master fund currently bears a 12% coupon to the feeder funds, so
         that the interest income to the feeder is 0.80% per month (12% coupon = 1% per
         month, but only 80% of the capital is debt, so its 0.80% per month in interest).
     (5) Any returns in the master fund above 0.80% per month will represent returns on
         the equity in the master fund. These returns are taxed at the master fund level at the
         U.S. federal rate of 35% (plus state and local taxes) and the remainder will be paid
         out as dividends to the feeder funds.
     (6) Foreign investors will pay a U.S. withholding tax on their allocable share of the
         dividends from the master fund which will be the letter of an applicable tax treaty
         between such investors’ jurisdiction of residence and the United States and the 30%
         maximum rate.

         At the end of this restructuring, the tradeoffs are thus roughly summarized as
         follows:

     •   U.S. and non-U.S. investors protected from filing tax returns.
     •   The management fee and the majority of expenses are tax deductible.
     •   In a month with returns higher than 0.80%, as all historical months have been, fund
         returns will be slightly lower than before as a result of corporate tax drag.
     •   Investor after-tax returns may be higher or lower depending on its individual
         circumstances, though many US taxable investors in higher tax brackets are likely
         to have higher after-tax returns.




                                                                                                  93
                                                                                                                                                                          ($ in millions)
                                                      ($ in millions)




                                                                                                                                                 -
                                                                                                                                                     $100
                                                                                                                                                            $200
                                                                                                                                                                   $300
                                                                                                                                                                             $400
                                                                                                                                                                                      $500
                                                                                                                                                                                             $600
                                                                                                                                                                                                    $700
                                                                                                                                                                                                           $800
                                                                                                                                                                                                                  $900




                                            -
                                                $50
                                                      $100
                                                                        $150
                                                                               $200
                                                                                      $250
                                                                                                                                       2012-11
                                                                                                                                       2013-01
                                                                                                                                       2013-03




     Source: Company records.
                                                                                                                                       2013-05
                                                                                                                                       2013-07
                                                                                                                                       2013-09
                                                                                                                                       2013-11
                                                                                                                                       2014-01
                                                                                                                                       2014-03
                                                                                                                                       2014-05
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                                                                                                                                       2014-09
                                                                                                                                       2014-11
                                                                                                                                       2015-01
                                                                                                                                       2015-03
                                                                                                                                       2015-05
                                                                                                                                       2015-07
                                                                                                                                       2015-09




                                Total NAV
                                                                                                                           Total NAV
                                                                                                                                       2015-11
                                                                                                                                                                                                                                                                                                                         #:9279



                                                                                                                                                                                                                                                                Exhibit 4




                                                                                                                                       2016-01
                                                                                                                                       2016-03
                                                                                                                                       2016-05
                                                                                                                                       2016-07
                                                                                                                                       2016-09
                                                                                                                                       2016-11
                                                                                                                                                                                                                         DLIF NAV (11/2012-11/2018)




                                                                                             DLIFF NAV (10/2016-11/2018)
                                                                                                                                       2017-01
                                                                                                                                                                                                                                                      DLIF and DLIFF’s Reported NAV




                                                                                                                                       2017-03
                                                                                                                                       2017-05
                                                                                                                                       2017-07
                                                                                                                                       2017-09
                                                                                                                                       2017-11
                                                                                                                                       2018-01
                                                                                                                                       2018-03
                                                                                                                                       2018-05
                                                                                                                                       2018-07
                                                                                                                                       2018-09
                                                                                                                                       2018-11




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                                                                                                                                                                                                                                                                                      Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 108 of 220 Page ID
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                                           Exhibit 5
                 Observations Regarding Ross’s Personal Interest in Counterparties


  IOU Central Inc.

        1.   On February 13, 2012, Ross and DLI separately entered into Non-Disclosure
  Agreements with IOU Financial Inc. and IOU Central Inc.

         2.    In April 2012, Ross purchases (through a joint account with his wife) 91,000 shares
  of IOU Central, Inc. common stock on the open market. The stock was and is listed on the Toronto
  stock exchange. Between June 22, 2012 and July 26, 2012, Ross purchased another two hundred
  and twenty thousand (220,000) total shares of IOU Central common stock.

         3.    On September 6, 2012, DLI and IOU enter into a master purchase agreement, to
  govern the purchase of small business loans originated by IOU.

          4.   November 1, 2012, DLIF commences operation. IOU is its only lending platform at
  inception.

         5.     Late 2012, DLI announced to investors that it had purchased 46 loans from IOU
  Central for $575,000 and recirculated cash from a handful of early paydowns.

         6.    In August 2015, DLI decides not to increase its investment in IOU loans due to poor
  performance of the loans. However, DLI agrees to allow repayments of existing loans to be used
  to purchase new loans. The last funds were wired to IOU in August 2015.

          7.   In March 2016, DLI notifies IOU that it will not allow any more loan proceeds to be
  used to purchase new loans. Thereafter, all loan proceeds are remitted to DLI as they are collected.
  The reason was poor performance of existing loans. Between September 23 and September 30,
  2016, Ross sold the 220,000 shares of IOU Central common stock for a loss of $17,567.00.

          8.     On October 4, 2016, Ross sold his remaining 91,000 shares of IOU Central common
  stock for a total loss of $24,683.00.

          9.    The Master Fund continues to hold a small amount of IOU loans that have been
  written off as uncollectible.


  LoanHero, LLC

         1.    LoanHero, LLC (“LoanHero”) was formed on June 25, 2014.

         2.    Under the original operating agreement, the 11 initial members were issued a total
  of 8,750,000 Units for gross consideration of $875. Ross was one of the initial members and was
  issued 1,200,000 Units for $120.




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         3.    Ross was also one of four “Funding Members.” Like Ross, each Funding Member
  received 1,200,000 Units and agreed to contribute $50,000 by July 25, 2014 and another $50,000
  by October 15, 2014, and would have forfeited his Units if the capital contributions had not been
  made. The other Funding Members were Neil Senturia, Zalman Vitenson, and Daniel Bradbury
  (managing member of BioBrit LLC).

         4.    Ross made his capital contributions on July 23, 2014 and October 16, 2017.

         5.     On March 23, 2015, LoanHero converted to a Delaware corporation. Upon
  conversion, the Units of each of the Funding Members were reclassified to Series Seed-1 Preferred
  Stock. The Units of all other members were reclassified to common stock.

          6.     On April 16, 2015, LoanHero completed a funding round by issuing its Series Seed-
  2 Preferred Stock. The funding included the conversion of notes previously issued by LoanHero
  for $326,984.93, and new cash of $35,000. Ross made an additional cash investment of $50,000
  in this offering from his 401(k) account and received 394,321 shares of Series Seed-2 Preferred
  Stock.

          7.   On April 30, 2015, DLIF entered into a Loan and Security Agreement (“LSA”) with
  FundHero, LLC (“FundHero”), a subsidiary of LoanHero, under which DLIF agreed to make
  revolving loans to FundHero to finance the purchase of consumer loans originated by LoanHero.
  Prior to the origination of loans financed by this line of credit, LoanHero had not previously
  conducted operations.

          8.    On June 2, 2015, Ross was issued stock options to purchase 300,000 common shares
  at $0.043 per share under LoanHero’s 2014 Equity Incentive Plan.

         9.     Despite internal DLI analyses questioning the sustainability of the LoanHero facility,
  DLI failed to reduce its allocation of capital to LoanHero or adjust its valuation. Instead, DLI
  increased its commitment to LoanHero.

          10. On January 18, 2016, Ross and LoanHero’s CEO exchanged email correspondence
  in which Ross inquired about the percentage of LoanHero he owned. Ross expressed a need to
  own less than 5% of its equity to be compliant with various SEC rules and wondered if he could
  sell some of his interests but maintain a right of repurchase once his total ownership fell below
  5%. LoanHero’s CEO responded that Ross owned 7.8864% individually and another 2.0732%
  through his Ross Asset Advisors Inc. 401K Trust.

          11. On March 6, 2016 Ross emailed LoanHero’s CEO again and stated that he would
  resent having to sell at a haircut given that he was providing the credit facility to LoanHero. In
  response, LoanHero’s CEO explained that he was one of many at LoanHero who were deeply
  appreciative of Ross, that he did not fully understand the nuances of the problem, apologized if he
  misspoke and asked Ross not to get angry. Ross then asked LoanHero’s CEO to “create a contact”
  for him.

         12. A Third Amendment to the LSA increased the maximum facility amount from $20
  million to $25 million as of November 10, 2016.



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          13. In an email to a prospective investor in January 2017, Ross explained that he was
  going to give his shares of LoanHero back to the company as part of a larger negotiation that is
  increasing the percent of equity LoanHero must have in its facility and represented that the deal
  would benefit the fund, not himself.

        14. On March 24, 2017, Ross or his 401(k) account entered into the following
  agreements to divest his ownership interests in LoanHero:

               a. Sale of 1,200,000 shares of Series Seed-1 Preferred Stock to a third party for
                  $100,000;

               b. Sale of 394,321 shares of Series Seed-2 Preferred to a third party for $49,999.91.

               c. Termination of 300,000 stock options.

         15.     In September 2017, DLI sent a notice of default to LoanHero under the line of credit.

        16. In October 2017, despite the fact the facility had been undercollateralized for three
  months, a Fifth Amendment to the LSA increased the maximum facility amount to $42.5 million.

          17. In December 2017, DLI conducted a strict foreclosure of the underlying loan
  portfolio but failed to disclose this fact to investors for months.

         18.     LoanHero is now out of business.


  Realty Mogul, Inc.

         1.    On March 21, 2013, Ross joined Realty Mogul, Inc. (RMI), receiving emails about
  investment opportunities and status of the company.

         2.     As early as December 2013, Ross and RMI’s CEO corresponded consistently on
  business strategies for RMI.

         3.    On March 27, 2014, Ross purchases 39,475 shares of Series A Preferred Stock in
  RMI for $100,000 and executed the following agreements: (a) Investor Rights Agreement; (b)
  Voting Agreement; (c) Series A Preferred Stock Purchase Agreement; (d) Form of Amended and
  Restated Certificate of Incorporation; and (e) Right of First Refusal and Co-Sale Agreement.

         4.   On July 17, 2014, Ross encouraged RMI’s CEO to invest in DLIF and sent her the
  fund’s PPM and subscription documents.

         5.   On August 28, 2014, DLIF and RMI enter into a master agreement to govern the
  terms under which RMI would offer loans to DLIF for purchase and DLIF would purchase such
  loans.

         6.   In March 2015, DLIF decided not to purchase any additional loans from RMI. The
  reason was poor performance of the loans previously purchased.



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       7.    DLI continued to include RMI in the investor fact sheets after March 2015 until
  November 2015 and investor letters from April through June 2018.

          8.    A valuation report for September 30, 2016 highlighted DLIF’s decision to wind
  down its position with RMI throughout 2016 and as of the end of 2016, only a few loans remain
  on the books.

         9.    On March 29, 2017, Ross sells the Series A Preferred Stock to a third party for
  $223,366.90.

           10.   The funds continue to hold a small amount of RMI loans.


  Nativa Capital Management, LLC

         1.    In September 2015, a term sheet was signed which contemplated that DLIF would
  provide loans to finance coffee growers in Honduras. The term sheet provided that Ross would
  own 25% of Nativa Capital Management, LLC (“NCM”).

       2.   By an email dated October 9, 2015, Omanoff circulated corporate documents for
  NCM, which included an unsigned operating agreement that reflected that Ross owned 25% of
  NCM. The operating agreement was never signed.

           3.    After due diligence, DLIF decided not to provide the financing described in the term
  sheet.

        4.    However, DLIF agreed to provide inventory financing to a coffee buyer for the
  2015/2016 growing season.

          5.    On December 14, 2015, DLIF and Nativa Capital Partners I, LLC (“NCP”) entered
  into a line of credit to provide financing. As part of the closing, Nativa provided DLIF with a
  signed operating agreement for NCM dated October 5, 2015 under which Ross was not a member.
  Nativa also provided that member resolutions of NCM and NCP, which recite that Omanoff and
  Noel Carrette were the sole owners of NCM, which was the sole owner of NCP.

        6.    On December 16, 2015, DLIF wired $3,706,803.14 to NCP’s bank account. On the
  same day, NCP transferred $3,558,531.01 to Beneficio Santa Rosa SA through its bank.

        7.    The Receiver has not located any record that Ross ever signed an operating
  agreement for NCM.

           8.    Ross is not known to have received any distributions as an owner of NCM.

           9.    Ross is not known to have received a Form K-1 as an owner of NCM.

           10. In early March of 2016, Nativa Capital Partners I, LLC paid off the entire DLIF
  facility. On March 2, 2016, Rodney Omanoff instructed his bank to transfer or debit $3,066,188.09
  from the Nativa Capital Partners I, LLC bank account.



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  QuarterSpot, Inc.


         1.   On August 1, 2013, DLIF entered into a master agreement to govern the terms under
  which QuarterSpot, Inc. (QuarterSpot) would sell loans to DLIF, and under which it would service
  such loans.

          2.     On November 7, 2013, Ross purchased 20,000 shares of QuarterSpot common stock
  in a private placement for $100,000.

          3.    In an email to a prospective investor in January 2017, Ross explained that he was
  selling back to QuarterSpot his equity for what he paid despite subsequent up-rounds.

         4.    On March 24, 2017, Ross sold all 20,000 shares to QuarterSpot for $100,000. In
  August/September 2017, the Master Fund decided to discontinue purchasing new loans from
  QuarterSpot and entered into an agreement which provided that its purchases would taper off to
  enable QuarterSpot to arrange alternative funding sources for its loans.


  Dealstruck Holdings, Inc.

          1.    February 11, 2014, DLIF and Dealstruck Holdings, LLC (“DS”) and
  MyBusinessLoan.com, LLC (“MBL”) entered into a master purchase agreement under which
  DS/MBL would offer small business loans to DLIF, and DLIF would purchase 50% participations
  in such loans that it agreed to purchase.

         2.    On September 5, 2014, Ross purchased 40,323 Series Seed Preferred Shares in DS
  for $50,000.52.

         3.    December 2014 to July 2016: Fund relationship restructured multiple times.

         4.    On January 27, 2016, Ross purchased $200,000 of convertible promissory notes
  issued by DS.

         5.   In December 2016, the Master Fund conducts a strict foreclosure of DS’s assets,
  which eliminated the equity shares held by Ross and the convertible note in the name of his trust.

          6.   On January 1, 2017, Ross agreed to purchase a $1,000,000 promissory note issued
  by MBL to Soni-Ross Investments, LP for $900,000. The only investor in Soni-Ross was Sandeep
  Soni, a personal friend of Ross.


  VoIP Guardian Partners I, LLC

         1.    Original discussions occur between Ross and Omanoff about Omanoff forming VoIP
  Guardian Partners I, LLC (“VOIP Guardian”), which would be in the business of purchasing
  telecom receivables. DLIF would finance the purchases through a line of credit.


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         2.    On December 27, 2015, Omanoff circulated a final copy of the VoIP Guardian loan
  agreement dated October 9, 2015 and an unsigned version of an operating agreement for VoIP
  Guardian, LLC, the sole member of the borrower VoIP Guardian under the line of credit, both of
  which reflected that Ross owned 4.9% of VoIP Guardian, LLC.

          3.    The line of credit was signed on December 31, 2015. The operating agreement was
  not signed.

         4.      While no record that Ross ever signed an operating agreement for VoIP Guardian,
  LLC has been identified, Ross and DLI reported many times, including to the SEC and in audited
  financial statements that he held an ownership interest in VoIP Guardian.

         5.    The original executed Loan and Security Agreement dated December 30, 2015 (to
  be effective October 1, 2015) on Schedule I, Terms Schedule, stated that “Brendan Ross owns
  4.99% of VoIP Guardian, LLC.”


  Investment H

          1.     As early as November 2014, Brendan Ross and Frank Turner (who would eventually
  become DLI’s Chief Investment Officer) began attending conference calls and site visits regarding
  investments in what would become Investment H. Unsurprisingly, ultimately both Ross and Turner
  obtained ownership interests in Investment H when it was formed. One of DLI’s other executives
  was involved in creating credit evaluation algorithms for Investment H when Investment H was
  starting its business and also obtained a small ownership interest in Investment H in return for his
  work.

         2.   On February 19, 2015, Ross and Turner were copied on an email transmitting a
  contemplated “Revised Corporate Structure” of Investment H. The document anticipated both
  Ross and Turner as “Managers/Board” members of Investment H.

         3.     On February 26, 2015, DLIF made a bridge loan to Investment H for $3 million.

         4.     On April 1, 2015, the bridge loan was amended to increase the amount to $4 million.

        5.    On April 30, 2015, DLIF entered into an operating agreement with Investment I. The
  amounts due under the bridge loan were converted into a capital account balance in Investment I.

         6.    On July 14, 2015, Ross was issued 50,000 Nonvoting Incentive Units in Investment
  H. On or around that date, DLI’s CIO at the time, Bryce Mason, was also issued 12,500 Nonvoting
  Incentive Units in Investment H. Copies of the documents evidencing these issuances have yet to
  be obtained by the Receiver.

          7.    On February 1, 2016, DLIF agreed to make a $5 million term loan to Investment H,
  to be used for general corporate purposes.

         8.   On November 9, 2016, Ross and Investment H entered into an agreement under
  which the Nonvoting Equity Incentive Units were cancelled for a payment to Ross of $1. In an


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  agreement dated the following day, Bryce Mason also agreed to return all granted Units in
  exchange for $1. In an email to a prospective investor in January 2017, Ross explained that DLI
  began producing a report of his personal trading as of September 2016 as part of DLI’s SEC
  compliance obligation to track employee trades. Ross further informed the investor that VOIP
  Guardian and Investment H do not appear on the report because Ross “just gave those back.”

         9.    January 31, 2017, Investment H and DLIF entered into Amendment No. 1 to the term
  loan agreement to extend the maturity date to December 31, 2019 and to increase the loan amount
  to $40 million.




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                                                 Exhibit 6
                               Talking Capital and VoIP Guardian Overview


  Summary of the Talking Capital Investment

  Talking Capital Partners I, LLC (“Talking Capital”) was supposed to be a company that factored
  telecom receivables. In particular, the business model focused on a three-way transaction with the
  following types of parties:

       1. Tier 1 – major carriers such as Verizon, AT&T, Sprint, T-Mobile, Vodafone, British
          Telecom, France Telecom/Orange S.A., Deutsche Telekom have large physical networks
          in the major countries. But these Tier 1 carriers do not own equipment in smaller, typically
          “third world” countries.

       2. Tier 3 – these are smaller companies. They may not own any network equipment at all.
          They may also simply serve as brokers that make deals with companies that own telecom
          equipment in various third-world companies to supply the termination and connection
          services of calls coming from the Tier 1 companies.

       3. Local parties/Foreign Telecom Carriers – these parties are either unknown or invisible.
          They supply the call termination service in the local country.


  DLI’s Investment in Talking Capital

  Talking Capital offered DLI a chance to participate in factoring the Tier 3 receivables owed by the
  Tier 1 companies. In effect, DLI’s cash would pay the Tier 3 daily based on the call volume so the
  Tier 3 could pay its local telecom partners. Then DLI would be reimbursed when the Tier 1 paid
  its bill. Talking Capital would monitor the amount the Tier 3 was entitled to bill the Tier 1 through
  Talking Capital’s switch technology.

  Talking Capital Timeline

  DLI was introduced to Talking Capital on or about September 23, 2014 via email. Brad Reifler
  offered Ross a chance to invest in Talking Capital through various notes that Reifler would
  guaranty. Ross described a desire to invest in Talking Capital, that Ross first heard about a potential
  investment from Reifler,96 who owned several funds. Ross supposedly believed that DLI was
  competing for the deal and needed to loan money immediately, before doing any diligence to
  secure its spot.

  The principles of Talking Capital were Reifler, Omanoff, Proto, Rahman. Right from the outset
  there were misrepresentations made to DLI related to the Talking Capital deal.

  96
    Reifler himself was sued for fraud by the SEC related to his investments. Securities and Exchange Commission v.
  Bradley C. Reifler, United States District Court, District of Nevada, Case No. 2:20-cv-00511-RFB-DJA, Complaint,
  Dkt. No. 1.



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  Initial Agreement

  The initial DLI Investment was a $3.5 million promissory note at 17% interest to facilitate purchase
  of telecom receivables. Talking Capital granted DLIF a security interest and Reifler provided a
  personal guaranty. Talking Capital represented that these receivables purchases were safe and
  secure because they were receivables from Tier 1 telecom carriers like British Telecom and the
  like. This quickly moved into a Master Receivables Purchase Agreement on December 1, 2014
  between Talking Capital and DLI TC, LLC (a newly created subsidiary) with an initial $25 million
  receivable purchase maximum and an option for DLI to purchase more (appearing to up to an
  additional $100 million).

  DLI Investment

  DLI invested $3.5 million in November 2014 under a promissory note. DLI then quickly scaled
  up its investments by investing an additional $38.5 million between November 2014 and July
  2015. During this time DLI received only $128,337 in payments. By November 2015, DLI had
  $55.7 million outstanding. It received a $14.5 million payment in December 2015, in which $9.6
  million was categorized as a principal payment reducing its YE balance to $41.7 million.

                                       Talking Capital – Net Invested Capital




            Source: Company records.


  Talking Capital Wind Down

  Based on the cash flows, DLI’s investment with Talking Capital peaked in November 2015 at
  $59.7 million after which Talking Capital made a series of cash payments to DLI above $10
  million per month from December 2015 to March 2016 and subsequent final payments in April
  and May 2016.




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                        Month          Payment     Balance
                        Dec-15         $14,500,000  ($41,201,663)
                        Jan-16         $13,000,000  ($28,201,663)
                        Feb-16         $23,236,203    ($6,965,460)
                        Mar-16         $12,960,185      $5,994,725
                        Apr-16          $3,335,220      $9,329,945
                        May-16            $554,557              $0

  The excuse proffered in DLI’s underwriting memorandum for the wind down of Talking Capital
  and the transition from Talking Capital to VoIP Guardian is that the “regulatory environment”
  changed. However, the new VAT regulations in the UK did not start until after DLI had begun
  reducing its Talking Capital investment through large repayments. In addition, DLI made its first
  substantial loan to VoIP Guardian of $30 million in December 2015 after making its final
  investment in Talking Capital in November 2015. Beginning in December 2015, DLI began to
  receive back all its investment in Talking Capital, signifying a winddown that began before
  purported regulatory changes.

  There is also at least some evidence to suggest that DLI transitioned from Talking Capital
  originally in cooperation with Omanoff’s desire to exit Talking Capital and start a competing
  venture that would leave behind Talking Capital’s liabilities and Reifler as a business partner.
  Reifler claimed in his suit that Omanoff invested in a fraudulent counterparty at Talking Capital
  around this time. Moreover, the changes to VAT tax collection in DLI’s memo did not justify
  creating a new business entity but more likely signaled the end of what could have been Talking
  Capital’s criminal business model, which appeared premised on stealing VAT taxes.

  The December 2015 monthly loan package for VoIP Guardian showed that VoIP Guardian was
  investing in the same receivables that Talking Capital had invested in. For example, DLI’s records
  contain a December 2015 invoice from iKarim, a Talking Capital Tier 3 vendor, to PGTI, a Tier
  2, for $18 million that was payable to VoIP Guardian, virtually identical to an iKarim invoice
  payable to Talking Capital in November 2015. Other evidence reflects that Omanoff was
  commingling as between Talking Capital and VoIP.

  The repayment of DLI’s Talking Capital investment in April 2016 also coincided with several
  weeks of questions from DLI’s auditors regarding the Talking Capital investment and a desire to
  conduct more procedures to test the validity of that investment. In response to the auditor’s
  questions, Ross sent an email to Omanoff, pressuring him to repay the Talking Capital debt
  immediately.

  Summary of the VoIP Guardian Investment

  In October 2015, for reasons that are not yet fully known, some of the principles of TC formed a
  new entity called VoIP Guardian LLC (the VoIP entities are collectively referred to as “VoIP
  Guardian”). According to allegations by Brad Reifler in his lawsuit against them, the other
  principals of TC or its affiliates, including Omanoff, Proto, and Rahman, betrayed him and formed
  a new venture to steal the business and shut him out.


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  On October 9, 2015, Omanoff and others executed an LLC operating agreement for VoIP
  Guardian. Of note, the agreement contains a signature line for an entity called Contracts &
  Contracts, Inc. Although the executed version contains the signature of Rodney Omanoff for this
  entity, other documents strongly suggest that the intention was to give Ross a 4.9% interest in
  VoIP Guardian that would belong to Brendan Ross. The original LLC membership interest chart
  shows Contacts & Contracts holding 4.99% of VoIP Guardian.

  On December 30, 2015, DLIF (by and through Millennium Trust) entered a Loan and Security
  Agreement with VoIP Guardian Partners, I, LLC with an effective date of October 1, 2015.
  Omanoff separately executed a $20 million promissory note to pay DLIF $20 million, also dated
  October 1, 2015, though like the underlying Loan and Security Agreement, it appears likely it was
  not actually signed until December 2015 or later. The form of note contained no interest rate and
  no repayment date. Importantly, the original executed Loan and Security Agreement on
  Schedule I, Terms Schedule, stated that “Brendan Ross owns 4.99% of VoIP Guardian, LLC.”

  The Loan and Security Agreement altered the prior business model of having a DLI subsidiary
  purchase receivables and instead created a credit facility in which VoIP Guardian borrowed money
  to acquire receivables. The initial maximum facility amount was set at $20 million but DLI
  amended it effective December 31, 2015, one day after the date of the original signed agreement,
  to increase it to $50 million. VoIP Guardian granted DLI a security interest in all its assets,
  including all the receivables. The DLI amendment increasing the amount of the loan to VoIP
  Guardian did not take place until at least February, when DLI’s balance was $33 million by
  12/31/2015 and $43 million by January 31, 2016 despite no authorization for DLI to have increased
  the loan to such an amount.

  Loans to VoIP Guardian

  2015

  DLI began loaning money to VoIP Guardian in October 2015, with an initial loan of $1.9 million.
  But in December 2015, DLI made another loan of $30.9 million, followed by another loan of $18
  million in January 2016. However, by the end of March 2016, VoIP Guardian had repaid all
  outstanding amounts. Beginning in April 2016, DLI began a series of regular loans to VoIP
  Guardian that increased the balance to $99 million by December 2016 and $180 million by
  December 2017. During this time, DLI reported only $11 million in payments from VoIP
  Guardian.




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                                       VoIP Guardian – Net Invested Capital




            Source: Company records.


  VoIP Guardian used DLI’s investments in December 2015 to factor invoices from counterparties
  that previously did business with TC, including iKarim. In January, VoIP Guardian began doing
  business with a Tier 3 using a Spanish address. In April, Rudare began factoring invoices through
  VoIP Guardian. All these invoices included VAT tax payments to VoIP Guardian. In May, VoIP
  Guardian received a credit letter for HILF for purposes of adding them as a new Tier 3.

  2016

  In late May, 2016, DLI prepared a draft valuation memo that stated that in evaluating the default
  risk of VoIP Guardian, DLI will look at the “underlying credits that serve as collateral” and that
  DLI has no reason to believe there is any risk of default.97 It is unclear what factual basis or analysis
  supported this conclusion as it doesn’t appear that DLI had done any meaningful diligence on the
  Tier 1 counterparties it relied on for repayment at any point during the TC or VoIP Guardian
  relationship. As seen below, within weeks of this memo, DLI began factoring receivables from
  new Tier 3s without any proof that the entities were real businesses and would also begin
  depending on repayment from entities identified as Tier 1 counterparties that had previously served
  as Tier 3 companies to VoIP Guardian. It bears repeating that the entire premise for Tier 3 factoring
  was that these businesses lacked any meaningful working capital. Yet DLI would rely on these
  purported “Tier 1” entities to repay tens of millions of dollars in credit.

  In June 2016, VoIP Guardian began factoring Najd. The VoIP Guardian credit notice to Ross
  indicating that Najd was approved as a Tier 3 stated that Najd was a Tier 3 in the UAE and would
  be supplying termination services to iKarim, who, only months earlier, was a Tier 3 factoring

  97
       Email and Draft valuation policy dated May 27, 2016 at page 24.



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  invoices. The credit letter and file do not contain any apparent credit analysis of Najd or of iKarim
  now a Tier 1 company. But more review is needed to see if DLI performed a credit analysis to
  verify that iKarim was sufficiently credit worthy to rely on for payment of factored invoices.98 The
  premise of the Tier 3 factoring relationship that Tier 3 companies lacked working capital and thus
  paid a high fee to factor invoices contradicts a decision to extend tens of millions in credit to these
  same entities by relying on them to repay DLI.

  By August, 2016, iKarim reappeared in the invoice traffic from VoIP Guardian as a Tier 1 based
  in the UK and paying Najd, a UAE incorporated Tier 3, for allegedly providing minutes in Somalia,
  Liberia, Chad, and Zimbabwe, some of the same markets that iKarim supposedly provided Tier 3
  termination services for when it was a Tier 3.

  This relationship is particularly astonishing because DLI did not prepare its Credit Underwriting
  Memo on VoIP Guardian until September 2016. The Underwriting memorandum listed IKarim as
  a Tier 3 even though it was purportedly a Tier 1 at the time of the memo. In addition, the memo
  implied that the risk of the VoIP Guardian investment is low because the Tier 1 companies
  obligated on the factored AR are large, credit worthy, multinational telecom companies like
  Verizon, AT&T, and Orange.




  By November 2016, Indigo11, which in September 2015 had been a Tier 3 providing termination
  services to PGTi (a supposed Tier 2) reappeared as a Tier 1 paying a new Tier 3, Telacme.99 By
  January 2017, DLI had more than $100 million loaned to VoIP Guardian. Over time, DLI’s
  repayment risk concentrated in iKarim and Indigo11.

  98
     DLI’s Monthly Lending folder contains a folder with purported Credit Files on the Tier 3 entities but does not
  contain any apparent reports evaluating the credit worthiness of the supposed Tier 1 companies that would be
  repaying DLI’s investment each month by paying their invoices.
  99
     Telacme Limited Credit Notice, dated October 17, 2016.



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         Source: Company records.


  2017

  In mid-January 2017, Duff & Phelps (“Duff”) issued a valuation report for DLI as of September
  30, 2016. The Duff report concludes that the payments to DLI are “guaranteed by large Tier 1
  telecommunications carriers.” But Duff names none of these supposed Tier 1 companies nor
  identified any analysis of the amounts owed by each Tier 1 or the basis for its conclusion that such
  companies were credit worthy.

  In February 2017, Reifler filed suit against Talking Capital and Ross for transferring business to
  VoIP Guardian in violation of restrictions in the DLI contract with TC and accused his former
  partners, including Omanoff of stealing TC’s business to shut him out.

  Effective April 1, 2017, VoIP Guardian executed a promissory note for $200 million to DLI.
  However, DLI had already exceeded the prior $100 million limit in its June 2016 amendment. The
  date of execution is unclear.

  On or about April 17, 2017, VoIP Guardian sent a letter to DLI informing DLI that HILF Telecom,
  BV, a Tier 3 factoring its receivables through VoIP Guardian has not received a $20 million
  payments from its Tier 1 counterparty. BT Nederlands, a Tier 1 doing business with HILF,
  withheld approximately $20 million payable to VoIP Guardian on suspicion that HILF or others
  affiliated with it are spoofing calls in order to generate minutes that can be charged by HILF to
  BT. BT also expressed concerns that HILF was participating in money laundering. VoIP Guardian
  appears to have also disclosed to DLI its correspondence with BT attempting to obtain release of
  the money. BT’s response letter indicated its concern that calls on its network to various countries
  serviced by HILF were fake and being used for money laundering. Between April and December,



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  lawyers in the Netherlands initiate various legal strategies to force release of the funds. All efforts
  have been unsuccessful to date.

  BT did not explain the mechanism of money laundering but it may be that by placing and paying
  for millions of 1 second calls and then paying BT, who then remits a portion of the money to VoIP
  Guardian, who has in turn already paid such money to HILF, the call originating party is effectively
  transfers/launders money to HILF or HILF’s call terminating providers in the target markets.

  Despite the failure of DLI’s core investment assumption that Tier 1 companies represent no risk
  of default, DLI made no meaningful changes to its valuation or investment practices regarding
  VoIP Guardian and instead continued to increase its loan to VoIP Guardian.

  By December 2017, DLI was part of communications involving DLI’s exposure to VoIP Guardian
  including the dispute involving HILF. It was reported to Ross that per Dutch counsel, VoIP
  Guardian had been added by the Dutch prosecutors as a suspect.

  2018

  In April 2018, DLI obtained Thompson Reuters reports investigating iKarim and Najd. The reports
  include multiple charts that claim no red flags showing a connection to criminal activity but also
  identify no reasonable basis for concluding that iKarim is a Tier 1 telecommunications company
  with sufficient assets or business operations to support the dollar value of invoices it purportedly
  owes to Najd (and thus to VoIP Guardian and DLI). The report identified only two persons
  associated with the company and minimal financial information. The report on Najd is no more
  comforting. It likewise found minimal connections to known criminals. But the report reflects
  numerous financial red flags including that: Najd is UAE registered but based in Thailand, there
  are only two persons known to be associated with Najd, Najd has no available financial information
  and almost completely unknown in every respect. Nothing shows Najd could support or generate
  millions of dollars in telecom transactions.

  On June 12, 2018, DLI sent VoIP Guardian notices of default. Shortly after, DLI amended its credit
  agreement with VoIP Guardian and negotiated a side letter. DLI indicated the interest reduction is
  to allow Omanoff funds to fight for recovery of the HILF monies. Within seven days of sending a
  default notice, DLI “rescinds” its default notice.

  Even though VoIP Guardian was unable to repay $20 million of its loan due to the situation in the
  Netherlands, DLI continued to hide this situation from its investors. DLI did not disclose the VoIP
  Guardian default in its monthly newsletters on after April 2017 or PPMs to investors dated after
  April 2017. Nor did DLI or its auditors report it in the DLI 2017 audited financial statements or
  notes. DLI’s audited financials also failed to disclose DLI’s lack of credit analysis of the Tier 1 or
  Tier 3 companies that were part of its factoring arrangement, particularly VoIP Guardian’s large
  outstanding balances owed by purported Tier 1 companies with no financial records or history.
  DLI Capital’s 2017 Audited schedule of investments reported DLI’s investment in VoIP Guardian
  at a principal cost and fair value of $180,396,984.




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  DLI’s valuation file dated June 30, 2018 shows that DLI had reported no impairment on its VoIP
  Guardian loan despite almost 18 months since BT refused to make payment.

  Beginning in late July 2018 until November, DLI was engulfed in work responding to an SEC
  letter. During this time, the only apparent focus on VoIP Guardian related to Ross’s equity
  ownership and the disclosure and evidence of same and DLI paid little attention to the size or
  safety of its nearly $200 million investment.

  As early as March 2018, VoIP Guardian had reached close to their maximum credit facility and
  continued at or near that balance for the remainder of 2018. In late November 2018, DLI executed
  a Fifth Amendment to the Loan Agreement but was unable to extend further credit to VoIP
  Guardian above $200 million. DLI had expected to get cash from the liquidation of its Mepco
  investment, but that refinancing got delayed and led to a cash shortfall at DLI. Shortly after, in
  December 2018, purported Tier 1 companies Indigo11 and iKarim paid slower than usual. At the
  end of December 2018, iKarim and Indigo11 sent a partial $10 million payment followed by
  another $10 million payment in January. After discussions in January, Indigo and iKarim failed to
  make further payments and then disappeared. At the time of the default, Indigo11 owed over $100
  million and IKB Services owed in excess of $60 million.

  In 2019, DLI investigated its documentation and determined that Indigo 11 changed its business
  address from the UK to the same Santa Monica address as VoIP Guardian starting in September
  2017. iKarim appeared to change its address to VoIP Guardian’s in January 2019. DLI also
  appeared to recognize for the first time that the purported Tier 1 counterparties, particularly Indigo
  11 and iKarim, had served as Tier 3 counterparties earlier in DLI’s business with TC and VoIP
  Guardian.

  In March 2019, DLI reported to authorities that it may have been defrauded.




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              Exhibit 2
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     Permanent Receiver
  13
                           UNITED STATES DISTRICT COURT
  14
                         CENTRAL DISTRICT OF CALIFORNIA
  15
                         WESTERN DIVISION – LOS ANGELES
  16
     SECURITIES AND EXCHANGE              Case No. 2:19−cv−02188−DSF−MRW
  17
     COMMISSION,
  18                                      RECEIVER’S DISTRIBUTION PLAN
                     Plaintiff,
  19
  20                v.
  21
     DIRECT LENDING INVESTMENTS
  22 LLC,
  23
                   Defendant.
  24
  25
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   1         Bradley D. Sharp, the Court-appointed permanent receiver (the “Receiver”) for
   2 the estate of Direct Lending Investments, LLC (“DLI”), Direct Lending Income Fund,
   3 L.P. (“DLIF”), Direct Lending Income Feeder Fund, Ltd. (“DLIFF”), DLI Capital, Inc.,
   4 DLI Lending Agent, LLC, DLI Assets Bravo LLC, and their successors, subsidiaries and
   5 affiliated entities (collectively, the “Receivership Entities”), pursuant to the Preliminary
   6 Injunction Order and Order Appointing Permanent Receiver issued April 1, 2019
   7 (“Receiver Order”) (Doc. No. 10), hereby submits his Distribution Plan.
   8 I.      BACKGROUND
   9            A. Procedural History
  10         In March 2019, the U.S. Securities and Exchange Commission (“SEC”) filed the
  11 above-captioned action, alleging violations of federal securities law that involved a
  12 multi-year fraud. The Receiver was appointed pursuant to order entered on April 1,
  13 2019.
  14         The Receiver’s investigation of the pre-Receivership activities of the Receivership
  15 Entities has revealed layers of fraudulent activity dating back to the inception of the
  16 investment program offered by the Receivership Entities. The results of the Receiver’s
  17 investigation and the details of the multi-year fraud are set forth in the Report Regarding
  18 the Investigation of the Receivership Entities’ Business Conduct and Recommendations
  19 Regarding Distribution dated November 13, 2020, and will not be repeated here.
  20         On August 11, 2020, Brendan Ross, the former chief executive officer of DLI,
  21 was arrested by special agents of the FBI following a grand jury indictment on ten
  22 counts of wire fraud filed July 30, 2020. The indictment charges that “[b]eginning no
  23 later than in or about December 2013, and continuing to in or about March 2019 . . .
  24 defendant Ross, and others known and unknown to the Grand Jury, knowingly with the
  25 intent to defraud, devised, participated in, and executed a scheme to defraud the [f]unds,
  26 their investors, and Purchaser 1 as to material matters, and to obtain money and property
  27 from the victims by means of material, false and fraudulent pretenses, representations
  28
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   1 and promises, and the concealment of material facts.”1 Further, “between April 2014
   2 and January 2018, as a result of false and fraudulent monthly reports that Ross caused
   3 Company 1 to prepare, Ross caused the fund’s monthly asset values to be cumulatively
   4 inflated by over $300 million.”2
   5         The SEC has also filed a civil complaint in the United States District Court for the
   6 Central District of California alleging Ross defrauded investors of DLI, and seeking
   7 disgorgement of all funds received from his illegal conduct and civil penalties. The SEC
   8 alleges Ross engaged in fraud as an investment adviser; committed fraud in connection
   9 with the purchase and sale of securities; and filed false registration forms with the SEC.
  10 The civil enforcement action alleges that Ross orchestrated an intricate, multi-year fraud
  11 by inflating the value and returns for an investment position held by the investment
  12 funds, starting in or around early 2014 through March 2019.
  13         A qualified settlement fund (“QSF”) was established by operation of law
  14 pursuant to Internal Revenue Service Reg. §1.468B-2(k)(2) on the date of
  15 commencement of the Receivership, or April 1, 2019, and the Receiver has filed a QSF
  16 tax return for the Receivership stub period of April 1, 2019 through December 31, 2019,
  17 consistent with the provisions of Treasury Regulation § 1.468B(1)(c) and based on his
  18 understanding that criteria mandating the establishment of a QSF were present in this
  19 case.
  20             B. DLIFF and the Cayman Liquidation Proceeding
  21         Shortly after his appointment, the Receiver, upon Court approval, on behalf of
  22 DLI Capital, passed a unanimous resolution to place DLIFF in voluntary liquidation
  23 under the applicable laws of the Cayman Islands. The voluntary liquidators subsequently
  24 filed an application by way of a petition in the Grand Court of the Cayman Islands (the
  25 “Cayman Court”) for the liquidation to continue under the supervision of the Cayman
  26
  27   1
         United States of America v. Brendan Ross, aka “Brandon Rosen,” Case No. 2:20-cr-00327-CSF,
       United States District Court, Central District of California, Indictment, at ¶19.
  28   2
         Id. at ¶ 20(d)(iii).
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   1 Court. On July 25, 2019, the Cayman Court entered a Supervision Order (the
   2 “Supervision Order”) converting the voluntary liquidation to an official liquidation,
   3 and Bradley D. Sharp of Development Specialists Inc. and Christopher D. Johnson of
   4 Chris Johnson Associates Ltd. were appointed and currently serve as the Joint Official
   5 Liquidators (“JOLs”) of DLIFF. The liquidation of DLIFF pursuant to the Supervision
   6 Order under the laws of the Cayman Islands is hereafter referred to as the “DLIFF
   7 Liquidation”. On August 22, 2019, the JOLs sent a notice to the creditors and
   8 shareholders of DLIFF of a meeting of creditors and contributories. Creditors wishing to
   9 attend the meeting were asked to submit a proof of debt form to the JOLs in advance of
  10 the meeting. All claims against and interests in DLIFF are to be pursued directly in the
  11 DLIFF Liquidation, in accordance with the laws of the Cayman Islands, including
  12 without limitation, Order 16 of the Companies Winding Up Rules 2018 and the
  13 Companies Law (2020 Revision) applicable to liquidation proceedings in that
  14 jurisdiction. This Distribution Plan does NOT seek relief relative to the claimants or
  15 shareholders of DLIFF. 3
  16          The Receiver, in his capacity as U.S. Joint Official Liquidator in the Cayman
  17 Proceeding, and the Cayman JOL, Christopher D. Johnson (the “Cayman JOL”),
  18 agreed to a conflict resolution protocol (the “Protocol”) that was submitted to the
  19 Cayman Court and was approved by that court on July 16, 2020. This Court
  20 subsequently also approved the Protocol. (Doc No. 293).
  21          Utilizing the conflict Protocol, the Receiver and the Cayman JOL negotiated a
  22 stipulation regarding the claim amounts for DLIFF and DLIF in the Receivership case
  23 for purposes of determining the respective allocation of funds between DLIFF and DLIF
  24 in connection with a Distribution Plan (the “Claims Stipulation”). The Claims
  25 Stipulation provides, in relevant part, that:
  26
  27
       3
  28    Any investors who originally invested in DLIF and later transferred their account to DLIFF are
       deemed DLIFF investors and are not to receive any distributions pursuant to this Distribution Plan.
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   1           i. DLIF’s net investment of cash into the Master Fund is $359,589,934
   2              (the "DLIF Claim") and DLIFF’s net investment of cash into the
   3              Master Fund is $158,197,708 (the "DLIFF Claim").
   4           ii. The funds distributed to DLIFF pursuant to the Claims Stipulation and
   5              the Distribution Plan (the “DLIFF Distribution”) shall be distributed to
   6              the JOLs and shall be held by the JOLs for administration and
   7              distribution in the Cayman Liquidation in accordance with the laws of
   8              the Cayman Islands.
   9           iii. DLIFF’s creditors and stakeholders shall not be allowed duplicate
  10              claims in the Receivership Case and shall not receive a distribution
  11              directly in the Receivership Case.
  12           iv. Claims allowance for the investors and creditors of the U.S.
  13              Receivership Entities will be made in accordance with the U.S. law, and
  14              shall not be paid from the DLIFF Distribution.
  15           v. The Receiver shall make an advance on the DLIFF Interim Distribution
  16              in the amount of $10 million upon Court approval of the Claims
  17              Stipulation.
  18           vi. Except for the provision regarding the Interim Distribution, the
  19              remainder of the provisions of the Claims Stipulation is contingent upon
  20              approval of this Distribution Plan.
  21     C. Claims Process
  22        The Court established a claims bar in the Receivership case pursuant to the
  23 Court’s Order Granting Motion for Order (i) Establishing Bar Date for U.S.
  24 Receivership Entities; (ii) Approving Form and Manner of Notice; (iii) Approving the
  25 Proof of Claim (Interest) Form and Summary Claims (Interests) Procedure; and (iv)
  26 Approving Form and Notice and/or Limitation of Notice Under Local Civil Rule 66-7
  27 entered on April 9, 2020 (Doc. No. 251) (the “Claims Bar Date Order”). Pursuant to
  28 the Claims Bar Date Order, the Court established July 7, 2020 as the Claims Bar Date.
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   1           The Claims Bar Date did not apply to Intercompany Claims, and the Claims
   2 Stipulation has resolved the only Intercompany Claim that will be allowed under this
   3 Distribution Plan, specifically the Claim of DLIFF in Class 3 under this Distribution
   4 Plan. The allocation of claim amounts as between DLIFF and DLIF as set forth in the
   5 Claims Stipulation will determine the relative allocation of funds as between Class 3
   6 (DLIFF) and Class 4 (the DLIF Investors), and distributions to Class 4 claimants will be
   7 shared among the DLIF Investors pursuant to the terms of this Distribution Plan.
   8           The Receiver served the Claims Bar Date Order and Notice of the Bar Date on:
   9          i.   All parties that have appeared in the SEC Enforcement Action;
  10         ii.   Claimants that the Receiver has determined, upon reasonable review of the
                   books and records of the Receivership Entities, have or may likely assert a
  11               Claim against the Receivership Entities or have asserted claims against the
  12               Receivership Estate during the pendency of the SEC Enforcement Action;
           iii.    Former Employees;
  13        iv.    Investors;
  14         v.    Creditors;
            vi.    Administrative Claimants;
  15       vii.    Professionals who provided services to one of more of the Receivership
  16               Entities prior to April 1, 2019;
           viii.   Counterparties on the loan portfolios held by the Receivership Entities; and
  17        ix.    Federal, state, local or other governmental entities or authorities that may
  18               assert a Claim for taxes arising from or attributable to tax periods ending on or
                   before April 1, 2019, even if the taxes are due and payable subsequent to April
  19               1, 2019.
  20           Through his staff and the Receivership’s claims agent, notices that included the
  21 Court-approved Notice of Claims Bar Date and Procedures for Submitting a Proof of
  22 Claim and Proof of Claim Form were mailed to 3,028 recipients. As a result, a total of
  23 1,180 claims were submitted to the Receiver’s Claims Agent.
  24       The claims submitted to the Receiver 4 are summarized as follows:
  25 Plan Class                             Number of      Proof of Claim     Estimated Allowed
                                            Claims         Amount(s)          Claim Amount(s)
  26
       Class 1 – General Administrative     16             $1,314,727         [TBD]
  27
       4
  28    Some claims may be subject to a Claims Objection or a Claims Objection Reservation Notice as
       set forth herein.
                                                6
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   1 Claims
       Class 2 – Priority Claims              9              $5,634              $5,634
   2 Class 3 – DLIFF Claims                   1              $158,197,708        $158,197,708
   3
       Class 4A – DLIF Administrative         []             [TBD]               [TBD ]
   4   Claims
       Class 4B – DLIF Investor Claims        1142           $526,944,306        $453,832,584 5
   5   Class 5 – Unsecured Claims             8              $658,333.36
       Class 6 – Indemnity Claims             7              Unliquidated
   6   Class 7 – Counter-Party Claims         6              $68,017,669
   7   Total                                  1180           $797,158,300

   8
           II.      PLAN DEFINITIONS
   9
                 Administrative Claimant. An individual or entity (including, without limitation,
  10
       partnerships, corporations, joint ventures, estates, trusts, and governmental entities or
  11
       authorities) asserting or who believe they are entitled to assert an Administrative Claim.
  12
                 Administrative Claim. An Allowed Claim based on: (i) the provision of goods
  13
       or services for the benefit of the Receivership Estate or at the request of the Receiver
  14
       beginning on or after April 1, 2019, or related to the administration of the QSF, which
  15
       remain unpaid, , other than those for the exclusive benefit of DLIF, (ii) any taxes
  16
       arising from or attributable to tax periods beginning on or after April 1, 2019, including
  17
       those that may be asserted by federal, state, local or other governmental entities or
  18
       authorities, which remain unpaid, (iii) any current, future or contingent contractual
  19
       obligations (including indemnification obligations) arising from any contract entered
  20
       into by or on behalf of the Receivership Estate or the QSF other than those contracts
  21
       entered into by the Receiver on behalf of DLIF. An Administrative Claim excludes the
  22
       assertion of an indemnity claim or tort claim asserted against the Receivership Estate
  23
       for a failure to lend money post-Receivership in connection with a contract entered into
  24
       5
  25     Estimated Allowed Claim Amounts related to DLIF investors are calculated using the $In/$Out
       claims method, reflect adjustments for aggregated DLIF Investor’s claims with the same TIN and
  26   include estimated claim amounts for two unfiled DLIF Investor’s clams.. Duplicate claims have
       been included in proof of claim amounts but have been excluded for estimated allowed amounts.
  27   Notwithstanding that the Estimated Allowed Claim Amount in Class 4B is greater than the amount
       of DLIF’s claim as agreed in the Claims Stipulation, for purposes of distributions between Class 3
  28   and Class 4, the amounts set forth in the Claims Stipulation as between DLIFF and DLIF shall
       govern the distributions to Class 3 and Class 4, respectively.
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   1 prior to April 1, 2019 or by a former officer, director, or employee of the Receivership
   2 Entities. For the avoidance of doubt, an Administrative Claim shall not include a DLIF
   3 Administrative Claim.
   4         Allowed Claim. A Claim or a portion thereof based on a Proof of Claim, or
   5 agreement by the Receiver, which is not objected to by the Receiver or subject to a
   6 Claims Objection Reservation Notice; or is approved of by a Final Order of the Court
   7 approving (i) the amount, (ii) classification, and (iii) treatment of such Claim consistent
   8 with the Court-approved Distribution Plan, unless such Claim has been paid in full,
   9 withdrawn, or otherwise satisfied in full.
  10         Avoidance Actions. All rights, claims, and causes of action, whether equitable or
  11 legal, that could have been brought by the Receivership Estate or any of its investors or
  12 other Claimants, against all persons arising under any provision of applicable law,
  13 including those for the recovery of avoidable fraudulent transfers or other transfers or
  14 under any other state or federal law which are reserved for and may be assigned and
  15 transferred to the QSF to the full extent allowed by law. For the avoidance of doubt,
  16 with respect to investors that invested in DLIFF, the term “Avoidance Actions” shall be
  17 limited to such causes of action that may vest with the JOLs of DLIFF pursuant to
  18 applicable Cayman Islands’ law.
  19         Bar Date Order. The Court’s Order Granting Motion for Order (i) Establishing
  20 Bar Date for U.S. Receivership Entities; (ii) Approving Form and Manner of Notice;
  21 (iii) Approving the Proof of Claim (Interest) Form and Summary Claims (Interests)
  22 Procedure; and (iv) Approving Form and Notice and/or Limitation of Notice Under
  23 Local Civil Rule 66-7 entered on April 9, 2020 (Doc. No. 251).
  24         Cause of Action. A claim, right, action, chose in action, suit, cause of action, or
  25 judgment, belonging to the Receivership Estate and any and all claims to recover
  26 liabilities, obligations, and debts owing to the Receivership Estate, whether arising prior
  27 to or after April 1, 2019.
  28         Claim. Any (i) potential or claimed right to payment, whether or not such right is
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   1 based in equity or by statute, reduced to judgment, liquidated, unliquidated, fixed,
   2 contingent, matured, unmatured, disputed, undisputed, legal, equitable, secured, or
   3 unsecured; or (ii) a potential or claimed right to an equitable remedy for breach of
   4 performance if such breach gives rise to a right to payment, whether or not such right to
   5 an equitable remedy is reduced to judgment, fixed, contingent, matured, unmatured,
   6 disputed, undisputed, secured, or unsecured.
   7         Claims Agent. Stretto.
   8         Claims Objection Reservation Notice. Written notice to be sent by the Receiver
   9 to any claimant holding or asserting a claim against the Receivership Estate which the
  10 Receiver in his business judgment believes may be subject to objection and which may
  11 be disallowed in full or in part.
  12         Claimant. An individual or entity (including, without limitation, partnerships,
  13 corporations, joint ventures, estates, trusts, and governmental entities or authorities)
  14 asserting, or that believes they are entitled to assert, a Claim against the Receivership
  15 Estate or any of the Receivership Entities.
  16         Claims Bar Date. The deadline for Claimants and Administrative Claimants to
  17 submit a Proof of Claim Form, which was July 7, 2020.
  18         Claim Objection. An objection served by the Receiver on any person or entity for
  19 which the Receiver disputes the claim filed. The Receiver may also object to any request
  20 for payment or transfer of assets even if a formal proof of claim was not filed.
  21         Claims Stipulation. The Stipulation between the Receiver and Christopher
  22 Johnson on behalf of DLIFF dated November __, 2020.
  23         Commingled Pool Entities. All of the Receivership Entities, in light of the fact
  24 that their assets were substantially commingled and for which the Receiver proposes
  25 pooling assets for distribution under the Distribution Plan.
  26         Counter-Party Claim. A Claim against the Receivership Entities based on,
  27 related to, arising from or in connection with a tort claim or other cause of action against
  28 the Receivership Entities for a failure to lend money post-Receivership in connection
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   1 with a contract entered into prior to April 1, 2019.
   2         Creditor. An individual or entity (including, without limitation, partnerships,
   3 corporations, joint ventures, estates, trusts, and governmental entities or authorities)
   4 asserting or that believes they are entitled to assert a Creditor Claim.
   5         Disallowed Claims. A Claim or a portion thereof that has been disallowed
   6 pursuant to (i) a Final Order, (ii) an agreement between the Receiver and the Claimant,
   7 or (iii) the terms of a Court-approved distribution plan.
   8         Disputed Claim. A Claim that has not been allowed or disallowed and as to
   9 which a Proof of Claim has been filed and the Receiver, a Claims Objection Reservation
  10 Notice has been served, or another party in interest (authorized by the Court), has filed
  11 an objection to the Claim.
  12         Distribution. The disbursement to holders of Allowed Claims pursuant to the
  13 Distribution Plan.
  14         Distribution Plan. The Court-approved terms that address how, when, by what
  15 method, and in what priority Plan Distributions of Receivership Estate assets on
  16 Allowed Claims will be equitably distributed, through the QSF, in partial or full
  17 satisfaction of Allowed Claims.
  18         DLIF Administrative Claim. An Allowed Claim based on the provision of goods
  19 or services for the exclusive benefit of DLIF or at the request of the Receiver for the
  20 exclusive benefit of DLIF beginning on or after April 1, 2019, which remain unpaid. A
  21 DLIF Administrative Claim excludes the assertion of an indemnity claim or tort claim
  22 asserted against the Receivership Estate for a failure to lend money post-Receivership in
  23 connection with a contract entered into prior to April 1, 2019 or by a former officer,
  24 director, or employee of the Receivership Entities.
  25         DLIF Avoidance Actions. Any proceeds of litigation on account of Avoidance
  26 Actions arising from transfers made by DLIF.
  27         DLIF Investors. All investors in DLIF that had a Net Investment balance owing
  28 as of April 1, 2019 or had account activity since the inception of DLIF as to which no
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   1 objection to their Proof of Claim has been filed and who were not insiders of the
   2 Receivership Entities or whose Claim is otherwise Disputed.
   3         DLIF Investor Claims. All of the Allowed Claims of DLIF Investors including,
   4 without limitation, a Claim based on an investment transaction in, with, or through
   5 DLIF. DLIF Investor Claims exclude any Claim that is otherwise classified herein.
   6         DLIFF Allowed Claim. The Allowed Claim of DLIFF pursuant to the DLIFF
   7 Claims Stipulation.
   8         DLIFF Distribution. The amount distributed to DLIFF pursuant to the terms of
   9 the Claims Stipulation and the Distribution Plan.
  10         Feeder Fund Litigation Assets. The proceeds of any litigation claims held solely
  11 by DLIF or DLIFF, other than proceeds of DLIF Avoidance Actions which are excluded
  12 from this definition.
  13         Final Order. An order, judgment, ruling, or decree of a court having jurisdiction
  14 as to which the opportunity to seek review, reconsideration, or rehearing of the order,
  15 judgment, ruling, or decree by that court or a higher court has lapsed, been waived in
  16 writing, or from which no further review, reconsideration, or rehearing is available.
  17         First Interim Distribution. The first distribution that the Receiver makes to
  18 holders of Allowed Claims from the cash on hand in the QSF upon Court approval of a
  19 Distribution Plan.
  20         Full Transferor Account. An account of a former investor in DLIF that fully
  21 redeemed through a non-cash transfer of the balance in its account to a new or existing
  22 DLIF Investor.
  23         General Unsecured Creditor Claim. A Claim against the Receivership Entities,
  24 including but not limited to transactions based on, related to, arising from or in
  25 connection with: (i) any contract, lease, or other agreement entered into prior to April 1,
  26 2019, for which payment has not been made in whole or in part or for which payment
  27 has or will become due prior to, on, or after April 1, 2019 (other than DLIFF Investors);
  28 (ii) goods or services provided prior to April 1, 2019; (iii) unpaid wages, compensation,
                                             11
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   1 or other employment benefits, that accrued prior to April 1, 2019; (iv) tort or other
   2 cause of action against the Receivership Entities that arose prior to April 1, 2019, or (v)
   3 taxes payable by a Receivership Entity arising from or attributable to tax periods
   4 beginning prior to April 1, 2019, even if due and payable subsequent to April 1, 2019,
   5 including those that may be asserted by federal, state, local or other governmental
   6 entities or authorities. To the extent that a Claim meets the definition of both a General
   7 Unsecured Creditor Claim and some other classification of Claim, each Claim shall be
   8 determined and treated based on the portion of the Claim that falls within each such
   9 classification.
  10         Indemnity Claim. A Claim against the Receivership Entities filed by a former
  11 officer, director, employee of the Receivership Entities or other party based on, related
  12 to, arising from or in connection with indemnity claims that arise from a transaction or
  13 contract prior to April 1, 2019.
  14         Intercompany Claims. Any Claim among and between the Receivership Entities,
  15 consisting of the DLIFF Allowed Claim and claims among the other Receivership
  16 Entities which are held by the Receiver.
  17         Late Filed Claims. Any written claims submitted using the approved claim
  18 form(s) to the Receiver after July 7, 2020. Late Filed Claims of DLIF Investors shall be
  19 deemed Allowed Claims unless objected to or disallowed on another basis.
  20         Master Fund. The assets and funds held by DLI Capital, Inc.
  21         Net Investment. A DLIF Investor’s Total Investment less Pre-Receivership
  22 Returns.
  23         Non-Administrative Tax Claims. Claims of taxing authorities and other
  24 governmental entities that are not an Allowed Administrative Claim or otherwise
  25 entitled to priority payment.
  26         Partial Transferor Account. An account of a DLIF Investor that partially
  27 redeemed through a non-cash transfer of a portion of the balance in its account to a new
  28 or existing DLIF Investor.
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   1         Person. Any natural person, partnership, firm, association, corporation, limited
   2 liability company, or other legal entity.
   3         Plan Distribution. Anything of value distributed to a Claimant on account of an
   4 Allowed Claim pursuant to the Court-approved Distribution Plan.
   5         Pre-Receivership Returns. The amount of cash payments a DLIF Investor
   6 received from the Receivership Entities through March 31, 2019, as interest payments,
   7 redemptions or return of principal, irrespective of the characterization by the
   8 Receivership Entities of such payments.
   9         Priority Claims. Any tax, wage, or other claims entitled to priority distribution
  10 under applicable state or federal law, including without limitation title 31 U.S.C. § 3713
  11 and any similar state statute.
  12         Professional Claimant. An individual or entity (including, without limitation,
  13 partnerships, corporations, joint ventures, estates, trusts, and governmental entities or
  14 authorities) asserting or that believes they are entitled to assert a Professional Claim.
  15         Professional Claim. A Claim based on professional services provided and fees
  16 and costs incurred after April 1, 2019, by the Receiver and his professionals for the
  17 benefit of the Receivership Estate or the QSF. The Receiver will continue to satisfy
  18 Professional Claims in the ordinary course and in accord with prior or future court
  19 orders, as appropriate to the claim. Professional Claims shall be deemed to be Class 1
  20 Claims under this Distribution Plan, other than those Professional Claims the Receiver
  21 determines to be attributable to DLIF, which Professional Claims shall be deemed to be
  22 Class 4A Claims under this Distribution Plan.
  23         Proof of Claim. A Claimant’s or Administrative Claimant’s assertion of a Claim
  24 timely and properly submitted in compliance with the Proof of Claim Form and in
  25 compliance with the provisions of the Claims Bar Date Order.
  26         Proof of Claim Form. The Court-approved claim form to be completed by
  27 Claimants and Administrative Claimants.
  28         Qualified Settlement Fund. The fund established pursuant to section 1.468B-
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   1 1(c), Income Tax Regulations and created upon commencement of the Receivership.
   2         Receiver. Bradley D. Sharp, the Court-appointed federal equity receiver in the
   3 SEC Enforcement Action, or any Court-appointed successor to Bradley Sharp.
   4         Receiver’s Report. Receiver’s Report Regarding the Investigation of the
   5 Receivership Entities’ Business Conduct and Recommendations Regarding Distribution
   6 prepared by the Receiver dated November 13, 2020, which details his investigation of
   7 the manner in which the financial affairs and activities of the Receivership Entities were
   8 conducted during the Relevant Time Period (defined in the Receiver’s Report as
   9 November 1, 2012 through March 31, 2019).
  10         Receivership Entities. Collectively, Direct Lending Investments, LLC, Direct
  11 Lending Income Fund, L.P. Direct Lending Income Feeder Fund, Ltd., DLI Capital,
  12 Inc., DLI Lending Agent, LLC, DLI Assets Bravo LLC, and their successors,
  13 subsidiaries and affiliated entities.
  14         Receivership Estate. The Receivership Estate is comprised of the Receivership
  15 Entities administered by the Receiver and the aggregate of all assets, claims, interests,
  16 rights, and powers created by the appointment of the Receiver for the Receivership
  17 Entities.
  18         Receiver Order. The Preliminary Injunction Order and Order Appointing
  19 Permanent Receiver entered on April 1, 2019 (Dkt No. 10).
  20         Rising Tide Methodology. The claims distribution methodology to be used for
  21 DLIF Investors in Class 4B, which that equalizes percentage returns to DLIF Investors
  22 by accounting for both Pre-Receivership Returns and Plan Distributions in determining
  23 the amount of the Plan Distribution. A DLIF Investor’s recovery percentage is calculated
  24 as their Pre-Receivership Returns plus any distributions from the Receivership, divided
  25 by their Total Investment. DLIF Investors shall receive distributions based upon the
  26 percentage that equalizes the minimum recoveries across all eligible DLIF Investors.
  27         SEC. The Securities and Exchange Commission, plaintiff in the SEC Enforcement
  28 Action.
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   1         SEC Enforcement Action. The action commenced by the SEC in the United
   2 States District Court for the Central District of California, Los Angeles Division, Case
   3 No. 2:19−cv−02188−DSF−MRW, titled Securities and Exchange Commission v. Direct
   4 Lending Investments, LLC.
   5             Third Party Claims. The legal and equitable rights held by the Receiver on
   6 behalf of the Receivership Estate to recover money from third parties.
   7         Transferee Account. The account of a DLIF Investor who received a non-cash
   8 transfer subscription from an account of another DLIF Investor that either fully or
   9 partially redeemed through a noncash transfer that was directed to a new or existing
  10 DLIF Investor.
  11         Total Investment. The total amount of cash invested by a DLIF Investor.
  12
  13      III.        TREATMENT OF CLAIMS
  14         A. Assets for Distribution
  15         1.       Pooled Assets
  16         The QSF contains all assets of the Receivership Entities, including any litigation
  17 proceeds that may be paid to the Receiver on account of any Cause of Action, Third
  18 Party Claim and any proceeds of litigation brought on behalf of the Master Fund or any
  19 other Receivership Entity other than DLIFF or DLIF. Proceeds of DLIF Avoidance
  20 Actions are property of the QSF but shall be allocated exclusively to Class 4 as set forth
  21 in this Distribution Plan. Proceeds of Feeder Fund Litigation Assets are not allocated in
  22 this Distribution Plan and the allocation of any such assets shall be subject to a separate
  23 agreement or other resolution between the Receiver and the Cayman JOL
  24         Assets of the Receivership Entities other than the Feeder Fund Litigation Assets
  25 and the DLIF Avoidance Actions will be pooled and will be used to make distributions
  26 on Allowed Claims pursuant to the terms of this Distribution Plan. All Allowed Claims
  27 to be paid pursuant to this Distribution Plan shall be paid from the assets in the QSF.
  28 Allocations of assets in the QSF between Classes 3 and 4 will be made pursuant to the
                                               15
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   1 terms of the Claims Stipulation as incorporated in this Distribution Plan.
   2 2.      DLIF Avoidance Actions
   3         Any proceeds of litigation on account of DLIF Avoidance Claims arising from
   4 transfers made by DLIF shall be segregated for the benefit of Class 4 to be distributed to
   5 the DLIF Investors in Class 4B, and all associated costs with the DLIF Avoidance
   6 Actions shall be treated as Class 4A Claims.
   7         B. Elimination of Intercompany Claims
   8         With the exception of the claims allowed under the Claim Stipulation, all other
   9 Intercompany Claims shall be deemed disallowed under the terms of the Distribution
  10 Plan. Distributions on account of DLIF Investor Claims shall be distributed through
  11 Class 4 as set forth in this Distribution Plan.
  12         C. Classes of Claimants
  13         The Receiver has categorized the remaining claims which he believes to be valid
  14 into the following classes of claimants:
  15         Class 1:     Administrative Claims
  16         Class 2:     Priority Claims
  17         Class 3:     DLIFF Allowed Claim
  18         Class 4A:    DLIF Administrative Claims
  19         Class 4B:    DLIF Investors
  20         Class 5:     General Unsecured Creditor Claims
  21         Class 6:     Indemnity Claims
  22         Class 7:     Counter-Party Claims
  23         D. Priority of Claims/Allowance Methodology
  24         Distributions on Allowed Claims is governed by, and subject to the terms of this
  25 Court-approved Distribution Plan as implemented through the QSF and shall be in full
  26 and complete satisfaction, settlement, and release of all such claims. Allowed Claims in
  27 the following classes are payable with the following priority and on the following terms
  28 from the QSF:
                                              16
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   1               1. Class 1
   2         First, Allowed Professional Claims and Allowed Administrative Claims, shall be
   3 paid up to the full amount of their Allowed Claims from the QSF. Disputed Class 1
   4 Claims will be reserved for in their full amounts unless otherwise estimated in
   5 accordance with this Distribution Plan.
   6               2. Class 2
   7         Second, holders of Allowed Tax Claims and Allowed Priority Claims will be paid
   8 their full claim. Disputed Class 2 Claims will be reserved for in their full amounts unless
   9 otherwise estimated in accordance with this Distribution Plan.
  10         This Plan does not provide any tax advice, and all Unsecured Creditors and
  11 Investor Claimants are encouraged to consult their own tax advisor regarding any tax
  12 consequences of this Plan. In any event, no distribution will be made to Classes 3, 4 or 5
  13 until such time as Class 1 and 2 claims have been paid in full or sufficient reserves are
  14 held to ensure payment in full to Classes 1 and 2, or the amount estimated for such
  15 claims.
  16               3. Class 3: DLIFF’s Claim
  17         Third, and to be shared with Class 4, pursuant to the terms of the Claims
  18 Stipulation, DLIFF shall receive its pro rata share on account of the DLIFF Allowed
  19 Claim of funds remaining in the QSF following payment or reservation in full to Class 1
  20 and Class 2 Claims pursuant to the terms of the Claims Stipulation. The funds paid to
  21 DLIFF pursuant to the Plan shall be paid to the Cayman JOLs and shall be distributed in
  22 the Cayman proceeding pursuant to Cayman law. To the extent that an advance is paid to
  23 DLIFF pursuant to the Claims Stipulation in advance of the First Interim Distribution,
  24 the amount distributed to DLIFF in the First Interim Distribution shall be adjusted to
  25 account for the amount previously paid.
  26               4. Class 4A: DLIF Administrative Claims
  27         Allowed DLIF Administrative Claims, including Allowed Professional Claims
  28 related to DLIF, shall be paid up to the full amount of such Allowed DLIF
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   1 Administrative Claims from distributions made in respect of the DLIF Claim under the
   2 Claims Stipulation. Disputed Class 4A Claims will be reserved for in their full amounts
   3 from amounts that are distributed in respect of the DLIF Claim under the Claims
   4 Stipulation unless otherwise estimated in accordance with this Distribution Plan.
   5               5. Class 4B: DLIF’s Claim
   6         Except for proceeds of DLIF Avoidance Actions which shall be distributed solely
   7 to Class 4A and 4B, to be shared with Class 3, DLIF’s pro rata share of funds remaining
   8 in the QSF following payment or reservation in full to Class 1, Class 2, and Class 4A
   9 Claims shall be calculated based upon the amount of the “DLIF Claim” as such term is
  10 defined in the Claim Stipulation and such amounts shall be paid to the holders of
  11 Allowed DLIF Investor Claims pursuant to the Rising Tide methodology after payment
  12 in full of all Allowed DLIF Administrative Claims until such claims are paid in full
  13 without interest, costs, or fees from the QSF as follows:
  14               a.     Claims Allowance: DLIF Investor Claims will be calculated on the
  15         basis of their Total Investment, which precludes claims for purported “profits,”
  16         “interest,” contractual default provisions, punitive damages, etc.
  17               b.     Distribution Methodology: Distributions will be made to DLIF
  18         Investors on a Rising Tide basis—that is, distributions will be made in an attempt
  19         to equalize the percentage of invested funds that are returned to each DLIF
  20         Investor without regard for whether those funds were returned by the perpetrators
  21         of the fraud pre-Receivership or paid under the Distribution Plan. This method
  22         provides for distributions to those investors who have yet to recover as much as all
  23         other investors. Investors who previously reached a recovery percentage
  24         exceeding the new minimum recovery percentage will not receive a distribution
  25         until additional funds become available for distribution to investors and such
  26         funds are sufficient enough to increase their recovery percentage to the levels of
  27         those investors that have already reached a higher recovery percentage. The
  28         calculations shall be made as follows:
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   1
   2 Step 1      Identify Aggregate Available (“A”). Aggregate Available is the ratable distribution on
                 the DLIF Claim as set forth in the Claims Stipulation contemplated based upon an
   3             assumed initial $150,000,000 aggregate distribution to Classes 3 and 4 under this Plan
                 ..
   4 Step 2      Allocate Aggregate Available between Class 3 and Class 4 pursuant to the terms of the
                 Claims Stipulation. With an assumed $150,000,000 initial distribution, the distribution
   5             to Class 3 would be $45,828,935 (“A1”) and the distribution to Class 4 would be
                 $104,171,065 (“A2” or “DLIF Estimated Aggregate Distribution”).
   6
       Step 3    Identify Total Invested (“B”). Total Invested (total pre-Receivership subscriptions)
   7             includes all cash subscriptions and non-cash transfers paid in for investors in Class 4
                 during the pre-Receivership time period.
   8
       Step 4    Identify Total Returned (“C”). Total Returned (total pre-Receivership distributions)
   9             includes all cash redemptions, cash distributions, non-cash transfers and non-cash
                 switches paid to investors in Class 4 during the pre-Receivership time period.
  10
       Step 5    Calculate Net Distribution Percentage (“D”) for Class 4 Claimants. Net Distribution
  11             Percentage represents, for investors in Class 4 each investor's Total Returned ("C")
                 amount divided by the Total Invested ("B") amount. The formula is D = C / B. This
  12             represents each investor’s pre-Receivership recovery percentage.
  13 Step 6      The next step requires the benefit of circular or iterative calculations in order to find the
                 equilibrium that sets a minimum recovery percentage for all investors in Class 4 such
  14             that the DLIF Estimated Aggregate Distribution amount can be distributed to only those
                 investors in Class 4 that have Net Distribution Percentage (or pre-distribution recovery
  15             percentages) below the minimum recovery percentage and results in those same
                 Underpaid Investors reaching the target minimum recovery percentage. In other words,
  16             this step identifies which investors in Class 4 should receive what portion of the DLIF
                 Estimated Aggregate Distribution such that lower paid investors are “caught up” by
  17             reaching a target minimum recovery percentage. The following iterative sub-steps are
                 required until an equilibrium is achieved between all calculations in this step:
  18
                 Determine Underpaid Investors (“E”): Underpaid Investors are those investors in Class
  19             4 that have a Net Distribution Percentage ("D") that is less than the Aggregate Pro Rata
                 Percentage ("H"). Underpaid investors in Class 4 will receive an allocation of the DLIF
  20             Estimated Aggregate Distribution equal to an amount that results in a post-distribution
                 recovery percentage that is equal to the Aggregate Pro Rata Percentage (“H”). In this
  21             case there are 771 Underpaid Investors in Class 4.
  22             Calculate Total Invested by Underpaid Investors (“F”). Total Invested by Underpaid
                 Investors represents the sum of the Total Invested amounts for each investor in Class 4
  23             that is determined to be an Underpaid Investor. In this case, the result is $419,131,817.
  24             Calculate Total Returned to Underpaid Investors (“G”). Total Returned to Underpaid
                 Investors represents the sum of the Total Returned amounts for each investor in Class 4
  25             that is determined to be an Underpaid Investor. In this case, the result is $23,781,472.
  26             Calculate the Aggregate Pro Rata Percentage (“H”). The Aggregate Pro Rata
                 Percentage is equal to the contemplated DLIF Estimated Aggregate Distribution of
  27             $104,171,065 plus Total Returned to Underpaid Investors ("G") divided by Total
                 Invested by Underpaid Investors ("F"). The formula is H = ( A + G ) / F. This
  28             represents the new minimum recovery percentage to be achieved for all Underpaid
                 Investors in Class 4. In this case, the result is 30.53% after running through a series of
                                                19
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   1               iterative calculations.

   2 Step 7        Calculate the Aggregate Pro Rata Distribution (“I”) to investors in Class 4. The
                   Aggregate Pro Rata Distribution is equal to Total Invested by Underpaid Investors ("F")
   3               multiplied by the Aggregate Pro Rata Percentage ("H"). The formula is I = F x H. This
                   represents the amount each Underpaid Investor in Class 4 should receive in total,
   4               between the pre-Receivership recoveries and the contemplated distribution, in order to
                   reach the minimum recovery percentage of 30.53% as calculated above.
   5
       Step 8      Calculate Underpaid Investor’s Allowed Distribution (“J”). For Investors in Class 4,
   6               Underpaid Investors’ Allowed Distribution amounts are equal to the Aggregate Pro Rata
                   Distribution ("I") minus Total Returned to Underpaid Investors (“G”). The formula is J
   7               = I – G. This amount represents for investors in Class 4 the Underpaid Investors’
                   portion of the Total Available (“A”) amount. Once these amounts are paid, all Investors
   8               in Class 4 will have reached at least a 30.53% recovery percentage.
   9               Calculate the Post-Distribution Recovery Percentage (“K”). The Post-Distribution
                   Recovery Percentage is equal to Total Returned (“C”) plus Underpaid Investor’s
  10               Allowed Distribution (“J”) divided by Total Invested (“B”). The formula is K = ( C + J )
                   / B. This represents the total recovery percentage for each investor after the
  11               contemplated initial $104,171,065 distribution to Investors in Class 4.
                   .
  12
  13
                   c.      Investor Accounts:
  14
                i. When a DLIF Investor holds an interest in multiple accounts—which the
  15
                   Receiver will determine from the books and records of the Receivership
  16
                   Entities by matching accounts to taxpayer identification numbers (“TIN”)—
  17
                   that DLIF Investor’s claims will be aggregated for purposes of calculating
  18
                   the claim and allowing a distribution. Such aggregation is equitable because
  19
                   it treats a DLIF Investor that held multiple accounts with different Pre-
  20
                   Receivership Returns the same as a DLIF Investor who held a single
  21
                   account.
  22
                ii. For those accounts where a single TIN is used but one account is designated
  23
                   as a “trust” account, a retirement account or is for a separate Person, and
  24
                   other account(s) as either a separate “trust” account, or account of another
  25
                   Person, the accounts will be treated as separate accounts and not be
  26
                   aggregated when the Receiver reasonably believes those separate accounts
  27
                   and associated claims represent separate interests. In such circumstance, the
  28
                                                20
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   1             separate but related accounts and associated claims will not be aggregated
   2             for purposes of calculating the claim and distribution amounts for those
   3             accounts.
   4          iii. For DLIF Investors who submitted a Proof of Claim that did not dispute the
   5             amount of their Total Investment or their Pre-Receivership Returns as
   6             reflected in Exhibit A to the Proof of Claim but instead disputed the claims
   7             allowance methodology or provided additional material, documentation, or
   8             information that did not dispute the total amount of their Total Investment
   9             or their Pre-Receivership Returns, their claims shall be deemed allowed on
  10             a Net Investment basis in Class 4B without further objection required by the
  11             Receiver.
  12          iv. Transferee Accounts that were funded by redemption amounts transferred
  13             from a Full Transferor Account will be allowed in the Net Investment
  14             amount of the Full Transferor Account Claim. The amount of any reported
  15             profits included in the non-cash transfer will be excluded from the claim
  16             amount of the Transferee Account.
  17          v. Transferee Accounts that were funded from redemption amounts transferred
  18             from a Partial Transferor Account will be allowed as follows: the portion
  19             of such non-cash transfer from the Partial Transferor Account that is
  20             deemed to include reported profits (based upon a pro rata allocation of
  21             interest and profits as identified in the Partial Transferor Account) will be
  22             excluded from the Allowed Claim of the Transferee Account. The amount
  23             of profits excluded from the Claim amount of the Transferee Account will
  24             not be deemed a distribution from the Transferor Account.
  25          vi. Any investors who originally invested in DLIF and later transferred their
  26             account to DLIFF are deemed DLIFF claimants and shall not to receive any
  27             distributions pursuant to this Distribution Plan.
  28
                                           21
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   1            vii.       The Receiver is not responsible for compliance with investors’
   2                 individual investment account rules and tax consequences.
   3                 d.    Late filed Claims: Claims filed after the Claims Bar Date will be
   4         allowed and paid on a pro rata basis pursuant to the Rising Tide methodology
   5         with the DLIF Investors to the extent that Receiver determines that they did not
   6         timely receive notice of the Claims Bar Date. The Receiver has been unable to
   7         make contact with just two potential DLIF Investors who may submit Late Filed
   8         Claims in the future. This Distribution Plan will include the claim amounts for
   9         these two claimants and will provide for a reserve from the distribution that would
  10         otherwise be paid to Class 4B for these claimants to make distribution if and when
  11         a claim is filed. If no such claims have been filed prior to the time of final
  12         distribution, then such reserved funds shall be released and included in the final
  13         distribution made to DLIF Investors holding Allowed Claims.
  14         E. Class 5: General Unsecured Creditor Claims
  15         Fifth, and to share pro rata with Allowed Class 6 and 7 Claims, but only after the
  16 payment or reservation in full of all holders of Class 1, 2, 3 and 4 Allowed Claims,
  17 holders of Allowed Creditor Claims shall be paid pro rata from the QSF, until paid in
  18 full. Current estimates are that holders of Allowed Creditor Claims will not receive a
  19 distribution.
  20         F. Class 6: Indemnity Claims
  21         To share pro rata with Allowed Class 5 and 7 Claims, but only after the payment
  22 or reservation in full of all holders of Class 1, 2, 3 and 4 Allowed Claims, holders of
  23 Allowed Indemnity Claims shall be paid pro rata from the QSF, until paid in full.
  24 Current estimates are that holders of Allowed Indemnity Claims will not receive a
  25 distribution. Additionally, the Receiver disputes each of the Indemnity Claims and
  26 anticipates filing objections, if necessary.
  27
  28
                                              22
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   1         G. Class 7: Counter-Party Claims:
   2         To share pro rata with Allowed Class 5 and 6 Claims, but only after the payment
   3 or reservation in full of all holders of Class 1, 2, 3 and 4 Allowed Claims, holders of
   4 Allowed Counter-Party Claims shall be paid pro rata from the QSF, until paid in full.
   5 Current estimates are that holders of Allowed Counter-Party Claims will not receive a
   6 distribution. Additionally, the Receiver disputes each of the Counter-Party Claims and
   7 anticipates objecting to each filed Counter-Party Claim, if necessary.
   8
   9      IV.   OBJECTIONS TO CLAIMS AND DISALLOWED CLAIMS
  10      A. Disallowed Claims.
  11         Disallowed Claims shall not receive any distribution under the Distribution Plan.
  12      B. Objections to Claims.
  13         The deadline for the Receiver to file objections to claims shall be 90 days from the
  14 date of entry of an order approving the Distribution Plan. For the avoidance of doubt,
  15 this deadline shall not apply with respect to any objection to a claim of an investor or
  16 claimant filed in the DLIFF Liquidation, which deadlines shall be set pursuant the
  17 requirements of the DLIFF Liquidation.
  18      C. Claims Objection Reservation Notice.
  19         The Receiver shall deliver any Claims Objection Reservation Notice he deems
  20 appropriate on or before the deadline to object to claims and, if practicable, prior to the
  21 date the Receiver commences making the First Interim Distribution. The Receiver shall
  22 attempt to meet and confer with any claimant to which he sends a Claims Objection
  23 Reservation Notice prior to filing a Claims Objection to try to resolve any objections in
  24 lieu of filing a Claims Objection.
  25         The Receiver shall reserve the full amount of any Disputed Claim, including for
  26 those claimants who receive a Claims Objection Reservation Notice, until such time as
  27 the Claim is either Allowed or Disallowed. If such claim is ultimately Allowed, the
  28 Receiver shall make a catch up interim distribution payment to any such claimant within
                                              23
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   1 14 days of allowance of such claim to make any payment that otherwise have been made
   2 in the First Interim Distribution.
   3
   4      V.      TAX CONSIDERATIONS AND MEANS OF EFFECTING
   5              DISTRIBUTIONS
   6      The Receivership Estate is treated as a QSF, and the QSF will be the entity from
   7 which the Receiver effectuates distributions on Allowed Claims. The Receiver
   8 incorporates by reference that motion and the Court’s order thereon.
   9           A. Identification of Claims
  10           The Court set a deadline of July 7, 2020, for Claimants and Administrative
  11 Claimants to submit a completed and signed Proof of Claim Form under penalty of
  12 perjury together with supporting documentation against one or more of the Receivership
  13 Entities. The Claims Bar Date has passed. For the avoidance of doubt, the terms of this
  14 Distribution Plan governing treatment of and objections to Claims shall not apply to any
  15 Claim filed against DLIFF.
  16                 1. Disputed Claims
  17           Unless otherwise ordered by the Court after notice and a hearing, the Receiver
  18 shall have the right to make and file objections to Claims if the parties are unable to
  19 resolve disputes about the Claim. The written objection shall include: (i) a detailed
  20 statement of the reasons for the objection, and (ii) copies of any document or other
  21 writing upon which the objection relies (“Disputed Claim”). Unless otherwise ordered
  22 by this Court, the response to the claim objection shall be filed with the Court and a copy
  23 served on the Receiver and his counsel, within thirty (30) calendar days of the date on
  24 which the written objection to the Claim was filed with the Court. The Receiver shall
  25 have thirty (30) calendar days to file and serve his reply.
  26                 2. Estimation of Claims
  27           The Receiver may at any time request the Court estimate any contingent,
  28 unliquidated, or Disputed Claim regardless of whether any objection to such Claim has
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   1 been filed and the Court will retain jurisdiction to estimate any Claim at any time during
   2 litigation concerning any objection to such Claim, including, without limitation, during
   3 the pendency of any appeal relating to any such objection. In the event that the Court
   4 estimates any contingent, unliquidated, or Disputed Claim, the amount so estimated shall
   5 constitute either the Allowed amount of such Claim or a maximum limitation on such
   6 Claim, as determined by the Court.
   7               3. Disallowance of Claims of Entities Liable to the Receivership
   8               Estate
   9         Except as otherwise ordered by the Court, in every instance, no holder of an
  10 otherwise Allowed Claim who is liable Avoidance Actions, other Third Party
  11 Claims, or any other obligation to the Receivership Estate shall receive any Plan
  12 Distribution until full payment to the Receiver of the liability.
  13         B. Distributions from the QSF
  14               1. Timing of QSF Distributions
  15         The Receiver shall distribute the QSF assets in accordance with the Court-
  16 approved Distribution Plan. The timing and amount of distributions, including
  17 interim distributions, shall be determined solely by the Receiver, as approved by the
  18 Court. The Receiver shall make a final distribution only after: (i) all Receivership
  19 and QSF assets have been fully administered; (ii) all Claims have been resolved by
  20 Final Order of the Court; and (iii) after approval of a final report and accounting.
  21         The QSF may be terminated upon the earliest of: (i) the QSF no longer
  22 satisfies the requirements under Treasury Regulation Section 1.468B-1; (ii) when the
  23 QSF no longer has any assets and will no longer receive any more transfers of assets;
  24 or (iii) a final order of this Court terminates the QSF.
  25               2. Cash Payments
  26         Payments made pursuant to the Distribution Plan shall be made by the
  27 Receiver in cash and by (i) checks drawn on or (ii) wire transfer from a domestic
  28 bank selected by the Receiver. Any cash distributions required under the Distribution
                                              25
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   1 Plan to a foreign Claimant may be made, at the option of the Receiver, by such
   2 means as are necessary or customary in a particular foreign jurisdiction.
   3               3. Interim Distributions/Reserves
   4         The Receiver will distribute interim cash payments from time to time, subject
   5 to the Receiver’s discretion and as further set forth in the QSF, when material
   6 amounts are available and as far as is reasonably practicable. The QSF will continue
   7 making such interim cash distributions until such time as the Receivership is closed
   8 and the Receiver is discharged.
   9         Prior to making an interim distribution, the Receiver shall hold cash reserves
  10 in relation to Disputed Claims, taking into account the classification and proposed
  11 treatment of claims. The amount of such cash reserves is to be determined, solely for
  12 the purposes of establishing reserves and for maximum distribution purposes, to be
  13 the lesser of (i) the asserted amount of the Disputed Claim, as set forth in the non-
  14 duplicative Proof of Claim, (ii) the amount, if any, established by the Court pursuant
  15 to a claims estimation process, or (iii) the amount otherwise agreed to by the
  16 Receiver in consultation with the holder of such Disputed Claim for distribution
  17 purposes. Further, the Receiver shall also estimate the professional, administrative,
  18 operational, and Third Party Claim expenses associated with fully administering the
  19 Receivership Estate and the QSF and retain appropriate reserves to cover those
  20 estimated expenses.
  21               4. No De Minimis Distributions Required
  22         The Receiver shall not be required to make a distribution to the holder of an
  23 Allowed Claim if the distribution on such Allowed Claim is in an amount less than
  24 $50.00.
  25               5. No Distributions Pending Allowance
  26         Notwithstanding any other provision of the Distribution Plan to the contrary,
  27 no payments or distributions of any kind or nature shall be made with respect to a
  28 Disputed Claim unless and until all objections to such Disputed Claim have been
                                             26
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   1 settled or withdrawn or have been determined by Final Order and the Disputed Claim
   2 has become an Allowed Claim.
   3               6. Distributions on Account of Disputed Claims Once They Are
   4               Allowed
   5         If a Disputed Claim becomes an Allowed Claim, the Receiver, consistent with
   6 the terms and conditions of the Distribution Plan and the QSF, shall be authorized to
   7 cause a distribution to be made on account of such Disputed Claim based on the
   8 amount as Allowed, as soon as reasonably practicable consistent with the terms and
   9 conditions for making distributions under the Distribution Plan and the QSF.
  10               7. Disposition of Unclaimed Property
  11         Any holder of an Allowed Claim who has not negotiated (cashed) its
  12 distribution check on or before six (6) months following the date of distribution, at
  13 the discretion of the Receiver, shall be deemed disallowed and forfeited as to such
  14 distribution and all further distributions on account of such Allowed Claim. In such
  15 cases, any cash that otherwise would have been distributed on account of such an
  16 Allowed Claim shall become the property of the QSF free of any restrictions thereon
  17 and notwithstanding any federal or state escheatment laws to the contrary and such
  18 funds shall be available for distribution to other holders of Allowed Claims.
  19         C. Binding Effect of Distribution Plan
  20         On and after Court approval, the provisions of the Distribution Plan shall, and
  21 shall be deemed to, bind each holder of a Claim, and each of their respective
  22 successors, heirs, legal representatives, and assigns, whether or not the holder has
  23 filed a Proof of Claim or objected to the Distribution Plan.
  24      VI.   MISCELLANEOUS PROVISIONS
  25         A. Jurisdiction of Court
  26         This Court shall have sole and exclusive jurisdiction to interpret and enforce
  27 this Plan. Allowed Claims shall be subject to the jurisdiction of the District Court for
  28 the Central District of California. The Court shall have and retain exclusive
                                             27
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   1 jurisdiction, other than with respect to matters arising in the DLIFF Liquidation
   2 subject to the jurisdiction of the Cayman Court, of matters arising out of, and related
   3 to the Receivership and the Distribution Plan for, among other things, the following
   4 purposes:
   5     1. To resolve the Receiver pursuit of Avoidance Actions, and Third Party Claims
   6        suitable for resolution by the Court.

   7     2. To consider any amendments or modifications of the Distribution Plan or the
   8        QSF requested by the Receiver.

   9     3. Ensure that distributions to holders of Allowed Claims are accomplished
            pursuant to the provisions of this Distribution Plan and the QSF.
  10
  11     4. To hear and determine all objections or other disputes with respect to Claims.

  12     5. To protect the property of the Receivership Estate and the QSF from adverse
            claims or interference inconsistent with the Distribution Plan or the QSF,
  13        including the issuance of injunctions or other such action as may be necessary
  14        or appropriate to restrain interference with the implementation or enforcement
            of the Distribution Plan or the QSF.
  15
  16     6. To cure any defect or omission, or reconcile any inconsistency in the
            Distribution Plan, the QSF, or any order of the Court.
  17
         7. To issue such orders in aid of execution of the Distribution Plan or the QSF as
  18
            may be necessary and appropriate.
  19
         8. To hear and determine all applications for compensation and reimbursement of
  20        expenses of professionals related to the Receivership, the Distribution Plan,
  21        and the QSF, other than professionals employed by the Cayman JOL.

  22     9. To hear and determine all litigation, causes of action and all controversies,
            suits and disputes that may arise in connection with the interpretation,
  23
            implementation, or enforcement of this Distribution Plan, the QSF, and any
  24        settlements or compromises reflected herein.
  25     10.To recover all assets of the Receivership Estate, wherever located, other than
  26        assets of DLIFF which are subject to the DLIFF Liquidation.
  27     11.To enter a Final Order closing the Federal Receivership Case and discharging
            the Receiver
  28
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   1     12.To hear and determine all litigation, causes of action and all controversies,
   2        suits, and disputes that may arise in connection with any action sought to be
            taken against the Receiver or his professionals.
   3
   4         B. Injunction
   5         Except as otherwise provided in the Distribution Plan or in any document,
   6 instrument, release, or other agreement entered into in connection with the
   7 Distribution Plan or approved by order of the Court, the Final Order approving the
   8 Distribution Plan shall provide, among other things, that all persons or entities who
   9 have held, hold, or may hold Claims against a Receivership Entities, , are
  10 permanently enjoined from taking any of the following actions against the
  11 Receivership Estate or the QSF:
  12         (i) commencing or continuing, in any manner or in any place, any action or
  13 other proceeding to enforce, attach, collect, or recover in any manner any judgment,
  14 award, decree, or order;
  15         (ii) creating, perfecting, or enforcing any Lien or encumbrance;
  16         (iii) asserting a setoff or right of subrogation of any kind against any debt,
  17 liability, or obligation due to the Receivership Estate or the QSF; and
  18
             (iv) commencing or continuing, in any manner or in any place, any action that
  19
     does not comply with or is inconsistent with the provisions of the Distribution Plan;
  20
     provided, however, that nothing contained herein shall preclude such persons or
  21
     entities from exercising their rights pursuant to and consistent with the terms of the
  22
     Distribution Plan and the QSF and the contracts, instruments, releases, indentures,
  23
     and other agreements or documents delivered under or in connection with the
  24
     Distribution Plan, the QSF, or approved by order of the Court.
  25
             C. Severability
  26
             If any term or provision of the Distribution Plan or the QSF is determined by
  27
     the Court to be invalid, void or unenforceable, the Court will have the power to alter
  28
     and interpret such term or provision to make it valid or enforceable to the maximum
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   1 extent practicable, consistent with the original purpose of the term or provision held
   2 to be invalid, void or unenforceable, and such term or provision will then be
   3 applicable as altered or interpreted. Notwithstanding any such holding, alteration or
   4 interpretation, the remainder of the terms and provisions of the Distribution Plan or
   5 QSF, as the case may be, will remain in full force and effect and will in no way be
   6 affected, impaired or invalidated by such holding, alteration, or interpretation.
   7         D. Dissolution of Receivership Entities
   8         As part of the Distribution Plan, the Receivership Entities, other than DLIFF,
   9 will be dissolved. The Receiver and his staff and advisors can dissolve any of the
  10 Receivership Entities other than DLIFF. Such dissolutions will include the filing of
  11 articles of dissolution where necessary, compliance with applicable state and local
  12 laws and procedures related to entity dissolution, and the filing of final tax returns.
  13         Investors in DLIF received their final K1s for the year 2019, DLIF will be
  14 dissolved automatically effective as of December 31, 2019 without the need for any
  15 corporate action, without the need for any corporate filings, and without the need for
  16 any other or further actions to be taken by or on behalf of DLIF or any other person
  17 or any payments to be made in connection therewith; provided, however, that the
  18 Receiver, on behalf of DLIF, may in its discretion file any certificates of cancellation
  19 as may be appropriate in connection with dissolution of DLIF.
  20         E. Reports to the Court and to Claimants
  21      The Receiver shall file a written report with the Court no less than every 120 days
  22 regarding the status of efforts to implement this Distribution Plan. The Receiver
  23 shall post a copy of his written report, which may be part of the quarterly report, on
  24 the Receiver’s website in order to provide notice to claimants.
  25 (https://case.stretto.com/dli).
  26         F. Adjustments and Amendments
  27      To carry out the purposes of the Distribution Plan, the Receiver may make
  28 adjustments to the Distribution Plan, consistent with the purposes and intent of the
                                              30
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                                   #:9327



   1 Distribution Plan, subject to approval of the Court. The Court retains jurisdiction
   2 over this matter for the purpose of ruling on any such proposed amendments and for
   3 any and all other matters that may arise under or relate to the Distribution Plan.
   4         G. Possible Avoidance Actions and Retained Claims
   5         All Causes of Action and Third Party Claims, including possible Avoidance
   6 Actions, are to be preserved by and for the Receivership Estate. The Receiver for the
   7 Receivership Estate expressly preserves such Causes of Action for later adjudication,
   8 and nothing herein waives the right to bring such Causes of Action unless the Cause
   9 of Action has been settled in this Distribution Plan.
  10         H. Notice
  11 All notices, requests, and demands to or upon the Receiver to be effective shall be in
  12 writing (including, without limitation) addressed as follows:
  13         Bradley D. Sharp, Receiver
  14         Development Specialists, Inc.
             333 S Grand Ave
  15         Suite 4100
  16         Los Angeles, CA 90071-1544
             bsharp@DSIConsulting.com
  17
  18         with copy to:

  19         Kathy Bazoian Phelps
  20         Diamond McCarthy LLP
             1999 Avenue of the Stars, Ste 1100
  21         Los Angeles CA 90067
  22         kphelps@diamondmccarthy.com

  23
             I. Completion of Plan
  24
             When the Receiver has concluded his duties and obligations under the
  25
       Receivership Order, the Receiver may apply to the Court for an Order terminating
  26
       the Receivership. Any Order terminating the Receivership shall provide for the
  27
       Receiver to file a final accounting providing schedules identifying: (i) all assets, their
  28
       source and value; and (ii) all liabilities, the nature and amount of such claims.
                                               31
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   1        The Receiver shall preserve all records and documents obtained during the
   2 Receivership until a date that is 1 year following the close of the Receivership.
   3         To the extent that it is not expressly superseded by, or clearly contrary to, the
   4 provisions of this Distribution Plan, the Receiver Order shall remain in full force and
   5 effect through termination of the Receivership.
   6
   7 DATED: November 19, 2020              DIAMOND McCARTHY LLP
   8
                                           By: /s/ Kathy Bazoian Phelps
   9
                                               Kathy Bazoian Phelps, Attorneys for
  10                                           Bradley D. Sharp
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              Exhibit 3
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                                   #:9330
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                                   #:9331
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                                   #:9332
Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 162 of 220 Page ID
                                   #:9333
Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 163 of 220 Page ID
                                   #:9334
Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 164 of 220 Page ID
                                   #:9335
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                                   #:9336




              Exhibit 4
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 166 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9337                                                              DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                     on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M         Net Claim             $104.2M           Net Claim             $104.2M             Net Claim         Method with Maximum
 Generic ID   Investor Name           Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
     1        Confidential         $           41,727      22.52%        $           65,918        35.57%        $           46,356           25.02%      Last Statement Method
     2        Confidential                     61,401      22.52%                    78,742        28.88%                          ‐               ‐      Last Statement Method
     3        Confidential                     14,534      22.52%                    22,405        34.71%                    19,704           30.53%      Last Statement Method
     4        Confidential                     31,795      22.52%                    47,976        33.98%                    43,103           30.53%      Last Statement Method
     5        Confidential                     22,686      22.52%                    43,539        43.22%                          ‐               ‐      Last Statement Method
     6        Confidential                     51,880      22.52%                    71,204        30.91%                    59,912           26.00%      Last Statement Method
     7        Confidential                     40,158      22.52%                    61,487        34.48%                    54,442           30.53%      Last Statement Method
     8        Confidential                     22,519      22.52%                    34,902        34.90%                    30,528           30.53%      Last Statement Method
     9        Confidential                     51,117      22.52%                    77,470        34.13%                    27,615           12.17%      Last Statement Method
    10        Confidential                     12,894      22.52%                    34,812        60.80%                          ‐               ‐      Last Statement Method
    11        Confidential                     12,385      22.52%                    22,120        40.22%                          ‐               ‐      Last Statement Method
    12        Confidential                     27,111      22.52%                    53,002        44.02%                          ‐               ‐      Last Statement Method
    13        Confidential                     49,766      22.52%                    61,347        27.76%                    67,467           30.53%        Rising Tide Method
    14        Confidential                      5,630      22.52%                     9,852        39.41%                     7,632           30.53%      Last Statement Method
    16        Confidential                     19,140      22.52%                    35,525        41.80%                          ‐               ‐      Last Statement Method
    17        Confidential                     24,745      22.52%                    37,266        33.91%                          ‐               ‐      Last Statement Method
    18        Confidential                   109,252       22.52%                  148,333         30.57%                  148,111            30.53%      Last Statement Method
    19        Confidential                          ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    20        Confidential                          ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    21        Confidential                     10,449      22.52%                    15,443        33.28%                    14,165           30.53%      Last Statement Method
    22        Confidential                     10,449      22.52%                    15,443        33.28%                    14,165           30.53%      Last Statement Method
    23        Confidential                          ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    24        Confidential                     14,079      22.52%                    21,278        34.03%                    19,086           30.53%      Last Statement Method
    26        Confidential                     11,358      22.52%                    26,109        51.76%                          ‐               ‐      Last Statement Method
    27        Confidential                     72,455      22.52%                    72,395        22.50%                    78,603           24.43%        Rising Tide Method
    28        Confidential                      8,670      22.52%                    19,327        50.20%                          ‐               ‐      Last Statement Method
    29        Confidential                          ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    30        Confidential                     19,715      22.52%                    29,376        33.55%                    26,727           30.53%      Last Statement Method
    31        Confidential                          ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    32        Confidential                          ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    33        Confidential                   140,337       22.52%                  192,593         30.90%                  136,898            21.97%      Last Statement Method
    34        Confidential                          ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 167 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9338                                                           DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim      Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]     Recovery for Investor [6]
    35        Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
    36        Confidential                    20,878      22.52%                    29,940        32.29%                    28,304           30.53%   Last Statement Method
    37        Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
    38        Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
    39        Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
    40        Confidential                    27,022      22.52%                    37,343        31.12%                    36,634           30.53%   Last Statement Method
    41        Confidential                         ‐           ‐                    17,357           NM                           ‐               ‐   Last Statement Method
    42        Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
    43        Confidential                    67,556      22.52%                    79,639        26.55%                    91,584           30.53%     Rising Tide Method
    44        Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
    45        Confidential                  270,224       22.52%                  276,258         23.02%                  366,336            30.53%     Rising Tide Method
    46        Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
    47        Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
    48        Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
    49        Confidential                  135,177       22.52%                  211,501         35.23%                          ‐               ‐   Last Statement Method
    50        Confidential                    24,609      22.52%                    34,812        31.86%                          ‐               ‐   Last Statement Method
    51        Confidential                    16,889      22.52%                    23,642        31.52%                    22,896           30.53%   Last Statement Method
    52        Confidential                    38,057      22.52%                    54,842        32.45%                    30,056           17.78%   Last Statement Method
    53        Confidential                    85,571      22.52%                  103,838         27.33%                  116,006            30.53%     Rising Tide Method
    54        Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
    55        Confidential                    78,590      22.52%                    94,473        27.07%                    46,797           13.41%   Last Statement Method
    56        Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
    58        Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
    59        Confidential                    52,126      22.52%                    72,278        31.22%                    70,665           30.53%   Last Statement Method
    60        Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
    61        Confidential                    22,519      22.52%                    31,225        31.22%                    30,528           30.53%   Last Statement Method
    62        Confidential                    32,287      22.52%                    41,418        28.89%                    43,770           30.53%     Rising Tide Method
    63        Confidential                         ‐           ‐                    18,887           NM                           ‐               ‐   Last Statement Method
    64        Confidential                    42,785      22.52%                    72,171        37.98%                          ‐               ‐   Last Statement Method
    65        Confidential                    57,172      22.52%                  103,412         40.73%                          ‐               ‐   Last Statement Method
    66        Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
    67        Confidential                  144,119       22.52%                  195,953         30.62%                  195,379            30.53%   Last Statement Method
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 168 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9339                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
     68       Confidential                    22,519      22.52%                    31,225        31.22%                    30,528           30.53%      Last Statement Method
     69       Confidential                     8,315      22.52%                    22,314        60.43%                          ‐               ‐      Last Statement Method
     70       Confidential                    85,405      22.52%                    87,834        23.16%                   115,782           30.53%        Rising Tide Method
     71       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
     72       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
     73       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
     74       Confidential                 1,103,414      22.52%                 1,416,020        28.90%                 1,009,568           20.60%      Last Statement Method
     75       Confidential                   400,832      22.52%                   559,038        31.41%                          ‐               ‐      Last Statement Method
     76       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
     77       Confidential                    32,524      22.52%                    47,493        32.88%                    26,725           18.50%      Last Statement Method
     78       Confidential                    78,815      22.52%                    93,304        26.66%                   106,848           30.53%        Rising Tide Method
     79       Confidential                    32,956      22.52%                    52,219        35.68%                          ‐               ‐      Last Statement Method
     80       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
     81       Confidential                    45,037      22.52%                    60,496        30.25%                    61,056           30.53%        Rising Tide Method
     82       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
     83       Confidential                    15,298      22.52%                    24,163        35.57%                          ‐               ‐      Last Statement Method
     84       Confidential                    22,519      22.52%                    30,559        30.56%                    30,528           30.53%      Last Statement Method
     85       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
     86       Confidential                    46,388      22.52%                    73,209        35.54%                          ‐               ‐      Last Statement Method
     87       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
     88       Confidential                    15,946      22.52%                    17,406        24.58%                       647            0.91%      Last Statement Method
     90       Confidential                   145,020      22.52%                   154,710        24.02%                   196,600           30.53%        Rising Tide Method
     91       Confidential                   349,039      22.52%                   441,210        28.47%                   473,184           30.53%        Rising Tide Method
     92       Confidential                    56,297      22.52%                    75,620        30.25%                    76,320           30.53%        Rising Tide Method
     94       Confidential                    51,343      22.52%                    60,345        26.47%                          ‐               ‐      Last Statement Method
     95       Confidential                    52,374      22.52%                    90,072        38.73%                          ‐               ‐      Last Statement Method
     96       Confidential                    54,215      22.52%                    63,555        26.40%                    67,075           27.86%        Rising Tide Method
     97       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
     98       Confidential                   225,187      22.52%                   280,125        28.01%                   305,280           30.53%        Rising Tide Method
     99       Confidential                    47,594      22.52%                    60,922        28.82%                          ‐               ‐      Last Statement Method
    100       Confidential                    22,519      22.52%                    29,935        29.93%                    30,528           30.53%        Rising Tide Method
    101       Confidential                    22,519      22.52%                    29,935        29.93%                    30,528           30.53%        Rising Tide Method
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Direct Lending Income Fund, L.P.
                                                                                         #:9340                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
    102       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    103       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    104       Confidential                   731,406      22.52%                   967,623        29.79%                   580,970           17.89%      Last Statement Method
    105       Confidential                 1,601,302      22.52%                 1,931,830        27.17%                 1,823,486           25.64%      Last Statement Method
    106       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    107       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    108       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    109       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    112       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    113       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    114       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    116       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    117       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    118       Confidential                   202,668      22.52%                   193,575        21.51%                   274,752           30.53%        Rising Tide Method
    119       Confidential                    67,556      22.52%                    82,992        27.66%                    91,584           30.53%        Rising Tide Method
    120       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    121       Confidential                     5,630      22.52%                     7,455        29.82%                     7,632           30.53%        Rising Tide Method
    122       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    123       Confidential                    14,187      22.52%                    17,229        27.35%                    19,233           30.53%        Rising Tide Method
    124       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    125       Confidential                   180,149      22.52%                   207,767        25.97%                   244,224           30.53%        Rising Tide Method
    126       Confidential                    22,519      22.52%                    28,688        28.69%                    30,528           30.53%        Rising Tide Method
    127       Confidential                    22,519      22.52%                    28,389        28.39%                    30,528           30.53%        Rising Tide Method
    128       Confidential                   900,746      22.52%                   985,615        24.64%                 1,221,120           30.53%        Rising Tide Method
    129       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    130       Confidential                    36,822      22.52%                    43,167        26.40%                          ‐               ‐      Last Statement Method
    131       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    132       Confidential                    22,519      22.52%                    27,094        27.09%                    30,528           30.53%        Rising Tide Method
    133       Confidential                         ‐           ‐                    19,053           NM                           ‐               ‐      Last Statement Method
    134       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    136       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    137       Confidential                    86,922      22.52%                    85,025        22.03%                   117,838           30.53%        Rising Tide Method
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 170 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9341                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
    139       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    140       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    141       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    142       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    143       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    144       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    145       Confidential                    49,331      22.52%                    58,480        26.70%                     4,398            2.01%      Last Statement Method
    146       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    148       Confidential                    61,926      22.52%                    67,534        24.56%                    83,952           30.53%        Rising Tide Method
    149       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    150       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    151       Confidential                    28,148      22.52%                    35,116        28.09%                    38,160           30.53%        Rising Tide Method
    152       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    153       Confidential                    89,849      22.52%                  100,975         25.31%                  121,807            30.53%        Rising Tide Method
    154       Confidential                    44,465      22.52%                    59,181        29.97%                          ‐               ‐      Last Statement Method
    155       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    156       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    157       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    158       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    159       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    160       Confidential                    22,519      22.52%                    26,581        26.58%                    30,528           30.53%        Rising Tide Method
    161       Confidential                  675,560       22.52%                  701,849         23.39%                  915,840            30.53%        Rising Tide Method
    162       Confidential                    78,027      22.52%                    88,198        25.45%                  105,780            30.53%        Rising Tide Method
    163       Confidential                    56,297      22.52%                    66,412        26.56%                    76,320           30.53%        Rising Tide Method
    164       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    165       Confidential                         ‐           ‐                    36,334           NM                           ‐               ‐      Last Statement Method
    166       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    167       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    168       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    170       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    171       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    172       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
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Direct Lending Income Fund, L.P.
                                                                                         #:9342                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
    173       Confidential                    22,519      22.52%                    26,323        26.32%                    30,528           30.53%        Rising Tide Method
    174       Confidential                    52,728      22.52%                    70,216        29.99%                          ‐               ‐      Last Statement Method
    175       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    176       Confidential                  506,670       22.52%                  486,279         21.61%                  686,880            30.53%        Rising Tide Method
    177       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    178       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    179       Confidential                    78,662      22.52%                    88,353        25.29%                     1,961            0.56%      Last Statement Method
    180       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    182       Confidential                  112,593       22.52%                  131,614         26.32%                  152,640            30.53%        Rising Tide Method
    183       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    184       Confidential                    15,337      22.52%                    19,639        28.83%                          ‐               ‐      Last Statement Method
    185       Confidential                     3,479      22.52%                    17,276       111.83%                          ‐               ‐      Last Statement Method
    186       Confidential                    33,778      22.52%                    39,096        26.06%                    45,792           30.53%        Rising Tide Method
    187       Confidential                    28,148      22.52%                    48,402        38.72%                          ‐               ‐      Last Statement Method
    188       Confidential                  101,334       22.52%                  110,999         24.67%                  137,376            30.53%        Rising Tide Method
    189       Confidential                         ‐           ‐                    17,406           NM                           ‐               ‐      Last Statement Method
    190       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    191       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    192       Confidential                    52,471      22.52%                    60,430        25.93%                    21,947            9.42%      Last Statement Method
    193       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    195       Confidential                  413,217       22.52%                  406,622         22.16%                  560,189            30.53%        Rising Tide Method
    196       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    197       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    198       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    199       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    200       Confidential                    33,778      22.52%                    39,096        26.06%                    45,792           30.53%        Rising Tide Method
    201       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    202       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    203       Confidential                    21,868      22.52%                    26,109        26.89%                          ‐               ‐      Last Statement Method
    204       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    205       Confidential                  225,187       22.52%                  260,642         26.06%                  305,280            30.53%        Rising Tide Method
    206       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 172 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9343                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
    208       Confidential                         ‐           ‐                    68,153           NM                           ‐               ‐      Last Statement Method
    209       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    210       Confidential                    57,929      22.52%                    76,163        29.61%                          ‐               ‐      Last Statement Method
    211       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    212       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    213       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    214       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    216       Confidential                  337,780       22.52%                  387,047         25.80%                  457,920            30.53%        Rising Tide Method
    217       Confidential                    67,556      22.52%                    66,661        22.22%                    91,584           30.53%        Rising Tide Method
    218       Confidential                  112,593       22.52%                  127,790         25.56%                  152,640            30.53%        Rising Tide Method
    219       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    220       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    221       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    222       Confidential                    60,800      22.52%                    58,774        21.77%                    82,426           30.53%        Rising Tide Method
    223       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    224       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    225       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    226       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    227       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    228       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    229       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    230       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    231       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    232       Confidential                    50,394      22.52%                    54,990        24.57%                    15,372            6.87%      Last Statement Method
    233       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    234       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    235       Confidential                    10,156      22.52%                    10,359        22.97%                    13,768           30.53%        Rising Tide Method
    236       Confidential                    66,067      22.52%                    57,804        19.70%                    17,778            6.06%         $In/$Out Method
    237       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    238       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    239       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    240       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 173 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9344                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
    241       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    242       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    243       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    244       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    245       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    246       Confidential                   236,744      22.52%                   263,754        25.09%                     9,242            0.88%      Last Statement Method
    247       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    248       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    249       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    250       Confidential                    45,037      22.52%                    49,039        24.52%                    61,056           30.53%        Rising Tide Method
    251       Confidential                    78,815      22.52%                    89,442        25.55%                   106,848           30.53%        Rising Tide Method
    252       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    253       Confidential                 1,459,911      22.52%                 1,596,859        24.63%                 1,620,077           24.99%        Rising Tide Method
    254       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    256       Confidential                 2,178,731      22.52%                 1,785,674        18.46%                 2,728,026           28.20%        Rising Tide Method
    257       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    259       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    260       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    261       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    262       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    263       Confidential                         ‐           ‐                    67,447           NM                           ‐               ‐      Last Statement Method
    264       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    265       Confidential                    78,815      22.52%                    78,263        22.36%                   106,848           30.53%        Rising Tide Method
    266       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    267       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    269       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    270       Confidential                   119,799      22.52%                   145,128        27.28%                          ‐               ‐      Last Statement Method
    271       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    272       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    273       Confidential                    14,999      22.52%                    17,406        26.13%                          ‐               ‐      Last Statement Method
    274       Confidential                    20,267      22.52%                    20,640        22.93%                    27,475           30.53%        Rising Tide Method
    275       Confidential                    22,519      22.52%                    25,076        25.08%                    30,528           30.53%        Rising Tide Method
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 174 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9345                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
    276       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    277       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    278       Confidential                    56,297      22.52%                    63,282        25.31%                    76,320           30.53%        Rising Tide Method
    279       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    280       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    281       Confidential                    57,648      22.52%                    64,801        25.31%                    78,152           30.53%        Rising Tide Method
    282       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    283       Confidential                    82,017      22.52%                    92,195        25.31%                  111,189            30.53%        Rising Tide Method
    284       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    286       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    287       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    288       Confidential                    45,037      22.52%                    46,806        23.40%                    61,056           30.53%        Rising Tide Method
    289       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    290       Confidential                    22,519      22.52%                    26,395        26.39%                    30,528           30.53%        Rising Tide Method
    291       Confidential                    39,408      22.52%                    93,212        53.26%                          ‐               ‐      Last Statement Method
    292       Confidential                    39,430      22.52%                    49,908        28.50%                          ‐               ‐      Last Statement Method
    293       Confidential                    20,267      22.52%                    33,957        37.73%                          ‐               ‐      Last Statement Method
    294       Confidential                    21,869      22.52%                    26,090        26.86%                    13,751           14.16%      Last Statement Method
    295       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    296       Confidential                    22,039      22.52%                    26,618        27.20%                          ‐               ‐      Last Statement Method
    297       Confidential                    33,734      22.52%                    63,239        42.21%                          ‐               ‐      Last Statement Method
    298       Confidential                  144,739       22.52%                  179,152         27.87%                          ‐               ‐      Last Statement Method
    299       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    300       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    301       Confidential                    67,556      22.52%                    71,665        23.89%                    91,584           30.53%        Rising Tide Method
    302       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    303       Confidential                  315,261       22.52%                  485,923         34.71%                          ‐               ‐      Last Statement Method
    304       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    305       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    306       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    307       Confidential                    35,692      22.52%                    33,883        21.38%                    48,387           30.53%        Rising Tide Method
    308       Confidential                    22,519      22.52%                    25,076        25.08%                    30,528           30.53%        Rising Tide Method
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 175 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9346                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
    309       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    310       Confidential                  157,631       22.52%                  135,427         19.35%                  213,696            30.53%        Rising Tide Method
    311       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    312       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    313       Confidential                    22,519      22.52%                    25,076        25.08%                    30,528           30.53%        Rising Tide Method
    314       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    316       Confidential                    38,282      22.52%                    40,670        23.92%                    51,898           30.53%        Rising Tide Method
    317       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    318       Confidential                    38,126      22.52%                    49,608        29.30%                          ‐               ‐      Last Statement Method
    319       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    320       Confidential                    67,556      22.52%                    67,557        22.52%                    91,584           30.53%        Rising Tide Method
    321       Confidential                  337,780       22.52%                  376,135         25.08%                  457,920            30.53%        Rising Tide Method
    322       Confidential                    31,526      22.52%                    35,106        25.08%                    42,739           30.53%        Rising Tide Method
    323       Confidential                    52,468      22.52%                    53,211        22.84%                    71,130           30.53%        Rising Tide Method
    324       Confidential                    95,704      22.52%                  100,658         23.68%                  129,744            30.53%        Rising Tide Method
    325       Confidential                  450,373       22.52%                  487,759         24.39%                  610,560            30.53%        Rising Tide Method
    326       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    327       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    328       Confidential                  123,177       22.52%                  134,454         24.58%                  166,988            30.53%        Rising Tide Method
    329       Confidential                    33,778      22.52%                    37,613        25.08%                    45,792           30.53%        Rising Tide Method
    330       Confidential                    27,022      22.52%                    29,512        24.59%                    36,634           30.53%        Rising Tide Method
    331       Confidential                  112,593       22.52%                  119,674         23.93%                  152,640            30.53%        Rising Tide Method
    332       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    333       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    334       Confidential                    65,015      22.52%                    81,964        28.39%                          ‐               ‐      Last Statement Method
    335       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    336       Confidential                  104,712       22.52%                  110,217         23.70%                  141,955            30.53%        Rising Tide Method
    337       Confidential                    22,519      22.52%                    24,840        24.84%                    30,528           30.53%        Rising Tide Method
    338       Confidential                  242,356       22.52%                  362,736         33.70%                          ‐               ‐      Last Statement Method
    339       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    340       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    341       Confidential                    56,297      22.52%                    60,136        24.05%                    76,320           30.53%        Rising Tide Method
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 176 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9347                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
    342       Confidential                    45,003      22.52%                    47,145        23.59%                    61,010           30.53%        Rising Tide Method
    343       Confidential                    13,745      22.52%                    19,212        31.48%                          ‐               ‐      Last Statement Method
    344       Confidential                  447,386       22.52%                  522,186         26.28%                          ‐               ‐      Last Statement Method
    345       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    346       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    347       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    348       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    349       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    350       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    351       Confidential                    93,452      22.52%                  101,072         24.35%                  126,691            30.53%        Rising Tide Method
    352       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    353       Confidential                    90,075      22.52%                    97,651        24.41%                  122,112            30.53%        Rising Tide Method
    354       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    355       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    356       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    357       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    359       Confidential                    16,396      22.52%                    20,887        28.69%                          ‐               ‐      Last Statement Method
    360       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    361       Confidential                    84,445      22.52%                    92,226        24.59%                  114,480            30.53%        Rising Tide Method
    362       Confidential                  572,935       22.52%                  640,930         25.19%                  460,107            18.08%      Last Statement Method
    363       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    364       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    366       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    367       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    368       Confidential                  336,173       22.52%                  337,064         22.58%                  455,741            30.53%        Rising Tide Method
    369       Confidential                  126,104       22.52%                  136,459         24.37%                  170,957            30.53%        Rising Tide Method
    370       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    371       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    372       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    373       Confidential                    19,799      22.52%                    22,351        25.42%                    17,060           19.40%      Last Statement Method
    374       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    375       Confidential                    46,163      22.52%                    50,588        24.68%                    62,582           30.53%        Rising Tide Method
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 177 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9348                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
    376       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    378       Confidential                  213,927       22.52%                  237,199         24.97%                  290,016            30.53%        Rising Tide Method
    379       Confidential                    85,571      22.52%                    87,393        23.00%                  102,112            26.87%        Rising Tide Method
    380       Confidential                    25,559      22.52%                    26,816        23.63%                    26,660           23.49%      Last Statement Method
    381       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    382       Confidential                    56,297      22.52%                    60,814        24.33%                    76,320           30.53%        Rising Tide Method
    383       Confidential                    92,676      22.52%                    88,922        21.61%                    95,453           23.19%        Rising Tide Method
    384       Confidential                    56,297      22.52%                    59,820        23.93%                    76,320           30.53%        Rising Tide Method
    385       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    386       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    387       Confidential                  608,004       22.52%                  610,015         22.59%                  824,256            30.53%        Rising Tide Method
    389       Confidential                    28,835      22.52%                    34,247        26.75%                          ‐               ‐      Last Statement Method
    390       Confidential                    40,534      22.52%                    44,269        24.59%                    54,950           30.53%        Rising Tide Method
    391       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    392       Confidential                    78,140      22.52%                    82,488        23.77%                  105,932            30.53%        Rising Tide Method
    393       Confidential                    22,082      22.52%                    25,015        25.51%                    14,693           14.98%      Last Statement Method
    394       Confidential                    52,243      22.52%                    54,668        23.56%                    70,825           30.53%        Rising Tide Method
    395       Confidential                    65,304      22.52%                    67,667        23.33%                    88,531           30.53%        Rising Tide Method
    396       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    397       Confidential                  239,461       22.52%                  269,771         25.37%                  160,251            15.07%      Last Statement Method
    398       Confidential                    29,274      22.52%                    31,390        24.15%                    39,686           30.53%        Rising Tide Method
    399       Confidential                    36,030      22.52%                    38,186        23.87%                    48,845           30.53%        Rising Tide Method
    400       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    401       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    402       Confidential                    60,056      22.52%                    69,625        26.11%                          ‐               ‐      Last Statement Method
    403       Confidential                    60,056      22.52%                    69,625        26.11%                          ‐               ‐      Last Statement Method
    404       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    405       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    406       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    407       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    408       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    409       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 178 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9349                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
    410       Confidential                   110,757      22.52%                   139,250        28.31%                          ‐               ‐      Last Statement Method
    411       Confidential                    89,509      22.52%                   104,437        26.27%                          ‐               ‐      Last Statement Method
    412       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    413       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    414       Confidential                    22,293      22.52%                    24,147        24.39%                    29,528           29.83%        Rising Tide Method
    415       Confidential                    46,614      22.52%                    49,266        23.80%                    63,193           30.53%        Rising Tide Method
    416       Confidential                    41,434      22.52%                    42,679        23.19%                    56,172           30.53%        Rising Tide Method
    417       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    418       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    419       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    420       Confidential                    40,853      22.52%                    43,516        23.99%                     7,739            4.27%      Last Statement Method
    421       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    422       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    423       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    424       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    425       Confidential                    34,904      22.52%                    37,759        24.36%                    47,318           30.53%        Rising Tide Method
    426       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    427       Confidential                    22,519      22.52%                    24,360        24.36%                    30,528           30.53%        Rising Tide Method
    428       Confidential                    58,549      22.52%                    55,545        21.36%                    79,373           30.53%        Rising Tide Method
    429       Confidential                   152,001      22.52%                   151,273        22.41%                    67,120            9.94%         $In/$Out Method
    430       Confidential                 1,069,636      22.52%                 1,252,599        26.37%                          ‐               ‐      Last Statement Method
    431       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    432       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    433       Confidential                   225,187      22.52%                   235,070        23.51%                  305,280            30.53%        Rising Tide Method
    434       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    435       Confidential                   331,916      22.52%                   353,001        23.95%                  188,730            12.80%      Last Statement Method
    436       Confidential                    78,815      22.52%                    85,261        24.36%                  106,848            30.53%        Rising Tide Method
    437       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    438       Confidential                    90,075      22.52%                    96,121        24.03%                  122,112            30.53%        Rising Tide Method
    440       Confidential                   132,860      22.52%                   173,968        29.49%                          ‐               ‐      Last Statement Method
    441       Confidential                         ‐           ‐                    22,977           NM                           ‐               ‐      Last Statement Method
    442       Confidential                    22,519      22.52%                    29,716        29.72%                          ‐               ‐      Last Statement Method
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 179 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9350                                                           DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim      Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]     Recovery for Investor [6]
    443       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
    444       Confidential                    74,590      22.52%                    87,031        26.27%                          ‐               ‐   Last Statement Method
    445       Confidential                   225,187      22.52%                   241,323        24.13%                  305,280            30.53%     Rising Tide Method
    446       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
    447       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
    448       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
    449       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
    450       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
    451       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
    452       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
    453       Confidential                 1,125,933      22.52%                 1,472,373        29.45%                          ‐               ‐   Last Statement Method
    454       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
    455       Confidential                    44,812      22.52%                    48,023        24.13%                    60,751           30.53%     Rising Tide Method
    456       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
    457       Confidential                    24,023      22.52%                    27,566        25.84%                     2,471            2.32%   Last Statement Method
    458       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
    459       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
    460       Confidential                   112,593      22.52%                   116,965        23.39%                  152,640            30.53%     Rising Tide Method
    461       Confidential                    22,855      22.52%                    24,493        24.13%                    30,984           30.53%     Rising Tide Method
    462       Confidential                    22,519      22.52%                    24,132        24.13%                    30,528           30.53%     Rising Tide Method
    463       Confidential                    83,196      22.52%                    87,031        23.56%                    22,092            5.98%   Last Statement Method
    464       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
    465       Confidential                    22,519      22.52%                    24,132        24.13%                    30,528           30.53%     Rising Tide Method
    466       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
    467       Confidential                    87,974      22.52%                    87,514        22.40%                  119,265            30.53%     Rising Tide Method
    468       Confidential                   112,593      22.52%                   115,382        23.08%                  152,640            30.53%     Rising Tide Method
    469       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
    470       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
    471       Confidential                    60,800      22.52%                    64,338        23.83%                    61,584           22.81%   Last Statement Method
    472       Confidential                   112,593      22.52%                   105,593        21.12%                  152,640            30.53%     Rising Tide Method
    473       Confidential                    11,259      22.52%                    18,930        37.86%                          ‐               ‐   Last Statement Method
    474       Confidential                    11,259      22.52%                    18,930        37.86%                          ‐               ‐   Last Statement Method
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Direct Lending Income Fund, L.P.
                                                                                         #:9351                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
    475       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    476       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    477       Confidential                    64,623      22.52%                    71,017        24.75%                     3,528            1.23%      Last Statement Method
    478       Confidential                    18,743      22.52%                    34,812        41.82%                          ‐               ‐      Last Statement Method
    479       Confidential                    77,822      22.52%                    88,772        25.69%                          ‐               ‐      Last Statement Method
    480       Confidential                    49,991      22.52%                    49,110        22.12%                    67,772           30.53%        Rising Tide Method
    481       Confidential                    22,519      22.52%                    28,632        28.63%                          ‐               ‐      Last Statement Method
    482       Confidential                    22,519      22.52%                    24,132        24.13%                    30,528           30.53%        Rising Tide Method
    483       Confidential                    42,785      22.52%                    48,849        25.71%                    16,320            8.59%      Last Statement Method
    484       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    485       Confidential                    37,899      22.52%                    42,396        25.19%                    29,358           17.44%      Last Statement Method
    486       Confidential                    30,262      22.52%                    34,812        25.90%                          ‐               ‐      Last Statement Method
    487       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    488       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    489       Confidential                    56,297      22.52%                    60,331        24.13%                    76,320           30.53%        Rising Tide Method
    490       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    491       Confidential                    19,253      22.52%                    26,109        30.54%                          ‐               ‐      Last Statement Method
    492       Confidential                    67,556      22.52%                    67,118        22.37%                    91,584           30.53%        Rising Tide Method
    493       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    494       Confidential                    47,752      22.52%                    54,143        25.53%                     3,640            1.72%      Last Statement Method
    495       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    496       Confidential                    45,037      22.52%                    49,351        24.68%                    61,056           30.53%        Rising Tide Method
    497       Confidential                    73,400      22.52%                    72,118        22.13%                    99,506           30.53%        Rising Tide Method
    498       Confidential                  755,086       22.52%                  732,084         21.83%                 1,023,652           30.53%        Rising Tide Method
    499       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    500       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    501       Confidential                    44,474      22.52%                    44,071        22.31%                    60,293           30.53%        Rising Tide Method
    502       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    503       Confidential                    89,320      22.52%                    86,523        21.81%                   116,678           29.42%        Rising Tide Method
    504       Confidential                    22,519      22.52%                    23,917        23.92%                    30,528           30.53%        Rising Tide Method
    505       Confidential                    22,519      22.52%                    23,917        23.92%                    30,528           30.53%        Rising Tide Method
    506       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
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Direct Lending Income Fund, L.P.
                                                                                         #:9352                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
    507       Confidential                    20,942      22.52%                    20,015        21.52%                    28,391           30.53%        Rising Tide Method
    508       Confidential                  360,011       22.52%                  348,124         21.78%                  209,285            13.09%         $In/$Out Method
    509       Confidential                    56,913      22.52%                    66,038        26.13%                    46,110           18.24%      Last Statement Method
    510       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    511       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    512       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    514       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    515       Confidential                    22,519      22.52%                    23,917        23.92%                    30,528           30.53%        Rising Tide Method
    516       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    517       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    518       Confidential                  101,334       22.52%                  100,911         22.42%                  137,376            30.53%        Rising Tide Method
    520       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    521       Confidential                  114,395       22.52%                  117,058         23.04%                  155,082            30.53%        Rising Tide Method
    522       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    523       Confidential                    57,355      22.52%                    61,865        24.29%                    67,126           26.35%        Rising Tide Method
    524       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    525       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    526       Confidential                    90,075      22.52%                    93,536        23.38%                  122,112            30.53%        Rising Tide Method
    527       Confidential                    22,519      22.52%                    23,917        23.92%                    30,528           30.53%        Rising Tide Method
    528       Confidential                    28,148      22.52%                    28,552        22.84%                    38,160           30.53%        Rising Tide Method
    529       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    530       Confidential                    23,013      22.52%                    25,340        24.80%                     4,933            4.83%      Last Statement Method
    531       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    532       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    533       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    534       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    535       Confidential                    56,297      22.52%                    55,484        22.19%                    76,320           30.53%        Rising Tide Method
    536       Confidential                  101,334       22.52%                  105,503         23.45%                  137,376            30.53%        Rising Tide Method
    537       Confidential                    61,926      22.52%                    65,773        23.92%                    83,952           30.53%        Rising Tide Method
    538       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    539       Confidential                    19,802      22.52%                    59,763        67.96%                          ‐               ‐      Last Statement Method
    540       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 182 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9353                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
    541       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    542       Confidential                    15,540      22.52%                    17,406        25.22%                          ‐               ‐      Last Statement Method
    543       Confidential                    90,075      22.52%                    87,822        21.96%                  122,112            30.53%        Rising Tide Method
    545       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    546       Confidential                  112,593       22.52%                  117,440         23.49%                  152,640            30.53%        Rising Tide Method
    547       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    548       Confidential                         ‐           ‐                    11,820           NM                           ‐               ‐      Last Statement Method
    549       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    550       Confidential                    22,519      22.52%                    23,700        23.70%                    30,528           30.53%        Rising Tide Method
    551       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    552       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    553       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    554       Confidential                    46,410      22.52%                  174,062         84.46%                          ‐               ‐      Last Statement Method
    555       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    556       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    557       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    558       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    559       Confidential                    29,667      22.52%                    31,407        23.84%                    27,534           20.90%      Last Statement Method
    560       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    561       Confidential                    42,730      22.52%                    47,570        25.07%                    16,074            8.47%      Last Statement Method
    562       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    563       Confidential                    15,540      22.52%                    17,406        25.22%                          ‐               ‐      Last Statement Method
    564       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    565       Confidential                    25,968      22.52%                    27,731        24.05%                    11,108            9.63%      Last Statement Method
    566       Confidential                  279,036       22.52%                  267,980         21.63%                  370,731            29.92%        Rising Tide Method
    567       Confidential                  432,300       22.52%                  433,254         22.57%                          ‐               ‐      Last Statement Method
    568       Confidential                    87,047      22.52%                    89,042        23.03%                    39,196           10.14%      Last Statement Method
    569       Confidential                    28,148      22.52%                    29,625        23.70%                    38,160           30.53%        Rising Tide Method
    570       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    571       Confidential                  225,187       22.52%                  218,828         21.88%                  305,280            30.53%        Rising Tide Method
    572       Confidential                    56,297      22.52%                    59,251        23.70%                    76,320           30.53%        Rising Tide Method
    573       Confidential                    85,405      22.52%                    84,420        22.26%                    18,009            4.75%         $In/$Out Method
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Direct Lending Income Fund, L.P.
                                                                                         #:9354                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
    574       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    575       Confidential                    86,203      22.52%                  103,392         27.01%                          ‐               ‐      Last Statement Method
    576       Confidential                    19,938      22.52%                    20,883        23.59%                    27,029           30.53%        Rising Tide Method
    577       Confidential                     9,908      22.52%                    18,726        42.56%                          ‐               ‐      Last Statement Method
    578       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    579       Confidential                    22,519      22.52%                    23,700        23.70%                    30,528           30.53%        Rising Tide Method
    580       Confidential                    45,037      22.52%                    44,638        22.32%                    61,056           30.53%        Rising Tide Method
    581       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    582       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    583       Confidential                    45,037      22.52%                    47,401        23.70%                    61,056           30.53%        Rising Tide Method
    584       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    585       Confidential                    25,896      22.52%                    26,765        23.27%                    35,107           30.53%        Rising Tide Method
    586       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    587       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    588       Confidential                    21,254      22.52%                    22,705        24.06%                    24,913           26.40%        Rising Tide Method
    589       Confidential                  196,489       22.52%                  203,593         23.33%                  143,107            16.40%      Last Statement Method
    590       Confidential                    49,330      22.52%                    55,122        25.16%                    10,648            4.86%      Last Statement Method
    591       Confidential                    32,887      22.52%                    36,748        25.16%                     7,099            4.86%      Last Statement Method
    592       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    593       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    595       Confidential                    56,297      22.52%                    59,251        23.70%                    76,320           30.53%        Rising Tide Method
    596       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    597       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    598       Confidential                    22,519      22.52%                    23,700        23.70%                    30,528           30.53%        Rising Tide Method
    599       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    600       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    601       Confidential                    22,519      22.52%                    24,424        24.42%                    30,528           30.53%        Rising Tide Method
    602       Confidential                    28,148      22.52%                    29,625        23.70%                    38,160           30.53%        Rising Tide Method
    603       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    604       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    605       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    606       Confidential                  112,593       22.52%                  118,501         23.70%                  152,640            30.53%        Rising Tide Method
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 184 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9355                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
    607       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    608       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    609       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    610       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    611       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    612       Confidential                    25,505      22.52%                    27,246        24.06%                    29,896           26.40%        Rising Tide Method
    613       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    614       Confidential                  266,285       22.52%                  261,093         22.08%                  140,428            11.88%         $In/$Out Method
    615       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    616       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    617       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    618       Confidential                    21,254      22.52%                    22,705        24.06%                    24,913           26.40%        Rising Tide Method
    619       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    620       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    621       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    622       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    623       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    624       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    625       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    626       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    627       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    628       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    629       Confidential                    22,519      22.52%                    24,488        24.49%                          ‐               ‐      Last Statement Method
    630       Confidential                    38,849      22.52%                    43,516        25.22%                          ‐               ‐      Last Statement Method
    631       Confidential                    42,616      22.52%                    43,475        22.97%                    50,304           26.58%        Rising Tide Method
    632       Confidential                    62,771      22.52%                    69,625        24.98%                       862            0.31%      Last Statement Method
    633       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    634       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    635       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    636       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    637       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    638       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 185 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9356                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
    639       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    640       Confidential                  231,942       22.52%                  214,470         20.82%                  314,438            30.53%        Rising Tide Method
    641       Confidential                    45,037      22.52%                    46,968        23.48%                    61,056           30.53%        Rising Tide Method
    642       Confidential                  188,173       22.52%                  174,062         20.83%                  140,913            16.86%         $In/$Out Method
    643       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    644       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    645       Confidential                    28,148      22.52%                    28,438        22.75%                    38,160           30.53%        Rising Tide Method
    646       Confidential                    76,187      22.52%                    83,550        24.69%                          ‐               ‐      Last Statement Method
    647       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    648       Confidential                    90,075      22.52%                    93,937        23.48%                  122,112            30.53%        Rising Tide Method
    649       Confidential                    67,556      22.52%                    67,630        22.54%                    91,584           30.53%        Rising Tide Method
    650       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    651       Confidential                  239,417       22.52%                  249,555         23.47%                  304,559            28.65%        Rising Tide Method
    652       Confidential                    37,246      22.52%                    39,304        23.76%                    44,866           27.13%        Rising Tide Method
    653       Confidential                    45,037      22.52%                    44,977        22.49%                    61,056           30.53%        Rising Tide Method
    654       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    655       Confidential                    88,931      22.52%                    87,031        22.04%                    47,560           12.04%         $In/$Out Method
    656       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    657       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    658       Confidential                  120,475       22.52%                  111,729         20.88%                  163,325            30.53%        Rising Tide Method
    659       Confidential                  177,556       22.52%                  261,093         33.11%                          ‐               ‐      Last Statement Method
    660       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    661       Confidential                    33,553      22.52%                    35,013        23.50%                    44,792           30.06%        Rising Tide Method
    662       Confidential                    25,671      22.52%                    27,536        24.15%                    20,213           17.73%      Last Statement Method
    663       Confidential                  562,966       22.52%                  560,864         22.43%                  763,200            30.53%        Rising Tide Method
    664       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    665       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    666       Confidential                    78,815      22.52%                    82,195        23.48%                  106,848            30.53%        Rising Tide Method
    667       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    668       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    669       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    670       Confidential                         ‐           ‐                    26,367           NM                           ‐               ‐      Last Statement Method
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Direct Lending Income Fund, L.P.
                                                                                         #:9357                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
    671       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    672       Confidential                    95,704      22.52%                    85,685        20.16%                  129,744            30.53%        Rising Tide Method
    673       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    674       Confidential                  135,112       22.52%                  139,968         23.33%                  183,168            30.53%        Rising Tide Method
    675       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    676       Confidential                    45,037      22.52%                    44,977        22.49%                    61,056           30.53%        Rising Tide Method
    677       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    678       Confidential                  168,890       22.52%                  176,131         23.48%                  228,960            30.53%        Rising Tide Method
    679       Confidential                     6,756      22.52%                    18,566        61.89%                          ‐               ‐      Last Statement Method
    680       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    681       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    682       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    683       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    684       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    685       Confidential                  464,176       22.52%                  430,804         20.90%                          ‐               ‐         $In/$Out Method
    686       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    687       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    688       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    689       Confidential                    45,037      22.52%                    49,081        24.54%                          ‐               ‐      Last Statement Method
    690       Confidential                    28,097      22.52%                    30,207        24.21%                    20,564           16.48%      Last Statement Method
    691       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    692       Confidential                    43,911      22.52%                    44,332        22.73%                    56,056           28.75%        Rising Tide Method
    693       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    694       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    695       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    696       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    697       Confidential                  208,298       22.52%                  204,166         22.07%                    21,864            2.36%         $In/$Out Method
    698       Confidential                    28,148      22.52%                    28,124        22.50%                    38,160           30.53%        Rising Tide Method
    699       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    700       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    701       Confidential                    22,519      22.52%                    23,276        23.28%                    30,528           30.53%        Rising Tide Method
    702       Confidential                    22,519      22.52%                    23,276        23.28%                    30,528           30.53%        Rising Tide Method
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Direct Lending Income Fund, L.P.
                                                                                         #:9358                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
    703       Confidential                  163,559       22.52%                  174,062         23.96%                    31,605            4.35%      Last Statement Method
    704       Confidential                  388,311       22.52%                  384,659         22.31%                  369,692            21.44%         $In/$Out Method
    705       Confidential                  466,136       22.52%                  473,368         22.87%                  402,672            19.45%      Last Statement Method
    706       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    707       Confidential                    30,381      22.52%                    30,461        22.58%                    13,339            9.89%      Last Statement Method
    708       Confidential                    44,362      22.52%                    41,018        20.82%                    60,140           30.53%        Rising Tide Method
    709       Confidential                    24,725      22.52%                    25,833        23.53%                    28,170           25.66%        Rising Tide Method
    710       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    711       Confidential                    23,577      22.52%                    24,370        23.28%                    31,963           30.53%        Rising Tide Method
    712       Confidential                  119,799       22.52%                  112,153         21.08%                  162,409            30.53%        Rising Tide Method
    713       Confidential                    45,037      22.52%                    51,033        25.52%                          ‐               ‐      Last Statement Method
    714       Confidential                    20,309      22.52%                    20,704        22.96%                    27,532           30.53%        Rising Tide Method
    715       Confidential                    60,696      22.52%                    61,402        22.78%                    82,284           30.53%        Rising Tide Method
    716       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    717       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    718       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    719       Confidential                    26,276      22.52%                    25,924        22.22%                    22,898           19.62%         $In/$Out Method
    720       Confidential                     5,630      22.52%                    15,043        60.17%                          ‐               ‐      Last Statement Method
    721       Confidential                  394,076       22.52%                  421,551         24.09%                  103,513             5.92%      Last Statement Method
    722       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    723       Confidential                    31,434      22.52%                    32,165        23.04%                    35,381           25.35%        Rising Tide Method
    724       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    725       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    727       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    728       Confidential                    45,037      22.52%                    46,552        23.28%                    61,056           30.53%        Rising Tide Method
    729       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    730       Confidential                  168,890       22.52%                  174,048         23.21%                  228,960            30.53%        Rising Tide Method
    731       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    732       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    733       Confidential                  112,593       22.52%                  116,379         23.28%                  152,640            30.53%        Rising Tide Method
    734       Confidential                    22,519      22.52%                    23,276        23.28%                    30,528           30.53%        Rising Tide Method
    735       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
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Direct Lending Income Fund, L.P.
                                                                                         #:9359                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
    736       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    737       Confidential                  225,187       22.52%                  252,139         25.21%                  305,280            30.53%        Rising Tide Method
    738       Confidential                    78,815      22.52%                    72,810        20.80%                  106,848            30.53%        Rising Tide Method
    739       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    740       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    741       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    742       Confidential                    31,915      22.52%                    33,448        23.60%                    37,520           26.47%        Rising Tide Method
    743       Confidential                    22,519      22.52%                    23,276        23.28%                    30,528           30.53%        Rising Tide Method
    745       Confidential                         ‐           ‐                    21,115           NM                           ‐               ‐      Last Statement Method
    746       Confidential                     1,553      22.52%                    19,796       287.03%                          ‐               ‐      Last Statement Method
    747       Confidential                    20,292      22.52%                    20,219        22.44%                    27,510           30.53%        Rising Tide Method
    748       Confidential                    20,292      22.52%                    20,219        22.44%                    27,510           30.53%        Rising Tide Method
    749       Confidential                    53,060      22.52%                    52,219        22.16%                    27,211           11.55%         $In/$Out Method
    750       Confidential                    22,519      22.52%                    23,276        23.28%                    30,528           30.53%        Rising Tide Method
    751       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    752       Confidential                    19,136      22.52%                    20,083        23.63%                     9,252           10.89%      Last Statement Method
    754       Confidential                         ‐           ‐                    19,947           NM                           ‐               ‐      Last Statement Method
    755       Confidential                    54,495      22.52%                    53,054        21.92%                    73,878           30.53%        Rising Tide Method
    756       Confidential                    22,519      22.52%                    23,276        23.28%                    30,528           30.53%        Rising Tide Method
    757       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    758       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    759       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    760       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    761       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    762       Confidential                  146,194       22.52%                  174,062         26.81%                          ‐               ‐      Last Statement Method
    763       Confidential                    42,300      22.52%                    43,516        23.17%                    14,163            7.54%      Last Statement Method
    764       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    765       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    766       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    767       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    768       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    769       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 189 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9360                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
    770       Confidential                  225,187       22.52%                  230,673         23.07%                  305,280            30.53%        Rising Tide Method
    771       Confidential                    87,823      22.52%                  118,263         30.32%                          ‐               ‐      Last Statement Method
    772       Confidential                    22,519      22.52%                    23,276        23.28%                    30,528           30.53%        Rising Tide Method
    773       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    774       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    775       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    776       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    777       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    778       Confidential                  113,648       22.52%                  130,547         25.87%                          ‐               ‐      Last Statement Method
    779       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    780       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    781       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    782       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    783       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    784       Confidential                    45,037      22.52%                    43,830        21.91%                    61,056           30.53%        Rising Tide Method
    785       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    786       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    787       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    788       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    789       Confidential                    48,456      22.52%                    52,219        24.27%                     6,765            3.14%      Last Statement Method
    790       Confidential                    63,052      22.52%                    61,934        22.12%                    85,478           30.53%        Rising Tide Method
    791       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    792       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    793       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    794       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    795       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    797       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    798       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    799       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    800       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    801       Confidential                    56,297      22.52%                    57,668        23.07%                    76,320           30.53%        Rising Tide Method
    802       Confidential                    39,182      22.52%                    40,065        23.03%                    53,119           30.53%        Rising Tide Method
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 190 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9361                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
    803       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    804       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    805       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    806       Confidential                  380,340       22.52%                  362,533         21.46%                  515,618            30.53%        Rising Tide Method
    807       Confidential                    22,519      22.52%                    23,067        23.07%                    30,528           30.53%        Rising Tide Method
    808       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    809       Confidential                    30,160      22.52%                    30,991        23.14%                    29,724           22.19%      Last Statement Method
    810       Confidential                    21,788      22.52%                    22,456        23.21%                    27,283           28.20%        Rising Tide Method
    811       Confidential                    19,905      22.52%                    20,954        23.71%                    18,922           21.41%      Last Statement Method
    812       Confidential                    19,905      22.52%                    20,954        23.71%                    18,922           21.41%      Last Statement Method
    813       Confidential                    39,924      22.52%                    40,996        23.12%                    38,349           21.63%      Last Statement Method
    814       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    815       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    816       Confidential                    19,905      22.52%                    20,954        23.71%                    18,922           21.41%      Last Statement Method
    817       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    818       Confidential                    37,254      22.52%                    38,673        23.38%                    43,860           26.51%        Rising Tide Method
    819       Confidential                    21,288      22.52%                    22,099        23.38%                    25,063           26.51%        Rising Tide Method
    820       Confidential                    74,690      22.52%                    75,317        22.71%                    88,528           26.69%        Rising Tide Method
    821       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    822       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    823       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    824       Confidential                    48,456      22.52%                    52,219        24.27%                     6,765            3.14%      Last Statement Method
    825       Confidential                    42,576      22.52%                    44,198        23.38%                    50,126           26.51%        Rising Tide Method
    826       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    827       Confidential                    28,936      22.52%                    27,691        21.55%                    39,228           30.53%        Rising Tide Method
    828       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    829       Confidential                    68,358      22.52%                    70,278        23.15%                    67,358           22.19%      Last Statement Method
    830       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    831       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    833       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    834       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    835       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 191 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9362                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
    836       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    837       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    838       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    839       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    840       Confidential                    82,265      22.52%                    73,106        20.01%                    73,536           20.13%         $In/$Out Method
    842       Confidential                    22,293      22.52%                    22,644        22.87%                    29,528           29.83%        Rising Tide Method
    843       Confidential                    19,929      22.52%                    20,764        23.46%                    19,027           21.50%      Last Statement Method
    844       Confidential                    31,526      22.52%                    32,476        23.20%                    21,898           15.64%      Last Statement Method
    845       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    846       Confidential                    22,519      22.52%                    23,449        23.45%                    30,528           30.53%        Rising Tide Method
    847       Confidential                    33,778      22.52%                    33,698        22.47%                    45,792           30.53%        Rising Tide Method
    848       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    850       Confidential                  160,842       22.52%                  189,495         26.53%                          ‐               ‐      Last Statement Method
    851       Confidential                  155,576       22.52%                  190,965         27.64%                          ‐               ‐      Last Statement Method
    853       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    854       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    855       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    856       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    857       Confidential                    16,359      22.52%                    17,406        23.96%                     3,173            4.37%      Last Statement Method
    858       Confidential                    22,519      22.52%                    22,857        22.86%                    30,528           30.53%        Rising Tide Method
    859       Confidential                    22,519      22.52%                    22,857        22.86%                    30,528           30.53%        Rising Tide Method
    860       Confidential                    22,519      22.52%                    22,857        22.86%                    30,528           30.53%        Rising Tide Method
    861       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    862       Confidential                    22,519      22.52%                    22,857        22.86%                    30,528           30.53%        Rising Tide Method
    863       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    864       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    865       Confidential                    42,397      22.52%                    43,516        23.11%                    14,597            7.75%      Last Statement Method
    866       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    868       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    869       Confidential                    22,519      22.52%                    22,654        22.65%                    30,528           30.53%        Rising Tide Method
    870       Confidential                    90,075      22.52%                    87,131        21.78%                  122,112            30.53%        Rising Tide Method
    871       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 192 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9363                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
    872       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    873       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    875       Confidential                  353,408       22.52%                  311,699         19.86%                  479,106            30.53%        Rising Tide Method
    877       Confidential                  256,197       22.52%                  280,082         24.62%                          ‐               ‐      Last Statement Method
    878       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    879       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    880       Confidential                    14,187      22.52%                    18,482        29.34%                          ‐               ‐      Last Statement Method
    881       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    882       Confidential                    33,123      22.52%                    34,812        23.67%                     8,146            5.54%      Last Statement Method
    883       Confidential                  499,341       22.52%                  519,741         23.44%                  676,945            30.53%        Rising Tide Method
    884       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    886       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    887       Confidential                  540,448       22.52%                  569,404         23.73%                          ‐               ‐      Last Statement Method
    888       Confidential                  225,187       22.52%                  272,538         27.25%                          ‐               ‐      Last Statement Method
    889       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    890       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    891       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    892       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    893       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    894       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    895       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    896       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    897       Confidential                    22,519      22.52%                    22,654        22.65%                    30,528           30.53%        Rising Tide Method
    898       Confidential                  309,349       22.52%                  282,851         20.59%                          ‐               ‐         $In/$Out Method
    899       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    900       Confidential                    46,689      22.52%                    48,644        23.46%                    33,655           16.23%      Last Statement Method
    901       Confidential                    19,816      22.52%                    19,858        22.57%                    26,865           30.53%        Rising Tide Method
    902       Confidential                  309,349       22.52%                  282,851         20.59%                          ‐               ‐         $In/$Out Method
    903       Confidential                  360,299       22.52%                  324,977         20.31%                  488,448            30.53%        Rising Tide Method
    904       Confidential                    41,388      22.52%                    37,980        20.66%                    44,851           24.40%        Rising Tide Method
    905       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    906       Confidential                    22,519      22.52%                    22,654        22.65%                    30,528           30.53%        Rising Tide Method
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 193 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9364                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
    907       Confidential                    22,519      22.52%                    22,654        22.65%                    30,528           30.53%        Rising Tide Method
    908       Confidential                    31,526      22.52%                    31,715        22.65%                    42,739           30.53%        Rising Tide Method
    909       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    910       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    911       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    912       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    913       Confidential                    22,519      22.52%                    22,654        22.65%                    30,528           30.53%        Rising Tide Method
    914       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    915       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    916       Confidential                    54,045      22.52%                    54,369        22.65%                    73,267           30.53%        Rising Tide Method
    917       Confidential                    36,630      22.52%                    36,693        22.56%                    23,721           14.58%      Last Statement Method
    918       Confidential                    54,045      22.52%                    54,369        22.65%                    73,267           30.53%        Rising Tide Method
    919       Confidential                    56,297      22.52%                    56,634        22.65%                    76,320           30.53%        Rising Tide Method
    920       Confidential                    56,297      22.52%                    56,634        22.65%                    76,320           30.53%        Rising Tide Method
    921       Confidential                    18,676      22.52%                    19,457        23.46%                    13,462           16.23%      Last Statement Method
    922       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    923       Confidential                    19,168      22.52%                    19,899        23.38%                    15,650           18.39%      Last Statement Method
    924       Confidential                       676      22.52%                       672        22.39%                       916           30.53%        Rising Tide Method
    925       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    926       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    927       Confidential                       225      22.52%                       243        24.31%                       305           30.53%        Rising Tide Method
    928       Confidential                  727,601       22.52%                  834,485         25.83%                          ‐               ‐      Last Statement Method
    930       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    931       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    932       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    933       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    934       Confidential                  121,077       22.52%                  121,802         22.65%                  164,141            30.53%        Rising Tide Method
    935       Confidential                    95,943      22.52%                    99,960        23.46%                    69,160           16.23%      Last Statement Method
    937       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    938       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    939       Confidential                  178,952       22.52%                  156,656         19.71%                          ‐               ‐         $In/$Out Method
    940       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 194 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9365                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
    941       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    942       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    943       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    944       Confidential                    56,297      22.52%                    56,130        22.45%                    76,320           30.53%        Rising Tide Method
    945       Confidential                    56,297      22.52%                    56,130        22.45%                    76,320           30.53%        Rising Tide Method
    946       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    947       Confidential                    22,519      22.52%                    22,452        22.45%                    30,528           30.53%        Rising Tide Method
    948       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    949       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    950       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    951       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    952       Confidential                    22,519      22.52%                    22,259        22.26%                    30,528           30.53%        Rising Tide Method
    953       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    954       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    955       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    956       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    957       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    958       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    959       Confidential                    81,743      22.52%                    77,653        21.39%                  110,817            30.53%        Rising Tide Method
    960       Confidential                  753,391       22.52%                  915,338         27.36%                          ‐               ‐      Last Statement Method
    961       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    962       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    963       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    964       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    965       Confidential                    45,803      22.52%                    43,565        21.42%                    62,094           30.53%        Rising Tide Method
    966       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    967       Confidential                    90,075      22.52%                    87,886        21.97%                  122,112            30.53%        Rising Tide Method
    968       Confidential                    88,345      22.52%                    74,581        19.01%                  119,768            30.53%        Rising Tide Method
    971       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    972       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    973       Confidential                    67,556      22.52%                    66,776        22.26%                    91,584           30.53%        Rising Tide Method
    974       Confidential                    40,102      22.52%                    39,573        22.22%                    39,137           21.98%         $In/$Out Method
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 195 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9366                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
    975       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    976       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    977       Confidential                    50,877      22.52%                    52,219        23.11%                    17,517            7.75%      Last Statement Method
    979       Confidential                    67,556      22.52%                    64,389        21.46%                    91,584           30.53%        Rising Tide Method
    980       Confidential                    51,950      22.52%                    51,073        22.14%                    57,019           24.72%        Rising Tide Method
    981       Confidential                   100,208      22.52%                    90,012        20.23%                   135,850           30.53%        Rising Tide Method
    982       Confidential                    58,774      22.52%                    58,095        22.26%                    79,678           30.53%        Rising Tide Method
    983       Confidential                    67,556      22.52%                    66,776        22.26%                    91,584           30.53%        Rising Tide Method
    984       Confidential                   146,371      22.52%                   211,777        32.58%                          ‐               ‐      Last Statement Method
    985       Confidential                    72,319      22.52%                    74,019        23.05%                    43,262           13.47%      Last Statement Method
    986       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    987       Confidential                    58,774      22.52%                    54,035        20.70%                    79,678           30.53%        Rising Tide Method
    988       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    989       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    990       Confidential                    27,134      22.52%                    27,850        23.11%                     9,342            7.75%      Last Statement Method
    991       Confidential                    24,545      22.52%                    24,262        22.26%                    33,276           30.53%        Rising Tide Method
    992       Confidential                 1,180,672      22.52%                 1,061,778        20.25%                 1,005,290           19.17%         $In/$Out Method
    993       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
    995       Confidential                    22,519      22.52%                    22,062        22.06%                    30,528           30.53%        Rising Tide Method
    996       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    997       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    998       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
    999       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1000       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1001       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1002       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1003       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1004       Confidential                   117,097      22.52%                   113,185        21.77%                   158,746           30.53%        Rising Tide Method
   1005       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1007       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
   1008       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
   1009       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 196 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9367                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
   1010       Confidential                    64,854      22.52%                    62,607        21.74%                    87,921           30.53%        Rising Tide Method
   1011       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1012       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1013       Confidential                    89,232      22.52%                    87,031        21.96%                    48,900           12.34%         $In/$Out Method
   1014       Confidential                    56,297      22.52%                    55,154        22.06%                    76,320           30.53%        Rising Tide Method
   1015       Confidential                    67,556      22.52%                    64,421        21.47%                    91,584           30.53%        Rising Tide Method
   1016       Confidential                    66,510      22.52%                    65,161        22.06%                    90,166           30.53%        Rising Tide Method
   1017       Confidential                  170,049       22.52%                  166,514         22.05%                  230,531            30.53%        Rising Tide Method
   1018       Confidential                    66,510      22.52%                    65,161        22.06%                    90,166           30.53%        Rising Tide Method
   1019       Confidential                    29,274      22.52%                    41,317        31.78%                          ‐               ‐      Last Statement Method
   1020       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1021       Confidential                    74,312      22.52%                    72,804        22.06%                  100,742            30.53%        Rising Tide Method
   1022       Confidential                    22,519      22.52%                    22,062        22.06%                    30,528           30.53%        Rising Tide Method
   1023       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1024       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
   1025       Confidential                    22,519      22.52%                    22,062        22.06%                    30,528           30.53%        Rising Tide Method
   1026       Confidential                  135,112       22.52%                  132,370         22.06%                  183,168            30.53%        Rising Tide Method
   1027       Confidential                    97,956      22.52%                    87,943        20.22%                  132,797            30.53%        Rising Tide Method
   1028       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1029       Confidential                    78,815      22.52%                    77,216        22.06%                  106,848            30.53%        Rising Tide Method
   1030       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1031       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1032       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1033       Confidential                    49,681      22.52%                    50,618        22.94%                          ‐               ‐      Last Statement Method
   1034       Confidential                    22,519      22.52%                    22,062        22.06%                    30,528           30.53%        Rising Tide Method
   1035       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1036       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1037       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1038       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1039       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1040       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1041       Confidential                  204,272       22.52%                  203,477         22.43%                    59,564            6.57%         $In/$Out Method
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 197 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9368                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
   1042       Confidential                  561,459       22.52%                  567,242         22.75%                    27,048            1.08%      Last Statement Method
   1043       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1044       Confidential                    23,099      22.52%                    22,915        22.34%                    25,461           24.82%        Rising Tide Method
   1045       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1046       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1047       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1048       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1049       Confidential                    78,818      22.52%                    87,031        24.87%                          ‐               ‐      Last Statement Method
   1050       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1051       Confidential                    39,408      22.52%                    38,772        22.16%                    18,688           10.68%         $In/$Out Method
   1052       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
   1053       Confidential                    27,456      22.52%                    27,850        22.84%                    10,771            8.83%      Last Statement Method
   1054       Confidential                    25,740      22.52%                    26,109        22.84%                    10,098            8.83%      Last Statement Method
   1055       Confidential                    55,233      22.52%                    54,329        22.15%                    71,596           29.19%        Rising Tide Method
   1056       Confidential                    88,949      22.52%                    88,133        22.31%                    47,640           12.06%         $In/$Out Method
   1057       Confidential                  450,373       22.52%                  441,234         22.06%                  610,560            30.53%        Rising Tide Method
   1058       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1059       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
   1060       Confidential                    35,280      22.52%                    34,968        22.32%                    17,725           11.31%         $In/$Out Method
   1061       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1062       Confidential                    90,075      22.52%                    84,274        21.07%                  122,112            30.53%        Rising Tide Method
   1063       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
   1064       Confidential                    45,037      22.52%                    43,742        21.87%                    61,056           30.53%        Rising Tide Method
   1065       Confidential                    22,073      22.52%                    20,042        20.45%                    29,924           30.53%        Rising Tide Method
   1066       Confidential                  233,744       22.52%                  204,358         19.69%                  316,881            30.53%        Rising Tide Method
   1067       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1068       Confidential                    23,419      22.52%                    22,242        21.39%                    31,749           30.53%        Rising Tide Method
   1069       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1070       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1071       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1072       Confidential                    17,307      22.52%                    17,149        22.31%                    15,720           20.45%         $In/$Out Method
   1073       Confidential                  225,187       22.52%                  218,709         21.87%                  305,280            30.53%        Rising Tide Method
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 198 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9369                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
   1074       Confidential                    51,594      22.52%                    50,110        21.87%                    69,945           30.53%        Rising Tide Method
   1075       Confidential                    42,785      22.52%                    41,044        21.60%                    58,003           30.53%        Rising Tide Method
   1076       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
   1077       Confidential                    22,519      22.52%                    21,871        21.87%                    30,528           30.53%        Rising Tide Method
   1078       Confidential                  450,373       22.52%                  453,679         22.68%                          ‐               ‐      Last Statement Method
   1079       Confidential                    17,357      22.52%                    17,406        22.58%                     7,604            9.87%      Last Statement Method
   1080       Confidential                    22,519      22.52%                    21,871        21.87%                    30,528           30.53%        Rising Tide Method
   1081       Confidential                    22,519      22.52%                    21,871        21.87%                    30,528           30.53%        Rising Tide Method
   1082       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1083       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1084       Confidential                  112,593       22.52%                  109,355         21.87%                  152,640            30.53%        Rising Tide Method
   1085       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1086       Confidential                  188,084       22.52%                  187,852         22.49%                  140,517            16.82%         $In/$Out Method
   1087       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1088       Confidential                    22,519      22.52%                    21,871        21.87%                    30,528           30.53%        Rising Tide Method
   1089       Confidential                  192,679       22.52%                  212,820         24.87%                          ‐               ‐      Last Statement Method
   1091       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1092       Confidential                  365,928       22.52%                  339,516         20.89%                  496,080            30.53%        Rising Tide Method
   1093       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1094       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
   1096       Confidential                  305,016       22.52%                  348,124         25.70%                          ‐               ‐      Last Statement Method
   1097       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1098       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1099       Confidential                    36,073      22.52%                    35,762        22.32%                    35,142           21.94%         $In/$Out Method
   1100       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1101       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1102       Confidential                    22,882      22.52%                    22,534        22.18%                    14,772           14.54%         $In/$Out Method
   1103       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1104       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1105       Confidential                    33,778      22.52%                    31,566        21.04%                    45,792           30.53%        Rising Tide Method
   1106       Confidential                  347,131       22.52%                  348,124         22.58%                  152,088             9.87%      Last Statement Method
   1107       Confidential                    22,519      22.52%                    21,871        21.87%                    30,528           30.53%        Rising Tide Method
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Direct Lending Income Fund, L.P.
                                                                                         #:9370                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
   1108       Confidential                    22,519      22.52%                    21,871        21.87%                    30,528           30.53%        Rising Tide Method
   1109       Confidential                    17,667      22.52%                    17,713        22.58%                     8,984           11.45%      Last Statement Method
   1110       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
   1111       Confidential                    58,805      22.52%                    57,231        21.92%                    79,721           30.53%        Rising Tide Method
   1112       Confidential                    77,391      22.52%                    75,593        22.00%                  104,917            30.53%        Rising Tide Method
   1113       Confidential                    86,212      22.52%                    84,463        22.06%                  116,876            30.53%        Rising Tide Method
   1114       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1115       Confidential                  125,137       22.52%                  126,246         22.72%                          ‐               ‐      Last Statement Method
   1116       Confidential                    60,061      22.52%                    60,922        22.84%                    23,562            8.83%      Last Statement Method
   1117       Confidential                    73,272      22.52%                    69,625        21.40%                    47,496           14.60%         $In/$Out Method
   1118       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
   1119       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1120       Confidential                  112,593       22.52%                  108,402         21.68%                  152,640            30.53%        Rising Tide Method
   1121       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
   1122       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
   1123       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1124       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1126       Confidential                    43,886      22.52%                    43,516        22.33%                    21,208           10.88%         $In/$Out Method
   1127       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1128       Confidential                    64,976      22.52%                    60,922        21.11%                    47,696           16.53%         $In/$Out Method
   1129       Confidential                    45,037      22.52%                    42,989        21.49%                    61,056           30.53%        Rising Tide Method
   1130       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1131       Confidential                  225,187       22.52%                  216,804         21.68%                  305,280            30.53%        Rising Tide Method
   1132       Confidential                  225,187       22.52%                  216,804         21.68%                  305,280            30.53%        Rising Tide Method
   1133       Confidential                    17,555      22.52%                    17,406        22.33%                     8,483           10.88%         $In/$Out Method
   1134       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1135       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1136       Confidential                    45,437      22.52%                    54,798        27.16%                          ‐               ‐      Last Statement Method
   1137       Confidential                    29,274      22.52%                    28,184        21.68%                    39,686           30.53%        Rising Tide Method
   1138       Confidential                    45,037      22.52%                    43,361        21.68%                    61,056           30.53%        Rising Tide Method
   1140       Confidential                  225,187       22.52%                  216,804         21.68%                  305,280            30.53%        Rising Tide Method
   1141       Confidential                  225,187       22.52%                  213,676         21.37%                  305,280            30.53%        Rising Tide Method
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 200 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9371                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
   1142       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1143       Confidential                 1,448,798      22.52%                 1,376,713        21.40%                 1,049,688           16.32%         $In/$Out Method
   1144       Confidential                    22,519      22.52%                    21,680        21.68%                    30,528           30.53%        Rising Tide Method
   1145       Confidential                   427,854      22.52%                   397,881        20.94%                   580,032           30.53%        Rising Tide Method
   1146       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
   1147       Confidential                   112,593      22.52%                   108,402        21.68%                   152,640           30.53%        Rising Tide Method
   1148       Confidential                    29,274      22.52%                    28,184        21.68%                    39,686           30.53%        Rising Tide Method
   1149       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
   1150       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1151       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1152       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1153       Confidential                    17,544      22.52%                    17,406        22.34%                     8,437           10.83%         $In/$Out Method
   1154       Confidential                   562,966      22.52%                   534,937        21.40%                   763,200           30.53%        Rising Tide Method
   1155       Confidential                   337,780      22.52%                   325,206        21.68%                   457,920           30.53%        Rising Tide Method
   1156       Confidential                   574,226      22.52%                   564,706        22.15%                   292,160           11.46%         $In/$Out Method
   1158       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1159       Confidential                    84,445      22.52%                    87,132        23.24%                          ‐               ‐      Last Statement Method
   1160       Confidential                    45,037      22.52%                    43,361        21.68%                    61,056           30.53%        Rising Tide Method
   1161       Confidential                    45,037      22.52%                    43,361        21.68%                    61,056           30.53%        Rising Tide Method
   1162       Confidential                    45,037      22.52%                    43,361        21.68%                    61,056           30.53%        Rising Tide Method
   1163       Confidential                    28,486      22.52%                    28,136        22.24%                    22,294           17.62%         $In/$Out Method
   1164       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1165       Confidential                    22,519      22.52%                    21,680        21.68%                    30,528           30.53%        Rising Tide Method
   1166       Confidential                    22,519      22.52%                    21,680        21.68%                    30,528           30.53%        Rising Tide Method
   1167       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1168       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1169       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1170       Confidential                    54,045      22.52%                    49,976        20.82%                    73,267           30.53%        Rising Tide Method
   1171       Confidential                    53,254      22.52%                    52,219        22.08%                    28,071           11.87%         $In/$Out Method
   1172       Confidential                    17,751      22.52%                    17,406        22.08%                     9,357           11.87%         $In/$Out Method
   1173       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1174       Confidential                    90,075      22.52%                    85,971        21.49%                   122,112           30.53%        Rising Tide Method
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Direct Lending Income Fund, L.P.
                                                                                         #:9372                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
   1175       Confidential                  110,116       22.52%                  105,411         21.56%                  141,640            28.97%        Rising Tide Method
   1176       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1177       Confidential                    40,534      22.52%                    38,687        21.49%                    54,950           30.53%        Rising Tide Method
   1178       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1179       Confidential                    33,778      22.52%                    32,239        21.49%                    45,792           30.53%        Rising Tide Method
   1180       Confidential                    22,519      22.52%                    21,493        21.49%                    30,528           30.53%        Rising Tide Method
   1181       Confidential                    94,578      22.52%                    88,624        21.10%                  100,429            23.91%        Rising Tide Method
   1182       Confidential                  104,140       22.52%                  100,593         21.75%                  115,102            24.89%        Rising Tide Method
   1183       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1184       Confidential                    25,801      22.52%                    24,840        21.68%                    34,977           30.53%        Rising Tide Method
   1185       Confidential                    30,400      22.52%                    29,015        21.49%                    41,213           30.53%        Rising Tide Method
   1186       Confidential                    44,378      22.52%                    43,516        22.08%                    23,392           11.87%         $In/$Out Method
   1187       Confidential                    71,893      22.52%                    69,625        21.81%                    41,371           12.96%         $In/$Out Method
   1188       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1189       Confidential                    67,556      22.52%                    64,478        21.49%                    91,584           30.53%        Rising Tide Method
   1190       Confidential                    91,169      22.52%                    87,031        21.50%                    57,498           14.20%         $In/$Out Method
   1191       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
   1192       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
   1193       Confidential                    23,645      22.52%                    22,567        21.49%                    32,054           30.53%        Rising Tide Method
   1194       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
   1195       Confidential                  102,235       22.52%                    93,681        20.63%                  138,597            30.53%        Rising Tide Method
   1196       Confidential                    30,625      22.52%                    29,230        21.49%                    41,518           30.53%        Rising Tide Method
   1197       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1198       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1199       Confidential                    22,419      22.52%                    21,033        21.13%                    30,085           30.22%        Rising Tide Method
   1200       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1201       Confidential                    35,548      22.52%                    34,812        22.05%                    18,918           11.98%         $In/$Out Method
   1202       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
   1203       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
   1204       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1205       Confidential                  112,593       22.52%                  107,463         21.49%                  152,640            30.53%        Rising Tide Method
   1206       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 202 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9373                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
   1207       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1209       Confidential                    67,556      22.52%                    62,351        20.78%                    91,584           30.53%        Rising Tide Method
   1210       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1211       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1212       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1213       Confidential                    22,519      22.52%                    21,493        21.49%                    30,528           30.53%        Rising Tide Method
   1214       Confidential                    35,502      22.52%                    34,812        22.08%                    18,714           11.87%         $In/$Out Method
   1215       Confidential                    24,545      22.52%                    23,615        21.67%                    27,718           25.43%        Rising Tide Method
   1216       Confidential                    22,519      22.52%                    21,493        21.49%                    30,528           30.53%        Rising Tide Method
   1217       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1218       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1219       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1222       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1223       Confidential                  394,076       22.52%                  380,046         21.72%                  360,560            20.60%         $In/$Out Method
   1224       Confidential                  180,165       22.52%                  186,259         23.28%                     1,093            0.14%      Last Statement Method
   1225       Confidential                    78,815      22.52%                    73,854        21.10%                  106,848            30.53%        Rising Tide Method
   1226       Confidential                    56,297      22.52%                    53,259        21.30%                    76,320           30.53%        Rising Tide Method
   1227       Confidential                    56,297      22.52%                    53,259        21.30%                    76,320           30.53%        Rising Tide Method
   1228       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1229       Confidential                    78,815      22.52%                    69,113        19.75%                  106,848            30.53%        Rising Tide Method
   1230       Confidential                    76,563      22.52%                    72,433        21.30%                  103,795            30.53%        Rising Tide Method
   1231       Confidential                    21,843      22.52%                    20,762        21.40%                    27,528           28.38%        Rising Tide Method
   1232       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1233       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1234       Confidential                    45,037      22.52%                    42,607        21.30%                    61,056           30.53%        Rising Tide Method
   1235       Confidential                    27,217      22.52%                    26,109        21.60%                    16,658           13.78%         $In/$Out Method
   1236       Confidential                    45,037      22.52%                    42,607        21.30%                    61,056           30.53%        Rising Tide Method
   1237       Confidential                    90,075      22.52%                    85,215        21.30%                  122,112            30.53%        Rising Tide Method
   1238       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1239       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1240       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
   1241       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 203 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9374                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
   1242       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1243       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
   1244       Confidential                    22,519      22.52%                    21,304        21.30%                    30,528           30.53%        Rising Tide Method
   1245       Confidential                    22,519      22.52%                    21,304        21.30%                    30,528           30.53%        Rising Tide Method
   1246       Confidential                    33,778      22.52%                    31,956        21.30%                    45,792           30.53%        Rising Tide Method
   1247       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1248       Confidential                    78,815      22.52%                    73,688        21.05%                  106,848            30.53%        Rising Tide Method
   1249       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1250       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1251       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1252       Confidential                    33,778      22.52%                    31,956        21.30%                    45,792           30.53%        Rising Tide Method
   1253       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1254       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1255       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1256       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1257       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1258       Confidential                    63,109      22.52%                    59,703        21.30%                    85,556           30.53%        Rising Tide Method
   1259       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1260       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1261       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1262       Confidential                    90,075      22.52%                    85,823        21.46%                  122,112            30.53%        Rising Tide Method
   1263       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1264       Confidential                    29,552      22.52%                    28,975        22.08%                    16,605           12.65%         $In/$Out Method
   1265       Confidential                    67,556      22.52%                    72,670        24.22%                          ‐               ‐      Last Statement Method
   1266       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
   1267       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1268       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1269       Confidential                  157,631       22.52%                  154,399         22.06%                  213,696            30.53%        Rising Tide Method
   1270       Confidential                    45,037      22.52%                    42,239        21.12%                    61,056           30.53%        Rising Tide Method
   1271       Confidential                    56,297      22.52%                    52,799        21.12%                    76,320           30.53%        Rising Tide Method
   1272       Confidential                     7,431      22.52%                     7,303        22.13%                    10,074           30.53%        Rising Tide Method
   1273       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 204 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9375                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
   1274       Confidential                    54,442      22.52%                    52,219        21.60%                    33,347           13.79%         $In/$Out Method
   1275       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
   1276       Confidential                    73,129      22.52%                    70,750        21.79%                    46,859           14.43%         $In/$Out Method
   1277       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1278       Confidential                    73,522      22.52%                    69,625        21.33%                    48,605           14.89%         $In/$Out Method
   1279       Confidential                    57,979      22.52%                    53,979        20.97%                    78,600           30.53%        Rising Tide Method
   1280       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
   1281       Confidential                  205,988       22.52%                  174,062         19.03%                  220,022            24.05%        Rising Tide Method
   1282       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1283       Confidential                    72,214      22.52%                    67,857        21.16%                    84,480           26.34%        Rising Tide Method
   1284       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1285       Confidential                    18,147      22.52%                    17,406        21.60%                    11,116           13.79%         $In/$Out Method
   1286       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1287       Confidential                    58,323      22.52%                    54,884        21.19%                    74,899           28.92%        Rising Tide Method
   1288       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1289       Confidential                    56,297      22.52%                    52,799        21.12%                    76,320           30.53%        Rising Tide Method
   1290       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1291       Confidential                    33,778      22.52%                    35,393        23.60%                          ‐               ‐      Last Statement Method
   1292       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1293       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1294       Confidential                    42,276      22.52%                    37,567        20.01%                    48,794           25.99%        Rising Tide Method
   1295       Confidential                  115,971       22.52%                  105,901         20.56%                  157,219            30.53%        Rising Tide Method
   1296       Confidential                    25,596      22.52%                    46,838        41.21%                          ‐               ‐      Last Statement Method
   1297       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1299       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1300       Confidential                    31,460      22.52%                    29,331        20.99%                    35,499           25.41%        Rising Tide Method
   1301       Confidential                    59,453      22.52%                    55,278        20.94%                    80,599           30.53%        Rising Tide Method
   1302       Confidential                    55,030      22.52%                    52,219        21.37%                    35,958           14.71%         $In/$Out Method
   1303       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1304       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1305       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1306       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 205 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9376                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
   1307       Confidential                   112,593      22.52%                    95,859        19.17%                   152,640           30.53%        Rising Tide Method
   1308       Confidential                    45,037      22.52%                    38,608        19.30%                    61,056           30.53%        Rising Tide Method
   1309       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1310       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1311       Confidential                   275,148      22.52%                   261,093        21.37%                   179,788           14.71%         $In/$Out Method
   1312       Confidential                   297,246      22.52%                   251,857        19.08%                   316,130           23.95%        Rising Tide Method
   1313       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1315       Confidential                    22,519      22.52%                    20,937        20.94%                    30,528           30.53%        Rising Tide Method
   1316       Confidential                   112,593      22.52%                   103,813        20.76%                   152,640           30.53%        Rising Tide Method
   1317       Confidential                    45,037      22.52%                    38,344        19.17%                    61,056           30.53%        Rising Tide Method
   1318       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1319       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1322       Confidential                    56,297      22.52%                    52,343        20.94%                    76,320           30.53%        Rising Tide Method
   1323       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1324       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1325       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1326       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1327       Confidential                    45,037      22.52%                    39,717        19.86%                    61,056           30.53%        Rising Tide Method
   1328       Confidential                 1,688,899      22.52%                 1,448,830        19.32%                 2,289,600           30.53%        Rising Tide Method
   1329       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1330       Confidential                    17,513      22.52%                    17,406        22.38%                          ‐               ‐         $In/$Out Method
   1331       Confidential                    22,519      22.52%                    20,937        20.94%                    30,528           30.53%        Rising Tide Method
   1333       Confidential                   109,652      22.52%                   102,396        21.03%                   139,577           28.66%        Rising Tide Method
   1334       Confidential                    92,486      22.52%                    87,755        21.37%                    63,350           15.42%         $In/$Out Method
   1335       Confidential                    56,297      22.52%                    52,343        20.94%                    76,320           30.53%        Rising Tide Method
   1336       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
   1337       Confidential                   100,006      22.52%                    94,478        21.27%                    96,741           21.78%         $In/$Out Method
   1338       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1339       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1340       Confidential                    21,239      22.52%                    19,828        21.02%                    28,793           30.53%        Rising Tide Method
   1341       Confidential                    18,343      22.52%                    17,406        21.37%                    11,986           14.71%         $In/$Out Method
   1342       Confidential                    65,035      22.52%                    60,922        21.09%                          ‐               ‐         $In/$Out Method
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 206 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9377                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
   1343       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1345       Confidential                    22,519      22.52%                    20,937        20.94%                    30,528           30.53%        Rising Tide Method
   1347       Confidential                    45,037      22.52%                    40,576        20.29%                    61,056           30.53%        Rising Tide Method
   1348       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1350       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1351       Confidential                  110,341       22.52%                  101,290         20.67%                  149,587            30.53%        Rising Tide Method
   1352       Confidential                    39,499      22.52%                    35,096        20.01%                    36,461           20.79%         $In/$Out Method
   1353       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1354       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1355       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1357       Confidential                    48,255      22.52%                    45,270        21.13%                    40,607           18.95%         $In/$Out Method
   1359       Confidential                    33,778      22.52%                    31,144        20.76%                    45,792           30.53%        Rising Tide Method
   1361       Confidential                    18,533      22.52%                    17,406        21.15%                    12,828           15.59%         $In/$Out Method
   1365       Confidential                  506,670       22.52%                  442,985         19.69%                  686,880            30.53%        Rising Tide Method
   1367       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1368       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
   1369       Confidential                    22,519      22.52%                    20,763        20.76%                    30,528           30.53%        Rising Tide Method
   1371       Confidential                    22,519      22.52%                    20,763        20.76%                    30,528           30.53%        Rising Tide Method
   1372       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1373       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1374       Confidential                    18,533      22.52%                    17,406        21.15%                    12,828           15.59%         $In/$Out Method
   1375       Confidential                  168,890       22.52%                  150,885         20.12%                  228,960            30.53%        Rising Tide Method
   1376       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1377       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1378       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1380       Confidential                  168,890       22.52%                  150,885         20.12%                  228,960            30.53%        Rising Tide Method
   1381       Confidential                  168,890       22.52%                  150,885         20.12%                  228,960            30.53%        Rising Tide Method
   1382       Confidential                  619,263       22.52%                  530,683         19.30%                  839,520            30.53%        Rising Tide Method
   1383       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1384       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1385       Confidential                    67,556      22.52%                    62,288        20.76%                    91,584           30.53%        Rising Tide Method
   1386       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 207 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9378                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
   1387       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1388       Confidential                  281,483       22.52%                  259,532         20.76%                  381,600            30.53%        Rising Tide Method
   1390       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1393       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1394       Confidential                    78,815      22.52%                    72,082        20.59%                  106,848            30.53%        Rising Tide Method
   1395       Confidential                  241,240       22.52%                  220,618         20.59%                  327,044            30.53%        Rising Tide Method
   1397       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1398       Confidential                    23,870      22.52%                    26,011        24.54%                          ‐               ‐      Last Statement Method
   1400       Confidential                    28,824      22.52%                    26,361        20.59%                    39,076           30.53%        Rising Tide Method
   1401       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1402       Confidential                    24,789      22.52%                    22,856        20.76%                    33,606           30.53%        Rising Tide Method
   1404       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1405       Confidential                    23,374      22.52%                    26,109        25.15%                          ‐               ‐      Last Statement Method
   1406       Confidential                    56,297      22.52%                    51,487        20.59%                    76,320           30.53%        Rising Tide Method
   1408       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1409       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1410       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
   1412       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1413       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1414       Confidential                    50,463      22.52%                    46,771        20.87%                    50,414           22.50%         $In/$Out Method
   1415       Confidential                    19,583      22.52%                    19,120        21.99%                          ‐               ‐         $In/$Out Method
   1416       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1418       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1419       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1421       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1422       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1423       Confidential                  208,298       22.52%                  190,502         20.59%                  282,384            30.53%        Rising Tide Method
   1424       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1425       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1426       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1427       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1428       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 208 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9379                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
   1429       Confidential                    45,037      22.52%                    40,858        20.43%                    61,056           30.53%        Rising Tide Method
   1430       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1431       Confidential                    83,402      22.52%                    78,332        21.15%                    57,729           15.59%         $In/$Out Method
   1432       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1433       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1434       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1436       Confidential                  225,187       22.52%                  204,292         20.43%                  305,280            30.53%        Rising Tide Method
   1437       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1438       Confidential                    44,362      22.52%                    38,172        19.38%                    60,140           30.53%        Rising Tide Method
   1439       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1441       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
   1442       Confidential                    22,519      22.52%                    20,429        20.43%                    30,528           30.53%        Rising Tide Method
   1443       Confidential                    42,560      22.52%                    37,884        20.04%                    57,698           30.53%        Rising Tide Method
   1444       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1445       Confidential                    22,293      22.52%                    20,241        20.45%                    29,528           29.83%        Rising Tide Method
   1446       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1447       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1448       Confidential                    62,827      22.52%                    57,153        20.48%                    70,584           25.30%        Rising Tide Method
   1450       Confidential                    67,556      22.52%                    61,287        20.43%                    91,584           30.53%        Rising Tide Method
   1451       Confidential                    67,556      22.52%                    57,023        19.01%                    91,584           30.53%        Rising Tide Method
   1452       Confidential                  112,593       22.52%                  102,146         20.43%                  152,640            30.53%        Rising Tide Method
   1453       Confidential                    56,297      22.52%                    51,073        20.43%                    76,320           30.53%        Rising Tide Method
   1454       Confidential                    22,404      22.52%                    20,764        20.87%                    22,383           22.50%         $In/$Out Method
   1455       Confidential                    18,899      22.52%                    17,406        20.74%                    14,453           17.22%         $In/$Out Method
   1456       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1457       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1458       Confidential                    48,415      22.52%                    44,242        20.58%                    41,320           19.22%         $In/$Out Method
   1460       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1461       Confidential                    47,247      22.52%                    43,516        20.74%                    36,133           17.22%         $In/$Out Method
   1462       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1464       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1466       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 209 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9380                                                          DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim     Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]    Recovery for Investor [6]
   1467       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐      No Claim on File
   1468       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐      No Claim on File
   1469       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐      No Claim on File
   1472       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐      No Claim on File
   1473       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐      No Claim on File
   1474       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐      No Claim on File
   1475       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐      No Claim on File
   1476       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐      No Claim on File
   1477       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐      No Claim on File
   1478       Confidential                    38,282      22.52%                    34,615        20.36%                    51,898           30.53%    Rising Tide Method
   1479       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐      No Claim on File
   1480       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐      No Claim on File
   1481       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐      No Claim on File
   1482       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐      No Claim on File
   1485       Confidential                  130,270       22.52%                  116,998         20.22%                  176,604            30.53%    Rising Tide Method
   1487       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐      No Claim on File
   1488       Confidential                    22,519      22.52%                    20,266        20.27%                    30,528           30.53%    Rising Tide Method
   1489       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐      No Claim on File
   1490       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐      No Claim on File
   1491       Confidential                    47,700      22.52%                    43,516        20.54%                    38,146           18.01%     $In/$Out Method
   1493       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐      No Claim on File
   1494       Confidential                    22,519      22.52%                    20,266        20.27%                    30,528           30.53%    Rising Tide Method
   1496       Confidential                    82,392      22.52%                    72,337        19.77%                  111,697            30.53%    Rising Tide Method
   1497       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐      No Claim on File
   1498       Confidential                    22,293      22.52%                    20,115        20.32%                    30,223           30.53%    Rising Tide Method
   1499       Confidential                    61,926      22.52%                    54,522        19.83%                    83,952           30.53%    Rising Tide Method
   1501       Confidential                    22,519      22.52%                    20,266        20.27%                    30,528           30.53%    Rising Tide Method
   1502       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐      No Claim on File
   1503       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐      No Claim on File
   1504       Confidential                    95,401      22.52%                    87,031        20.54%                    76,292           18.01%     $In/$Out Method
   1505       Confidential                  221,992       22.52%                  215,057         21.82%                  162,005            16.43%     $In/$Out Method
   1506       Confidential                    56,297      22.52%                    50,665        20.27%                    76,320           30.53%    Rising Tide Method
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 210 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9381                                                           DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim      Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]     Recovery for Investor [6]
   1507       Confidential                    56,297      22.52%                    50,665        20.27%                    76,320           30.53%     Rising Tide Method
   1508       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
   1509       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
   1510       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
   1511       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
   1512       Confidential                    28,148      22.52%                    24,960        19.97%                    38,160           30.53%     Rising Tide Method
   1513       Confidential                    43,911      22.52%                    38,967        19.98%                    59,530           30.53%     Rising Tide Method
   1514       Confidential                    26,439      22.52%                    27,409        23.34%                          ‐               ‐   Last Statement Method
   1515       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
   1516       Confidential                  450,373       22.52%                  405,319         20.27%                  610,560            30.53%     Rising Tide Method
   1517       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
   1518       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
   1519       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
   1520       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
   1521       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
   1522       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
   1523       Confidential                    95,399      22.52%                    87,029        20.54%                    76,290           18.01%      $In/$Out Method
   1524       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
   1525       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
   1526       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
   1527       Confidential                    25,864      22.52%                    23,277        20.27%                    35,063           30.53%     Rising Tide Method
   1528       Confidential                    55,396      22.52%                    47,866        19.46%                    75,099           30.53%     Rising Tide Method
   1529       Confidential                  450,373       22.52%                  402,394         20.12%                  610,560            30.53%     Rising Tide Method
   1530       Confidential                    89,978      22.52%                    78,328        19.60%                    86,945           21.76%      $In/$Out Method
   1531       Confidential                    96,219      22.52%                    87,031        20.37%                    79,925           18.71%      $In/$Out Method
   1532       Confidential                    78,815      22.52%                    66,148        18.90%                  106,848            30.53%     Rising Tide Method
   1534       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
   1535       Confidential                    20,042      22.52%                    17,092        19.21%                    27,170           30.53%     Rising Tide Method
   1536       Confidential                    18,578      22.52%                    15,649        18.97%                    25,186           30.53%     Rising Tide Method
   1537       Confidential                    16,889      22.52%                    26,055        34.74%                          ‐               ‐   Last Statement Method
   1538       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
   1539       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 211 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9382                                                           DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim      Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]     Recovery for Investor [6]
   1540       Confidential                  112,593       22.52%                    96,649        19.33%                  152,640            30.53%     Rising Tide Method
   1541       Confidential                    22,519      22.52%                    20,120        20.12%                    30,528           30.53%     Rising Tide Method
   1542       Confidential                    48,109      22.52%                    43,516        20.37%                    39,962           18.71%      $In/$Out Method
   1543       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
   1544       Confidential                    33,778      22.52%                    29,390        19.59%                    45,792           30.53%     Rising Tide Method
   1545       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
   1546       Confidential                    43,911      22.52%                    38,691        19.84%                    59,530           30.53%     Rising Tide Method
   1547       Confidential                    98,012      22.52%                    87,704        20.15%                    39,259            9.02%      $In/$Out Method
   1549       Confidential                    44,362      22.52%                    38,434        19.51%                    60,140           30.53%     Rising Tide Method
   1550       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
   1551       Confidential                  313,090       22.52%                  284,069         20.43%                          ‐               ‐      $In/$Out Method
   1554       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
   1556       Confidential                    20,238      22.52%                    18,276        20.34%                    20,399           22.70%     Rising Tide Method
   1557       Confidential                    56,297      22.52%                    49,898        19.96%                    76,320           30.53%     Rising Tide Method
   1558       Confidential                  439,239       22.52%                  396,861         20.35%                          ‐               ‐      $In/$Out Method
   1559       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
   1560       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
   1561       Confidential                    20,238      22.52%                    18,276        20.34%                    20,399           22.70%     Rising Tide Method
   1562       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
   1563       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
   1564       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
   1565       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
   1566       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
   1567       Confidential                    33,778      22.52%                    29,044        19.36%                    45,792           30.53%     Rising Tide Method
   1568       Confidential                    33,778      22.52%                    29,720        19.81%                    45,792           30.53%     Rising Tide Method
   1569       Confidential                    27,442      22.52%                    24,599        20.19%                    35,022           28.74%     Rising Tide Method
   1570       Confidential                    31,976      22.52%                    28,342        19.96%                    43,350           30.53%     Rising Tide Method
   1572       Confidential                    33,920      22.52%                    29,845        19.81%                    45,984           30.53%     Rising Tide Method
   1573       Confidential                    19,816      22.52%                    21,369        24.28%                          ‐               ‐   Last Statement Method
   1574       Confidential                    36,118      22.52%                    43,199        26.93%                          ‐               ‐   Last Statement Method
   1575       Confidential                    65,074      22.52%                    58,311        20.18%                    56,245           19.46%      $In/$Out Method
   1578       Confidential                    43,008      22.52%                    38,184        19.99%                    58,305           30.53%     Rising Tide Method
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 212 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9383                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
   1579       Confidential                    84,445      22.52%                    71,655        19.11%                   114,480           30.53%        Rising Tide Method
   1580       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1582       Confidential                    90,075      22.52%                    82,906        20.73%                   122,112           30.53%        Rising Tide Method
   1583       Confidential                  290,955       22.52%                  261,093         20.21%                   249,980           19.35%         $In/$Out Method
   1584       Confidential                  112,593       22.52%                    99,795        19.96%                   152,640           30.53%        Rising Tide Method
   1586       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1587       Confidential                  112,593       22.52%                    99,795        19.96%                   152,640           30.53%        Rising Tide Method
   1588       Confidential                  112,593       22.52%                    99,795        19.96%                   152,640           30.53%        Rising Tide Method
   1589       Confidential                    81,067      22.52%                    71,853        19.96%                   109,901           30.53%        Rising Tide Method
   1590       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1591       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
   1592       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1593       Confidential                    49,640      22.52%                    44,098        20.00%                    46,758           21.21%         $In/$Out Method
   1594       Confidential                    28,148      22.52%                    24,949        19.96%                    38,160           30.53%        Rising Tide Method
   1595       Confidential                    25,896      22.52%                    22,953        19.96%                    35,107           30.53%        Rising Tide Method
   1596       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1597       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1598       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1599       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1600       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1601       Confidential                  157,631       22.52%                  139,714         19.96%                   213,696           30.53%        Rising Tide Method
   1602       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1603       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1604       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1605       Confidential                  889,487       22.52%                  754,469         19.10%                 1,205,856           30.53%        Rising Tide Method
   1606       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1607       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1608       Confidential                    22,519      22.52%                    19,959        19.96%                    30,528           30.53%        Rising Tide Method
   1610       Confidential                  106,964       22.52%                    94,806        19.96%                   145,008           30.53%        Rising Tide Method
   1611       Confidential                  112,593       22.52%                    99,068        19.81%                   152,640           30.53%        Rising Tide Method
   1612       Confidential                  112,593       22.52%                    94,275        18.85%                   152,640           30.53%        Rising Tide Method
   1614       Confidential                    56,297      22.52%                    48,852        19.54%                    76,320           30.53%        Rising Tide Method
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 213 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9384                                                           DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim      Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]     Recovery for Investor [6]
   1615       Confidential                    82,272      22.52%                    72,389        19.81%                  111,534            30.53%     Rising Tide Method
   1616       Confidential                    56,297      22.52%                    49,534        19.81%                    76,320           30.53%     Rising Tide Method
   1617       Confidential                  135,112       22.52%                  118,882         19.81%                  183,168            30.53%     Rising Tide Method
   1618       Confidential                    24,493      22.52%                    23,704        21.79%                          ‐               ‐      $In/$Out Method
   1619       Confidential                    18,916      22.52%                    18,399        21.90%                          ‐               ‐      $In/$Out Method
   1621       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
   1622       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
   1623       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
   1624       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
   1625       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
   1626       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
   1628       Confidential                  112,593       22.52%                    99,068        19.81%                  152,640            30.53%     Rising Tide Method
   1629       Confidential                    30,208      22.52%                    26,825        20.00%                    29,937           22.32%      $In/$Out Method
   1630       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
   1631       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
   1632       Confidential                    69,665      22.52%                    60,922        19.69%                    66,214           21.40%      $In/$Out Method
   1634       Confidential                    27,022      22.52%                    23,776        19.81%                    36,634           30.53%     Rising Tide Method
   1635       Confidential                    22,519      22.52%                    19,814        19.81%                    30,528           30.53%     Rising Tide Method
   1636       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
   1640       Confidential                    21,476      22.52%                    18,720        19.63%                    25,898           27.16%     Rising Tide Method
   1641       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
   1646       Confidential                  296,018       22.52%                  261,093         19.86%                  272,466            20.73%      $In/$Out Method
   1647       Confidential                    68,272      22.52%                    59,062        19.48%                    92,555           30.53%     Rising Tide Method
   1652       Confidential                         ‐           ‐                    26,127           NM                           ‐               ‐   Last Statement Method
   1653       Confidential                    55,656      22.52%                    47,867        19.37%                     4,005            1.62%      $In/$Out Method
   1655       Confidential                    91,469      22.52%                    76,675        18.88%                  124,002            30.53%     Rising Tide Method
   1656       Confidential                    56,297      22.52%                    49,002        19.60%                     6,848            2.74%      $In/$Out Method
   1657       Confidential                  281,483       22.52%                  240,918         19.27%                  381,600            30.53%     Rising Tide Method
   1658       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
   1659       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐       No Claim on File
   1661       Confidential                    22,519      22.52%                    19,391        19.39%                    30,528           30.53%     Rising Tide Method
   1662       Confidential                    55,362      22.52%                    47,752        19.42%                    72,168           29.35%     Rising Tide Method
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 214 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9385                                                          DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim     Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]    Recovery for Investor [6]
   1663       Confidential                    90,075      22.52%                    74,983        18.75%                   122,112           30.53%    Rising Tide Method
   1664       Confidential                    50,197      22.52%                    43,516        19.52%                    49,231           22.09%     $In/$Out Method
   1666       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐      No Claim on File
   1672       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐      No Claim on File
   1673       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐      No Claim on File
   1674       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐      No Claim on File
   1676       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐      No Claim on File
   1677       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐      No Claim on File
   1678       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐      No Claim on File
   1679       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐      No Claim on File
   1680       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐      No Claim on File
   1683       Confidential                    44,991      22.52%                    39,003        19.52%                    46,116           23.08%    Rising Tide Method
   1685       Confidential                    65,325      22.52%                    55,709        19.20%                    78,988           27.23%    Rising Tide Method
   1687       Confidential                    35,660      22.52%                    30,461        19.24%                    36,780           23.23%    Rising Tide Method
   1688       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐      No Claim on File
   1689       Confidential                    28,920      22.52%                    25,193        19.62%                          ‐               ‐     $In/$Out Method
   1691       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐      No Claim on File
   1692       Confidential                    41,318      22.52%                    34,812        18.97%                    44,538           24.27%    Rising Tide Method
   1693       Confidential                    56,297      22.52%                    46,941        18.78%                    76,320           30.53%    Rising Tide Method
   1694       Confidential                    34,330      22.52%                    28,720        18.84%                    37,824           24.81%    Rising Tide Method
   1696       Confidential                    56,297      22.52%                    46,941        18.78%                    76,320           30.53%    Rising Tide Method
   1697       Confidential                 2,251,866      22.52%                 1,877,649        18.78%                 3,052,799           30.53%    Rising Tide Method
   1698       Confidential                    56,297      22.52%                    46,941        18.78%                    76,320           30.53%    Rising Tide Method
   1699       Confidential                    56,297      22.52%                    46,941        18.78%                    76,320           30.53%    Rising Tide Method
   1700       Confidential                    56,297      22.52%                    46,941        18.78%                    76,320           30.53%    Rising Tide Method
   1701       Confidential                   300,732      22.52%                   250,756        18.78%                   407,696           30.53%    Rising Tide Method
   1702       Confidential                    56,297      22.52%                    46,634        18.65%                    76,320           30.53%    Rising Tide Method
   1703       Confidential                    56,297      22.52%                    46,634        18.65%                    76,320           30.53%    Rising Tide Method
   1704       Confidential                    56,297      22.52%                    46,634        18.65%                    76,320           30.53%    Rising Tide Method
   1705       Confidential                    56,297      22.52%                    46,634        18.65%                    76,320           30.53%    Rising Tide Method
   1706       Confidential                    56,297      22.52%                    46,634        18.65%                    76,320           30.53%    Rising Tide Method
   1707       Confidential                    67,556      22.52%                    55,337        18.45%                    91,584           30.53%    Rising Tide Method
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 215 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9386                                                          DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim     Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]    Recovery for Investor [6]
   1708       Confidential                    52,387      22.52%                    43,516        18.71%                    58,957           25.34%    Rising Tide Method
   1709       Confidential                    56,297      22.52%                    46,634        18.65%                    76,320           30.53%    Rising Tide Method
   1710       Confidential                    55,838      22.52%                    46,279        18.66%                    74,283           29.96%    Rising Tide Method
   1711       Confidential                    52,387      22.52%                    43,516        18.71%                    58,957           25.34%    Rising Tide Method
   1713       Confidential                    56,297      22.52%                    46,634        18.65%                    76,320           30.53%    Rising Tide Method
   1714       Confidential                    90,075      22.52%                    74,614        18.65%                   122,112           30.53%    Rising Tide Method
   1715       Confidential                   166,606      22.52%                  138,010         18.65%                   225,864           30.53%    Rising Tide Method
   1716       Confidential                   281,483      22.52%                  231,669         18.53%                   381,600           30.53%    Rising Tide Method
   1720       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐     No Claim on File
   1722       Confidential                    96,527      22.52%                    80,493        18.78%                   130,860           30.53%    Rising Tide Method
   1723       Confidential                    56,297      22.52%                    46,634        18.65%                    76,320           30.53%    Rising Tide Method
   1724       Confidential                    56,297      22.52%                    46,350        18.54%                    76,320           30.53%    Rising Tide Method
   1725       Confidential                   242,564      22.52%                  200,171         18.58%                   278,242           25.83%    Rising Tide Method
   1726       Confidential                    84,370      22.52%                    69,625        18.58%                    96,780           25.83%    Rising Tide Method
   1727       Confidential                   112,593      22.52%                    92,700        18.54%                   152,640           30.53%    Rising Tide Method
   1728       Confidential                   135,112      22.52%                  110,107         18.35%                   183,168           30.53%    Rising Tide Method
   1729       Confidential                   106,915      22.52%                    88,216        18.58%                   127,423           26.84%    Rising Tide Method
   1730       Confidential                    56,297      22.52%                    46,350        18.54%                    76,320           30.53%    Rising Tide Method
   1731       Confidential                    56,297      22.52%                    46,350        18.54%                    76,320           30.53%    Rising Tide Method
   1734       Confidential                    56,297      22.52%                    46,350        18.54%                    76,320           30.53%    Rising Tide Method
   1735       Confidential                    45,037      22.52%                    37,080        18.54%                    61,056           30.53%    Rising Tide Method
   1736       Confidential                    90,075      22.52%                    74,160        18.54%                   122,112           30.53%    Rising Tide Method
   1737       Confidential                    78,815      22.52%                    64,404        18.40%                   106,848           30.53%    Rising Tide Method
   1738       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐     No Claim on File
   1740       Confidential                    38,808      22.52%                    31,788        18.45%                    47,982           27.84%    Rising Tide Method
   1741       Confidential                    53,841      22.52%                    44,096        18.44%                    65,415           27.36%    Rising Tide Method
   1742       Confidential                 1,041,246      22.52%                  852,904         18.45%                 1,219,798           26.38%    Rising Tide Method
   1743       Confidential                    56,297      22.52%                    46,029        18.41%                    76,320           30.53%    Rising Tide Method
   1744       Confidential                    56,297      22.52%                    46,029        18.41%                    76,320           30.53%    Rising Tide Method
   1745       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐     No Claim on File
   1746       Confidential                    53,125      22.52%                    43,516        18.45%                    62,235           26.38%    Rising Tide Method
   1749       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐     No Claim on File
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 216 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9387                                                          DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim     Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]    Recovery for Investor [6]
   1750       Confidential                   258,945      22.52%                   210,021        18.26%                   316,251           27.50%    Rising Tide Method
   1752       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐     No Claim on File
   1753       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐     No Claim on File
   1754       Confidential                   118,223      22.52%                    96,028        18.29%                   160,272           30.53%    Rising Tide Method
   1755       Confidential                   213,982      22.52%                   174,062        18.32%                   255,523           26.89%    Rising Tide Method
   1756       Confidential                   135,112      22.52%                   109,746        18.29%                   183,168           30.53%    Rising Tide Method
   1757       Confidential                    56,297      22.52%                    45,727        18.29%                    76,320           30.53%    Rising Tide Method
   1760       Confidential                   168,890      22.52%                   137,182        18.29%                   228,960           30.53%    Rising Tide Method
   1761       Confidential                   146,371      22.52%                   117,839        18.13%                   198,432           30.53%    Rising Tide Method
   1762       Confidential                   101,334      22.52%                    81,761        18.17%                   137,376           30.53%    Rising Tide Method
   1763       Confidential                    78,815      22.52%                    63,592        18.17%                   106,848           30.53%    Rising Tide Method
   1764       Confidential                   129,597      22.52%                   104,437        18.15%                   158,676           27.57%    Rising Tide Method
   1765       Confidential                    53,873      22.52%                    43,516        18.19%                    65,559           27.40%    Rising Tide Method
   1766       Confidential                    56,297      22.52%                    45,423        18.17%                    76,320           30.53%    Rising Tide Method
   1767       Confidential                    64,798      22.52%                    52,219        18.15%                    79,338           27.57%    Rising Tide Method
   1768       Confidential                    56,297      22.52%                    45,423        18.17%                    76,320           30.53%    Rising Tide Method
   1769       Confidential                    53,873      22.52%                    43,516        18.19%                    65,559           27.40%    Rising Tide Method
   1770       Confidential                    64,403      22.52%                    51,963        18.17%                    87,310           30.53%    Rising Tide Method
   1773       Confidential                   112,593      22.52%                    90,267        18.05%                   152,640           30.53%    Rising Tide Method
   1775       Confidential                    75,927      22.52%                    60,922        18.07%                    94,023           27.89%    Rising Tide Method
   1776       Confidential                    56,297      22.52%                    45,134        18.05%                    76,320           30.53%    Rising Tide Method
   1777       Confidential                    90,075      22.52%                    72,676        18.17%                   122,112           30.53%    Rising Tide Method
   1779       Confidential                   225,187      22.52%                   180,534        18.05%                   305,280           30.53%    Rising Tide Method
   1780       Confidential                    56,297      22.52%                    45,134        18.05%                    76,320           30.53%    Rising Tide Method
   1782       Confidential                 1,472,720      22.52%                 1,180,694        18.05%                 1,996,531           30.53%    Rising Tide Method
   1783       Confidential                    79,579      22.52%                    63,359        17.93%                   107,883           30.53%    Rising Tide Method
   1785       Confidential                    26,507      22.52%                    20,954        17.80%                    34,078           28.95%    Rising Tide Method
   1786       Confidential                    56,297      22.52%                    44,177        17.67%                    76,320           30.53%    Rising Tide Method
   1787       Confidential                    74,296      22.52%                    58,311        17.67%                    97,198           29.46%    Rising Tide Method
   1788       Confidential                    56,297      22.52%                    44,177        17.67%                    76,320           30.53%    Rising Tide Method
   1789       Confidential                    60,800      22.52%                    47,711        17.67%                    82,426           30.53%    Rising Tide Method
   1790       Confidential                   180,149      22.52%                   141,365        17.67%                   244,224           30.53%    Rising Tide Method
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Direct Lending Income Fund, L.P.
                                                                                         #:9388                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                            [2]                                         [3]
    (Sort)                               $In/$Out Method                   Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
   1791       Confidential                    58,549      22.52%                    45,944        17.67%                    79,373           30.53%        Rising Tide Method
   1792       Confidential                   166,334      22.52%                  130,547         17.67%                   217,608           29.46%        Rising Tide Method
   1793       Confidential                    40,534      22.52%                    31,807        17.67%                    54,950           30.53%        Rising Tide Method
   1794       Confidential                    55,865      22.52%                    43,516        17.54%                    74,404           29.99%        Rising Tide Method
   1795       Confidential                    55,865      22.52%                    43,516        17.54%                    74,404           29.99%        Rising Tide Method
   1796       Confidential                    56,297      22.52%                    43,849        17.54%                    76,320           30.53%        Rising Tide Method
   1797       Confidential                    60,800      22.52%                    47,357        17.54%                    82,426           30.53%        Rising Tide Method
   1799       Confidential                    38,732      22.52%                    30,168        17.54%                    52,508           30.53%        Rising Tide Method
   1800       Confidential                    22,960      22.52%                    17,883        17.54%                    31,126           30.53%        Rising Tide Method
   1801       Confidential                    55,865      22.52%                    43,516        17.54%                    74,404           29.99%        Rising Tide Method
   1802       Confidential                    56,297      22.52%                    43,849        17.54%                    76,320           30.53%        Rising Tide Method
   1803       Confidential                    56,297      22.52%                    43,849        17.54%                    76,320           30.53%        Rising Tide Method
   1804       Confidential                    56,297      22.52%                    43,849        17.54%                    76,320           30.53%        Rising Tide Method
   1805       Confidential                   168,890      22.52%                  131,547         17.54%                   228,960           30.53%        Rising Tide Method
   1806       Confidential                   168,890      22.52%                  131,547         17.54%                   228,960           30.53%        Rising Tide Method
   1807       Confidential                   111,731      22.52%                    87,031        17.54%                   148,809           29.99%        Rising Tide Method
   1808       Confidential                    67,556      22.52%                    52,619        17.54%                    91,584           30.53%        Rising Tide Method
   1809       Confidential                   168,890      22.52%                  131,547         17.54%                   228,960           30.53%        Rising Tide Method
   1810       Confidential                   225,187      22.52%                  175,396         17.54%                   305,280           30.53%        Rising Tide Method
   1811       Confidential                    78,211      22.52%                    60,922        17.54%                   104,166           29.99%        Rising Tide Method
   1814       Confidential                    56,297      22.52%                    43,516        17.41%                    76,320           30.53%        Rising Tide Method
   1815       Confidential                    67,556      22.52%                    52,219        17.41%                    91,584           30.53%        Rising Tide Method
   1816       Confidential                    56,297      22.52%                    43,516        17.41%                    76,320           30.53%        Rising Tide Method
   1817       Confidential                 1,125,933      22.52%                  870,310         17.41%                 1,526,400           30.53%        Rising Tide Method
   1818       Confidential                   129,482      22.52%                  100,086         17.41%                   175,536           30.53%        Rising Tide Method
   1819       Confidential                    56,297      22.52%                    43,516        17.41%                    76,320           30.53%        Rising Tide Method
   1822       Confidential                    33,778      22.52%                    26,109        17.41%                    45,792           30.53%        Rising Tide Method
   1823       Confidential                   112,593      22.52%                    87,031        17.41%                   152,640           30.53%        Rising Tide Method
   1824       Confidential                   337,780      22.52%                  261,093         17.41%                   457,920           30.53%        Rising Tide Method
   1825       Confidential                   112,593      22.52%                    87,031        17.41%                   152,640           30.53%        Rising Tide Method
   1826       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
   1828       Confidential                   112,593      22.52%                    87,031        17.41%                   152,640           30.53%        Rising Tide Method
                               Case 2:19-cv-02188-DSF-MRW Document 321-2 Filed 11/20/20 Page 218 of 220 Page ID
Direct Lending Income Fund, L.P.
                                                                                         #:9389                                                             DRAFT ‐ Subject to Change
Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                  $In/$Out Method                        Last Statement Method                  Rising Tide Method
                                                               [2]                                      [3]
    (Sort)                                   $In/$Out Method               Last Statement (LS) Method                   Rising Tide Method [4]

                                   Recovery $ Based                      Recovery $ Based                        Recovery $ Based
                                    on Illustrative % Recovery on         on Illustrative   % Recovery on         on Illustrative     % Recovery on
                                       $104.2M        Net Claim              $104.2M          Net Claim              $104.2M            Net Claim         Method with Maximum
 Generic ID   Investor Name          Distribution     Amount [5]           Distribution       Amount [5]           Distribution         Amount [5]        Recovery for Investor [6]
   1829       Confidential                    64,178      22.52%                    49,608        17.41%                    87,005           30.53%        Rising Tide Method
   1831       Confidential                 1,125,933      22.52%                  870,310         17.41%                 1,526,400           30.53%        Rising Tide Method
   1832       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
   1833       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐   No Est. Allowed Claim Amount
   1834       Confidential                         ‐           ‐                          ‐            ‐                          ‐               ‐          No Claim on File
   1835       Confidential                    56,297      22.52%                    43,516        17.41%                    76,320           30.53%        Rising Tide Method
   1836       Confidential                    56,297      22.52%                    43,516        17.41%                    76,320           30.53%        Rising Tide Method
   1837       Confidential                    56,297      22.52%                    43,516        17.41%                    76,320           30.53%        Rising Tide Method
   1839       Confidential                    67,556      22.52%                    52,219        17.41%                    91,584           30.53%        Rising Tide Method
   1840       Confidential                    56,297      22.52%                    43,516        17.41%                    76,320           30.53%        Rising Tide Method
   1841       Confidential                    33,665      22.52%                    26,022        17.41%                    45,639           30.53%        Rising Tide Method
   1842       Confidential                    56,297      22.52%                    43,516        17.41%                    76,320           30.53%        Rising Tide Method

                                       [7]
Consolidated Accounts with Same TIN
 1006/1360 Confidential                         90,075          22.52%              87,498          21.87%                      ‐                ‐          $In/$Out Method
 1095/1668 Confidential                         18,503          22.52%              18,486          22.50%                 12,694            15.45%         $In/$Out Method
  110/258 Confidential                               ‐              ‐                    ‐              ‐                       ‐                ‐           No Claim on File
  111/255 Confidential                               ‐              ‐                    ‐              ‐                       ‐                ‐           No Claim on File
 1125/1320 Confidential                        274,199          22.52%             261,093          21.44%                306,475            25.17%        Rising Tide Method
 1139/1747 Confidential                        788,153          22.52%             709,778          20.28%              1,068,480            30.53%        Rising Tide Method
 1208/1748 Confidential                         17,751          22.52%              17,406          22.08%                  9,357            11.87%         $In/$Out Method
 1221/1220 Confidential                              ‐              ‐                    ‐              ‐                       ‐                ‐           No Claim on File
 1298/1718 Confidential                         90,075          22.52%              80,153          20.04%                122,112            30.53%        Rising Tide Method
 1314/1772 Confidential                         22,519          22.52%              20,937          20.94%                 30,528            30.53%        Rising Tide Method
 1321/1090 Confidential                              ‐              ‐                    ‐              ‐                       ‐                ‐           No Claim on File
  1344/207 Confidential                              ‐              ‐                    ‐              ‐                       ‐                ‐           No Claim on File
 1411/1733 Confidential                        103,353          22.52%              87,031          18.96%                111,604            24.32%        Rising Tide Method
  1484/147 Confidential                              ‐              ‐                    ‐              ‐                       ‐                ‐           No Claim on File
  1576/519 Confidential                              ‐              ‐                    ‐              ‐                       ‐                ‐           No Claim on File
  1581/169 Confidential                              ‐              ‐                    ‐              ‐                       ‐                ‐           No Claim on File
 1613/1449 Confidential                              ‐              ‐                    ‐              ‐                       ‐                ‐           No Claim on File
 1627/1370 Confidential                              ‐              ‐                    ‐              ‐                       ‐                ‐           No Claim on File
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Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
9/15/2020

                                      $In/$Out Method                      Last Statement Method                Rising Tide Method
                                                                   [2]                                    [3]
    (Sort)                                     $In/$Out Method               Last Statement (LS) Method                 Rising Tide Method [4]

                                       Recovery $ Based                    Recovery $ Based                      Recovery $ Based
                                        on Illustrative % Recovery on       on Illustrative   % Recovery on       on Illustrative     % Recovery on
                                           $104.2M        Net Claim            $104.2M          Net Claim            $104.2M            Net Claim      Method with Maximum
 Generic ID     Investor Name            Distribution     Amount [5]         Distribution       Amount [5]         Distribution         Amount [5]     Recovery for Investor [6]
 1654/726       Confidential                           ‐           ‐                        ‐            ‐                        ‐               ‐       No Claim on File
 1686/832       Confidential                           ‐           ‐                        ‐            ‐                        ‐               ‐       No Claim on File
 1739/796       Confidential                           ‐           ‐                        ‐            ‐                        ‐               ‐       No Claim on File
  181/315       Confidential                      70,563      22.52%                  87,204        27.83%                        ‐               ‐   Last Statement Method
 194/1332       Confidential                     439,114      22.52%                 459,812        23.58%                 386,880           19.84%   Last Statement Method
  215/885       Confidential                     152,895      22.52%                 172,207        25.36%                        ‐               ‐   Last Statement Method
   25/358       Confidential                       2,823      22.52%                  20,887       166.61%                        ‐               ‐   Last Statement Method
  268/994       Confidential                     112,593      22.52%                 152,043        30.41%                        ‐               ‐   Last Statement Method
  285/841       Confidential                      37,434      22.52%                  43,516        26.18%                        ‐               ‐   Last Statement Method
  365/513       Confidential                      73,246      22.52%                  71,965        22.12%                  56,809           17.47%      $In/$Out Method
  377/135       Confidential                           ‐           ‐                        ‐            ‐                        ‐               ‐       No Claim on File
  388/867       Confidential                       9,980      22.52%                  17,406        39.28%                        ‐               ‐   Last Statement Method
 439/1690       Confidential                     788,153      22.52%                 763,144        21.80%               1,068,480           30.53%     Rising Tide Method
 544/1719       Confidential                   1,477,396      22.52%               1,427,309        21.76%                 759,854           11.58%      $In/$Out Method
  57/1784       Confidential                     394,076      22.52%                 519,741        29.70%                 534,240           30.53%     Rising Tide Method
  594/849       Confidential                      53,369      22.52%                  58,376        24.63%                        ‐               ‐   Last Statement Method
  744/929       Confidential                     225,187      22.52%                 254,986        25.50%                        ‐               ‐   Last Statement Method
 753/1684       Confidential                      56,297      22.52%                  58,141        23.26%                  76,320           30.53%     Rising Tide Method
 852/1771       Confidential                      45,037      22.52%                  45,310        22.65%                  61,056           30.53%     Rising Tide Method
  874/876       Confidential                     237,599      22.52%                 295,987        28.05%                        ‐               ‐   Last Statement Method
   89/138       Confidential                      99,307      22.52%                 112,527        25.52%                 134,628           30.53%     Rising Tide Method
   93/115       Confidential                      41,184      22.52%                  47,508        25.98%                        ‐               ‐   Last Statement Method
 936/1157       Confidential                      56,297      22.52%                  54,973        21.99%                  76,320           30.53%     Rising Tide Method
 969/1778       Confidential                      22,519      22.52%                  22,259        22.26%                  30,528           30.53%     Rising Tide Method
 970/1751       Confidential                      48,064      22.52%                  48,881        22.90%                  39,761           18.63%   Last Statement Method
 978/1643       Confidential                      22,519      22.52%                  22,245        22.25%                  30,528           30.53%     Rising Tide Method
                                       $ 104,171,065          22.52%       $ 104,171,065            22.52%       $ 104,171,065               22.52%



[1] Analysis excludes Direct Lending Investments, LLC (General Partner).
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Illustrative Investor Claims Distribution Analysis – Distribution Summary for Three Scenarios Assuming $104.2M Distribution [1]
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                                       $In/$Out Method                             Last Statement Method                        Rising Tide Method
                                                                    [2]                                               [3]
    (Sort)                                     $In/$Out Method                        Last Statement (LS) Method                        Rising Tide Method [4]

                                        Recovery $ Based                            Recovery $ Based                             Recovery $ Based
                                         on Illustrative % Recovery on               on Illustrative % Recovery on                on Illustrative      % Recovery on
                                            $104.2M        Net Claim                    $104.2M        Net Claim                     $104.2M             Net Claim                 Method with Maximum
 Generic ID     Investor Name             Distribution     Amount [5]                 Distribution     Amount [5]                  Distribution          Amount [5]                Recovery for Investor [6]
[2] Total investor claims based on DLIF $In/$Out method total to $462,598,928. This amount may vary from the amount reflected in a Distribution Plan ultimately filed with the court due to subsequent
updates to certain claim adjustments, including but not limited to (a) reported profits included in non‐cash transfers to investor accounts that were funded from redemptions transferred from other investor
accounts (no such adjustments have been made in this analysis) and (b) aggregation of DLIF Investors' claims with the same TIN that might be subsequently identified outside of this analysis.
[3] Total investor claims based on DLIF LS method total to $598,470,874.
[4] Percentages shown are valid only in connection with the illustrative $104,171,065 initial distribution. A different distribution amount or a subsequent distribution will require new calculations which will
result in different percentages.
[5] Net Claim Amount is the investor's $In/$Out claim, which is subscriptions (incl. transfers and switches in) minus redemptions (incl. transfers and switches out) minus distributions.
[6] Summary of Method with Maximum Recovery:
Recovery Method              Investor Accounts Distribution Amount
$In/$Out Method                            94   $       13,754,430
Last Statement (LS) Method                228           29,110,283
Rising Tide Method                        592           88,629,666
No Claim on File                          690                  ‐
No Est. Allowed Claim Amount              116   $              ‐
[7] Consolidated Accounts with Same TIN sub‐schedule reflects the consolidation of certain DLIF Investor's claims that share the same TIN. The analysis associated with the consolidation is ongoing and will
be updated as appropriate.
